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                                                                           AMOUNT OF NET
Prop #       PROPERTY ADDRESS           CLOSING DATE     SALE PRICE
                                                                             PROCEEDS
  11     7500-06 S Eggleston Avenue          4/26/2019          $960,000         $841,038.85
  14     7549-59 S Essex Avenue              4/26/2019        $1,175,000       $1,074,337.60
   9     8100 S Essex Avenue                 4/30/2019        $1,100,000         $887,701.86
  79     6160-6212 S Martin Luther King D    4/30/2019          $785,000         $532,278.72
 102     7927-29 S Essex Avenue               5/1/2019          $175,000         $141,875.84
 103     7933-35 S Essex Avenue               5/1/2019          $175,000         $142,485.14
 104     7937-39 S Essex Avenue               5/1/2019          $175,000         $141,990.37
 105     7943-45 S Essex Avenue               5/1/2019          $175,000         $136,204.61
 106     7947-49 S Essex Avenue               5/1/2019          $175,000         $142,012.95
   3     5001 S Drexel Boulevard             5/22/2019        $2,800,000       $2,579,171.14
 10      7301-09 S Stewart Avenue            11/4/2019          $650,000         $587,383.53
 62      7834-44 S Ellis Avenue              11/4/2019        $1,777,000       $1,655,750.17
 58      5955 S Sacramento Avenue            11/5/2019          $570,000         $497,643.46
 59      6001-05 S Sacramento Avenue         11/5/2019          $435,000         $379,772.49
 60      7026-42 S Cornell Avenue            11/6/2019        $1,110,000         $918,748.46
  12     3030-32 E 79th Street               11/9/2019          $400,000         $351,680.90
  13     2909-19 E 78th Street              11/14/2019        $1,426,000       $1,276,569.01
  77     7750-58 S Muskegon Avenue          12/18/2019          $700,000         $582,979.54
  92     7748-52 S Essex Avenue             12/18/2019        $1,350,000       $1,217,423.87
  75     7625-33 S East End Avenue          12/20/2019        $1,250,000       $1,156,782.51
  76     7635-43 S East End Avenue          12/20/2019        $1,170,000       $1,084,045.74
  15     8047-55 S Manistee Avenue            2/5/2020          $975,000         $867,058.48
  71     701-13 S 5th Avenue                 3/31/2020          $975,000         $520,541.83
   5     7749-59 S Yates Boulevard           4/22/2020          $925,000         $785,629.17
 115     1050 8th Avenue N ( Naples, FL)     4/24/2020          $950,000         $393,043.13
  65     6749-59 S Merrill Avenue            4/28/2020        $1,480,000       $1,384,437.44
 112     7450 S Luella Avenue                 5/7/2020          $278,000         $211,313.61
  88     7546-48 S Saginaw Avenue            5/13/2020          $625,000         $536,319.43
  95     8201 S Kingston Avenue              5/21/2020          $400,000         $313,377.74
  63     4520-26 S Drexel Boulevard          5/21/2020        $6,110,000       $5,814,278.91




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                                                                               AMOUNT OF NET
Prop #       PROPERTY ADDRESS               CLOSING DATE     SALE PRICE
                                                                                 PROCEEDS
  96     8326-32 S Ellis Avenue                  6/11/2020        $1,610,000        $1,403,225.03
  97     8334-40 S Ellis Avenue                  6/11/2020
  98     8342-50 S Ellis Avenue                  6/11/2020
  99     8352-58 S Ellis Avenue                  6/11/2020
   4     5450-52 S Indiana Avenue                6/25/2020        $1,800,000        $1,656,600.96
   6     6437-41 S Kenwood Avenue                6/25/2020        $1,415,000        $1,317,322.28
  50     7760 S Coles Avenue                     6/26/2020          $260,000          $188,195.94
  54     8000-02 S Justine Street                6/26/2020          $375,000          $297,778.30
  55     8107-09 S Ellis Avenue                  6/30/2020          $220,000          $175,605.67
  57     8216 S Ingleside Avenue                 6/30/2020          $350,000          $267,219.19
  56     8209 S Ellis Avenue                      7/1/2020          $375,000          $308,848.22
 100     11117-11119 S Longwood Drive             7/8/2020        $1,750,000        $1,599,854.81
  49     7300-04 S St Lawrence Avenue            7/27/2020          $330,000          $283,239.84
  66     7110 S Cornell Avenue                   8/13/2020        $1,240,000        $1,145,576.16
 93      7957-59 S Marquette Road                9/21/2020          $351,000          $279,775.32
 84      7051 S Bennett Avenue                   9/23/2020          $600,000          $482,797.05
 74      3074 E Cheltenham Place                 9/24/2020        $1,060,000          $960,348.38
  80     2736-44 W 64th Street                   9/29/2020          $418,000          $373,122.98
  83     6356 S California Avenue                9/29/2020          $375,000          $312,552.66
  82     6355-59 S Talman Avenue                 9/29/2020          $577,000          $472,139.56
 110     5618-20 S Martin Luther King Dri        9/29/2020          $646,000          $584,772.08
  78     7201 S Constance Avenue                 9/30/2020        $1,100,000          $951,411.73
 111     6554-58 S Vernon Avenue                10/15/2020          $576,000          $528,668.50
   1     1700-08 W Juneway Terrace              10/20/2020        $2,800,000        $2,628,031.19
  85     7201-07 S Dorchester Avenue            10/20/2020          $495,000          $413,136.81
  87     7508 S Essex Avenue                    10/28/2020          $755,000          $690,807.52
 115     431 E 42nd Place                        11/5/2020           $82,500           $59,375.71
  91     7701-03 S Essex Avenue                 11/16/2020          $700,000          $641,060.09
  86     7442-54 S Calumet Avenue               11/16/2020          $565,000          $518,560.89
  94     816-22 E Marquette Road                11/18/2020          $805,000          $747,245.26
 101     6949-59 S Merrill Avenue                12/1/2020        $1,520,000        $1,404,824.55
   2     4533-47 S Calumet Avenue                12/1/2020        $2,120,000        $1,969,074.99



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                                                                           AMOUNT OF NET
Prop #       PROPERTY ADDRESS         CLOSING DATE      SALE PRICE
                                                                             PROCEEDS
  81     4315-19 S Michigan Avenue          12/2/2020           $850,000         $787,969.95
  89     7600-10 S Kingston Avenue          12/2/2020         $1,530,000       $1,377,207.46
  90     7656-58 S Kingston Avenue          12/2/2020           $320,000         $230,791.66
  67     1131-41 E 79th Place              12/22/2020         $1,150,000       $1,055,876.12
  69     6250 S Mozart Street              12/22/2020           $925,000         $843,372.55
 109     4750-52 S Indiana Avenue           4/21/2021           $697,000         $652,011.16
  72     7024-32 S Paxton Avenue            4/22/2021         $1,775,000       $1,657,501.17
 113     7840-42 S Yates Avenue             4/23/2021           $350,000         $318,695.95
 108     2800-06 E 81st Street              4/30/2021           $430,000         $394,288.84
  64     4611-17 S Drexel Boulevard         5/14/2021         $4,900,000       $4,665,443.83
 8-8A    1414-18 East 62nd Place            5/26/2021            $55,224          $35,058.23 Single Family Home Portfolio:
  16     1017 W 102nd Street                5/26/2021            $97,468          $86,590.77
  17     1516 E 85th Place                  5/26/2021            $97,213          $85,993.20
  18     2136 W 83rd Street                 5/26/2021            $96,620          $86,171.93
  19     417 Oglesby Avenue                 5/26/2021            $99,163          $85,681.31
  20     7922 S Luella Avenue               5/26/2021          $133,912         $120,678.34
  21     7925 S Kingston Avenue             5/26/2021            $81,364          $71,360.20
  22     7933 S Kingston Avenue             5/26/2021            $91,535          $80,970.35
  23     8030 S Marquette Avenue            5/26/2021            $72,889          $63,021.04
  24     8104 S Kingston Avenue             5/26/2021          $142,388         $129,170.70
  25     8403 S Aberdeen Street             5/26/2021          $110,181           $98,487.01
  26     8405 S Marquette Avenue            5/26/2021          $113,571           $98,362.87
  27     8529 S Rhodes Avenue               5/26/2021          $135,607         $122,380.68
  28     8800 S Ada Street                  5/26/2021          $131,370         $119,605.76
  29     9212 S Parnell Avenue              5/26/2021            $96,174          $84,934.06
  30     10012 S LaSalle Avenue             5/26/2021            $88,992          $79,102.26
  31     11318 S Church Street              5/26/2021          $126,793         $114,979.02
  32     3213 S Throop Street               5/26/2021          $133,488         $117,834.62
  33     3723 W 68th Place                  5/26/2021          $128,827         $116,215.45
  34     406 E 87th Place                   5/26/2021          $103,570           $92,555.38
  35     61 E 92nd Street                   5/26/2021           $106,960          $96,205.56
  36     6554 S Rhodes Avenue               5/26/2021            $86,450          $75,853.54



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                                                                           AMOUNT OF NET
Prop #       PROPERTY ADDRESS          CLOSING DATE     SALE PRICE
                                                                             PROCEEDS
  37     6825 S Indiana Avenue              5/26/2021           $133,065          $119,930.56
  38     7210 S Vernon Avenue               5/26/2021            $67,358           $57,667.13
  39     7712 S Euclid Avenue               5/26/2021           $132,217          $118,934.85
  40     7953 S Woodlawn Avenue             5/26/2021           $133,065          $116,709.31
  41     8107 S Kingston Avenue             5/26/2021           $101,027           $89,825.21
  42     8346 S Constance Avenue            5/26/2021           $140,693          $127,584.75
  43     8432 S Essex Avenue                5/26/2021           $141,540          $129,042.27
  44     8517 S Vernon Avenue               5/26/2021           $133,065          $120,836.94
  45     2129 W 71st Street                 5/26/2021            $65,770           $57,320.28
  46     9610 S Woodlawn Avenue             5/26/2021            $85,602           $74,850.80
  47     5437 S Laflin Street               5/26/2021            $45,279           $35,661.07
  48     6759 S Indiana Avenue              5/26/2021            $99,587           $87,606.27
  51     1401 W 109th Place                 5/26/2021            $65,266           $53,979.74
  52     310 E 50th Street                  5/26/2021           $201,271          $182,211.56    Gross Price: $4,000,000.00
  53     6807 S Indiana Avenue              5/26/2021           $125,437          $110,453.26      Net Price: $3,543,826.30
 107     1422-24 East 68th Street           6/23/2021           $400,000          $365,372.11
  73     7255-57 S Euclid Avenue            6/29/2021           $970,000          $887,498.04
  61     7237-43 S Bennett Avenue           6/30/2021           $840,000          $678,935.84
  68     6217-27 S Dorchester Avenue         7/6/2021         $2,116,000        $1,964,885.94
 116     1102 Bingham (Houston, TX)         10/5/2021           $892,500         $700,355.74
  70     638-40 N Avers Avenue             10/15/2021           $370,000         $325,151.47      4th Quarter 2021


                                                             $79,037,000       $70,264,232.30




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                                                             SEC v. EquityBuild, Inc., et al.
                                                                     No. 18-cv-5587
                                       Balances of Funds in Property Specific Accounts as of December 31, 2021




                                                    Account Balance
                                                                                                                 Reason for Change (if any)
 Account Number          Account Name             (as of December 31,       Date of Settlement
                                                                                                                    10/1/21 - 12/31/21
                                                          2021)
0025              7301 S Stewart Ave                         $303,432.44               11/4/2019   Interest earned, $191.14
0033              5001-05 S Drexel                         $2,726,130.25               5/22/2019   Interest earned, $1,717.29
0041              7927-49 S Essex                            $644,477.95                5/1/2019   Interest earned, $405.98
0058              8100-14 S Essex                            $928,918.99               4/30/2019   Interest earned, $585.16
0066              6160-6212 S King                           $429,930.08               4/30/2019   Interest earned, $270.83
0074              1102 Bingham                               $701,145.51               10/6/2021   Proceeds from sale of property, $700,355.74;
                                                                                                   interest earned, $417.70
0108              8047 S. Manistee                           $805,962.58                2/5/2020   Interest earned, $507.70
0116              5955 S. Sacramento                         $450,110.83               11/5/2019   Interest earned, $283.54
0124              6001-05 S. Sacramento                      $329,157.20               11/5/2019   Interest earned, $207.35
0132              7026-42 S. Cornell                         $868,156.21               11/6/2019   Interest earned, $546.88
0140              7237-43 S. Bennett                         $683,240.83               6/30/2021   Post-sale distribution by property manager,
                                                                                                   $3,442.46; interest earned, $429.93
0157              7834-44 S. Ellis                         $1,636,618.62               11/4/2019   Interest earned, $1,030.97
0165              701-13 S. 5th Avenue                      $616,449.11                3/31/2020   Interest earned, $388.32
0199              7625 S. East End                         $1,241,762.87              12/20/2019   Interest earned, $782.24
0207              7635 S. East End                         $1,048,889.32              12/20/2019   Interest earned, $660.73
0215              7748 S. Essex                            $1,186,569.40              12/18/2019   Interest earned, $747.47
0223              7750 S. Muskegon                          $409,561.14               12/18/2019   Interest earned, $258.00
0231              7749-59 S. Yates                          $639,095.56                4/22/2020   Interest earned, $402.59
0249              7450 S. Luella                            $198,381.51                 5/7/2020   Interest earned, $124.97
0256              4520-26 S. Drexel                        $6,204,553.07               5/21/2020   Interest earned, $3,908.47
0264              6749-59 S. Merrill                       $1,410,028.21               4/28/2020   Interest earned, $888.23
0272              7110 S. Cornell                          $1,170,123.02               8/13/2020   Interest earned, $737.11
0280              7109 S. Calumet                               $224.15                      n/a   Interest earned, $0.14
0298              7600 S. Kingston                         $1,407,863.68               12/3/2020   Post-sale distribution by property manager,
                                                                                                   $26,919.16; interest earned, $885.26
0306              7656 S. Kingston                           $235,077.51               12/2/2020   Post-sale distribution by property manager,
                                                                                                   $3,660.31; interest earned, $147.79
0314              8201 S. Kingston                          $275,063.02                5/21/2020   Interest earned, $173.27
0322              8326-58 S. Ellis                         $1,333,707.52               6/11/2020   Interest earned, $840.15
0330              6949-59 S. Merrill                       $1,542,773.90               12/1/2020   Interest earned, $971.84
0355              7546 S. Saginaw                           $523,232.34                5/13/2020   Interest earned, $329.61
0363              638 N. Avers                              $628,516.06               10/15/2021   Proceeds from sale of property, $325,151.47;
                                                                                                   interest earned, $364.74
0371              5450 S. Indiana                          $1,793,365.87               6/25/2020   Interest earned, $1,129.71
0389              6437 S. Kenwood                          $1,343,111.13               6/25/2020   Interest earned, $846.07
0397              7300 S. St. Lawrence                      $310,374.11                7/27/2020   Interest earned, $195.52
0405              7760 S. Coles                             $123,149.72                6/26/2020   Interest earned, $77.58
0413              8000 S. Justine                           $193,420.84                6/26/2020   Interest earned, $121.85
0421              8107-09 S. Ellis                          $111,149.31                6/30/2020   Interest earned, $70.02
0439              8209 S. Ellis                             $263,965.99                 7/1/2020   Interest earned, $166.29
0447              8214-16 S. Ingleside                      $209,381.76                6/30/2020   Collection of past-due rent by property manager,
                                                                                                   $600.00; interest earned, $131.89
0454              11117 S. Longwood                        $1,693,848.57                7/8/2020   Interest earned, $1,067.02
0462              1700 Juneway                             $2,775,287.20              10/20/2020   Interest earned, $1,748.25
0470              1131-41 E. 79th                          $1,180,238.78              12/22/2020   Interest earned, $743.48
0488              2736 W. 64th                              $380,452.00                9/29/2020   Interest earned, $239.66
0496              3074 Cheltenham                          $1,015,366.50               9/24/2020   Interest earned, $639.62
0504              5618 S. Martin Luther King                $627,407.81                9/29/2020   Interest earned, $395.23
0512              6250 S. Mozart                            $909,051.47               12/22/2020   Post-sale distribution by property manager,
                                                                                                   $43,764.24; interest earned, $571.45
0520              6355 S. Talman                             $479,480.34               9/29/2020   Interest earned, $302.05
0538              6356 S. California                         $315,808.17               9/29/2020   Interest earned, $198.94
0546              6554-58 S. Vernon                          $541,558.60              10/15/2020   Post-sale distribution by property manager,
                                                                                                   $11,281.01; interest earned, $340.22
0553              7051 S. Bennett                            $477,134.38               9/23/2020   Interest earned, $300.56
0561              7201 S. Constance                          $963,108.64               9/30/2020   Interest earned, $606.70
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                                                              SEC v. EquityBuild, Inc., et al.
                                                                      No. 18-cv-5587
                                        Balances of Funds in Property Specific Accounts as of December 31, 2021




                                                     Account Balance
                                                                                                                  Reason for Change (if any)
 Account Number          Account Name              (as of December 31,       Date of Settlement
                                                                                                                     10/1/21 - 12/31/21
                                                           2021)
0579              7201-07 S. Dorchester                       $421,668.26              10/20/2020 Interest earned, $265.63
0587              7508 S. Essex                               $748,824.65              10/28/2020 Interest earned, $471.71
0595              7957 S. Marquette                           $285,019.51               9/21/2020 Interest earned, $179.54
0603              4533 S. Calumet                           $2,199,332.49               12/1/2020 Interest earned, $1,385.44
0611              1017 W. 102nd                               $105,798.04               5/26/2021 Interest earned, $66.65
0629              1516 E. 85th                                $109,977.81               5/26/2021 Interest earned, $69.27
0637              417 Oglesby                                 $101,661.24               5/26/2021 Interest earned, $64.04
0645              7922 S. Luella                              $142,915.37               5/26/2021 Interest earned, $90.03
0652              7925 S. Kingston                             $88,098.49               5/26/2021 Interest earned, $55.50
0660              8030 S. Marquette                            $80,924.70               5/26/2021 Interest earned, $51.18
0678              8104 S. Kingston                            $150,230.89               5/26/2021 Interest earned, $94.64
0686              8403 S. Aberdeen                            $115,564.89               5/26/2021 Interest earned, $72.80
0694              8405 S. Marquette                           $113,208.84               5/26/2021 Interest earned, $71.31
0702              8529 S. Rhodes                              $134,428.92               5/26/2021 Interest earned, $84.68
0710              9212 S. Parnell                              $98,456.49               5/26/2021 Interest earned, $62.02
0728              10012 S. LaSalle                             $87,506.17               5/26/2021 Interest earned, $55.12
0736              11318 S. Church                             $126,479.37               5/26/2021 Interest earned, $79.68
0744              6554 S. Rhodes                               $87,222.26               5/26/2021 Interest earned, $54.94
0751              6825 S. Indiana                             $127,421.97               5/26/2021 Interest earned, $80.27
0769              7210 S. Vernon                               $61,496.84               5/26/2021 Interest earned, $38.74
0777              7712 S. Euclid                              $130,924.55               5/26/2021 Interest earned, $82.47
0785              8107 S. Kingston                             $98,147.63               5/26/2021 Interest earned, $61.83
0793              8346 S. Constance                           $136,131.93               5/26/2021 Interest earned, $85.75
0801              8432 S. Essex                               $134,320.92               5/26/2021 Interest earned, $84.62
0819              8517 S. Vernon                              $133,142.56               5/26/2021 Interest earned, $83.87
0827              2129 W. 71st                                 $64,072.39               5/26/2021 Interest earned, $40.36
0835              9610 S. Woodlawn                             $87,739.45               5/26/2021 Post-sale distribution by property manager,
                                                                                                  $10,435.82; interest earned, $53.84
0843              1401 W. 109th                                $56,434.70               5/26/2021 Interest earned, $35.55
0850              1139 E. 79th                                  $3,715.33                     n/a Interest earned, $2.34
0868              4611 S. Drexel                            $4,933,111.75               5/14/2021 Interest earned, $3,107.55

0876              6217 S. Dorchester                        $2,211,423.01                7/6/2021 Post-sale distribution by property manager,
                                                                                                  $224,187.06; interest earned, $1,386.91
0884              7255 S. Euclid                            $1,069,341.38               6/29/2021 Post-sale distribution by property manager,
                                                                                                  $140,196.03 interest earned, $669.75
0892              7024 S. Paxton                            $1,833,154.29               4/22/2021 Interest earned, $1,154.77

0900              4317 S. Michigan                            $813,324.87               12/2/2020 Post-sale distribution by property manager,
                                                                                                  $19,519.88; interest earned, $511.81
0918              7701 S. Essex                               $732,838.68              11/16/2020 Interest earned, $461.64
0926              816 E. Marquette                            $823,010.08              11/18/2020   Interest earned, $518.44
0934              1422 E. 68th                                $449,695.00               6/23/2021   Interest earned, $283.28
0942              2800 E. 81st                                $445,057.08               4/30/2021   Interest earned, $280.36
0959              4750 S. Indiana                             $739,479.58               4/21/2021   Interest earned, $465.82
0967              7840 S. Yates                               $364,402.62               4/23/2021   Interest earned, $229.55
0975              7442-48 S. Calumet                          $541,532.83              11/16/2020   Interest earned, $341.13
0983              431 E. 42nd Place                            $64,947.83               11/5/2020   Interest earned, $40.91
0991              1414 E. 62nd Place                           $35,134.70               5/26/2021   Interest earned, $22.13
1007              2136 W. 83rd Street                         $101,781.69               5/26/2021   Interest earned, $64.12
1015              7933 S. Kingston                             $95,661.69               5/26/2021   Interest earned, $60.26
1023              8800 S. Ada                                 $127,069.11               5/26/2021   Interest earned, $80.04
1031              3213 S. Throop                              $137,560.72               5/26/2021   Interest earned, $86.65
1049              3723 W. 68th Place                          $124,208.64               5/26/2021   Interest earned, $78.24
1056              406 E. 87th Place                            $99,731.35               5/26/2021   Interest earned, $62.83
1064              61 E. 92nd Street                           $103,386.96               5/26/2021   Interest earned, $65.13
1072              7953 S. Woodlawn                            $128,613.41               5/26/2021   Interest earned, $81.02
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                                                            SEC v. EquityBuild, Inc., et al.
                                                                    No. 18-cv-5587
                                      Balances of Funds in Property Specific Accounts as of December 31, 2021




                                                   Account Balance
                                                                                                                Reason for Change (if any)
 Account Number          Account Name            (as of December 31,       Date of Settlement
                                                                                                                   10/1/21 - 12/31/21
                                                         2021)
1080              5437 S. Laflin                             $45,779.25               5/26/2021 Interest earned, $28.84
1098              6759 S Indiana                             $90,252.86               5/26/2021 Interest earned, $56.85
1106              310 E 50th Street                         $189,149.03               5/26/2021 Post-sale distribution by property manager,
                                                                                                $6,663.16; interest earned, $118.24
1114              6807 S. Indiana                           $122,198.72               5/26/2021 Post-sale distribution by property manager,
                                                                                                $11,574.19; interest earned, $76.66

                  TOTAL FUNDS HELD:                      $68,938,527.86
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                    STANDARDIZED FUND ACCOUNTING REPORT for EQUITYBUILD, INC., et al. - Cash Basis
                                   Receivership; Civil Court Docket No. 18-cv-05587
                                     Reporting Period 10/1/2021 to 12/31/2021

Fund Accounting (See Instructions):
                                                                             Detail        Subtotal       Grand Total
Line 1        Beginning Balance (As of 10/1/2021):                        $1,047,593.76                   $1,047,593.76
              Increases in Fund Balance:
Line 2        Business Income
Line 3        Cash and unliquidated assets
Line 4        Interest/Dividend Income                                         $657.25
Line 5        Business Asset Liquidation
Line 6        Personal Asset Liquidation
Line 7        Net Income from Properties
Line 8        Miscellaneous - Other¹                                         $3,000.00
                Total Funds Available (Line 1-8):                                                         $1,051,251.01
              Decrease in Fund Balance:
Line 9      Disbursements to Investors
Line 10     Disbursements for receivership operations
   Line 10a Disbursements to receiver or Other Profesionals                 ($22,396.20)
   Line 10b Business Asset Expenses²                                         ($9,108.80)
   Line 10c Personal Asset Expenses
   Line 10d Investment Expenses
   Line 10e Third-Party Litigation Expenses
                1. Attorney Fees
                2. Litigation Expenses
              Total Third-Party Litigation Expenses                                             $0.00
   Line 10f Tax Administrator Fees and Bonds
  Line 10g Federal and State Tax Payments
              Total Disbursements for Receivership Operations                              ($31,505.00)
Line 11     Disbursements for Distribution Expenses Paid by the Fund:
   Line 11a    Distribution Plan Development Expenses:
                 1. Fees:
                       Fund Administrator……………………………………………………….….
                       Independent Distribution Consultant (IDC)…………………
                       Distribution Agent……………………….……………………………………
                       Consultants………………………………………………….…………………….
                       Legal Advisers…………………………………………………………….……..
                       Tax Advisers……………………………………………………………………….
                  2. Administrative Expenses
                  3. Miscellaneous
               Total Plan Development Expenses                                                  $0.00
  Line 11b       Distribution Plan Implementation Expenses:
                   1. Fees:
                       Fund Administrator…………..…………….…………………………
                       IDC……………………………………………………………………………..
         Case: 1:18-cv-05587 Document #: 1164-1 Filed: 01/31/22 Page 9 of 58 PageID #:59387

                 STANDARDIZED FUND ACCOUNTING REPORT for EQUITYBUILD, INC., et al. - Cash Basis
                                Receivership; Civil Court Docket No. 18-cv-05587
                                  Reporting Period 10/1/2021 to 12/31/2021

                    Distribution Agent……………………….………………..…..………
                    Consultants………………………………………………….…………….
                    Legal Advisers………………………………………….………………………..
                    Tax Advisers……………………………………………………..………………..
                 2. Administrative Expenses
                 3. Investor identification
                    Notice/Publishing Approved Plan………………………………….
                    Claimant Identification……………………………………………………
                    Claims Processing……………………………………………………………..
                    Web Site Maintenance/Call Center……………………………….
                 4. Fund Adminstrator Bond
                 5. Miscellaneous
                 6. Federal Account for Investor Restitution
                   (FAIR) reporting Expenses
                 Total Plan Implementation Expenses
                 Total Disbursement for Distribution Expenses Paid by the Fund                          $0.00
Line 12     Disbursement to Court/Other:
   Line 12a     Investment Expenses/Court Registry Investment
                System (CRIS) Fees
   Line 12b     Federal Tax Payments
              Total Disbursement to Court/Others:
              Total Funds Disbursed (Lines 1-12):                                                                    ($31,505.00)
Line 13         Ending Balance (As of 12/31/2021):                                                                $1,019,746.01
Line 14     Ending Balance of Fund - Net Assets:
   Line 14a    Cash & Cash Equivalents                                                                            $1,019,746.01
   Line 14b    Investments (unliquidated EquityBuild investments)
   Line 14c    Other Assets or uncleared Funds
               Total Ending Balance of Fund - Net Assets                                                          $1,019,746.01

           ¹ Cincinnati Insurance (settlement check for claim - 7114
           Cornell)
           Payments to vendors for services related to claims document
           repository ($6,108.80); payment for claim ($3,000.00);
           TOTAL $9,108.80.

                                                               Receiver:
                                                                                              /s/ Kevin B. Duff
                                                                                (Signature)

                                                                            Kevin B. Duff, Receiver EquityBuild, Inc., et al.
                                                                                (Printed Name)

                                                                    Date:                     December 31, 2021
Case: 1:18-cv-05587 Document #: 1164-1 Filed: 01/31/22 Page 10 of 58 PageID #:59388
                EQUITYBUILD RECEIVERSHIP ESTATE ACCOUNT #0181
                              October-December 2021
                       Schedule of Receipts and Disbursements


 Beginning Balance
 10/1/21                                                                               $835,920.40

 RECEIPTS

                                Received From                       Amount

                     10/31/2021 Interest                                     $177.12
                                Cincinnati Insurance (settlement
                                check for Mathews claim - 7114
                     11/22/2021 Cornell)                                 $3,000.00

                     11/30/2021 Interest                                     $170.85

                     12/31/2021 Interest                                     $176.43

                                                  Total Receipts:                        $3,524.40

 DISBURSEMENTS

                                Paid To                             Amount
                                Cloud9 Discovery LLC (inv #s
            20032 10/13/2021    110545, 111655)                         ($5,692.00)
                                Cloud9 Discovery LLC (inv
            20033 11/17/2021    #112017)                                 ($116.80)
                                Xavier Mathews and The
            20034 11/29/2021    Vrdolyak Law Group (7114                ($3,000.00)
                                Cloud9 Discovery LLC (inv
            20035 12/14/2021    #112385)                                 ($300.00)

                                            Total Disbursements:                        ($9,108.80)

                                Grand Total Cash on Hand at
                                12/31/2021:                                            $830,336.00
Case: 1:18-cv-05587 Document #: 1164-1 Filed: 01/31/22 Page 11 of 58 PageID #:59389
                     EQUITYBUILD RECEIVERSHIP ESTATE ACCOUNT #0348
                                   October-December 2021
                            Schedule of Receipts and Disbursements


 Beginning Balance
 10/1/21                                                                               $211,673.36

 RECEIPTS

                                     Received From                 Amount

                          10/31/2021 Interest                                $46.12

                          11/30/2021 Interest                                $43.51

                          12/31/2021 Interest                                $43.22

                                     TOTAL RECEIPTS:                                      $132.85

 DISBURSEMENTS

                                     Paid To                         Amount
                                     BrookWeiner LLC (1Q & 2Q2020
 2014                       12/14/21 fees)                              ($14,043.00)
                                     Prometheum Technologies
 2015                       12/14/21 (1Q2021 fees, Inv 12567)            ($2,750.00)
                                     Miller Kaplan Arase LLP (4Q2020
 2016                       12/14/21 fees, Inv 537022)                   ($5,603.20)

                                     TOTAL DISBURSEMENTS:                              ($22,396.20)

                                     Grand Total Cash on Hand at
                                     12/31/2021:                                       $189,410.01
    Case: 1:18-cv-05587 Document #: 1164-1 Filed: 01/31/22 Page 12 of 58 PageID #:59390



                                                    Master Asset List
                                       Receiver’s Account (as of 12/31/2021)
Institution                                Account Information              Amount
AXOS Fiduciary Services                    Checking #0181                                                         $830,336.00
AXOS Fiduciary Services                      Checking #0348                                                       $189,410.01
                                                                                                                        Total:
                                                                                                                $1,019,746.01

                                 Receivership Defendants’ Accounts
Institution      Account Information                         Current Value                           Amount Transferred
                                                                                                     to Receiver’s
                                                                                                     Account
Wells Fargo      Checking (53 accounts in the names of the                                                    $190,184.13¹
                 affiliates and affiliate entities included as
                 Receivership Defendants)
Wells Fargo      Checking (account in the names of Shaun                                                           $23,065.43²
                 Cohen and spouse)
Byline Bank      Checking (2 accounts in names of Receivership                      $21,851.01³
                 Defendants)
                                                                                                                        Total:
                                                                                                                  $213,249.56

                                   EquityBuild Real Estate Portfolio
For a list of the properties within the EquityBuild portfolio identified by property address, alternative
address (where appropriate), number of units, and owner, see Exhibit 1 to the Receiver’s First Status
Report, Docket No. 107. See also Exhibit 6 hereto.

                                            Other, Non-Illinois Real Estate
Description                                                     Appraised Market Value
Single family home in Plano, Texas                                                                              ±$450,000.00

                                                                          Approximate mortgage amount: $400,000.00
                                                                         Approximate value less mortgage: $50,000.00


     ¹ This amount reflects the total value of all of the frozen bank accounts held by Wells Fargo that were transferred to
     the Receiver’s account; the final transfer was made on 1/22/20, and included as part of the Receiver’s Account as of
     3/31/20.
     ² This amount was transferred to the Receiver’s Account as of 8/27/18, and is included as part of the total balance of
     the Receiver’s Account as of 3/31/19.
     ³ The Receiver is investigating whether these accounts are properly included within the Receivership Estate.
                                                                                                     Master Claims List
                                                                                     SEC v. EquityBuild, Inc., et al., Case No. 18-cv-5587
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Property      Property Address               Alternative Address            Type                                               Claimant Name                                     Claimed Amount         Claim Category as     Amount Claimed to be     Claim
Number                                                                                                                                                                      (Total Claimed Amount      Identified on Claim     Invested in Property   Number
                                                                                                                                                                              in Claim Category as            Form
                                                                                                                                                                               Identified on Claim
                                                                                                                                                                                      Form)
   1       1700‐08 Juneway Terrace                                 Estate Property         IRA Services Trust Company CFBO Melbourne Kimsey II                               $            150,000.00     Equity Investor      $           50,000.00   1‐661
   1       1700‐08 Juneway Terrace                                 Estate Property         Jason Ragan ‐ TSA                                                                 $            128,050.00     Equity Investor      $           10,000.00   1‐1133
   1       1700‐08 Juneway Terrace                                 Estate Property         Jason Ragan ‐ TSA                                                                 $            473,079.71     Equity Investor      $           20,000.00   1‐796
   1       1700‐08 Juneway Terrace                                 Estate Property         Juliette Farr‐Barksdale & Thomas Farr                                             $            323,900.00     Equity Investor      $          300,000.00   1‐2074
   1       1700‐08 Juneway Terrace                                 Estate Property         Mona M. Leonard SD ROTH ‐ 2692021                                                 $            190,609.00     Equity Investor      $           50,000.00   1‐123
   1       1700‐08 Juneway Terrace                                 Estate Property         William H. Akins, Jr.                                                             $          1,100,000.00     Equity Investor      $           20,000.00   1‐2003
   1       1700‐08 Juneway Terrace                                 Estate Property         William Hooper                                                                     $            93,000.00     Equity Investor      $           54,800.00   1‐278
   1       1700‐08 Juneway Terrace                                 Estate Property         CLC Electric, Inc. (Costel Dumitrescu)                                            $            108,000.00 Independent Contractor   $           36,000.00   1‐1477

   1       1700‐08 Juneway Terrace                                 Estate Property         CLD Construction, Inc. (Doru Unchias)                                             $         434,935.00 Independent Contractor $                70,000.00   1‐1454

   1       1700‐08 Juneway Terrace                                 Estate Property         Thorofare Asset Based Lending REIT Fund IV, LLC                                   $        2,698,151.51    Institutional Lender                            1‐1188
   1       1700‐08 Juneway Terrace                                 Estate Property         Agee Family Trust c/o Scott R. Agee                                               $          130,000.00      Investor‐Lender       $           40,000.00   1‐2001
   1       1700‐08 Juneway Terrace                                 Estate Property         Alcalli Sabat                                                                     $          109,396.68      Investor‐Lender                               1‐786
   1       1700‐08 Juneway Terrace                                 Estate Property         Aluvelu Homes LLC                                                                 $          169,271.00      Investor‐Lender       $           20,000.00   1‐879
   1       1700‐08 Juneway Terrace                                 Estate Property         American Estate and Trust FBO Layne Jones IRA                                     $           20,699.99      Investor‐Lender       $           20,000.00   1‐707
   1       1700‐08 Juneway Terrace                                 Estate Property         Asians Investing In Real Estate LLC                                               $        1,278,402.00      Investor‐Lender       $           15,000.00   1‐503
   1       1700‐08 Juneway Terrace                                 Estate Property         Capital Investors, LLC                                                            $          930,376.31      Investor‐Lender       $          250,000.00   1‐1490
   1       1700‐08 Juneway Terrace                                 Estate Property         Chuck Denton | Denton Real Estate Company Inc. 401k                               $          200,000.00      Investor‐Lender       $           25,000.00   1‐379
   1       1700‐08 Juneway Terrace                                 Estate Property         Clearwood Funding, LLC                                                            $          150,000.00      Investor‐Lender       $           50,000.00   1‐1276
   1       1700‐08 Juneway Terrace                                 Estate Property         CLOVE, LLC                                                                        $           21,750.74      Investor‐Lender       $            5,000.00   1‐723
   1       1700‐08 Juneway Terrace                                 Estate Property         Coppy Properties, LLC                                                             $           50,000.00      Investor‐Lender       $           50,000.00   1‐1381
   1       1700‐08 Juneway Terrace                                 Estate Property         Cross 5774 Holdings LLC ‐ Cross Global Funding Group                              $           75,000.00      Investor‐Lender       $           50,000.00   1‐860
   1       1700‐08 Juneway Terrace                                 Estate Property         Dana Speed                                                                        $          249,710.00      Investor‐Lender       $           40,000.00   1‐684
   1       1700‐08 Juneway Terrace                                 Estate Property         Danielle DeVarne                                                                  $          150,000.00      Investor‐Lender       $           50,000.00   1‐679
   1       1700‐08 Juneway Terrace                                 Estate Property         David R. Trengove                                                                 $          705,123.88      Investor‐Lender       $           35,000.00   1‐481
   1       1700‐08 Juneway Terrace                                 Estate Property         Dee Ann Nason                                                                     $          303,965.00      Investor‐Lender       $           50,000.00   1‐453
   1       1700‐08 Juneway Terrace                                 Estate Property         Dennis & Mary Ann Hennefer                                                        $          679,378.00      Investor‐Lender       $           50,000.00   1‐355
   1       1700‐08 Juneway Terrace                                 Estate Property         Elaine Sison Ernst                                                                $           95,000.00      Investor‐Lender       $           30,000.00   1‐1029
   1       1700‐08 Juneway Terrace                                 Estate Property         Elizabeth A. Monnot‐Chase                                                         $          107,450.00      Investor‐Lender       $          105,000.00   1‐1252
   1       1700‐08 Juneway Terrace                                 Estate Property         Evans & Associates LLC (Will Evans)                                               $           50,000.00      Investor‐Lender       $           50,000.00   1‐410
   1       1700‐08 Juneway Terrace                                 Estate Property         Gary R Burnham FBO Raegan D Burnham Roth IRA (custodian IPLAN Group LLC)          $            9,523.00      Investor‐Lender       $            1,000.00   1‐1065
   1       1700‐08 Juneway Terrace                                 Estate Property         Gary R Burnham Jr. Family HSA (custodian IPLAN Group LLC)                         $           30,718.00      Investor‐Lender       $            9,000.00   1‐1066
   1       1700‐08 Juneway Terrace                                 Estate Property         Gilbert D Sherman Declaration of Trust 7/30/2013                                  $           60,500.00      Investor‐Lender       $           50,000.00   1‐92
   1       1700‐08 Juneway Terrace                                 Estate Property         Grace Ndungu                                                                      $           45,169.81      Investor‐Lender       $           50,000.00   1‐609
   1       1700‐08 Juneway Terrace                                 Estate Property         Gregory R Scott and Gene X Erquiaga                                               $           52,333.32      Investor‐Lender       $           50,000.00   1‐697
   1       1700‐08 Juneway Terrace                                 Estate Property         Helene D Kapsky                                                                   $          100,000.00      Investor‐Lender       $          100,000.00   1‐1149
   1       1700‐08 Juneway Terrace                                 Estate Property         HIROYUKI ROY CHIN & LILLIAN S CHIN JTWROS                                         $           26,260.28      Investor‐Lender       $           24,000.00   1‐1274
   1       1700‐08 Juneway Terrace                                 Estate Property         iPlanGroup Agent for Custodian FBO Andrew Brooks IRA Account 3301018              $           46,000.00      Investor‐Lender       $           20,000.00   1‐203
   1       1700‐08 Juneway Terrace                                 Estate Property         iPlanGroup Agent for Custodian FBO Charles Powell IRA                             $          260,000.00      Investor‐Lender                               1‐413
   1       1700‐08 Juneway Terrace                                 Estate Property         Janice Burrell (iPlanGroup Agent for Custodian FBO Janice G. Burrell IRA )        $          160,543.38      Investor‐Lender       $           87,000.00   1‐689
   1       1700‐08 Juneway Terrace                                 Estate Property         Jill Meekcoms (Halverson)                                                         $          113,999.92      Investor‐Lender       $           50,000.00   1‐548
   1       1700‐08 Juneway Terrace                                 Estate Property         JLO Enterprises LLC                                                               $           54,714.37      Investor‐Lender       $           37,000.00   1‐726
   1       1700‐08 Juneway Terrace                                 Estate Property         JML Roth LLC                                                                      $            4,140.01      Investor‐Lender       $            4,000.00   1‐725
   1       1700‐08 Juneway Terrace                                 Estate Property         John A Martino                                                                    $          100,000.00      Investor‐Lender       $          100,000.00   1‐1494
   1       1700‐08 Juneway Terrace                                 Estate Property         KAMEDA INVESTMENTS, LLC (Sole Owner/Manager ‐ Arnold Kunio Kameda)                $          220,000.00      Investor‐Lender       $          100,000.00   1‐121
   1       1700‐08 Juneway Terrace                                 Estate Property         Madison Trust Company Custodian FBO Brian Shaffer IRA Account# M1608073 and       $          155,625.00      Investor‐Lender                               1‐411
                                                                                           M1703059
   1       1700‐08 Juneway Terrace                                 Estate Property         May M. Akamine for Aurora Investments, LLC (assets formerly under MayREI, LLC     $         631,739.82      Investor‐Lender        $          110,000.00   1‐1412
   1       1700‐08 Juneway Terrace                                 Estate Property         Melanie T. or Gary M. Gonzales                                                    $         525,525.01      Investor‐Lender        $          250,000.00   1‐207
   1       1700‐08 Juneway Terrace                                 Estate Property         Michael Borgia IRA                                                                $         975,416.00      Investor‐Lender        $          125,000.00   1‐705
   1       1700‐08 Juneway Terrace                                 Estate Property         Michael C. McClane                                                                $          82,277.75      Investor‐Lender                                1‐941
   1       1700‐08 Juneway Terrace                                 Estate Property         Patrick Connely                                                                   $          50,000.00      Investor‐Lender        $           50,000.00   1‐939
   1       1700‐08 Juneway Terrace                                 Estate Property         Paul N. Wilmesmeier                                                               $         790,185.00      Investor‐Lender        $           25,000.00   1‐300
   1       1700‐08 Juneway Terrace                                 Estate Property         Paul S. Applefield, Trustee, Paul S. Applefield, DDS, 401k Plan                   $         106,000.00      Investor‐Lender        $           45,000.00   1‐2087
   1       1700‐08 Juneway Terrace                                 Estate Property         Pioneer Valley Properties LLC                                                     $          50,000.00      Investor‐Lender        $           50,000.00   1‐878
   1       1700‐08 Juneway Terrace                                 Estate Property         Quest IRA Inc. FBO Rebeca E. Savory‐Romero IRA Account #15528‐11 and #15528‐21    $         184,785.31      Investor‐Lender        $           10,500.00   1‐804
   1       1700‐08 Juneway Terrace                                 Estate Property         R D Meredith General Contractors LLC                                              $         100,000.00      Investor‐Lender        $          100,000.00   1‐1138


                                                                                                                                                                                                                                         Exhibit




                                                                                                                                                                                                                                                           exhibitsticker.com
                                                                                                                                                                                                                                             6
                                                                                                          Page 1 of 46
                                                                                                      Master Claims List
                                                                                      SEC v. EquityBuild, Inc., et al., Case No. 18-cv-5587
                                      Case: 1:18-cv-05587 Document #: 1164-1 Filed: 01/31/22 Page 14 of 58 PageID #:59392


Property       Property Address               Alternative Address            Type                                              Claimant Name                                    Claimed Amount         Claim Category as     Amount Claimed to be     Claim
Number                                                                                                                                                                     (Total Claimed Amount      Identified on Claim     Invested in Property   Number
                                                                                                                                                                             in Claim Category as             Form
                                                                                                                                                                              Identified on Claim
                                                                                                                                                                                     Form)
   1        1700‐08 Juneway Terrace                                 Estate Property         R.D.Meredith General Contractors LLC 401K                                       $            373,617.16     Investor‐Lender      $           40,000.00   1‐528
   1        1700‐08 Juneway Terrace                                 Estate Property         Ricardo Acevedo Lopez                                                            $            15,000.00     Investor‐Lender      $           15,000.00   1‐746
   1        1700‐08 Juneway Terrace                                 Estate Property         Rise Up Real Estate Group, LLC                                                  $            352,258.39     Investor‐Lender      $          144,046.00   1‐1484
   1        1700‐08 Juneway Terrace                                 Estate Property         RLD Denouement Holding Company, LLC                                              $            20,000.00     Investor‐Lender      $           20,000.00   1‐483
   1        1700‐08 Juneway Terrace                                 Estate Property         Robert Potter                                                                   $            282,999.00     Investor‐Lender      $           79,274.00   1‐1389
   1        1700‐08 Juneway Terrace                                 Estate Property         Scott Eaton                                                                     $            549,101.33     Investor‐Lender      $           25,000.00   1‐1470
   1        1700‐08 Juneway Terrace                                 Estate Property         Serva Fidem, LLC                                                                 $            78,510.69     Investor‐Lender      $           34,930.00   1‐1425
   1        1700‐08 Juneway Terrace                                 Estate Property         Simon Usuga                                                                      $            95,000.00     Investor‐Lender      $           45,000.00   1‐681
   1        1700‐08 Juneway Terrace                                 Estate Property         Source One Funding, LLC                                                          $            51,534.99     Investor‐Lender      $           50,000.00   1‐691
   1        1700‐08 Juneway Terrace                                 Estate Property         Spectra Investments LLC/ Deborah L. Mullica                                     $            579,288.00     Investor‐Lender      $          110,000.00   1‐1220
   1        1700‐08 Juneway Terrace                                 Estate Property         Steven R. Bald                                                                  $            586,378.00     Investor‐Lender      $           60,000.00   1‐399
   1        1700‐08 Juneway Terrace                                 Estate Property         Teresita M. Shelton                                                             $            426,513.00     Investor‐Lender                              1‐330
   1        1700‐08 Juneway Terrace                                 Estate Property         Tiger Chang Investments LLC                                                      $            49,000.00     Investor‐Lender      $           10,000.00   1‐164
   1        1700‐08 Juneway Terrace                                 Estate Property         Vladimir Matviishin                                                             $            290,200.00     Investor‐Lender      $            7,500.00   1‐1294
   1        1700‐08 Juneway Terrace                                 Estate Property         VLADIMIR RAUL GARCIA MELIJOV                                                    $            100,000.00     Investor‐Lender      $          100,000.00   1‐75
   1        1700‐08 Juneway Terrace                                 Estate Property         William H. Akins, Jr. (CAMA SDIRA LLC FBO Bill Akins IRA)                       $          1,100,000.00     Investor‐Lender      $           25,000.00   1‐2003
   1        1700‐08 Juneway Terrace                                 Estate Property         XUWEN LIN                                                                        $            58,700.00     Investor‐Lender      $            8,700.00   1‐648
   1        1700‐08 Juneway Terrace                                 Estate Property         Zahra (Nina) Mofrad                                                              $            75,000.00     Investor‐Lender      $           25,000.00   1‐1024
   1        1700‐08 Juneway Terrace                                 Estate Property         Mark A Miller ATF Domaskin Revocable Trust Aug. 8, 2006                         $            150,000.00     Investor‐Lender      $          100,000.00   1‐2040
   1        1700‐08 Juneway Terrace                                 Estate Property         Quest Trust Company FBO Paul Applefield Roth IRA#16413‐21                        $            13,500.00     Investor‐Lender      $            6,500.00   1‐2088
   1        1700‐08 Juneway Terrace                                 Estate Property         Quest Trust Company FBO Robin Applefield Roth IRA#25164‐21                       $            13,500.00     Investor‐Lender      $            6,500.00   1‐2089
   2       4533‐47 S Calumet Avenue                                 Estate Property         Bernadette Chen (Eleven St Felix St. Realty)                                    $          1,000,000.00      Equity Investor     $           50,000.00   2‐2012
   2       4533‐47 S Calumet Avenue                                 Estate Property         Koates LLC                                                                       $            85,000.00      Equity Investor     $           12,000.00   2‐228
   2       4533‐47 S Calumet Avenue                                 Estate Property         Louis Liu                                                                        $            37,908.57      Equity Investor     $           50,000.00   2‐929
   2       4533‐47 S Calumet Avenue                                 Estate Property         Neil R Martin                                                                    $            20,991.00      Equity Investor     $           20,000.00   2‐1253
   2       4533‐47 S Calumet Avenue                                 Estate Property         Michael C. Jacobs                                                               $            178,833.00      Equity Investor     $           50,000.00   2‐2031
   2       4533‐47 S Calumet Avenue                                 Estate Property         CLD Construction, Inc. (Doru Unchias)                                           $            434,935.00 Independent Contractor   $           26,335.00   2‐1454

   2       4533‐47 S Calumet Avenue                                 Estate Property         BMO Harris Bank N.A.                                                            $        1,719,582.97    Institutional Lender                            2‐1063
   2       4533‐47 S Calumet Avenue                                 Estate Property         Amit Hammer                                                                     $          295,980.00      Investor‐Lender       $          100,000.00   2‐225
   2       4533‐47 S Calumet Avenue                                 Estate Property         Annie Chang                                                                     $          246,935.34      Investor‐Lender       $           50,000.00   2‐475
   2       4533‐47 S Calumet Avenue                                 Estate Property         Baron Real Estate Holdings, LLC., Ihab Shahawi and Vivian ELShahawi, Members    $          406,000.00      Investor‐Lender                               2‐1347
   2       4533‐47 S Calumet Avenue                                 Estate Property         Bluebridge Partners Limited                                                     $          791,620.17      Investor‐Lender       $          100,000.00   2‐727
   2       4533‐47 S Calumet Avenue                                 Estate Property         Brett Burnham (iPlanGroup Agent for Custodian FBO Brett Burnham)                $          215,335.54      Investor‐Lender       $           80,000.00   2‐314
   2       4533‐47 S Calumet Avenue                                 Estate Property         Cecilia Wolff                                                                   $           73,887.50      Investor‐Lender                               2‐1204
   2       4533‐47 S Calumet Avenue                                 Estate Property         Charles Savona                                                                  $           37,145.83      Investor‐Lender       $           50,000.00   2‐2050
   2       4533‐47 S Calumet Avenue                                 Estate Property         Chuck Denton | Denton Real Estate Company Inc. 401k                             $          200,000.00      Investor‐Lender       $          100,000.00   2‐379
   2       4533‐47 S Calumet Avenue                                 Estate Property         David R. Trengove                                                               $          705,123.88      Investor‐Lender       $          200,000.00   2‐481
   2       4533‐47 S Calumet Avenue                                 Estate Property         Dee Ann Nason                                                                   $          303,965.00      Investor‐Lender       $           50,000.00   2‐453
   2       4533‐47 S Calumet Avenue                                 Estate Property         Dennis & Mary Ann Hennefer                                                      $          679,378.00      Investor‐Lender       $           52,956.00   2‐355
   2       4533‐47 S Calumet Avenue                                 Estate Property         Double Portion Foundation                                                       $           40,000.00      Investor‐Lender       $           40,000.00   2‐433
   2       4533‐47 S Calumet Avenue                                 Estate Property         Douglas Nebel and Narine Nebel                                                  $          155,752.25      Investor‐Lender       $           50,000.00   2‐1080
   2       4533‐47 S Calumet Avenue                                 Estate Property         Gallowglass LLC c/o Patrick Bournes                                             $          100,000.00      Investor‐Lender                               2‐316
   2       4533‐47 S Calumet Avenue                                 Estate Property         Harvey Singer                                                                   $          854,387.63      Investor‐Lender       $          100,000.00   2‐2054
   2       4533‐47 S Calumet Avenue                                 Estate Property         iPlanGroup Agent for Custodian FBO Charles Powell IRA                           $          260,000.00      Investor‐Lender                               2‐413
   2       4533‐47 S Calumet Avenue                                 Estate Property         iPlanGroup Agent for Custodian FBO Christopher Mora IRA Account # 3320826       $           67,000.00      Investor‐Lender       $           67,000.00   2‐1137
   2       4533‐47 S Calumet Avenue                                 Estate Property         iPlanGroup Agent for Custodian FBO Joshua Mora IRA Account # 3300975            $           57,000.00      Investor‐Lender       $           57,000.00   2‐1176
   2       4533‐47 S Calumet Avenue                                 Estate Property         iPlanGroup Agent for Custodian FBO Laura Dirnberger Roth IRA                    $           71,321.00      Investor‐Lender       $              971.00   2‐448
   2       4533‐47 S Calumet Avenue                                 Estate Property         IPlanGroup Agent for Custodian FBO Mark Young                                   $          380,000.00      Investor‐Lender       $           50,000.00   2‐1446
   2       4533‐47 S Calumet Avenue                                 Estate Property         Joshua Paul Mora                                                                $           57,000.00      Investor‐Lender                               2‐1113
   2       4533‐47 S Calumet Avenue                                 Estate Property         Layne A. Hermansen                                                              $           51,000.00      Investor‐Lender       $           51,000.00   2‐1072
   2       4533‐47 S Calumet Avenue                                 Estate Property         Lorraine K Mcclane                                                              $           36,896.00      Investor‐Lender                               2‐1190
   2       4533‐47 S Calumet Avenue                                 Estate Property         New Move Ventures Inc. (Steven Fecko)                                           $          120,000.00      Investor‐Lender       $           70,000.00   2‐115
   2       4533‐47 S Calumet Avenue                                 Estate Property         Optima Property Solutions, LLC                                                  $          487,209.71      Investor‐Lender       $           70,000.00   2‐1023
   2       4533‐47 S Calumet Avenue                                 Estate Property         Paul N. Wilmesmeier                                                             $          790,185.00      Investor‐Lender       $           25,000.00   2‐300
   2       4533‐47 S Calumet Avenue                                 Estate Property         Provident Trust Group, LLC FBO Stephan Tang IRA                                 $           71,815.00      Investor‐Lender                               2‐172
   2       4533‐47 S Calumet Avenue                                 Estate Property         Rajitha Dundigalla                                                              $           50,000.00      Investor‐Lender       $           50,000.00   2‐651
   2       4533‐47 S Calumet Avenue                                 Estate Property         Randall Sotka                                                                   $          255,000.00      Investor‐Lender       $          100,000.00   2‐1207




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Property       Property Address               Alternative Address            Type                                                 Claimant Name                                           Claimed Amount           Claim Category as     Amount Claimed to be     Claim
Number                                                                                                                                                                               (Total Claimed Amount        Identified on Claim     Invested in Property   Number
                                                                                                                                                                                       in Claim Category as              Form
                                                                                                                                                                                        Identified on Claim
                                                                                                                                                                                               Form)
   2       4533‐47 S Calumet Avenue                                 Estate Property         Robert Conley III                                                                          $             3,187.50      Investor‐Lender       $           75,000.00   2‐789
   2       4533‐47 S Calumet Avenue                                 Estate Property         Robert Potter                                                                             $            282,999.00      Investor‐Lender       $            6,634.00   2‐1389
   2       4533‐47 S Calumet Avenue                                 Estate Property         Russ Moreland                                                                              $             3,000.00      Investor‐Lender       $           50,000.00   2‐286
   2       4533‐47 S Calumet Avenue                                 Estate Property         Shengjie Li and Yuye Xu                                                                   $            165,441.12      Investor‐Lender       $           50,000.00   2‐1340
   2       4533‐47 S Calumet Avenue                                 Estate Property         Stephen V Mancuso, Laura L Mancuso, SLM Property Investments, IRA Trust Services Co.       $            50,000.00      Investor‐Lender       $           50,000.00   2‐769
                                                                                            FBO SLM Property INvestments IRA Account #5877315203
   2       4533‐47 S Calumet Avenue                                 Estate Property         Steven C Noss                                                                             $           69,388.00         Investor‐Lender      $           50,000.00   2‐361
   2       4533‐47 S Calumet Avenue                                 Estate Property         Vantage Appraisals 401k Profit Sharing Plan Benef Patricia Mueller Dcd                    $           81,024.17         Investor‐Lender      $           55,000.00   2‐1191
   2       4533‐47 S Calumet Avenue                                 Estate Property         Vladimir Matviishin                                                                       $          290,200.00         Investor‐Lender      $           51,000.00   2‐1294
   2       4533‐47 S Calumet Avenue                                 Estate Property         William Needham                                                                           $          355,428.00         Investor‐Lender      $          169,500.00   2‐80
   2       4533‐47 S Calumet Avenue                                 Estate Property         Bauer Latoza Studio, Ltd.                                                                 $           30,525.00          Trade Creditor      $            3,075.00   2‐885
   3        5001 S Drexel Boulevard            909 E 50th Street    Estate Property         Asians Investing In Real Estate LLC                                                       $          415,000.00          Equity Investor     $           95,000.00   3‐503
   3        5001 S Drexel Boulevard            909 E 50th Street    Estate Property         Benjamin J Serebin                                                                        $          289,736.11          Equity Investor     $          300,000.00   3‐1288
   3        5001 S Drexel Boulevard            909 E 50th Street    Estate Property         Bernadette Chen (Eleven St Felix St. Realty)                                              $        1,000,000.00          Equity Investor     $          300,000.00   3‐2012
   3        5001 S Drexel Boulevard            909 E 50th Street    Estate Property         Bright Venture, LLC                                                                       $          231,142.74          Equity Investor     $           50,000.00   3‐84
   3        5001 S Drexel Boulevard            909 E 50th Street    Estate Property         Bryan Corey Purkis , Trustee Vivant Ventures Trust                                        $          179,250.00          Equity Investor     $          150,000.00   3‐1413
   3        5001 S Drexel Boulevard            909 E 50th Street    Estate Property         Capital Investors, LLC                                                                    $        1,856,942.46          Equity Investor     $          295,000.00   3‐1490
   3        5001 S Drexel Boulevard            909 E 50th Street    Estate Property         Nancy Cree (Cree Capital Ventures)                                                        $          300,000.00          Equity Investor     $          300,000.00   3‐2014
   3        5001 S Drexel Boulevard            909 E 50th Street    Estate Property         Tiger Chang Investments LLC                                                               $            5,000.00          Equity Investor     $            5,000.00   3‐164
   3        5001 S Drexel Boulevard            909 E 50th Street    Estate Property         Wilmington Trust, National Association, As Trustee For the Registered Holders of Wells    $        2,879,601.67       Institutional Lender                           3‐1329
                                                                                            Fargo Commercial Mortgage Trust 2014‐LC16, Commercial Mortgage Pass‐Through
                                                                                            Certificates, Series 2014‐LC16*
   3        5001 S Drexel Boulevard           909 E 50th Street     Estate Property         Adir Hazan                                                                                $          150,000.00          Investor‐Lender     $           50,000.00   3‐143
   3        5001 S Drexel Boulevard           909 E 50th Street     Estate Property         Consuelo V Needs‐Medical Dictation Services, Inc.                                         $           50,000.00          Investor‐Lender     $           50,000.00   3‐541
   3        5001 S Drexel Boulevard           909 E 50th Street     Estate Property         Doron Reichenberg                                                                         $          179,000.00          Investor‐Lender     $           50,000.00   3‐708
   3        5001 S Drexel Boulevard           909 E 50th Street     Estate Property         Horst Siegrfied Filtzer Jr.                                                               $           90,983.33          Investor‐Lender     $          100,000.00   3‐1085
   3        5001 S Drexel Boulevard           909 E 50th Street     Estate Property         LEVENT KESEN                                                                              $          150,000.00          Investor‐Lender     $           50,000.00   3‐1078
   3        5001 S Drexel Boulevard           909 E 50th Street     Estate Property         Madison Trust Company FBO Judy Newton IRA                                                 $          102,235.61          Investor‐Lender     $           50,000.00   3‐533
   3        5001 S Drexel Boulevard           909 E 50th Street     Estate Property         Rachael B Curcio                                                                          $          121,092.00          Investor‐Lender     $           50,000.00   3‐292
   3        5001 S Drexel Boulevard           909 E 50th Street     Estate Property         Schankman, Michael                                                                        $           57,402.06          Investor‐Lender     $           50,000.00   3‐2052
   3        5001 S Drexel Boulevard           909 E 50th Street     Estate Property         Scott Eaton                                                                               $          549,101.33          Investor‐Lender     $          100,000.00   3‐1470
   3        5001 S Drexel Boulevard           909 E 50th Street     Estate Property         US Freedom Investments, LLC                                                               $          175,500.00          Investor‐Lender     $           17,000.00   3‐1234
   3        5001 S Drexel Boulevard           909 E 50th Street     Estate Property         Victor Esposito T/A 2E‐LLC I am the manager member and the sole member of 2E‐LLC          $           50,000.00          Investor‐Lender     $           50,000.00   3‐308
   3        5001 S Drexel Boulevard           909 E 50th Street     Estate Property         Victor Shaw                                                                               $          296,025.03          Investor‐Lender     $           50,000.00   3‐1040
   4       5450‐52 S Indiana Avenue           118‐132 E Garfield    Estate Property         Bancroft, Ed                                                                              $          258,060.00        Investor‐Lender and                           4‐2008
                                                                                                                                                                                                                      Equity Investor
   4       5450‐52 S Indiana Avenue           118‐132 E Garfield    Estate Property         Bernadette Chen (Eleven St Felix St. Realty)                                              $        1,000,000.00           Equity Investor    $           50,000.00   4‐2012
   4       5450‐52 S Indiana Avenue           118‐132 E Garfield    Estate Property         MID LLC by Carolyn Mize                                                                   $           53,061.25           Equity Investor    $           50,000.00   4‐524
   4       5450‐52 S Indiana Avenue           118‐132 E Garfield    Estate Property         Thomas F. Gordon                                                                          $          200,000.00           Equity Investor    $          100,000.00   4‐2023
   4       5450‐52 S Indiana Avenue           118‐132 E Garfield    Estate Property         William H. Akins, Jr.                                                                     $        1,100,000.00           Equity Investor    $           10,000.00   4‐2003
   4       5450‐52 S Indiana Avenue           118‐132 E Garfield    Estate Property         Anjie Comer                                                                               $           25,000.00           Equity Investor                            4‐612
   4       5450‐52 S Indiana Avenue           118‐132 E Garfield    Estate Property         Vartan Tarakchyan                                                                         $          415,000.00           Equity Investor    $          30,000.00    4‐1118
   4       5450‐52 S Indiana Avenue           118‐132 E Garfield    Estate Property         Verdell Michaux                                                                           $           34,000.00           Equity Investor    $            5,000.00   4‐2039
   4       5450‐52 S Indiana Avenue           118‐132 E Garfield    Estate Property         CLD Construction, Inc. (Doru Unchias)                                                     $          434,935.00     Independent Contractor   $            2,500.00   4‐1454

   4       5450‐52 S Indiana Avenue           118‐132 E Garfield    Estate Property         Shatar Capital Inc et al                                                                  $        2,341,486.08       Institutional Lender                           4‐1483
                                                                                                                                                                                                                    Investor‐Lender
   4       5450‐52 S Indiana Avenue           118‐132 E Garfield    Estate Property         Aksel Allouch                                                                             $           50,000.00         Investor‐Lender      $           50,000.00   4‐90
   4       5450‐52 S Indiana Avenue           118‐132 E Garfield    Estate Property         Alcalli Sabat                                                                             $          109,396.68         Investor‐Lender                              4‐786
   4       5450‐52 S Indiana Avenue           118‐132 E Garfield    Estate Property         Aluvelu Homes LLC                                                                         $          169,271.00         Investor‐Lender      $           20,000.00   4‐879
   4       5450‐52 S Indiana Avenue           118‐132 E Garfield    Estate Property         Annie Chang                                                                               $          246,935.34         Investor‐Lender      $           15,000.00   4‐475
   4       5450‐52 S Indiana Avenue           118‐132 E Garfield    Estate Property         Arthur and Dinah Bertrand                                                                 $        1,000,000.00         Investor‐Lender      $           50,000.00   4‐890
   4       5450‐52 S Indiana Avenue           118‐132 E Garfield    Estate Property         BLUE MOUNTAIN VENTURES PSP 401K, GEORGE SAMUEL                                            $          463,999.95         Investor‐Lender      $          150,000.00   4‐491
   4       5450‐52 S Indiana Avenue           118‐132 E Garfield    Estate Property         Bluebridge Partners Limited                                                               $          791,620.17         Investor‐Lender      $          100,000.00   4‐727
   4       5450‐52 S Indiana Avenue           118‐132 E Garfield    Estate Property         Bonnie Young                                                                              $           65,333.41         Investor‐Lender      $           50,000.00   4‐1223
   4       5450‐52 S Indiana Avenue           118‐132 E Garfield    Estate Property         Bright Venture, LLC                                                                       $           41,928.77         Investor‐Lender      $           40,000.00   4‐84
   4       5450‐52 S Indiana Avenue           118‐132 E Garfield    Estate Property         David R. Trengove                                                                         $          705,123.88         Investor‐Lender      $           44,266.00   4‐481
   4       5450‐52 S Indiana Avenue           118‐132 E Garfield    Estate Property         Denise Renee Wilson                                                                       $           77,704.42         Investor‐Lender      $           90,000.00   4‐1492
   4       5450‐52 S Indiana Avenue           118‐132 E Garfield    Estate Property         Distributive Marketing Inc.                                                               $          100,000.00         Investor‐Lender      $           50,000.00   4‐806




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                                                                                                       Master Claims List
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Property       Property Address                Alternative Address            Type                                              Claimant Name                                     Claimed Amount         Claim Category as     Amount Claimed to be     Claim
Number                                                                                                                                                                       (Total Claimed Amount      Identified on Claim     Invested in Property   Number
                                                                                                                                                                               in Claim Category as            Form
                                                                                                                                                                                Identified on Claim
                                                                                                                                                                                       Form)
   4       5450‐52 S Indiana Avenue            118‐132 E Garfield    Estate Property         Donald Freers aka Meadows Advisors LLC                                           $            198,000.00    Investor‐Lender       $           48,000.00   4‐72
   4       5450‐52 S Indiana Avenue            118‐132 E Garfield    Estate Property         Douglas Nebel and Narine Nebel                                                   $            155,752.25    Investor‐Lender       $           65,000.00   4‐1080
   4       5450‐52 S Indiana Avenue            118‐132 E Garfield    Estate Property         Erika Dietz IRA account (Madison Trust Company Custodian FBO Erika Dietz Acct    $            102,666.66    Investor‐Lender       $          100,000.00   4‐1301
                                                                                             #M1612085)
   4       5450‐52 S Indiana Avenue            118‐132 E Garfield    Estate Property         Girl Cat Capital West LLC, Valentina Salge, President                            $          212,145.00       Investor‐Lender      $           50,000.00   4‐350
   4       5450‐52 S Indiana Avenue            118‐132 E Garfield    Estate Property         Graystone Realty, LLC                                                            $           52,000.01       Investor‐Lender      $           50,000.00   4‐1210
   4       5450‐52 S Indiana Avenue            118‐132 E Garfield    Estate Property         Harendra Pal                                                                     $           11,165.00       Investor‐Lender      $            8,932.00   4‐1125
   4       5450‐52 S Indiana Avenue            118‐132 E Garfield    Estate Property         HIROYUKI ROY CHIN & LILLIAN S CHIN JTWROS                                        $           26,260.28       Investor‐Lender      $           26,000.00   4‐1274
   4       5450‐52 S Indiana Avenue            118‐132 E Garfield    Estate Property         Howard and Doris Bybee                                                           $           65,000.00       Investor‐Lender      $           15,000.00   4‐1039
   4       5450‐52 S Indiana Avenue            118‐132 E Garfield    Estate Property         IG Investment Trust                                                              $           27,213.71       Investor‐Lender      $           25,000.00   4‐1061
   4       5450‐52 S Indiana Avenue            118‐132 E Garfield    Estate Property         Influx Investments LLC                                                           $          100,000.00       Investor‐Lender      $           25,000.00   4‐744
   4       5450‐52 S Indiana Avenue            118‐132 E Garfield    Estate Property         iPlanGroup Agent for Custodian FBO Charles Michael Anglin                        $          238,889.23       Investor‐Lender      $           15,000.00   4‐331
   4       5450‐52 S Indiana Avenue            118‐132 E Garfield    Estate Property         iPlanGroup Agent for Custodian FBO Charles Powell IRA                            $          260,000.00       Investor‐Lender                              4‐413
   4       5450‐52 S Indiana Avenue            118‐132 E Garfield    Estate Property         iPlanGroup Agent for Custodian FBO Rajanikanth Tanikella IRA                     $          110,000.00       Investor‐Lender      $           10,000.00   4‐829
   4       5450‐52 S Indiana Avenue            118‐132 E Garfield    Estate Property         IRA Services Trust Custodian FBO Ronald Stephen Klein                            $          114,666.74       Investor‐Lender      $           50,000.00   4‐301
   4       5450‐52 S Indiana Avenue            118‐132 E Garfield    Estate Property         James Anthony Ande                                                               $           75,000.00       Investor‐Lender      $           25,000.00   4‐591
   4       5450‐52 S Indiana Avenue            118‐132 E Garfield    Estate Property         Julie Patel                                                                      $           97,038.00       Investor‐Lender      $           10,000.00   4‐409
   4       5450‐52 S Indiana Avenue            118‐132 E Garfield    Estate Property         Karl R. DeKlotz                                                                  $        1,586,165.90       Investor‐Lender      $          150,000.00   4‐1179
   4       5450‐52 S Indiana Avenue            118‐132 E Garfield    Estate Property         Kirk Road Investments, LLC                                                       $          434,195.69       Investor‐Lender      $          121,855.00   4‐755
   4       5450‐52 S Indiana Avenue            118‐132 E Garfield    Estate Property         LMJ Sales, Inc.                                                                  $          559,807.34       Investor‐Lender      $          100,000.00   4‐1346
   4       5450‐52 S Indiana Avenue            118‐132 E Garfield    Estate Property         Luna and Jerry Ellis                                                             $           41,066.65       Investor‐Lender      $           40,000.00   4‐2020
   4       5450‐52 S Indiana Avenue            118‐132 E Garfield    Estate Property         Mark DeLuca                                                                      $          110,000.00       Investor‐Lender      $          110,000.00   4‐485
   4       5450‐52 S Indiana Avenue            118‐132 E Garfield    Estate Property         Mark P. Mouty                                                                    $          180,702.77       Investor‐Lender      $           20,000.00   4‐165
   4       5450‐52 S Indiana Avenue            118‐132 E Garfield    Estate Property         Mike Dirnberger                                                                  $           15,000.00       Investor‐Lender                              4‐443
   4       5450‐52 S Indiana Avenue            118‐132 E Garfield    Estate Property         Moran Blueshtein and Upender Subramanian                                         $          146,857.18       Investor‐Lender      $           20,000.00   4‐95
   4       5450‐52 S Indiana Avenue            118‐132 E Garfield    Estate Property         Mountain West LLC IRA FBO Rachael B. Curcio Acct# 50679‐01                       $          159,000.00       Investor‐Lender      $           10,000.00   4‐315
   4       5450‐52 S Indiana Avenue            118‐132 E Garfield    Estate Property         Nehasri Ltd ( investment under Nehasri Ltd by Manoj Donthineni)                  $          252,907.00       Investor‐Lender      $           25,000.00   4‐1365
   4       5450‐52 S Indiana Avenue            118‐132 E Garfield    Estate Property         Optima Property Solutions, LLC                                                   $          487,209.71       Investor‐Lender      $          170,000.00   4‐1023
   4       5450‐52 S Indiana Avenue            118‐132 E Garfield    Estate Property         Paul N. Wilmesmeier                                                              $          790,185.00       Investor‐Lender      $           25,000.00   4‐300
   4       5450‐52 S Indiana Avenue            118‐132 E Garfield    Estate Property         Petra Zoeller                                                                    $          546,619.00       Investor‐Lender      $           50,000.00   4‐594
   4       5450‐52 S Indiana Avenue            118‐132 E Garfield    Estate Property         Provident Trust Group F.B.O Charles Smith SoloK                                  $           50,000.00       Investor‐Lender      $           50,000.00   4‐1198
   4       5450‐52 S Indiana Avenue            118‐132 E Garfield    Estate Property         R2V2 Investments LLC                                                             $           88,590.47       Investor‐Lender      $           20,000.00   4‐842
   4       5450‐52 S Indiana Avenue            118‐132 E Garfield    Estate Property         Robert W. Jennings                                                               $          308,632.47       Investor‐Lender      $          150,000.00   4‐447
   4       5450‐52 S Indiana Avenue            118‐132 E Garfield    Estate Property         Sandeep Kattar                                                                   $           50,000.00       Investor‐Lender      $           50,000.00   4‐1396
   4       5450‐52 S Indiana Avenue            118‐132 E Garfield    Estate Property         SeaDog Properties LLC / Darrell Odum                                             $          134,000.00       Investor‐Lender      $           24,000.00   4‐381
   4       5450‐52 S Indiana Avenue            118‐132 E Garfield    Estate Property         Steven G. Mouty                                                                  $           50,000.00       Investor‐Lender      $           50,000.00   4‐566
   4       5450‐52 S Indiana Avenue            118‐132 E Garfield    Estate Property         Steven Roche                                                                     $          127,821.13       Investor‐Lender      $            5,000.00   4‐329
   4       5450‐52 S Indiana Avenue            118‐132 E Garfield    Estate Property         Strategic Wealth Ventures, LLC, Brian Kothman Member                             $           70,866.00       Investor‐Lender      $           35,655.00   4‐595
   4       5450‐52 S Indiana Avenue            118‐132 E Garfield    Estate Property         Susan Kalisiak‐Tingle                                                            $          469,921.00       Investor‐Lender      $            9,274.00   4‐1438
   4       5450‐52 S Indiana Avenue            118‐132 E Garfield    Estate Property         Timothy S Sharp                                                                  $          650,000.00       Investor‐Lender      $           50,000.00   4‐76
   4       5450‐52 S Indiana Avenue            118‐132 E Garfield    Estate Property         TMAKINDE, LLC                                                                    $          247,000.00       Investor‐Lender      $           25,000.00   4‐372
   4       5450‐52 S Indiana Avenue            118‐132 E Garfield    Estate Property         Vivek Pingili                                                                    $          150,213.00       Investor‐Lender      $           30,000.00   4‐522
   4       5450‐52 S Indiana Avenue            118‐132 E Garfield    Estate Property         Vladimir Matviishin                                                              $          290,200.00       Investor‐Lender      $           14,000.00   4‐1294
   4       5450‐52 S Indiana Avenue            118‐132 E Garfield    Estate Property         Wanda M. Behling                                                                 $           43,719.00       Investor‐Lender      $           11,219.00   4‐1025
   4       5450‐52 S Indiana Avenue            118‐132 E Garfield    Estate Property         William H. Akins, Jr. (CAMA SDIRA LLC FBO Bill Akins IRA)                        $        1,100,000.00       Investor‐Lender      $           20,000.00   4‐2003
   4       5450‐52 S Indiana Avenue            118‐132 E Garfield    Estate Property         Yin Liu, Ping Xu                                                                 $          300,000.00       Investor‐Lender      $          200,000.00   4‐1368
   4       5450‐52 S Indiana Avenue            118‐132 E Garfield    Estate Property         Paul Harrison                                                                    $          420,331.59       Investor‐Lender      $           43,098.00   4‐2026
   4       5450‐52 S Indiana Avenue            118‐132 E Garfield    Estate Property         Sam Harrison                                                                     $           50,000.00       Investor‐Lender      $           25,000.00   4‐2027
   5       7749‐59 S Yates Boulevard                                 Estate Property         Bancroft, Ed                                                                     $          258,060.00     Investor‐Lender and                            5‐2008
                                                                                                                                                                                                           Equity Investor
   5       7749‐59 S Yates Boulevard                                 Estate Property         Jason Ragan ‐ TSA                                                                $          327,324.29        Equity Investor     $            3,451.00   5‐797
   5       7749‐59 S Yates Boulevard                                 Estate Property         Koates LLC                                                                       $           85,000.00        Equity Investor     $            3,200.00   5‐228
   5       7749‐59 S Yates Boulevard                                 Estate Property         Steve Weera Tonasut and Esther Kon Tonasut                                       $           50,000.00        Equity Investor     $           50,000.00   5‐154
   5       7749‐59 S Yates Boulevard                                 Estate Property         Shatar Capital Inc et al                                                         $        2,341,486.08     Institutional Lender                           5‐1483
                                                                                                                                                                                                          Investor‐Lender
   5       7749‐59 S Yates Boulevard                                 Estate Property         Advanta IRA Services LLC, FBO Dwight L. Plymale IRA #8006189                     $           80,826.56       Investor‐Lender      $           97,000.00   5‐847
   5       7749‐59 S Yates Boulevard                                 Estate Property         Alcalli Sabat                                                                    $          109,396.68       Investor‐Lender                              5‐786
   5       7749‐59 S Yates Boulevard                                 Estate Property         American Estate and Trust, LC FBO Edward J. Netzel IRA                           $           10,000.00       Investor‐Lender      $           10,000.00   5‐1057




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Property       Property Address                Alternative Address            Type                                              Claimant Name                                           Claimed Amount         Claim Category as    Amount Claimed to be     Claim
Number                                                                                                                                                                             (Total Claimed Amount      Identified on Claim    Invested in Property   Number
                                                                                                                                                                                     in Claim Category as            Form
                                                                                                                                                                                      Identified on Claim
                                                                                                                                                                                             Form)
   5       7749‐59 S Yates Boulevard                                 Estate Property         Amit Hammer                                                                            $            295,980.00    Investor‐Lender      $           30,000.00   5‐225
   5       7749‐59 S Yates Boulevard                                 Estate Property         Austin Capital Trust Company on behalf of Summit Trust Company, custodian FBO David R $              77,520.06    Investor‐Lender      $           25,000.00   5‐1178
                                                                                             Theil MD
   5       7749‐59 S Yates Boulevard                                 Estate Property         Charles P McEvoy                                                                       $            438,733.33    Investor‐Lender      $          100,000.00   5‐232
   5       7749‐59 S Yates Boulevard                                 Estate Property         Clarice Recamara                                                                        $            25,000.00    Investor‐Lender      $           25,000.00   5‐640
   5       7749‐59 S Yates Boulevard                                 Estate Property         Clearwood Funding, LLC                                                                 $            150,000.00    Investor‐Lender      $           50,000.00   5‐1276
   5       7749‐59 S Yates Boulevard                                 Estate Property         Dana Speed                                                                             $            249,710.00    Investor‐Lender      $          169,000.00   5‐684
   5       7749‐59 S Yates Boulevard                                 Estate Property         David M Harris                                                                         $            831,700.00    Investor‐Lender      $          100,000.00   5‐267
   5       7749‐59 S Yates Boulevard                                 Estate Property         Donald Hendrickson                                                                      $            10,595.99    Investor‐Lender      $           10,000.00   5‐945
   5       7749‐59 S Yates Boulevard                                 Estate Property         Doron Kermanian                                                                         $            30,000.00    Investor‐Lender      $           25,000.00   5‐380
   5       7749‐59 S Yates Boulevard                                 Estate Property         Duke E. Heger and Viviana Heger                                                        $            117,000.00    Investor‐Lender      $           35,000.00   5‐1408
   5       7749‐59 S Yates Boulevard                                 Estate Property         Easley Family Trust c/o Todd Easley                                                     $            25,000.00    Investor‐Lender      $           25,000.00   5‐596
   5       7749‐59 S Yates Boulevard                                 Estate Property         Grathia Corp                                                                           $          1,184,081.00    Investor‐Lender      $          149,081.00   5‐1445
   5       7749‐59 S Yates Boulevard                                 Estate Property         iPlan Group Agent for Custodian FBO Rama Voddi Roth IRA                                 $            33,000.00    Investor‐Lender      $           33,000.00   5‐799
   5       7749‐59 S Yates Boulevard                                 Estate Property         iPlan Group FBO Garwood Weatherhead IRA Account # 3320844                              $            184,941.00    Investor‐Lender      $           13,096.00   5‐1096
   5       7749‐59 S Yates Boulevard                                 Estate Property         iPlan Group FBO Garwood Weatherhead IRA Account # 3421004                              $            184,941.00    Investor‐Lender      $           16,152.00   5‐1096
   5       7749‐59 S Yates Boulevard                                 Estate Property         iPlanGroup Agent for Custodian FBO Andrew Brooks IRA Account 3301018                    $            46,000.00    Investor‐Lender      $            6,000.00   5‐203
   5       7749‐59 S Yates Boulevard                                 Estate Property         iPlanGroup Agent for Custodian FBO Charles Michael Anglin                              $            238,889.23    Investor‐Lender      $           50,000.00   5‐331
   5       7749‐59 S Yates Boulevard                                 Estate Property         Janice Burrell (iPlanGroup Agent for Custodian FBO Janice G. Burrell IRA )             $            160,543.38    Investor‐Lender      $           50,000.00   5‐689
   5       7749‐59 S Yates Boulevard                                 Estate Property         John Bloxham                                                                            $            36,374.24    Investor‐Lender      $           35,000.00   5‐1015
   5       7749‐59 S Yates Boulevard                                 Estate Property         John Witzigreuter                                                                      $            200,000.00    Investor‐Lender      $           50,000.00   5‐729
   5       7749‐59 S Yates Boulevard                                 Estate Property         Joseph P. McCarthy                                                                     $            277,847.33    Investor‐Lender      $           10,000.00   5‐1367
   5       7749‐59 S Yates Boulevard                                 Estate Property         Julie Patel                                                                             $            97,038.00    Investor‐Lender      $           35,291.00   5‐409
   5       7749‐59 S Yates Boulevard                                 Estate Property         Karen L Hendrickson                                                                     $            10,597.66    Investor‐Lender      $           10,000.00   5‐948
   5       7749‐59 S Yates Boulevard                                 Estate Property         Keith P Rowland and Jane E Rowland                                                      $            52,583.32    Investor‐Lender      $           50,000.00   5‐89
   5       7749‐59 S Yates Boulevard                                 Estate Property         Keith Randall                                                                          $            250,000.00    Investor‐Lender      $           70,000.00   5‐1086
   5       7749‐59 S Yates Boulevard                                 Estate Property         Kevin & Laura Allred                                                                    $            61,000.00    Investor‐Lender      $           50,000.00   5‐452
   5       7749‐59 S Yates Boulevard                                 Estate Property         KKW Investments, LLC                                                                   $            100,033.40    Investor‐Lender      $            3,000.00   5‐336
   5       7749‐59 S Yates Boulevard                                 Estate Property         Legacy Trading LLC                                                                     $            257,000.00    Investor‐Lender      $          237,000.00   5‐508
   5       7749‐59 S Yates Boulevard                                 Estate Property         Lynn Marie Kupfer                                                                      $            114,201.00    Investor‐Lender      $          100,000.00   5‐1319
   5       7749‐59 S Yates Boulevard                                 Estate Property         Madison Trust Company custodian FBO Guenter Scheel IRA M1702087                         $            25,000.00    Investor‐Lender      $           25,000.00   5‐2073
   5       7749‐59 S Yates Boulevard                                 Estate Property         Manuel Camacho                                                                         $            104,434.59    Investor‐Lender      $           25,000.00   5‐748
   5       7749‐59 S Yates Boulevard                                 Estate Property         Michael F Grant & L. Gretchen Grant (Michael F. Grant & L. Gretchen Grant Revocable    $            695,000.00    Investor‐Lender      $           50,000.00   5‐393
                                                                                             Trust dated March 16th 2012)
   5       7749‐59 S Yates Boulevard                                 Estate Property         Michael Warner, Trustee of Warner Chiropractic Care Center, PC PSP                     $            203,254.00    Investor‐Lender      $           24,000.00   5‐78
   5       7749‐59 S Yates Boulevard                                 Estate Property         Naveen Kwatra                                                                           $            75,000.00    Investor‐Lender      $           25,000.00   5‐356
   5       7749‐59 S Yates Boulevard                                 Estate Property         Optima Property Solutions, LLC                                                         $            487,209.71    Investor‐Lender      $          100,000.00   5‐1023
   5       7749‐59 S Yates Boulevard                                 Estate Property         Pat DeSantis                                                                           $          2,684,539.00    Investor‐Lender      $          250,000.00   5‐397
   5       7749‐59 S Yates Boulevard                                 Estate Property         Patrick Connely                                                                         $            20,000.00    Investor‐Lender      $           20,000.00   5‐964
   5       7749‐59 S Yates Boulevard                                 Estate Property         Paul Scribner                                                                          $            200,000.00    Investor‐Lender      $            5,500.00   5‐1135
   5       7749‐59 S Yates Boulevard                                 Estate Property         Peter Jordan                                                                           $            153,456.56    Investor‐Lender      $           76,728.28   5‐282
   5       7749‐59 S Yates Boulevard                                 Estate Property         Phillip G. Vander Kraats                                                                $            80,186.82    Investor‐Lender      $            1,374.00   5‐628
   5       7749‐59 S Yates Boulevard                                 Estate Property         PNW Investments, LLC                                                                   $            350,000.00    Investor‐Lender      $           12,000.00   5‐332
   5       7749‐59 S Yates Boulevard                                 Estate Property         Quantum Growth Holdings LLC                                                             $            15,321.00    Investor‐Lender      $            5,500.00   5‐354
   5       7749‐59 S Yates Boulevard                                 Estate Property         QUEST IRA Inc. FBO Francisco A. Romero Sr. Acct# 25282‐11 and Acct# 25282‐21            $            89,482.53    Investor‐Lender      $           12,100.00   5‐1352
   5       7749‐59 S Yates Boulevard                                 Estate Property         Raymond Thompson Investment Trust LLC                                                   $            80,000.00    Investor‐Lender      $           30,000.00   5‐251
   5       7749‐59 S Yates Boulevard                                 Estate Property         Robert Potter                                                                          $            282,999.00    Investor‐Lender      $           15,000.00   5‐1389
   5       7749‐59 S Yates Boulevard                                 Estate Property         Sam Gerber, CEO, Gerber and Associates, REI, LLC                                       $            139,985.85    Investor‐Lender      $           12,000.00   5‐562
   5       7749‐59 S Yates Boulevard                                 Estate Property         Sarah Geldart                                                                           $            57,200.00    Investor‐Lender      $           37,500.00   5‐1285
   5       7749‐59 S Yates Boulevard                                 Estate Property         Shlomo Zussman                                                                          $            25,000.00    Investor‐Lender      $           25,000.00   5‐579
   5       7749‐59 S Yates Boulevard                                 Estate Property         Smart Technologies PSP, Nizarali Jetha ‐ Manager                                       $            106,458.35    Investor‐Lender      $          100,000.00   5‐1458
   5       7749‐59 S Yates Boulevard                                 Estate Property         Steven G. Mouty                                                                         $            50,000.00    Investor‐Lender      $           50,000.00   5‐821
   5       7749‐59 S Yates Boulevard                                 Estate Property         Strategic Wealth Ventures, LLC, Brian Kothman Member                                    $            70,866.00    Investor‐Lender      $           23,626.00   5‐595
   5       7749‐59 S Yates Boulevard                                 Estate Property         Susan Kalisiak‐Tingle                                                                  $            469,921.00    Investor‐Lender      $           48,226.00   5‐1438
   5       7749‐59 S Yates Boulevard                                 Estate Property         Teena B Ploeger                                                                         $            18,500.00    Investor‐Lender      $           18,500.00   5‐521
   5       7749‐59 S Yates Boulevard                                 Estate Property         Tolu Makinde                                                                            $            90,000.00    Investor‐Lender      $           30,000.00   5‐370
   5       7749‐59 S Yates Boulevard                                 Estate Property         United Capital Properties, LLC                                                         $            144,999.00    Investor‐Lender      $              979.00   5‐1480
   5       7749‐59 S Yates Boulevard                                 Estate Property         Wesley Pittman                                                                         $            180,048.45    Investor‐Lender      $           32,000.00   5‐469




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Property       Property Address                Alternative Address            Type                                                 Claimant Name                                           Claimed Amount         Claim Category as      Amount Claimed to be     Claim
Number                                                                                                                                                                                (Total Claimed Amount      Identified on Claim      Invested in Property   Number
                                                                                                                                                                                        in Claim Category as            Form
                                                                                                                                                                                         Identified on Claim
                                                                                                                                                                                                Form)
   5       7749‐59 S Yates Boulevard                                 Estate Property         White Tiger Revocable Trust, Ira Lovitch, Zinaida Lovitch (aka Zina Goltsev/Goltseva),    $            127,152.37     Investor‐Lender       $           50,000.00   5‐537
                                                                                             Trustees
   5       7749‐59 S Yates Boulevard                                 Estate Property         Camano Equities, LLC (Markley, Charles)                                                   $           46,254.22        Investor‐Lender      $           50,000.00   5‐2038
   5       7749‐59 S Yates Boulevard                                 Estate Property         Degenhardt, Duane A                                                                       $          645,000.00        Investor‐Lender      $           13,385.00   5‐2015
   5       7749‐59 S Yates Boulevard                                 Estate Property         Michael Grow                                                                              $          223,996.00     Investor‐Lender and                             5‐375
                                                                                                                                                                                                                     Equity Investor
   6       6437‐41 S Kenwood Avenue                                  Estate Property         Bancroft, Ed                                                                              $          258,060.00      Investor‐Lender and                            6‐2008
                                                                                                                                                                                                                     Equity Investor
   6       6437‐31 S Kenwood Avenue                                  Estate Property         Captain Jack, LLC c/o John McDevitt                                                       $           95,000.00         Equity Investor     $           75,000.00   6‐2091
   6       6437‐41 S Kenwood Avenue                                  Estate Property         David M Harris                                                                            $          534,555.00         Equity Investor     $          200,000.00   6‐267
   6       6437‐41 S Kenwood Avenue                                  Estate Property         Distributive Marketing Inc.                                                               $          155,000.00         Equity Investor     $           50,000.00   6‐806
   6       6437‐41 S Kenwood Avenue                                  Estate Property         Thomas F. Gordon                                                                          $           85,000.00         Equity Investor     $           85,000.00   6‐2023
   6       6437‐41 S Kenwood Avenue                                  Estate Property         Madison Trust Company Agent for Custodian FBO The Jacqueline C Rowe Living Trust IRA      $          623,489.57         Equity Investor                             6‐163

   6       6437‐41 S Kenwood Avenue                                  Estate Property         Madison Trust Company FBO Laurie Connely, IRA (Madison Trust Company Cust. Laurie         $          140,592.00       Equity Investor       $           20,000.00   6‐900
                                                                                             Connely M1711182)
   6       6437‐41 S Kenwood Avenue                                  Estate Property         Vartan Tarakchyan                                                                         $          415,000.00        Equity Investor      $          70,000.00    6‐1118
   6       6437‐41 S Kenwood Avenue                                  Estate Property         Adir Hazan                                                                                $          150,000.00       Investor‐Lender       $           50,000.00   6‐143
   6       6437‐41 S Kenwood Avenue                                  Estate Property         Agee Family Trust c/o Scott R. Agee                                                       $          130,000.00       Investor‐Lender       $           15,000.00   6‐2001
   6       6437‐41 S Kenwood Avenue                                  Estate Property         Annie Chang                                                                               $          246,935.34       Investor‐Lender       $           15,500.00   6‐475
   6       6437‐41 S Kenwood Avenue                                  Estate Property         Asians Investing In Real Estate LLC                                                       $        1,278,402.00       Investor‐Lender       $           70,000.00   6‐503
   6       6437‐41 S Kenwood Avenue                                  Estate Property         Charles P McEvoy                                                                          $          438,733.33       Investor‐Lender       $          112,000.00   6‐232
   6       6437‐41 S Kenwood Avenue                                  Estate Property         Charlotte A Hofer                                                                         $          370,000.00       Investor‐Lender       $           35,000.00   6‐603
   6       6437‐41 S Kenwood Avenue                                  Estate Property         Cosmopolitan Properties LLC, Valentina Salge, President                                   $          177,300.00       Investor‐Lender       $          150,000.00   6‐940
   6       6437‐41 S Kenwood Avenue                                  Estate Property         David M Williams                                                                          $           44,313.83       Investor‐Lender       $           24,274.00   6‐415
   6       6437‐41 S Kenwood Avenue                                  Estate Property         Elaine Sison Ernst                                                                        $           95,000.00       Investor‐Lender       $           15,000.00   6‐1029
   6       6437‐41 S Kenwood Avenue                                  Estate Property         Elizabeth Zeng                                                                            $          148,422.77       Investor‐Lender       $           25,000.00   6‐872
   6       6437‐41 S Kenwood Avenue                                  Estate Property         Equity Capital Resources, LLC                                                             $           77,166.66       Investor‐Lender       $           25,000.00   6‐671
   6       6437‐41 S Kenwood Avenue                                  Estate Property         Eric Schwartz                                                                             $          144,153.72       Investor‐Lender       $           12,000.00   6‐157
   6       6437‐41 S Kenwood Avenue                                  Estate Property         Freyja Partners, a California Limited Partnership                                         $          179,625.00       Investor‐Lender       $           50,000.00   6‐1141
   6       6437‐41 S Kenwood Avenue                                  Estate Property         Garwood Weatherhead                                                                       $          184,941.00       Investor‐Lender       $          150,000.00   6‐1096
   6       6437‐41 S Kenwood Avenue                                  Estate Property         Grathia Corp                                                                              $        1,184,081.00       Investor‐Lender       $           57,000.00   6‐1445
   6       6437‐41 S Kenwood Avenue                                  Estate Property         Hoang Small Trust c/o Dalano Hoang                                                        $          300,000.00       Investor‐Lender                               6‐161
   6       6437‐41 S Kenwood Avenue                                  Estate Property         John Bloxham                                                                              $           52,000.01       Investor‐Lender       $           50,000.00   6‐1018
   6       6437‐41 S Kenwood Avenue                                  Estate Property         Julie Patel                                                                               $           97,038.00       Investor‐Lender       $           40,000.00   6‐409
   6       6437‐41 S Kenwood Avenue                                  Estate Property         KKW Investments, LLC                                                                      $          100,033.40       Investor‐Lender       $            2,000.00   6‐336
   6       6437‐41 S Kenwood Avenue                                  Estate Property         Madison Trust Company Custodian FBO James R Robinson Traditional IRA Acct# 1705044        $           88,099.00       Investor‐Lender       $           25,000.00   6‐1406

   6       6437‐41 S Kenwood Avenue                                  Estate Property         Nancy Cree (Cree Capital Ventures)                                                        $          725,000.00        Investor‐Lender      $          250,000.00   6‐2014
   6       6437‐41 S Kenwood Avenue                                  Estate Property         Optima Property Solutions, LLC                                                            $          487,209.71        Investor‐Lender      $           30,000.00   6‐1023
   6       6437‐41 S Kenwood Avenue                                  Estate Property         Paul Scribner                                                                             $          200,000.00        Investor‐Lender      $           50,000.00   6‐1135
   6       6437‐41 S Kenwood Avenue                                  Estate Property         PNW Investments, LLC                                                                      $          350,000.00        Investor‐Lender      $           10,000.00   6‐332
   6       6437‐41 S Kenwood Avenue                                  Estate Property         Ramsey Stephan                                                                            $           50,000.00        Investor‐Lender      $            9,481.00   6‐162
   6       6437‐41 S Kenwood Avenue                                  Estate Property         Robert A Demick DDS PA 401K                                                               $          177,678.65        Investor‐Lender      $           50,000.00   6‐680
   6       6437‐41 S Kenwood Avenue                                  Estate Property         Robert Potter                                                                             $          282,999.00        Investor‐Lender      $           47,786.00   6‐1389
   6       6437‐41 S Kenwood Avenue                                  Estate Property         RSS TRIAD INVESTMENTS, LLC                                                                $           31,400.00        Investor‐Lender      $           30,000.00   6‐1344
   6       6437‐41 S Kenwood Avenue                                  Estate Property         Steven C Noss                                                                             $           69,388.00        Investor‐Lender      $           25,000.00   6‐361
   6       6437‐41 S Kenwood Avenue                                  Estate Property         Steven Roche                                                                              $          127,821.13        Investor‐Lender      $           42,319.00   6‐329
   6       6437‐41 S Kenwood Avenue                                  Estate Property         Susan Kalisiak‐Tingle                                                                     $          469,921.00        Investor‐Lender      $           50,000.00   6‐1438
   6       6437‐41 S Kenwood Avenue                                  Estate Property         Terry L. Merrill, Sheryl R. Merrill                                                       $          299,500.00        Investor‐Lender      $           50,000.00   6‐602
   6       6437‐41 S Kenwood Avenue                                  Estate Property         Degenhardt, Duane A                                                                       $          645,000.00        Investor‐Lender      $          150,000.00   6‐2015
   6       6437‐41 S Kenwood Avenue                                  Estate Property         John B. Allred & Glenda K. Allred                                                         $        1,421,646.52     Investor‐Lender and                             6‐2004
                                                                                                                                                                                                                     Equity Investor
   6       6437‐41 S Kenwood Avenue                                  Estate Property         City of Chicago                                                                            $          78,479.20              Other          $            5,247.91   6‐693
   7       7109‐19 S Calumet Avenue                                  Estate Property         Koates LLC                                                                                 $          85,000.00         Equity Investor     $           12,000.00   7‐228
   7       7109‐19 S Calumet Avenue                                  Estate Property         U.S. Bank National Association, as Trustee for the Registered Holders of J.P. Morgan Chase $       1,691,737.07      Institutional Lender                           7‐1453
                                                                                             Commercial Mortgage Securities Corp., Multifamily Mortgage Pass‐Through Certificates,
                                                                                             Series 2017‐SB30
   7       7109‐19 S Calumet Avenue                                  Estate Property         B & H Creative Investments LLC                                                             $         428,533.00       Investor‐Lender       $          220,000.00   7‐414




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Property       Property Address                Alternative Address               Type                                                    Claimant Name                                      Claimed Amount         Claim Category as    Amount Claimed to be     Claim
Number                                                                                                                                                                                 (Total Claimed Amount      Identified on Claim    Invested in Property   Number
                                                                                                                                                                                         in Claim Category as            Form
                                                                                                                                                                                          Identified on Claim
                                                                                                                                                                                                 Form)
   7       7109‐19 S Calumet Avenue                                     Estate Property         Optima Property Solutions, LLC                                                          $            487,209.71     Investor‐Lender     $          200,000.00   7‐1023
   7       7109‐19 S Calumet Avenue                                     Estate Property         Pankaj Patel BDA EZ NJ VENTURES, LLC.                                                   $            223,000.00     Investor‐Lender     $           50,000.00   7‐920
   7       7109‐19 S Calumet Avenue                                     Estate Property         SHANKAR THIRUPPATHI                                                                     $            100,000.00     Investor‐Lender     $          100,000.00   7‐718
   7       7109‐19 S Calumet Avenue                                     Estate Property         The Jacqueline C Rowe Living Trust                                                      $            372,417.74     Investor‐Lender     $            9,000.00   7‐139
   7       7109‐19 S Calumet Avenue                                     Estate Property         City of Chicago                                                                          $            78,479.20          Other          $           13,153.44   7‐693
   8         1414 East 62nd Place                                       Estate Property         Bernadette Chen (Eleven St Felix St. Realty)                                            $          1,000,000.00      Equity Investor    $           50,000.00   8‐2012
   8         1414 East 62nd Place                                       Estate Property         Moran Blueshtein and Upender Subramanian                                                $            146,857.18     Investor‐Lender     $           30,188.00   8‐95
   9         8100 S Essex Avenue             2449‐57 East 81st Street   Estate Property         Bancroft, Ed                                                                            $            258,060.00   Investor‐Lender and                           9‐2008
                                                                                                                                                                                                                     Equity Investor
   9         8100 S Essex Avenue             2449‐57 East 81st Street   Estate Property         William H. Akins, Jr. (CAMA SDIRA LLC FBO Bill Akins IRA)                               $        1,100,000.00     Investor‐Lender and   $           60,000.00   9‐2003
                                                                                                                                                                                                                     Equity Investor
   9         8100 S Essex Avenue             2449‐57 East 81st Street   Estate Property         Bernadette Chen (Eleven St Felix St. Realty)                                            $        1,000,000.00        Equity Investor    $           31,619.00   9‐2012
   9         8100 S Essex Avenue             2449‐57 East 81st Street   Estate Property         James & Suzanne Mandeville                                                              $          113,918.75        Equity Investor    $          110,000.00   9‐785
   9         8100 S Essex Avenue             2449‐57 East 81st Street   Estate Property         Jason Ragan ‐ TSA                                                                       $          327,324.29        Equity Investor    $            1,547.00   9‐797
   9         8100 S Essex Avenue             2449‐57 East 81st Street   Estate Property         Madison Trust Company Agent for Custodian FBO The Jacqueline C Rowe Living Trust IRA    $          623,489.57        Equity Investor                            9‐163

   9         8100 S Essex Avenue             2449‐57 East 81st Street   Estate Property         Neil R Martin                                                                           $           20,991.00     Equity Investor                               9‐1253
   9         8100 S Essex Avenue             2449‐57 East 81st Street   Estate Property         CLC Electric, Inc. (Costel Dumitrescu)                                                  $          108,000.00 Independent Contractor $              15,000.00   9‐1477

   9         8100 S Essex Avenue             2449‐57 East 81st Street   Estate Property         Aaron Beauclair                                                                         $           40,000.00      Investor‐Lender      $           10,000.00   9‐408
   9         8100 S Essex Avenue             2449‐57 East 81st Street   Estate Property         Alex Breslav                                                                            $          247,000.00      Investor‐Lender      $           50,000.00   9‐262
   9         8100 S Essex Avenue             2449‐57 East 81st Street   Estate Property         Aluvelu Homes LLC                                                                       $          169,271.00      Investor‐Lender      $           50,000.00   9‐879
   9         8100 S Essex Avenue             2449‐57 East 81st Street   Estate Property         Asians Investing In Real Estate LLC                                                     $        1,278,402.00      Investor‐Lender      $           60,000.00   9‐503
   9         8100 S Essex Avenue             2449‐57 East 81st Street   Estate Property         Brian Whalley                                                                           $           25,000.00      Investor‐Lender      $           25,000.00   9‐256
   9         8100 S Essex Avenue             2449‐57 East 81st Street   Estate Property         Charlotte A Hofer                                                                       $          370,000.00      Investor‐Lender      $          110,000.00   9‐603
   9         8100 S Essex Avenue             2449‐57 East 81st Street   Estate Property         Chittima Cook and Pinsurang Tinakorn                                                    $           51,874.56      Investor‐Lender      $           50,000.00   9‐493
   9         8100 S Essex Avenue             2449‐57 East 81st Street   Estate Property         Christopher Bridges                                                                     $           42,403.13      Investor‐Lender      $           25,000.00   9‐1129
   9         8100 S Essex Avenue             2449‐57 East 81st Street   Estate Property         Chronicles Point LLC/Gustavo J Garcia                                                   $           50,000.00      Investor‐Lender      $           50,000.00   9‐159
   9         8100 S Essex Avenue             2449‐57 East 81st Street   Estate Property         DANIEL J MARTINEAU                                                                      $          321,016.60      Investor‐Lender      $          125,750.00   9‐1299
   9         8100 S Essex Avenue             2449‐57 East 81st Street   Estate Property         Donald Freers aka Meadows Advisors LLC                                                  $          198,000.00      Investor‐Lender      $           95,000.00   9‐72
   9         8100 S Essex Avenue             2449‐57 East 81st Street   Estate Property         Edge Investments, LLC, Janet F. Turco, Owner/Member IRA                                 $        1,031,324.00      Investor‐Lender      $          101,000.00   9‐180
   9         8100 S Essex Avenue             2449‐57 East 81st Street   Estate Property         Ganpat and FEREEDA Seunath                                                              $          216,194.22      Investor‐Lender      $            2,372.00   9‐77
   9         8100 S Essex Avenue             2449‐57 East 81st Street   Estate Property         Gary R Burnham FBO Raegan D Burnham Roth IRA (custodian IPLAN Group LLC)                $            9,523.00      Investor‐Lender      $            2,990.00   9‐1065
   9         8100 S Essex Avenue             2449‐57 East 81st Street   Estate Property         Gary R Burnham Jr. Family HSA (custodian IPLAN Group LLC)                               $           30,718.00      Investor‐Lender      $            7,465.00   9‐1066
   9         8100 S Essex Avenue             2449‐57 East 81st Street   Estate Property         Gary R. Burnham Jr. Solo 401K Trust                                                     $          205,608.00      Investor‐Lender      $           36,000.00   9‐1174
   9         8100 S Essex Avenue             2449‐57 East 81st Street   Estate Property         Gene X Erquiaga                                                                         $           51,749.99      Investor‐Lender                              9‐721
   9         8100 S Essex Avenue             2449‐57 East 81st Street   Estate Property         Girl Cat Capital West LLC, Valentina Salge, President                                   $          212,145.00      Investor‐Lender      $            8,426.00   9‐350
   9         8100 S Essex Avenue             2449‐57 East 81st Street   Estate Property         Henry C. Scheuller                                                                      $          246,440.00      Investor‐Lender                              9‐868
   9         8100 S Essex Avenue             2449‐57 East 81st Street   Estate Property         Hoang Small Trust c/o Dalano Hoang                                                      $          300,000.00      Investor‐Lender                              9‐161
   9         8100 S Essex Avenue             2449‐57 East 81st Street   Estate Property         iPlanGroup Agent for Custodian FBO Charles Powell IRA                                   $          260,000.00      Investor‐Lender                              9‐413
   9         8100 S Essex Avenue             2449‐57 East 81st Street   Estate Property         iPlanGroup Agent for Custodian FBO Laura Dirnberger Roth IRA                            $           71,321.00      Investor‐Lender      $              714.00   9‐448
   9         8100 S Essex Avenue             2449‐57 East 81st Street   Estate Property         iPlanGroup Agent for Custodian FBO Rajanikanth Tanikella IRA                            $          110,000.00      Investor‐Lender      $           50,000.00   9‐829
   9         8100 S Essex Avenue             2449‐57 East 81st Street   Estate Property         James Clements                                                                          $          185,910.00      Investor‐Lender      $           50,000.00   9‐1402
   9         8100 S Essex Avenue             2449‐57 East 81st Street   Estate Property         James M McKnight and Silma L McKnight                                                   $            5,546.87      Investor‐Lender      $            6,000.00   9‐779
   9         8100 S Essex Avenue             2449‐57 East 81st Street   Estate Property         James M McKnight and Silma L McKnight                                                   $          140,325.13      Investor‐Lender      $           85,000.00   9‐582
   9         8100 S Essex Avenue             2449‐57 East 81st Street   Estate Property         James Tutsock                                                                           $          900,000.00      Investor‐Lender      $           47,286.00   9‐2057
   9         8100 S Essex Avenue             2449‐57 East 81st Street   Estate Property         Jerome B. Shaffer and Sharon Shaffer                                                    $          150,000.00      Investor‐Lender      $          150,000.00   9‐993
   9         8100 S Essex Avenue             2449‐57 East 81st Street   Estate Property         KKW Investments, LLC                                                                    $          100,033.40      Investor‐Lender      $            5,000.00   9‐336
   9         8100 S Essex Avenue             2449‐57 East 81st Street   Estate Property         LMJ Sales, Inc.                                                                         $          559,807.34      Investor‐Lender      $          215,127.00   9‐1346
   9         8100 S Essex Avenue             2449‐57 East 81st Street   Estate Property         Madison Trust Company Custodian FBO Stuart Edelman                                      $          255,332.70      Investor‐Lender      $          106,000.00   9‐103
   9         8100 S Essex Avenue             2449‐57 East 81st Street   Estate Property         Manuel Camacho                                                                          $          104,434.59      Investor‐Lender      $           25,000.00   9‐748
   9         8100 S Essex Avenue             2449‐57 East 81st Street   Estate Property         Marjorie Jean Sexton                                                                    $          200,000.00      Investor‐Lender      $          100,000.00   9‐2065
   9         8100 S Essex Avenue             2449‐57 East 81st Street   Estate Property         Mark P. Mouty                                                                           $          180,702.77      Investor‐Lender      $           25,000.00   9‐165
   9         8100 S Essex Avenue             2449‐57 East 81st Street   Estate Property         PNW Investments, LLC                                                                    $          350,000.00      Investor‐Lender      $           20,000.00   9‐332
   9         8100 S Essex Avenue             2449‐57 East 81st Street   Estate Property         Richard L. Braddock                                                                     $            9,526.99      Investor‐Lender      $            9,250.00   9‐512
   9         8100 S Essex Avenue             2449‐57 East 81st Street   Estate Property         Richard L. Braddock                                                                     $           92,375.45      Investor‐Lender      $           40,000.00   9‐396
   9         8100 S Essex Avenue             2449‐57 East 81st Street   Estate Property         Robert Conley III                                                                                                  Investor‐Lender      $          325,000.00   9‐277
   9         8100 S Essex Avenue             2449‐57 East 81st Street   Estate Property         Robert Potter                                                                           $          282,999.00      Investor‐Lender      $           11,412.00   9‐1389




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Property       Property Address                  Alternative Address               Type                                                 Claimant Name                                           Claimed Amount         Claim Category as    Amount Claimed to be     Claim
Number                                                                                                                                                                                     (Total Claimed Amount      Identified on Claim    Invested in Property   Number
                                                                                                                                                                                             in Claim Category as            Form
                                                                                                                                                                                              Identified on Claim
                                                                                                                                                                                                     Form)
    9         8100 S Essex Avenue              2449‐57 East 81st Street   Estate Property         Sam Gerber, CEO, Gerber and Associates, REI, LLC                                          $            139,985.85    Investor‐Lender      $           42,000.00   9‐562
    9         8100 S Essex Avenue              2449‐57 East 81st Street   Estate Property         Shengjie Li and Yuye Xu                                                                   $            165,441.12    Investor‐Lender      $          100,000.00   9‐1340
    9         8100 S Essex Avenue              2449‐57 East 81st Street   Estate Property         Sounjay K. Gairola Revocable Trust (Sounjay K. Gairola Trustee)                           $            148,278.93    Investor‐Lender      $           50,000.00   9‐1439
    9         8100 S Essex Avenue              2449‐57 East 81st Street   Estate Property         Strata Trust Company FBO David J Geldart                                                  $            230,621.00    Investor‐Lender                              9‐1010
    9         8100 S Essex Avenue              2449‐57 East 81st Street   Estate Property         Teresita M. Shelton                                                                       $            426,513.00    Investor‐Lender      $           26,513.00   9‐330
    9         8100 S Essex Avenue                                         Estate Property         Thaddeus Gala (Grand Mountain)                                                            $            100,000.00    Investor‐Lender                              9‐2070
    9         8100 S Essex Avenue              2449‐57 East 81st Street   Estate Property         Therese Tibbits                                                                            $            77,826.66    Investor‐Lender      $           60,000.00   9‐208
    9         8100 S Essex Avenue              2449‐57 East 81st Street   Estate Property         Tiger Chang Investments LLC                                                                $            49,000.00    Investor‐Lender      $           10,000.00   9‐164
    9         8100 S Essex Avenue              2449‐57 East 81st Street   Estate Property         TIMMY RINK                                                                                                           Investor‐Lender                              9‐217
    9         8100 S Essex Avenue              2449‐57 East 81st Street   Estate Property         Timothy S Sharp                                                                           $          650,000.00      Investor‐Lender      $           50,000.00   9‐76
    9         8100 S Essex Avenue              2449‐57 East 81st Street   Estate Property         Fields Loss Consultants LLC                                                               $          134,618.00       Trade Creditor      $          143,618.00   9‐1424
10 to 12              CCF1                                                Fund                    Agee Family Trust c/o Scott R. Agee                                                       $          130,000.00       Equity Investor     $           75,000.00   10‐2001
10 to 12              CCF1                                                Fund                    Baron Real Estate Holdings, LLC., Ihab Shahawi and Vivian ELShahawi, members              $          406,000.00       Equity Investor     $          300,000.00   10‐1347
10 to 12              CCF1                                                Fund                    Bernadette Chen (Eleven St Felix St. Realty)                                              $        1,000,000.00       Equity Investor     $           50,000.00   10‐2012
10 to 12    7301‐09 S Stewart Avenue                                      Fund                    Bright Venture, LLC                                                                       $          231,142.74       Equity Investor     $           52,500.00   10‐84
           7500‐06 S Eggleston Avenue
              3030‐32 E 79th Street
10 to 12              CCF1                                                Fund                    Captain Jack, LLC c/o John McDevitt                                                       $           95,000.00       Equity Investor     $           20,000.00   10‐2091
10 to 12    7301‐09 S Stewart Avenue                                      Fund                    CLOVE, LLC                                                                                $           23,920.01       Equity Investor     $           23,000.00   10‐723
           7500‐06 S Eggleston Avenue
              3030‐32 E 79th Street
10 to 12    7301‐09 S Stewart Avenue                                      Fund                    Distributive Marketing Inc.                                                               $          155,000.00       Equity Investor     $           50,000.00   10‐806
           7500‐06 S Eggleston Avenue
              3030‐32 E 79th Street
10 to 12              CCF1                                                Fund                    Ellen Liu                                                                                 $          400,000.00       Equity Investor     $          250,000.00   10‐1354
10 to 12    7301‐09 S Stewart Avenue                                      Fund                    H&W Management Company, Inc.                                                              $          327,616.00       Equity Investor     $          327,616.00   10‐1053
           7500‐06 S Eggleston Avenue
              3030‐32 E 79th Street
10 to 12    7301‐09 S Stewart Avenue                                      Fund                    JLO Enterprises LLC                                                                       $          315,002.49       Equity Investor     $          250,000.00   10‐726
           7500‐06 S Eggleston Avenue
              3030‐32 E 79th Street
10 to 12    7301‐09 S Stewart Avenue                                      Fund                    JML Roth LLC                                                                              $           31,200.00       Equity Investor     $           30,000.00   10‐725
           7500‐06 S Eggleston Avenue
              3030‐32 E 79th Street
10 to 12              CCF1                                                Fund                    Kennett, Victor S ‐ Kennett Family Trust                                                  $          200,000.00       Equity Investor     $          200,000.00   10‐2033
10 to 12              CCF1                                                Fund                    Knickerbocker LLC                                                                         $          105,387.00       Equity Investor     $           55,387.00   10‐2035
10 to 12              CCF1                                                Fund                    LMJ Sales, Inc.                                                                           $          270,066.18       Equity Investor     $          100,000.00   10‐1346
10 to 12              CCF1                                                Fund                    Mark and Julie Akita                                                                      $          100,000.00       Equity Investor     $          100,000.00   10‐1364
10 to 12              CCF1                                                Fund                    Rajitha Dundigalla                                                                        $           50,000.00       Equity Investor     $           50,000.00   10‐653
10 to 12    7301‐09 S Stewart Avenue                                      Fund                    RLD Denouement Holding Company, LLC                                                       $          150,000.00       Equity Investor     $          100,000.00   10‐483
           7500‐06 S Eggleston Avenue
              3030‐32 E 79th Street
10 to 12              CCF1                                                Fund                    Schankman, Michael                                                                        $          112,557.00       Equity Investor     $           50,000.00   10‐2052
10 to 12              CCF1                                                Fund                    Steve Weera Tonasut and Esther Kon Tonasut                                                $          100,000.00       Equity Investor     $          100,000.00   10‐303
10 to 12              CCF1                                                Fund                    Wanda M. Behling                                                                          $           43,719.00       Equity Investor     $           32,500.00   10‐1025
10 to 12              CCF1                                                Fund                    White Tiger Revocable Trust, Ira Lovitch, Zinaida Lovitch (aka Zina Goltsev/Goltseva),    $           64,634.86       Equity Investor     $           30,000.00   10‐537
                                                                                                  Trustees
10 to 12             CCF1                                                 Fund                    Asians Investing In Real Estate LLC                                                       $          415,000.00       Equity Investor     $          100,000.00   10‐503
10 to 12             CCF1                                                 Fund                    Francisco Fernandez                                                                       $          312,124.98       Equity Investor     $          250,000.00   10‐1450
10 to 12             CCF1                                                 Fund                    Influx Investments LLC                                                                    $          100,000.00       Equity Investor     $           25,000.00   10‐744
10 to 12             CCF1                                                 Fund                    Kelvin Kon                                                                                $           95,000.00       Equity Investor     $           50,000.00   10‐492
10 to 12             CCF1                                                 Fund                    Low Altitude, LLC                                                                         $          100,000.00       Equity Investor     $          100,000.00   10‐273
10 to 12             CCF1                                                 Fund                    PSB Investment Trust ‐ Stephen Boynton                                                    $           46,398.10       Equity Investor     $           50,000.00   10‐280
10 to 12             CCF1                                                 Fund                    Sunwest Trust FBO Francis Webb 1510692                                                    $           27,000.00       Equity Investor     $           27,000.00   10‐288
10 to 12             CCF1                                                 Fund                    Adir Hazan                                                                                $          150,000.00      Investor‐Lender      $           50,000.00   10‐143
10 to 12             CCF1                                                 Fund                    Bruce A Walter (Equity Trust Corp FBO Bruce Walter IRA)                                   $          115,000.00      Investor‐Lender      $           25,000.00   10‐137
10 to 12             CCF1                                                 Fund                    David E. Chambers                                                                         $           50,000.00      Investor‐Lender      $           50,000.00   10‐553
10 to 12             CCF1                                                 Fund                    Edge Investments, LLC, Janet F. Turco, Owner/Member IRA                                   $        1,031,324.00      Investor‐Lender      $           70,175.00   10‐180
10 to 12             CCF1                                                 Fund                    Fredric R. Gottlieb (South Florida Realty Management & Investments)                       $          433,306.00      Investor‐Lender      $          100,000.00   10‐1215
10 to 12             CCF1                                                 Fund                    GEGO NADLAN REALTY LLC                                                                    $           50,000.00      Investor‐Lender      $           50,000.00   10‐104




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Property       Property Address                 Alternative Address          Type                                            Claimant Name                             Claimed Amount         Claim Category as     Amount Claimed to be     Claim
Number                                                                                                                                                            (Total Claimed Amount      Identified on Claim     Invested in Property   Number
                                                                                                                                                                    in Claim Category as            Form
                                                                                                                                                                     Identified on Claim
                                                                                                                                                                            Form)
10 to 12              CCF1                                            Fund                Grathia Corp                                                             $          1,184,081.00     Investor‐Lender      $          100,000.00   10‐1445
10 to 12              CCF1                                            Fund                IPlanGroup Agent for Custodian FBO Mark Young                            $            380,000.00     Investor‐Lender      $           50,000.00   10‐1446
10 to 12              CCF1                                            Fund                KKW Investments, LLC                                                     $            100,033.40     Investor‐Lender      $            2,000.00   10‐336
10 to 12    7301‐09 S Stewart Avenue                                  Fund                LaMore, LLC (George Elmore & Marti LaTour)                               $            309,999.94     Investor‐Lender      $          250,000.00   10‐765
           7500‐06 S Eggleston Avenue
              3030‐32 E 79th Street
10 to 12    7301‐09 S Stewart Avenue                                  Fund                Madison Trust Company Custodian FBO Cynthia B. Jennings IRA #M1710119    $          101,400.00       Investor‐Lender      $          100,000.00   10‐269
           7500‐06 S Eggleston Avenue
              3030‐32 E 79th Street
10 to 12              CCF1                                            Fund                Madison Trust Company FBO. Mehernosh Pithawalla (M1704056)               $           30,999.94       Investor‐Lender      $           25,000.00   10‐1087
10 to 12              CCF1                                            Fund                Mark P. Mouty                                                            $          180,702.77       Investor‐Lender      $           25,000.00   10‐165
10 to 12              CCF1                                            Fund                Mitchell Young Trust                                                     $           30,000.00       Investor‐Lender      $           30,000.00   10‐1456
10 to 12              CCF1                                            Fund                Nisha Gupta 401(K) Profit Sharing Plan & Trust                           $           92,000.00       Investor‐Lender      $           75,000.00   10‐1312
10 to 12              CCF1                                            Fund                Nisha Gupta Defined Benefit Plan and Trust                               $          214,666.61       Investor‐Lender      $          175,000.00   10‐1311
10 to 12              CCF1                                            Fund                Paul N. Wilmesmeier                                                      $          790,185.00       Investor‐Lender      $           25,000.00   10‐300
10 to 12              CCF1                                            Fund                PNW Investments, LLC                                                     $          350,000.00       Investor‐Lender      $           10,000.00   10‐332
10 to 12              CCF1                                            Fund                QuestIRAFBOFrancisDWebb1437711                                           $          185,819.00       Investor‐Lender      $           36,222.00   10‐218
10 to 12              CCF1                                            Fund                Randall Sotka                                                            $          255,000.00       Investor‐Lender      $          100,000.00   10‐1207
10 to 12              CCF1                                            Fund                Robert E. Jeter                                                          $          300,000.00       Investor‐Lender                              10‐1230
10 to 12              CCF1                                            Fund                Ronald Tucker and Paula Tucker                                           $           51,583.00       Investor‐Lender      $           51,583.00   10‐1398
10 to 12              CCF1                                            Fund                Sandy Kikerpill, Fresh Advantage                                         $          233,000.00       Investor‐Lender      $          100,000.00   10‐875
10 to 12              CCF1                                            Fund                Steven Trzaska                                                           $          167,000.00       Investor‐Lender      $           67,000.00   10‐141
10 to 12              CCF1                                            Fund                Stilwell, Heidi                                                          $          125,000.00       Investor‐Lender      $          100,000.00   10‐2055
10 to 12              CCF1                                            Fund                Teresita M. Shelton                                                      $          426,513.00       Investor‐Lender      $           50,000.00   10‐330
10 to 12              CCF1                                            Fund                TFG Retirement Trust                                                     $          340,886.77       Investor‐Lender      $          100,000.00   10‐665
10 to 12    7301‐09 S Stewart Avenue                                  Fund                Vagmi, LLC                                                               $           55,484.91       Investor‐Lender      $           50,000.00   10‐1462
           7500‐06 S Eggleston Avenue
              3030‐32 E 79th Street
10 to 12              CCF1                                            Fund                Ying Xu (Brainwave Investments)                                          $          126,625.00       Investor‐Lender                              10‐134
10 to 12              CCF1                                            Fund                Degenhardt, Duane A                                                      $          645,000.00       Investor‐Lender      $           50,000.00   10‐2015
10 to 12              CCF1                                            Fund                Mark A Miller ATF Domaskin Revocable Trust Aug. 8, 2006                  $          150,000.00       Investor‐Lender      $           50,000.00   10‐2040
10 to 12    7301‐09 S Stewart Avenue                                  Fund                FIVE STAR CAPITAL GROUP, LLC                                             $          266,666.65     Investor‐Lender and    $          250,000.00   10‐1246
           7500‐06 S Eggleston Avenue                                                                                                                                                           Equity Investor
              3030‐32 E 79th Street
10 to 12    7301‐09 S Stewart Avenue                                  Fund                Frank and Laura Sohm                                                     $          167,893.65     Investor‐Lender and    $           26,000.00   10‐906
           7500‐06 S Eggleston Avenue                                                                                                                                                           Equity Investor
              3030‐32 E 79th Street
10 to 12    7301‐09 S Stewart Avenue                                  Fund                Frank Sohm IRA                                                           $          148,664.93     Investor‐Lender and    $           10,000.00   10‐558
           7500‐06 S Eggleston Avenue                                                                                                                                                           Equity Investor
              3030‐32 E 79th Street
10 to 12    7301‐09 S Stewart Avenue                                  Fund                Laura J. Sohm IRA                                                        $          104,593.29     Investor‐Lender and    $           14,000.00   10‐970
           7500‐06 S Eggleston Avenue                                                                                                                                                           Equity Investor
              3030‐32 E 79th Street
10 to 12              CCF1                                            Fund                Madison Trust Acc Nr M1707067 fbo Harry L Shaffer                        $          200,000.00     Investor‐Lender and    $          100,000.00   10‐2053
                                                                                                                                                                                                Equity Investor
10 to 12             CCF1                                             Fund                William H. Akins, Jr.                                                    $        1,100,000.00     Investor‐Lender and    $           25,000.00   10‐2003
                                                                                                                                                                                                Equity Investor
13 to 15             CCF2                                             Fund                Bancroft, Ed                                                             $          258,060.00      Investor‐Lender and                           13‐2008
                                                                                                                                                                                                Equity Investor
13 to 15             CCF2                                             Fund                Agee Family Trust c/o Scott R. Agee                                      $          130,000.00        Equity Investor     $           55,000.00   13‐2001
13 to 15             CCF2                                             Fund                Anatoly B. Naritsin                                                      $           56,987.14        Equity Investor     $           55,417.00   13‐2078
13 to 15             CCF2                                             Fund                Bernadette Chen (Eleven St Felix St. Realty)                             $        1,000,000.00        Equity Investor     $           50,000.00   13‐2012
13 to 15             CCF2                                             Fund                David M Harris                                                           $          534,555.00        Equity Investor     $          150,000.00   13‐267
13 to 15             CCF2                                             Fund                Duke E. Heger and Viviana Heger                                          $           60,000.00        Equity Investor     $           60,000.00   13‐1408
13 to 15             CCF2                                             Fund                Gary Kucera                                                              $          204,357.34        Equity Investor     $          200,000.00   13‐98
13 to 15             CCF2                                             Fund                Kirk Road Investments, LLC                                               $          318,867.20        Equity Investor     $          235,000.00   13‐755
13 to 15             CCF2                                             Fund                Krushna M Dundigalla Revocable Living Trust                              $          100,000.00        Equity Investor     $          100,000.00   13‐657
13 to 15             CCF2                                             Fund                MarTech, Inc.                                                            $          600,000.00        Equity Investor     $          600,000.00   13‐1056
13 to 15             CCF2                                             Fund                Rajitha Dundigalla                                                       $           50,000.00        Equity Investor     $           50,000.00   13‐654
13 to 15             CCF2                                             Fund                Toramba Trust (ROTH) Matthew Boyd, Trustee                               $          100,000.00        Equity Investor     $          100,000.00   13‐2062
13 to 15             CCF2                                             Fund                Asians Investing In Real Estate LLC                                      $          415,000.00        Equity Investor     $           60,000.00   13‐503




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Property   Property Address           Alternative Address          Type                                             Claimant Name                                             Claimed Amount         Claim Category as    Amount Claimed to be     Claim
Number                                                                                                                                                                   (Total Claimed Amount      Identified on Claim    Invested in Property   Number
                                                                                                                                                                           in Claim Category as            Form
                                                                                                                                                                            Identified on Claim
                                                                                                                                                                                   Form)
13 to 15        CCF2                                        Fund                Benjamin J Serebin                                                                        $            289,736.11     Equity Investor     $          150,000.00   13‐1288
13 to 15        CCF2                                        Fund                Chestnut Capital LLC                                                                       $            60,000.00     Equity Investor     $           60,000.00   13‐1460
13 to 15        CCF2                                        Fund                David Ashley Lawrence Johnson investing under Endurance Capital Management LLC            $            117,000.04     Equity Investor     $          100,000.00   13‐170
13 to 15        CCF2                                        Fund                Elizabeth Riley Gerber                                                                     $            47,347.23     Equity Investor     $           50,000.00   13‐205
13 to 15        CCF2                                        Fund                Francisco Fernandez                                                                       $            312,124.98     Equity Investor     $           50,000.00   13‐1450
13 to 15        CCF2                                        Fund                Gurinder Singh Dhillon                                                                     $            50,000.00     Equity Investor     $           50,000.00   13‐66
13 to 15        CCF2                                        Fund                Jason Ragan ‐ TSA                                                                         $            327,324.29     Equity Investor     $          100,000.00   13‐797
13 to 15        CCF2                                        Fund                Jeffery B McMeans                                                                          $            53,203.10     Equity Investor     $           50,000.00   13‐279
13 to 15        CCF2                                        Fund                Kelvin Kon                                                                                 $            95,000.00     Equity Investor     $           45,000.00   13‐492
13 to 15        CCF2                                        Fund                Kristien Van Hecke as trustee of DK Phenix Investments LLC 401(k) FBO Kristien Van Hecke $              23,661.80     Equity Investor     $           25,000.00   13‐844

13 to 15        CCF2                                        Fund                Michael Warner, Trustee of Warner Chiropractic Care Center, PC PSP                        $           203,254.00       Equity Investor    $           35,000.00   13‐78
13 to 15        CCF2                                        Fund                Mike M. Cocos                                                                             $           150,000.00       Equity Investor    $           50,000.00   13‐82
13 to 15        CCF2                                        Fund                Overhead Solutions Inc (Paul Collins)                                                     $            50,000.00       Equity Investor    $           50,000.00   13‐133
13 to 15        CCF2                                        Fund                Pat DeSantis                                                                              $         2,684,539.00       Equity Investor    $          500,000.00   13‐397
13 to 15        CCF2                                        Fund                Roberta Doucet, Cumen LLC                                                                 $            25,000.00       Equity Investor    $           25,000.00   13‐645
13 to 15        CCF2                                        Fund                Roswitha M. and John S. Ennema                                                            $            59,208.29       Equity Investor    $           50,000.00   13‐564
13 to 15        CCF2                                        Fund                Scott Eaton                                                                               $            49,200.00       Equity Investor    $           20,000.00   13‐1470
13 to 15        CCF2                                        Fund                Sonoca Corporation                                                                        $            47,630.56       Equity Investor    $           50,000.00   13‐422
13 to 15        CCF2                                        Fund                Sri Navalpakkam (AniPri Enterprises LLC)                                                  $           259,775.00       Equity Investor    $          100,000.00   13‐484
13 to 15        CCF2                                        Fund                Adir Hazan                                                                                $           150,000.00      Investor‐Lender     $           50,000.00   13‐143
13 to 15        CCF2                                        Fund                BLT Florida, LLC                                                                          $           100,000.00      Investor‐Lender     $          100,000.00   13‐1384
13 to 15        CCF2                                        Fund                Bruce A Walter (Equity Trust Corp FBO Bruce Walter IRA)                                   $           115,000.00      Investor‐Lender     $           40,000.00   13‐137
13 to 15        CCF2                                        Fund                David Marcus                                                                              $         1,370,484.00      Investor‐Lender     $          250,000.00   13‐801
13 to 15        CCF2                                        Fund                Dee Ann Nason                                                                             $           303,965.00      Investor‐Lender     $           50,000.00   13‐453
13 to 15        CCF2                                        Fund                DK Phenix Investments LLC                                                                 $           575,750.00      Investor‐Lender     $          100,000.00   13‐584
13 to 15        CCF2                                        Fund                Doron Reichenberg                                                                         $           179,000.00      Investor‐Lender     $           75,000.00   13‐708
13 to 15        CCF2                                        Fund                Douglas Nebel and Narine Nebel                                                            $           155,752.25      Investor‐Lender     $           15,000.00   13‐1080
13 to 15        CCF2                                        Fund                Edge Investments, LLC, Janet F. Turco, Owner/Member IRA                                   $         1,031,324.00      Investor‐Lender     $          104,000.00   13‐180
13 to 15        CCF2                                        Fund                Ferrara, Judith (CAMAPlan f.b.o Judith D. Ferrara, Roth IRA)                              $           300,000.00      Investor‐Lender     $           25,000.00   13‐2021
13 to 15        CCF2                                        Fund                Fredric R. Gottlieb                                                                       $           212,481.00      Investor‐Lender     $          100,000.00   13‐1177
13 to 15        CCF2                                        Fund                Fredric R. Gottlieb (South Florida Realty Management & Investments)                       $           433,306.00      Investor‐Lender     $          175,000.00   13‐1215
13 to 15        CCF2                                        Fund                Freyja Partners, a California Limited Partnership                                         $           179,625.00      Investor‐Lender     $           50,000.00   13‐1141
13 to 15        CCF2                                        Fund                IP Holdings, LLC                                                                          $            50,000.00      Investor‐Lender     $           50,000.00   13‐1132
13 to 15        CCF2                                        Fund                Jane Shafrin                                                                              $           110,000.00      Investor‐Lender     $           60,000.00   13‐188
13 to 15        CCF2                                        Fund                Jerry Adamsky                                                                             $            84,000.00      Investor‐Lender     $           50,000.00   13‐888
13 to 15        CCF2                                        Fund                Joseph P. McCarthy                                                                        $           277,847.33      Investor‐Lender     $           50,000.00   13‐1367
13 to 15        CCF2                                        Fund                Mark P. Mouty                                                                             $           180,702.77      Investor‐Lender     $           25,000.00   13‐165
13 to 15        CCF2                                        Fund                Meadows Enterprises Inc, Kenyon Meadows, president                                        $            75,000.00      Investor‐Lender     $           50,000.00   13‐429
13 to 15        CCF2                                        Fund                Moran Blueshtein and Upender Subramanian                                                  $           146,857.18      Investor‐Lender     $           50,000.00   13‐95
13 to 15        CCF2                                        Fund                Nancy Fillmore                                                                            $            90,974.27      Investor‐Lender     $           25,000.00   13‐2022
13 to 15        CCF2                                        Fund                Narine Nebel                                                                              $            62,256.25      Investor‐Lender     $           15,000.00   13‐351
13 to 15        CCF2                                        Fund                Nisha Gupta 401(K) Profit Sharing Plan & Trust                                            $            36,604.64      Investor‐Lender     $           29,500.00   13‐1317
13 to 15        CCF2                                        Fund                Nisha Gupta Defined Benefit Plan and Trust                                                $            99,887.14      Investor‐Lender     $           80,500.00   13‐1307
13 to 15        CCF2                                        Fund                Paul N. Wilmesmeier                                                                       $           790,185.00      Investor‐Lender     $           25,000.00   13‐300
13 to 15        CCF2                                        Fund                Petra Zoeller                                                                             $           546,619.00      Investor‐Lender     $           35,000.00   13‐594
13 to 15        CCF2                                        Fund                Rajesh Gupta Roth IRA                                                                     $            35,984.11      Investor‐Lender     $           29,000.00   13‐1282
13 to 15        CCF2                                        Fund                Robert E. Jeter                                                                           $           300,000.00      Investor‐Lender                             13‐1230
13 to 15        CCF2                                        Fund                Sandy Kikerpill, Fresh Advantage                                                          $           233,000.00      Investor‐Lender     $          100,000.00   13‐875
13 to 15        CCF2                                        Fund                STANLEY SCOTT                                                                             $            56,845.00      Investor‐Lender     $           60,000.00   13‐146
13 to 15        CCF2                                        Fund                Steven K Chennappan                                                                       $           100,000.00      Investor‐Lender                             13‐1266
13 to 15        CCF2                                        Fund                Timothy S Sharp                                                                           $           650,000.00      Investor‐Lender     $           50,000.00   13‐76
13 to 15        CCF2                                        Fund                Yaron Fisher                                                                              $           130,193.00      Investor‐Lender     $          108,617.00   13‐479
13 to 15        CCF2                                        Fund                Degenhardt, Duane A                                                                       $           645,000.00      Investor‐Lender     $          150,000.00   13‐2015
13 to 15        CCF2                                        Fund                Minchow, Donald                                                                           $           225,000.00      Investor‐Lender     $           75,000.00   13‐2041
13 to 15        CCF2                                        Fund                iPlan Group FBO Randall Pong IRA                                                          $            60,568.03    Investor‐Lender and   $            7,000.00   13‐728
                                                                                                                                                                                                       Equity Investor




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Property       Property Address                Alternative Address            Type                                               Claimant Name                                          Claimed Amount         Claim Category as    Amount Claimed to be     Claim
Number                                                                                                                                                                             (Total Claimed Amount      Identified on Claim    Invested in Property   Number
                                                                                                                                                                                     in Claim Category as            Form
                                                                                                                                                                                      Identified on Claim
                                                                                                                                                                                             Form)
13 to 15             CCF2                                            Fund                    Lynn Kupfer                                                                             $            99,426.00   Investor‐Lender and   $           75,000.00   13‐1321
                                                                                                                                                                                                                 Equity Investor
13 to 15             CCF2                                            Fund                    Michael F Grant & L. Gretchen Grant (Michael F. Grant & L. Gretchen Grant Revocable    $          695,000.00     Investor‐Lender and   $           50,000.00   13‐393
                                                                                             Trust dated March 16th 2012)                                                                                        Equity Investor
13 to 15             CCF2                                            Fund                    Nehasri Ltd ( investment under Nehasri Ltd by Manoj Donthineni)                        $          252,907.00     Investor‐Lender and   $           50,000.00   13‐1365
                                                                                                                                                                                                                 Equity Investor
13 to 15      2909‐19 E 78th Street                                  Estate Property         City of Chicago                                                                        $           78,479.20            Other          $            5,485.37   13‐693
13 to 15              CCF2                                           Fund                    Prakash, Sukumar Samson                                                                $          215,875.00                                                   13‐2047
13 to 15      2909‐19 E 78th Street                                  Fund                    Bright Venture, LLC                                                                    $          231,142.74       Equity Investor     $           50,000.00   13‐84
             7549‐59 S Essex Avenue
           8047‐55 S Manistee Avenue
13 to 15      2909‐19 E 78th Street                                  Fund                    Cynthia Love                                                                           $          104,250.01       Equity Investor     $          100,000.00   13‐132
             7549‐59 S Essex Avenue
           8047‐55 S Manistee Avenue
13 to 15      2909‐19 E 78th Street                                  Fund                    Frank and Laura Sohm                                                                   $          167,893.65       Equity Investor     $           10,000.00   13‐906
             7549‐59 S Essex Avenue
           8047‐55 S Manistee Avenue
13 to 15      2909‐19 E 78th Street                                  Fund                    Frank Sohm IRA                                                                         $          148,664.93       Equity Investor     $           40,000.00   13‐558
             7549‐59 S Essex Avenue
           8047‐55 S Manistee Avenue
13 to 15      2909‐19 E 78th Street                                  Fund                    James Tutsock                                                                          $          169,483.00       Equity Investor     $          100,000.00   13‐2057
             7549‐59 S Essex Avenue
           8047‐55 S Manistee Avenue
13 to 15      2909‐19 E 78th Street                                  Fund                    Jason Ragan ‐ TSA                                                                      $          473,079.71       Equity Investor     $           54,500.00   13‐796
             7549‐59 S Essex Avenue
           8047‐55 S Manistee Avenue
13 to 15      2909‐19 E 78th Street                                  Fund                    JLO Enterprises LLC                                                                    $          315,002.49       Equity Investor     $           33,000.00   13‐726
             7549‐59 S Essex Avenue
           8047‐55 S Manistee Avenue
13 to 15              CCF2                                           Fund                    John Asciutto                                                                          $           50,000.00       Equity Investor     $           50,000.00   13‐1209
13 to 15      2909‐19 E 78th Street                                  Fund                    Jossie Romero                                                                          $           53,541.66       Equity Investor     $           50,000.00   13‐86
             7549‐59 S Essex Avenue
           8047‐55 S Manistee Avenue
13 to 15      2909‐19 E 78th Street                                  Fund                    Steve Weera Tonasut and Esther Kon Tonasut                                             $          150,000.00       Equity Investor     $          150,000.00   13‐304
             7549‐59 S Essex Avenue
           8047‐55 S Manistee Avenue
13 to 15      2909‐19 E 78th Street                                  Fund                    Steven G. Mouty                                                                        $          465,000.00       Equity Investor     $          115,000.00   13‐821
             7549‐59 S Essex Avenue
           8047‐55 S Manistee Avenue
13 to 15      2909‐19 E 78th Street                                  Fund                    John Hutchison                                                                         $           50,000.00       Investor‐Lender     $           50,000.00   13‐1376
             7549‐59 S Essex Avenue
           8047‐55 S Manistee Avenue
13 to 15      2909‐19 E 78th Street                                  Fund                    Patricia M. McCorry, Manager McCorry Real Estate LLC                                   $           25,708.34       Investor‐Lender     $           25,000.00   13‐997
             7549‐59 S Essex Avenue
           8047‐55 S Manistee Avenue
13 to 15      2909‐19 E 78th Street                                  Fund                    Quest IRA Inc FBO Larry J Eggenberger IRA                                              $           50,000.00       Investor‐Lender     $           50,000.00   13‐713
             7549‐59 S Essex Avenue
           8047‐55 S Manistee Avenue
13 to 15      2909‐19 E 78th Street                                  Fund                    ROBERT A LAPORTE                                                                       $          100,000.00       Investor‐Lender     $           50,000.00   13‐1038
             7549‐59 S Essex Avenue
           8047‐55 S Manistee Avenue
13 to 15      2909‐19 E 78th Street                                  Fund                    Shreeja LLC                                                                            $           55,814.04       Investor‐Lender     $           50,000.00   13‐1444
             7549‐59 S Essex Avenue
           8047‐55 S Manistee Avenue
13 to 15      2909‐19 E 78th Street                                  Fund                    US Freedom Investments, LLC                                                            $          175,500.00       Investor‐Lender     $           25,000.00   13‐1234
             7549‐59 S Essex Avenue
           8047‐55 S Manistee Avenue
13 to 15      2909‐19 E 78th Street                                  Fund                    Vagmi LLC                                                                              $           27,113.23       Investor‐Lender     $           25,000.00   13‐1467
             7549‐59 S Essex Avenue
           8047‐55 S Manistee Avenue
13 to 15      2909‐19 E 78th Street                                  Fund                    Vagmi LLC                                                                              $           54,058.32       Investor‐Lender     $           50,000.00   13‐1465
             7549‐59 S Essex Avenue
           8047‐55 S Manistee Avenue




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Property       Property Address                Alternative Address            Type                                                Claimant Name                                         Claimed Amount         Claim Category as     Amount Claimed to be     Claim
Number                                                                                                                                                                             (Total Claimed Amount      Identified on Claim     Invested in Property   Number
                                                                                                                                                                                     in Claim Category as            Form
                                                                                                                                                                                      Identified on Claim
                                                                                                                                                                                             Form)
13 to 15             CCF2                                            Fund                    John B. Allred & Glenda K. Allred                                                      $          1,421,646.52   Investor‐Lender and    $           50,000.00   13‐2004
                                                                                                                                                                                                                 Equity Investor
13 to 15      2909‐19 E 78th Street                                  Fund                    Karl R. DeKlotz                                                                        $        1,586,165.90     Investor‐Lender and    $          200,000.00   13‐1179
             7549‐59 S Essex Avenue                                                                                                                                                                              Equity Investor
           8047‐55 S Manistee Avenue
  16          1017 W 102nd Street                                    Estate Property         Midland Loan Services, a Division of PNC Bank, N.A. as servicer for Colony American    $        1,605,189.95     Institutional Lender                           16‐972
                                                                                             Finance 2015‐1, Ltd.
  17           1516 E 85th Place                                     Estate Property         Midland Loan Services, a Division of PNC Bank, N.A. as servicer for Colony American    $        1,605,189.95     Institutional Lender                           17‐972
                                                                                             Finance 2015‐1, Ltd.
  18          2136 W 83rd Street                                     Estate Property         Midland Loan Services, a Division of PNC Bank, N.A. as servicer for Colony American    $        1,605,189.95     Institutional Lender                           18‐972
                                                                                             Finance 2015‐1, Ltd.
  19          417 Oglesby Avenue                                     Estate Property         Midland Loan Services, a Division of PNC Bank, N.A. as servicer for Colony American    $        1,605,189.95     Institutional Lender                           19‐972
                                                                                             Finance 2015‐1, Ltd.
  20          7922 S Luella Avenue                                   Estate Property         Midland Loan Services, a Division of PNC Bank, N.A. as servicer for Colony American    $        1,605,189.95     Institutional Lender                           20‐972
                                                                                             Finance 2015‐1, Ltd.
  21        7925 S Kingston Avenue                                   Estate Property         Midland Loan Services, a Division of PNC Bank, N.A. as servicer for Colony American    $        1,605,189.95     Institutional Lender                           21‐972
                                                                                             Finance 2015‐1, Ltd.
  22        7933 S Kingston Avenue                                   Estate Property         Celia Tong Revocable Living Trust Dated December 22, 2011                              $           27,565.00       Equity Investor      $           20,000.00   22‐287
  22        7933 S Kingston Avenue                                   Estate Property         Midland Loan Services, a Division of PNC Bank, N.A. as servicer for Colony American    $        1,605,189.95     Institutional Lender                           22‐972
                                                                                             Finance 2015‐1, Ltd.
  23       8030 S Marquette Avenue                                   Estate Property         Midland Loan Services, a Division of PNC Bank, N.A. as servicer for Colony American    $        1,605,189.95     Institutional Lender                           23‐972
                                                                                             Finance 2015‐1, Ltd.
  24        8104 S Kingston Avenue                                   Estate Property         Midland Loan Services, a Division of PNC Bank, N.A. as servicer for Colony American    $        1,605,189.95     Institutional Lender                           24‐972
                                                                                             Finance 2015‐1, Ltd.
  25        8403 S Aberdeen Street                                   Estate Property         Midland Loan Services, a Division of PNC Bank, N.A. as servicer for Colony American    $        1,605,189.95     Institutional Lender                           25‐972
                                                                                             Finance 2015‐1, Ltd.
  26       8405 S Marquette Avenue                                   Estate Property         Midland Loan Services, a Division of PNC Bank, N.A. as servicer for Colony American    $        1,605,189.95     Institutional Lender                           26‐972
                                                                                             Finance 2015‐1, Ltd.
  26       8405 S Marquette Avenue                                   Estate Property         Manoj Donthineni                                                                       $           71,544.30       Investor‐Lender      $          141,340.00   26‐1357
  26       8405 S Marquette Avenue                                   Estate Property         City of Chicago                                                                        $           78,479.20             Other          $              413.84   26‐693
  27        8529 S Rhodes Avenue                                     Estate Property         Midland Loan Services, a Division of PNC Bank, N.A. as servicer for Colony American    $        1,605,189.95     Institutional Lender                           27‐972
                                                                                             Finance 2015‐1, Ltd.
  28           8800 S Ada Street                                     Estate Property         Midland Loan Services, a Division of PNC Bank, N.A. as servicer for Colony American    $        1,605,189.95     Institutional Lender                           28‐972
                                                                                             Finance 2015‐1, Ltd.
  28           8800 S Ada Street                                     Estate Property         Dennis K McCoy                                                                         $          312,238.67       Investor‐Lender      $           60,000.00   28‐569
  29         9212 S Parnell Avenue                                   Estate Property         Midland Loan Services, a Division of PNC Bank, N.A. as servicer for Colony American    $        1,605,189.95     Institutional Lender                           29‐972
                                                                                             Finance 2015‐1, Ltd.
  30        10012 S LaSalle Avenue                                   Estate Property         Midland Loan Services, a Division of PNC Bank, N.A. as servicer for Colony American    $        1,924,211.14     Institutional Lender                           30‐1455
                                                                                             Finance 2015‐1, Ltd.
  31         11318 S Church Street                                   Estate Property         Midland Loan Services, a Division of PNC Bank, N.A. as servicer for Colony American    $        1,924,211.14     Institutional Lender                           31‐1455
                                                                                             Finance 2015‐1, Ltd.
  32          3213 S Throop Street                                   Estate Property         Midland Loan Services, a Division of PNC Bank, N.A. as servicer for Colony American    $        1,924,211.14     Institutional Lender                           32‐1455
                                                                                             Finance 2015‐1, Ltd.
  33           3723 W 68th Place                                     Estate Property         Kathleen Martin                                                                        $          304,605.24       Equity Investor      $          172,423.00   33‐246
  33           3723 W 68th Place                                     Estate Property         Midland Loan Services, a Division of PNC Bank, N.A. as servicer for Colony American    $        1,924,211.14     Institutional Lender                           33‐1455
                                                                                             Finance 2015‐1, Ltd.
  33           3723 W 68th Place                                     Estate Property         Dennis K McCoy                                                                         $          312,238.67       Investor‐Lender      $           40,000.00   33‐569
  34            406 E 87th Place                                     Estate Property         Midland Loan Services, a Division of PNC Bank, N.A. as servicer for Colony American    $        1,924,211.14     Institutional Lender                           34‐1455
                                                                                             Finance 2015‐1, Ltd.
  35            61 E 92nd Street                                     Estate Property         Midland Loan Services, a Division of PNC Bank, N.A. as servicer for Colony American    $        1,924,211.14     Institutional Lender                           35‐1455
                                                                                             Finance 2015‐1, Ltd.
  35           61 E 92nd Street                                      Estate Property         Lorenzo J Jaquias                                                                      $           71,635.00       Investor‐Lender      $           86,600.00   35‐184
  36         6554 S Rhodes Avenue                                    Estate Property         Midland Loan Services, a Division of PNC Bank, N.A. as servicer for Colony American    $        1,924,211.14     Institutional Lender                           36‐1455
                                                                                             Finance 2015‐1, Ltd.
  37         6825 S Indiana Avenue                                   Estate Property         Midland Loan Services, a Division of PNC Bank, N.A. as servicer for Colony American    $        1,924,211.14     Institutional Lender                           37‐1455
                                                                                             Finance 2015‐1, Ltd.
  38         7210 S Vernon Avenue                                    Estate Property         Midland Loan Services, a Division of PNC Bank, N.A. as servicer for Colony American    $        1,924,211.14     Institutional Lender                           38‐1455
                                                                                             Finance 2015‐1, Ltd.
  39         7712 S Euclid Avenue                                    Estate Property         Midland Loan Services, a Division of PNC Bank, N.A. as servicer for Colony American    $        1,924,211.14     Institutional Lender                           39‐1455
                                                                                             Finance 2015‐1, Ltd.
  40       7953 S Woodlawn Avenue                                    Estate Property         Midland Loan Services, a Division of PNC Bank, N.A. as servicer for Colony American    $        1,924,211.14     Institutional Lender                           40‐1455
                                                                                             Finance 2015‐1, Ltd.
  40       7953 S Woodlawn Avenue                                    Estate Property         Blessing Strategies, LLC                                                               $           29,784.00       Investor‐Lender      $           12,500.00   40‐353




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Property        Property Address                Alternative Address            Type                                                Claimant Name                                                 Claimed Amount         Claim Category as     Amount Claimed to be     Claim
Number                                                                                                                                                                                      (Total Claimed Amount      Identified on Claim     Invested in Property   Number
                                                                                                                                                                                              in Claim Category as            Form
                                                                                                                                                                                               Identified on Claim
                                                                                                                                                                                                      Form)
  40        7953 S Woodlawn Avenue                                    Estate Property         Celia Tong Revocable Living Trust Dated December 22, 2011                                       $            28,741.00     Investor‐Lender      $            2,770.00   40‐287
  40        7953 S Woodlawn Avenue                                    Estate Property         Jeffrey Lee Blankenship                                                                         $            89,822.12     Investor‐Lender      $           30,629.18   40‐1241
  40        7953 S Woodlawn Avenue                                    Estate Property         Quantum Growth Holdings LLC                                                                                                Investor‐Lender      $            8,053.89   40‐354
  41         8107 S Kingston Avenue                                   Estate Property         Midland Loan Services, a Division of PNC Bank, N.A. as servicer for Colony American            $        1,924,211.14     Institutional Lender                           41‐1455
                                                                                              Finance 2015‐1, Ltd.
  42        8346 S Constance Avenue                                   Estate Property         Midland Loan Services, a Division of PNC Bank, N.A. as servicer for Colony American            $        1,924,211.14     Institutional Lender                           42‐1455
                                                                                              Finance 2015‐1, Ltd.
  43          8432 S Essex Avenue                                     Estate Property         Midland Loan Services, a Division of PNC Bank, N.A. as servicer for Colony American            $        1,924,211.14     Institutional Lender                           43‐1455
                                                                                              Finance 2015‐1, Ltd.
  44         8517 S Vernon Avenue                                     Estate Property         Midland Loan Services, a Division of PNC Bank, N.A. as servicer for Colony American            $        1,924,211.14     Institutional Lender                           44‐1455
                                                                                              Finance 2015‐1, Ltd.
  44         8517 S Vernon Avenue                                     Estate Property         City of Chicago                                                                                $           78,479.20             Other          $              841.94   44‐693
  45          2129 W 71st Street                                      Estate Property         Midland Loan Services, a Division of PNC Bank, N.A. as servicer for Wilmington Trust, N.A.,    $        1,973,393.52     Institutional Lender                           45‐1464
                                                                                              as Trustee for the Benefit of Corevest American Finance 2017‐1 Trust Mortgage Pass‐
                                                                                              Through Certificates
  46        9610 S Woodlawn Avenue                                    Estate Property         Midland Loan Services, a Division of PNC Bank, N.A. as servicer for Wilmington Trust, N.A.,    $        1,973,393.52     Institutional Lender                           46‐1464
                                                                                              as Trustee for the Benefit of Corevest American Finance 2017‐1 Trust Mortgage Pass‐
                                                                                              Through Certificates
  46        9610 S Woodlawn Avenue                                    Estate Property         City of Chicago                                                                                $           78,479.20             Other          $             431.13    46‐693
  47           5437 S Laflin Street                                   Estate Property         Midland Loan Services, a Division of PNC Bank, N.A. as servicer for Wilmington Trust, N.A.,    $        1,973,393.52     Institutional Lender                           47‐1464
                                                                                              as Trustee for the Benefit of Corevest American Finance 2017‐1 Trust Mortgage Pass‐
                                                                                              Through Certificates
  47          5437 S Laflin Street                                    Estate Property         Michael Borgia                                                                                 $        1,253,784.00       Investor‐Lender      $          250,000.00   47‐231
  48         6759 S Indiana Avenue                                    Estate Property         Midland Loan Services, a Division of PNC Bank, N.A. as servicer for Wilmington Trust, N.A.,    $        1,973,393.52     Institutional Lender                           48‐1464
                                                                                              as Trustee for the Benefit of Corevest American Finance 2017‐1 Trust Mortgage Pass‐
                                                                                              Through Certificates
  49       7300‐04 St Lawrence Avenue                                 Estate Property         Bernadette Chen (Eleven St Felix St. Realty)                                                   $        1,000,000.00       Equity Investor      $           50,000.00   49‐2012
  49       7300‐04 St Lawrence Avenue                                 Estate Property         Midland Loan Services, a Division of PNC Bank, N.A. as servicer for Wilmington Trust, N.A.,    $        1,973,393.52     Institutional Lender                           49‐1464
                                                                                              as Trustee for the Benefit of Corevest American Finance 2017‐1 Trust Mortgage Pass‐
                                                                                              Through Certificates
  49       7300‐04 St Lawrence Avenue                                 Estate Property         Helen Boyd                                                                                     $          105,000.00       Investor‐Lender      $           50,000.00   49‐2010
  49       7300‐04 St Lawrence Avenue                                 Estate Property         LaDawn K. Westbrook ‐ Miss Property LLC                                                        $           71,546.64       Investor‐Lender                              49‐271
  49       7300‐04 St Lawrence Avenue                                 Estate Property         Matthew Boyd                                                                                   $          405,000.00       Investor‐Lender      $          259,302.00   49‐2060
  49       7300‐04 St Lawrence Avenue                                 Estate Property         Paul N. Wilmesmeier                                                                            $          790,185.00       Investor‐Lender      $           25,000.00   49‐300
  49       7300‐04 St Lawrence Avenue                                 Estate Property         City of Chicago                                                                                $           78,479.20             Other          $            1,182.83   49‐693
  50          7760 S Coles Avenue                                     Estate Property         Midland Loan Services, a Division of PNC Bank, N.A. as servicer for Wilmington Trust, N.A.,    $        1,973,393.52     Institutional Lender                           50‐1464
                                                                                              as Trustee for the Benefit of Corevest American Finance 2017‐1 Trust Mortgage Pass‐
                                                                                              Through Certificates
  50          7760 S Coles Avenue                                     Estate Property         Helen Boyd                                                                                     $          105,000.00       Investor‐Lender      $           55,000.00   50‐2010
  50          7760 S Coles Avenue                                     Estate Property         Huiyi Yang and Hui Wang                                                                        $           43,150.22       Investor‐Lender      $           20,166.67   50‐122
  50          7760 S Coles Avenue                                     Estate Property         Kevin Bybee, iPlanGroup Agent for Custodian FBO Kevin Bybee IRA                                $          102,367.34       Investor‐Lender      $           76,000.00   50‐497
  50          7760 S Coles Avenue                                     Estate Property         LMJ Sales, Inc.                                                                                $          559,807.34       Investor‐Lender      $          100,000.00   50‐1346
  50          7760 S Coles Avenue                                     Estate Property         Marjorie Jean Sexton                                                                           $          200,000.00       Investor‐Lender      $           50,000.00   50‐2065
  50          7760 S Coles Avenue                                     Estate Property         Matthew Boyd                                                                                   $          405,000.00       Investor‐Lender      $           55,000.00   50‐2060
  50          7760 S Coles Avenue                                     Estate Property         Metro Rural Real Estate Solutions (Tamara Molenaar‐Angelier)                                   $           18,253.51       Investor‐Lender      $           70,000.00   50‐743
  50          7760 S Coles Avenue                                     Estate Property         PNW Investments, LLC                                                                           $          350,000.00       Investor‐Lender      $           25,000.00   50‐332
  50          7760 S Coles Avenue                                     Estate Property         Scott E Pammer                                                                                 $          243,954.00       Investor‐Lender      $           12,070.00   50‐827
  50          7760 S Coles Avenue                                     Estate Property         City of Chicago                                                                                $           78,479.20             Other          $              815.33   50‐693
  51          1401 W 109th Place                                      Estate Property         Midland Loan Services, a Division of PNC Bank, N.A. as servicer for Wilmington Trust, N.A.,    $        3,003,129.41     Institutional Lender                           51‐1466
                                                                                              as Trustee for the Registered Holders of Corevest American Finance 2017‐2 Trust,
                                                                                              Mortgage Pass‐Through Certificates, Series 2017‐2
  51           1401 W 109th Place                                     Estate Property         Hiu Tung Carol                                                                                 $           62,000.00       Investor‐Lender      $          115,487.00   51‐1101
  51           1401 W 109th Place                                     Estate Property         Michael and Lyanne Terada                                                                      $           73,336.53       Investor‐Lender      $           33,847.00   51‐551
  52            310 E 50th Street                                     Estate Property         Midland Loan Services, a Division of PNC Bank, N.A. as servicer for Wilmington Trust, N.A.,    $        3,003,129.41     Institutional Lender                           52‐1466
                                                                                              as Trustee for the Registered Holders of Corevest American Finance 2017‐2 Trust,
                                                                                              Mortgage Pass‐Through Certificates, Series 2017‐2
  52           310 E 50th Street                                      Estate Property         Kirk Road Investments, LLC                                                                     $          434,195.69       Investor‐Lender      $          193,750.00   52‐755
  52           310 E 50th Street                                      Estate Property         Paper Street Realty LLC DBA Rent Ready Apartments                                              $          234,139.18        Trade Creditor      $           49,600.68   52‐1206
  53         6807 S Indiana Avenue                                    Estate Property         Midland Loan Services, a Division of PNC Bank, N.A. as servicer for Wilmington Trust, N.A.,    $        3,003,129.41     Institutional Lender                           53‐1466
                                                                                              as Trustee for the Registered Holders of Corevest American Finance 2017‐2 Trust,
                                                                                              Mortgage Pass‐Through Certificates, Series 2017‐2




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Property       Property Address                 Alternative Address             Type                                                Claimant Name                                               Claimed Amount         Claim Category as      Amount Claimed to be     Claim
Number                                                                                                                                                                                     (Total Claimed Amount      Identified on Claim      Invested in Property   Number
                                                                                                                                                                                             in Claim Category as            Form
                                                                                                                                                                                              Identified on Claim
                                                                                                                                                                                                     Form)
  53         6807 S Indiana Avenue                                     Estate Property         Edge Investments, LLC, Janet F. Turco, Owner/Member IRA                                      $          1,031,324.00     Investor‐Lender       $           45,000.00   53‐180
  53         6807 S Indiana Avenue                                     Estate Property         Leroy & Martha Johnson                                                                        $            81,066.85     Investor‐Lender       $          100,000.00   53‐1350
  54        8000‐02 S Justine Street            1541 E 80th Street     Estate Property         Midland Loan Services, a Division of PNC Bank, N.A. as servicer for Wilmington Trust, N.A., $           3,003,129.41   Institutional Lender                            54‐1466
                                                                                               as Trustee for the Registered Holders of Corevest American Finance 2017‐2 Trust,
                                                                                               Mortgage Pass‐Through Certificates, Series 2017‐2
  54        8000‐02 S Justine Street            1541 E 80th Street     Estate Property         Michael James Guilford and Nancy Richard‐Guilford, Jointly with Right of Survivorship        $            310,000.00     Investor‐Lender       $          110,000.00   54‐516

  54        8000‐02 S Justine Street            1541 E 80th Street     Estate Property         Rene Hribal                                                                                   $       1,525,473.04     Investor‐Lender    $               729,000.00   54‐768
  54        8000‐02 S Justine Street            1541 E 80th Street     Estate Property         John B. Allred & Glenda K. Allred                                                             $       1,421,646.52   Investor‐Lender and                               54‐2004
                                                                                                                                                                                                                       Equity Investor
  54        8000‐02 S Justine Street            1541 E 80th Street     Estate Property         City of Chicago                                                                               $          78,479.20          Other         $                 2,783.04   54‐693
  55         8107‐09 S Ellis Avenue                                    Estate Property         CLD Construction, Inc. (Doru Unchias)                                                         $         434,935.00 Independent Contractor $                52,300.00   55‐1454

  55         8107‐09 S Ellis Avenue                                    Estate Property         Midland Loan Services, a Division of PNC Bank, N.A. as servicer for Wilmington Trust, N.A.,   $       3,003,129.41     Institutional Lender                            55‐1466
                                                                                               as Trustee for the Registered Holders of Corevest American Finance 2017‐2 Trust,
                                                                                               Mortgage Pass‐Through Certificates, Series 2017‐2
  55         8107‐09 S Ellis Avenue                                    Estate Property         Hillside Fund, LLC ‐ Janet F. Turco, Owner/ Managing Member                                   $         505,000.00        Investor‐Lender      $           50,000.00   55‐101
  55         8107‐09 S Ellis Avenue                                    Estate Property         Hyman J. Small                                                                                $          75,000.00        Investor‐Lender                              55‐573
  55         8107‐09 S Ellis Avenue                                    Estate Property         Kelly E Welton (iPlanGroup Agent for Custodian FBO Kelly Welton, IRA)                         $          83,813.00        Investor‐Lender      $           26,200.00   55‐310
  55         8107‐09 S Ellis Avenue                                    Estate Property         Kenneth (Ken) and Maria (Tina) Jorgensen                                                      $         453,233.25        Investor‐Lender      $           31,000.00   55‐194
  55         8107‐09 S Ellis Avenue                                    Estate Property         R.D.Meredith General Contractors LLC 401K                                                     $         373,617.16        Investor‐Lender      $           91,672.00   55‐528
  55         8107‐09 S Ellis Avenue                                    Estate Property         SLB Ventures, LLC                                                                             $         215,215.48        Investor‐Lender      $           95,000.00   55‐565
  55         8107‐09 S Ellis Avenue                                    Estate Property         Steven and Linda Lipschultz                                                                   $         350,360.00        Investor‐Lender      $           73,360.00   55‐1442
  55         8107‐09 S Ellis Avenue                                    Estate Property         John B. Allred & Glenda K. Allred                                                             $       1,421,646.52     Investor‐Lender and                             55‐2004
                                                                                                                                                                                                                          Equity Investor
  56          8209 S Ellis Avenue                                      Estate Property         Marilyn B. Ackerman                                                                           $         165,913.00         Equity Investor     $          200,000.00   56‐395
  56          8209 S Ellis Avenue                                      Estate Property         Midland Loan Services, a Division of PNC Bank, N.A. as servicer for Wilmington Trust, N.A.,   $       3,003,129.41      Institutional Lender                           56‐1466
                                                                                               as Trustee for the Registered Holders of Corevest American Finance 2017‐2 Trust,
                                                                                               Mortgage Pass‐Through Certificates, Series 2017‐2
  56          8209 S Ellis Avenue                                      Estate Property         ARBOR VENTURES OVERSEAS LIMITED, LLC                                                          $         176,122.67       Investor‐Lender       $          115,000.00   56‐446
  56          8209 S Ellis Avenue                                      Estate Property         Ashwin D Patel                                                                                $         100,000.00       Investor‐Lender       $          100,000.00   56‐1170
  56          8209 S Ellis Avenue                                      Estate Property         Claude M West , Linda S Gray, Desert Storm Properties Group, LLC                              $         100,000.00       Investor‐Lender       $          100,000.00   56‐1281
  56          8209 S Ellis Avenue                                      Estate Property         Edge Investments, LLC, Janet F. Turco, Owner/Member IRA                                       $       1,031,324.00       Investor‐Lender       $          100,000.00   56‐180
  56          8209 S Ellis Avenue                                      Estate Property         Hyman J. Small                                                                                $          75,000.00       Investor‐Lender                               56‐573
  56          8209 S Ellis Avenue                                      Estate Property         JKG Investments, LLC                                                                          $          25,000.00       Investor‐Lender       $           25,000.00   56‐1181
  56          8209 S Ellis Avenue                                      Estate Property         SLB Ventures, LLC                                                                             $         215,215.48       Investor‐Lender       $           24,960.00   56‐565
  56          8209 S Ellis Avenue                                      Estate Property         Wesley Pittman                                                                                $         180,048.45       Investor‐Lender       $           70,000.00   56‐469
  56          8209 S Ellis Avenue                                      Estate Property         Paper Street Realty LLC DBA Rent Ready Apartments                                             $         234,139.18        Trade Creditor       $            2,740.00   56‐1206
  57       8214‐16 S Ingleside Avenue                                  Estate Property         Midland Loan Services, a Division of PNC Bank, N.A. as servicer for Wilmington Trust, N.A.,   $       3,003,129.41     Institutional Lender                            57‐1466
                                                                                               as Trustee for the Registered Holders of Corevest American Finance 2017‐2 Trust,
                                                                                               Mortgage Pass‐Through Certificates, Series 2017‐2
  57       8214‐16 S Ingleside Avenue                                  Estate Property         James Tutsock                                                                                 $         900,000.00       Investor‐Lender                               57‐2057
  57       8214‐16 S Ingleside Avenue                                  Estate Property         Joral Schmalle                                                                                $       1,735,782.00       Investor‐Lender       $          759,000.00   57‐730
  57       8214‐16 S Ingleside Avenue                                  Estate Property         Paper Street Realty LLC DBA Rent Ready Apartments                                             $         234,139.18        Trade Creditor       $           18,986.00   57‐1206
  58       5955 S Sacramento Avenue            2948‐56 W 60th Street   Estate Property         John McDevitt                                                                                 $         220,000.00        Equity Investor      $           20,000.00   58‐2090
  58       5955 S Sacramento Avenue            2948‐56 W 60th Street   Estate Property         Liberty Quest Investment Group LLC                                                            $         210,000.00        Equity Investor      $          210,000.00   58‐587
  58       5955 S Sacramento Avenue            2948‐56 W 60th Street   Estate Property         Madison Trust Company Agent for Custodian FBO The Jacqueline C Rowe Living Trust IRA          $         623,489.57        Equity Investor                              58‐163

  58       5955 S Sacramento Avenue            2948‐56 W 60th Street   Estate Property         Vartan Tarakchyan                                                                             $         415,000.00        Equity Investor      $          50,000.00    58‐1118
  58       5955 S Sacramento Avenue            2948‐56 W 60th Street   Estate Property         1839 Fund I LLC                                                                               $          49,937.00       Investor‐Lender       $           42,330.00   58‐367
  58       5955 S Sacramento Avenue            2948‐56 W 60th Street   Estate Property         Alcalli Sabat                                                                                 $         109,396.68       Investor‐Lender                               58‐786
  58       5955 S Sacramento Avenue            2948‐56 W 60th Street   Estate Property         Arthur Bertrand                                                                               $          78,079.82       Investor‐Lender       $            4,825.00   58‐892
  58       5955 S Sacramento Avenue            2948‐56 W 60th Street   Estate Property         Capital Investors, LLC                                                                        $         930,376.31       Investor‐Lender       $           50,000.00   58‐1490
  58       5955 S Sacramento Avenue            2948‐56 W 60th Street   Estate Property         Dennis & Mary Ann Hennefer                                                                    $         679,378.00       Investor‐Lender       $          332,334.00   58‐355
  58       5955 S Sacramento Avenue            2948‐56 W 60th Street   Estate Property         Diana Johan                                                                                   $          25,000.00       Investor‐Lender       $           25,000.00   58‐499
  58       5955 S Sacramento Avenue            2948‐56 W 60th Street   Estate Property         Fredric R. Gottlieb                                                                           $         212,481.00       Investor‐Lender       $           37,481.00   58‐1177
  58       5955 S Sacramento Avenue            2948‐56 W 60th Street   Estate Property         Harvey Singer                                                                                 $         854,387.63       Investor‐Lender       $          198,500.00   58‐2054
  58       5955 S Sacramento Avenue            2948‐56 W 60th Street   Estate Property         Matthew Boyd                                                                                  $         405,000.00       Investor‐Lender       $           40,698.00   58‐2060
  58       5955 S Sacramento Avenue            2948‐56 W 60th Street   Estate Property         Robert A Demick DDS PA 401K                                                                   $         177,678.65       Investor‐Lender       $           29,000.00   58‐680
  58       5955 S Sacramento Avenue            2948‐56 W 60th Street   Estate Property         Steven R. Bald                                                                                $         586,378.00       Investor‐Lender       $           40,000.00   58‐399




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Property        Property Address                 Alternative Address             Type                                             Claimant Name                                       Claimed Amount         Claim Category as    Amount Claimed to be     Claim
Number                                                                                                                                                                           (Total Claimed Amount      Identified on Claim    Invested in Property   Number
                                                                                                                                                                                   in Claim Category as            Form
                                                                                                                                                                                    Identified on Claim
                                                                                                                                                                                           Form)
  58        5955 S Sacramento Avenue            2948‐56 W 60th Street   Estate Property         Teresita M. Shelton                                                               $            426,513.00     Investor‐Lender     $           25,000.00   58‐330
  58        5955 S Sacramento Avenue            2948‐56 W 60th Street   Estate Property         The Moore/Ferrer Family 2004 Trust                                                $            208,341.66     Investor‐Lender     $           50,000.00   58‐107
  58        5955 S Sacramento Avenue            2948‐56 W 60th Street   Estate Property         Timothy S Sharp                                                                   $            650,000.00     Investor‐Lender     $           50,000.00   58‐76
  58        5955 S Sacramento Avenue            2948‐56 W 60th Street   Estate Property         Wisemove Properties LLC, (Anthony and Linda Reid, members)                        $            668,979.00     Investor‐Lender                             58‐168
  59       6001‐05 S Sacramento Avenue          2945‐51 W 60th Street   Estate Property         Alcalli Sabat                                                                     $            109,396.68     Investor‐Lender                             59‐786
  59       6001‐05 S Sacramento Avenue          2945‐51 W 60th Street   Estate Property         Aluvelu Homes LLC                                                                 $            169,271.00     Investor‐Lender     $           54,271.00   59‐879
  59       6001‐05 S Sacramento Avenue          2945‐51 W 60th Street   Estate Property         Arthur and Dinah Bertrand                                                         $          1,000,000.00     Investor‐Lender     $            7,552.00   59‐890
  59       6001‐05 S Sacramento Avenue          2945‐51 W 60th Street   Estate Property         Asians Investing In Real Estate LLC                                               $          1,278,402.00     Investor‐Lender     $           60,000.00   59‐503
  59       6001‐05 S Sacramento Avenue          2945‐51 W 60th Street   Estate Property         Brad and Linda Lutz                                                               $            813,582.00     Investor‐Lender     $           67,876.00   59‐962
  59       6001‐05 S Sacramento Avenue          2945‐51 W 60th Street   Estate Property         Chuck Denton | Denton Real Estate Company Inc. 401k                               $            200,000.00     Investor‐Lender     $           25,000.00   59‐379
  59       6001‐05 S Sacramento Avenue          2945‐51 W 60th Street   Estate Property         CZE Holdings LLC (Carl Johnson IRA)                                               $            299,700.00     Investor‐Lender     $           50,000.00   59‐1117
  59       6001‐05 S Sacramento Avenue          2945‐51 W 60th Street   Estate Property         Duke E. Heger and Viviana Heger                                                   $            117,000.00     Investor‐Lender     $           12,000.00   59‐1408
  59       6001‐05 S Sacramento Avenue          2945‐51 W 60th Street   Estate Property         Equity Capital Resources, LLC                                                      $            77,166.66     Investor‐Lender     $           50,000.00   59‐671
  59       6001‐05 S Sacramento Avenue          2945‐51 W 60th Street   Estate Property         Ganpat and FEREEDA Seunath                                                        $            216,194.22     Investor‐Lender     $          109,844.00   59‐77
  59       6001‐05 S Sacramento Avenue          2945‐51 W 60th Street   Estate Property         Gary R. Burnham Jr. Solo 401K Trust                                               $            205,608.00     Investor‐Lender     $            7,971.00   59‐1174
  59       6001‐05 S Sacramento Avenue          2945‐51 W 60th Street   Estate Property         iPlanGroup Agent for Custodian FBO Charles Powell IRA                             $            260,000.00     Investor‐Lender                             59‐413
  59       6001‐05 S Sacramento Avenue          2945‐51 W 60th Street   Estate Property         James Clements                                                                    $            185,910.00     Investor‐Lender     $           70,000.00   59‐1402
  59       6001‐05 S Sacramento Avenue          2945‐51 W 60th Street   Estate Property         Leonard Grosso                                                                    $            177,499.95     Investor‐Lender     $           50,000.00   59‐2024
  59       6001‐05 S Sacramento Avenue          2945‐51 W 60th Street   Estate Property         LMJ Sales, Inc.                                                                   $            559,807.34     Investor‐Lender     $           50,000.00   59‐1346
  59       6001‐05 S Sacramento Avenue          2945‐51 W 60th Street   Estate Property         Marjorie Jean Sexton                                                              $            200,000.00     Investor‐Lender     $           40,564.00   59‐2065
  59       6001‐05 S Sacramento Avenue          2945‐51 W 60th Street   Estate Property         New Direction IRA, Inc. FBO Joel Beyer, Roth IRA                                  $            103,990.94     Investor‐Lender     $           16,000.00   59‐969
  59       6001‐05 S Sacramento Avenue          2945‐51 W 60th Street   Estate Property         PFFR TRUST (Garrett Miller)                                                        $             5,299.00     Investor‐Lender     $            5,299.00   59‐1284
  59       6001‐05 S Sacramento Avenue          2945‐51 W 60th Street   Estate Property         Phillip G. Vander Kraats                                                           $            80,186.82     Investor‐Lender     $              312.00   59‐628
  59       6001‐05 S Sacramento Avenue          2945‐51 W 60th Street   Estate Property         TMAKINDE, LLC                                                                     $            247,000.00     Investor‐Lender     $          108,000.00   59‐372
  59       6001‐05 S Sacramento Avenue          2945‐51 W 60th Street   Estate Property         Towpath Investments LLC ‐ Robert Kessing (manager)                                $            135,000.00     Investor‐Lender     $           30,000.00   59‐338
  60         7026‐42 S Cornell Avenue                                   Estate Property         Bancroft, Ed                                                                      $            258,060.00   Investor‐Lender and                           60‐2008
                                                                                                                                                                                                               Equity Investor
  60         7026‐42 S Cornell Avenue                                   Estate Property         Jason Ragan ‐ TSA                                                                 $          327,324.29        Equity Investor    $            1,241.00   60‐797
  60         7026‐42 S Cornell Avenue                                   Estate Property         Steven Lipschultz                                                                 $           71,126.00        Equity Investor    $           31,635.00   60‐1391
  60         7026‐42 S Cornell Avenue                                   Estate Property         Alex Breslav                                                                      $          247,000.00       Investor‐Lender     $           50,000.00   60‐262
  60         7026‐42 S Cornell Avenue                                   Estate Property         Annie Chang                                                                       $          246,935.34       Investor‐Lender     $            3,500.00   60‐475
  60         7026‐42 S Cornell Avenue                                   Estate Property         Asians Investing In Real Estate LLC                                               $        1,278,402.00       Investor‐Lender     $           69,402.00   60‐503
  60         7026‐42 S Cornell Avenue                                   Estate Property         Brett Burnham (iPlanGroup Agent for Custodian FBO Brett Burnham)                  $          215,335.54       Investor‐Lender     $           30,000.00   60‐314
  60         7026‐42 S Cornell Avenue                                   Estate Property         Capital Investors, LLC                                                            $          930,376.31       Investor‐Lender     $          379,479.00   60‐1490
  60         7026‐42 S Cornell Avenue                                   Estate Property         Christine Hethcock                                                                $           41,500.00       Investor‐Lender     $           40,000.00   60‐1300
  60         7026‐42 S Cornell Avenue                                   Estate Property         Chuck Denton | Denton Real Estate Company Inc. 401k                               $          200,000.00       Investor‐Lender     $           50,000.00   60‐379
  60         7026‐42 S Cornell Avenue                                   Estate Property         CZE Holdings LLC (Carl Johnson IRA)                                               $          299,700.00       Investor‐Lender     $           55,000.00   60‐1117
  60         7026‐42 S Cornell Avenue                                   Estate Property         Dana Speed                                                                        $          249,710.00       Investor‐Lender     $           31,000.00   60‐684
  60         7026‐42 S Cornell Avenue                                   Estate Property         Daniel Matthews, Leah Matthews                                                    $          185,922.54       Investor‐Lender     $           22,812.00   60‐117
  60         7026‐42 S Cornell Avenue                                   Estate Property         David Ashley Lawrence Johnson investing under Endurance Capital Management LLC    $           50,000.00       Investor‐Lender     $           50,000.00   60‐170
  60         7026‐42 S Cornell Avenue                                   Estate Property         Dennis & Mary Ann Hennefer                                                        $          679,378.00       Investor‐Lender     $          110,000.00   60‐355
  60         7026‐42 S Cornell Avenue                                   Estate Property         DVH Investment Trust                                                              $           20,000.00       Investor‐Lender     $           80,000.00   60‐1410
  60         7026‐42 S Cornell Avenue                                   Estate Property         Elizabeth Zeng                                                                    $          148,422.77       Investor‐Lender     $            9,000.00   60‐872
  60         7026‐42 S Cornell Avenue                                   Estate Property         Equity Trust Company Custodian FBO Linda A. Smith IRA                             $           50,000.00       Investor‐Lender     $           50,000.00   60‐550
  60         7026‐42 S Cornell Avenue                                   Estate Property         Fredric R. Gottlieb (South Florida Realty Management & Investments)               $          433,306.00       Investor‐Lender     $           58,306.00   60‐1215
  60         7026‐42 S Cornell Avenue                                   Estate Property         Gallowglass LLC c/o Patrick Bournes                                               $          100,000.00       Investor‐Lender                             60‐316
  60         7026‐42 S Cornell Avenue                                   Estate Property         Harvey Singer                                                                     $          854,387.63       Investor‐Lender     $           51,500.00   60‐2054
  60         7026‐42 S Cornell Avenue                                   Estate Property         iPlanGroup Agent for Custodian FBO Michael Dirnberger ROTH IRA                    $           44,433.00       Investor‐Lender     $              817.00   60‐445
  60         7026‐42 S Cornell Avenue                                   Estate Property         Ivan A. Campbell                                                                  $           52,000.00       Investor‐Lender                             60‐466
  60         7026‐42 S Cornell Avenue                                   Estate Property         Joseph E. Kennedy                                                                 $           60,412.54       Investor‐Lender     $           45,141.00   60‐435
  60         7026‐42 S Cornell Avenue                                   Estate Property         Joseph E. Kennedy                                                                 $          298,138.29       Investor‐Lender     $           40,979.00   60‐106
  60         7026‐42 S Cornell Avenue                                   Estate Property         KAMEDA INVESTMENTS, LLC (Sole Owner/Manager ‐ Arnold Kunio Kameda)                $          220,000.00       Investor‐Lender     $           40,000.00   60‐121
  60         7026‐42 S Cornell Avenue                                   Estate Property         Linda Lipschultz                                                                  $           53,405.00       Investor‐Lender     $           22,477.00   60‐1374
  60         7026‐42 S Cornell Avenue                                   Estate Property         MaryAnn Zimmerman                                                                 $           50,000.00       Investor‐Lender     $           18,104.00   60‐937
  60         7026‐42 S Cornell Avenue                                   Estate Property         Michael E. Thomas                                                                 $           19,000.00       Investor‐Lender     $           50,000.00   60‐2092
  60         7026‐42 S Cornell Avenue                                   Estate Property         Next Generation Trust Company FBO Irene B. Kapsky FFBO Mark S Kapsky IRA 3207     $           23,000.00       Investor‐Lender     $           13,000.00   60‐1166
  60         7026‐42 S Cornell Avenue                                   Estate Property         Next Generation Trust Company FBO Mark Kapsky IRA 2396                            $           42,000.00       Investor‐Lender     $            2,000.00   60‐1157
  60         7026‐42 S Cornell Avenue                                   Estate Property         Next Generation Trust Company FBO Mark Steven Kapsky Roth IRA 2702                $           35,000.00       Investor‐Lender     $           25,000.00   60‐1169




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                                                                                      SEC v. EquityBuild, Inc., et al., Case No. 18-cv-5587
                                      Case: 1:18-cv-05587 Document #: 1164-1 Filed: 01/31/22 Page 28 of 58 PageID #:59406


Property       Property Address               Alternative Address            Type                                                 Claimant Name                                           Claimed Amount         Claim Category as     Amount Claimed to be     Claim
Number                                                                                                                                                                               (Total Claimed Amount      Identified on Claim     Invested in Property   Number
                                                                                                                                                                                       in Claim Category as            Form
                                                                                                                                                                                        Identified on Claim
                                                                                                                                                                                               Form)
  60       7026‐42 S Cornell Avenue                                 Estate Property         Optima Property Solutions, LLC                                                            $            487,209.71     Investor‐Lender      $          165,000.00   60‐1023
  60       7026‐42 S Cornell Avenue                                 Estate Property         Paul N. Wilmesmeier                                                                       $            790,185.00     Investor‐Lender      $           25,000.00   60‐300
  60       7026‐42 S Cornell Avenue                                 Estate Property         Randall Sotka                                                                             $            255,000.00     Investor‐Lender      $            4,225.00   60‐1207
  60       7026‐42 S Cornell Avenue                                 Estate Property         Rita Aken                                                                                  $            75,000.00     Investor‐Lender                              60‐770
  60       7026‐42 S Cornell Avenue                                 Estate Property         Robert Potter                                                                             $            282,999.00     Investor‐Lender      $           12,549.00   60‐1389
  60       7026‐42 S Cornell Avenue                                 Estate Property         Sherri Agnifili                                                                            $            30,962.50     Investor‐Lender      $           30,000.00   60‐348
  60       7026‐42 S Cornell Avenue                                 Estate Property         Teresita M. Shelton                                                                       $            426,513.00     Investor‐Lender      $           50,000.00   60‐330
  60       7026‐42 S Cornell Avenue                                 Estate Property         Terry L. Merrill, Sheryl R. Merrill                                                       $            299,500.00     Investor‐Lender      $           50,000.00   60‐602
  60       7026‐42 S Cornell Avenue                                 Estate Property         White Tiger Revocable Trust, Ira Lovitch, Zinaida Lovitch (aka Zina Goltsev/Goltseva),    $            127,152.37     Investor‐Lender      $           83,000.00   60‐537
                                                                                            Trustees
  60       7026‐42 S Cornell Avenue                                 Estate Property         Yaron Fisher                                                                              $          130,193.00        Investor‐Lender     $           11,263.00   60‐479
  60       7026‐42 S Cornell Avenue                                 Estate Property         John B. Allred & Glenda K. Allred                                                         $        1,421,646.52     Investor‐Lender and                            60‐2004
                                                                                                                                                                                                                    Equity Investor
  61       7237‐43 S Bennett Avenue                                 Estate Property         Bancroft, Ed (iPlanGroup Agent for Custodian FBO Ed Bancroft Roth)                        $          258,060.00      Investor‐Lender and                           61‐2008
                                                                                                                                                                                                                    Equity Investor
  61       7237‐43 S Bennett Avenue                                 Estate Property         BTRUE LLC Barry J. Oates                                                                  $           93,600.00         Equity Investor    $            5,200.00   61‐669
  61       7237‐43 S Bennett Avenue                                 Estate Property         Jason Ragan ‐ TSA                                                                         $          473,079.71         Equity Investor    $           25,500.00   61‐796
  61       7237‐43 S Bennett Avenue                                 Estate Property         Koates LLC                                                                                $           85,000.00         Equity Investor    $           19,800.00   61‐228
  61       7237‐43 S Bennett Avenue                                 Estate Property         Mona M. Leonard SD ROTH ‐ 2692021                                                         $          190,609.00         Equity Investor    $          200,000.00   61‐123
  61       7237‐43 S Bennett Avenue                                 Estate Property         William H. Akins, Jr.                                                                     $        1,100,000.00         Equity Investor    $           35,000.00   61‐2003
  61       7237‐43 S Bennett Avenue                                 Estate Property         Madison Trust Company Agent for Custodian FBO The Jacqueline C Rowe Living Trust IRA      $          623,489.57         Equity Investor                            61‐163

  61       7237‐43 S Bennett Avenue                                 Estate Property         Vartan Tarakchyan                                                                         $          415,000.00        Equity Investor     $          20,000.00    61‐1118
  61       7237‐43 S Bennett Avenue                                 Estate Property         Annie Chang                                                                               $          246,935.34       Investor‐Lender      $            7,921.00   61‐475
  61       7237‐43 S Bennett Avenue                                 Estate Property         BCL Associates, LLC                                                                       $           10,266.66       Investor‐Lender      $           50,000.00   61‐477
  61       7237‐43 S Bennett Avenue                                 Estate Property         Clark, Wilma                                                                              $           20,266.67       Investor‐Lender      $           20,000.00   61‐2013
  61       7237‐43 S Bennett Avenue                                 Estate Property         David R. Trengove                                                                         $          705,123.88       Investor‐Lender      $           43,784.00   61‐481
  61       7237‐43 S Bennett Avenue                                 Estate Property         DAVID WEEKS                                                                               $           53,750.00       Investor‐Lender      $           50,000.00   61‐127
  61       7237‐43 S Bennett Avenue                                 Estate Property         Hang Zhou and Lu Dong                                                                     $          157,821.57       Investor‐Lender      $           50,000.00   61‐1335
  61       7237‐43 S Bennett Avenue                                 Estate Property         Henry C. Scheuller                                                                        $          246,440.00       Investor‐Lender                              61‐868
  61       7237‐43 S Bennett Avenue                                 Estate Property         Influx Investments LLC                                                                    $          100,000.00       Investor‐Lender      $           50,000.00   61‐744
  61       7237‐43 S Bennett Avenue                                 Estate Property         James Patrick Sullivan                                                                    $           20,000.00       Investor‐Lender      $           20,000.00   61‐627
  61       7237‐43 S Bennett Avenue                                 Estate Property         James Patrick Sullivan                                                                    $           80,750.00       Investor‐Lender      $           30,000.00   61‐125
  61       7237‐43 S Bennett Avenue                                 Estate Property         JDSKPS LLC, Jeffrey Steybe Mgr                                                            $          156,000.00       Investor‐Lender      $          150,000.00   61‐826
  61       7237‐43 S Bennett Avenue                                 Estate Property         John Bloxham                                                                              $          103,375.00       Investor‐Lender      $          100,000.00   61‐1014
  61       7237‐43 S Bennett Avenue                                 Estate Property         John Braden and Cynthia Braden                                                            $           42,000.64       Investor‐Lender      $           50,000.00   61‐1051
  61       7237‐43 S Bennett Avenue                                 Estate Property         Larry James Eggenberger                                                                   $           50,000.00       Investor‐Lender      $           50,000.00   61‐402
  61       7237‐43 S Bennett Avenue                                 Estate Property         Optima Property Solutions, LLC                                                            $          487,209.71       Investor‐Lender      $           65,000.00   61‐1023
  61       7237‐43 S Bennett Avenue                                 Estate Property         Pat DeSantis                                                                              $        2,684,539.00       Investor‐Lender      $          100,000.00   61‐397
  61       7237‐43 S Bennett Avenue                                 Estate Property         Paul Scribner                                                                             $          200,000.00       Investor‐Lender      $           50,000.00   61‐1135
  61       7237‐43 S Bennett Avenue                                 Estate Property         QuestIRAFBOFrancisDWebb1437711                                                            $          185,819.00       Investor‐Lender      $           12,064.00   61‐218
  61       7237‐43 S Bennett Avenue                                 Estate Property         Rita Aken                                                                                 $           75,000.00       Investor‐Lender                              61‐770
  61       7237‐43 S Bennett Avenue                                 Estate Property         Scott Eaton                                                                               $          549,101.33       Investor‐Lender      $           50,000.00   61‐1470
  61       7237‐43 S Bennett Avenue                                 Estate Property         Scott Tyler Williams as Custodian of New Idea Properties, Inc Profit Sharing Plan         $           20,000.00       Investor‐Lender      $           20,000.00   61‐1468
  61       7237‐43 S Bennett Avenue                                 Estate Property         Sounjay K. Gairola Revocable Trust (Sounjay K. Gairola Trustee)                           $          148,278.93       Investor‐Lender      $           35,000.00   61‐1439
  61       7237‐43 S Bennett Avenue                                 Estate Property         Steven R. Bald                                                                            $          586,378.00       Investor‐Lender      $           60,000.00   61‐399
  61       7237‐43 S Bennett Avenue                                 Estate Property         Teresita M. Shelton                                                                       $          426,513.00       Investor‐Lender      $           15,000.00   61‐330
  61       7237‐43 S Bennett Avenue                                 Estate Property         Teton Equity Group LLC                                                                    $          208,439.99       Investor‐Lender      $          100,000.00   61‐1205
  61       7237‐43 S Bennett Avenue                                 Estate Property         Vladimir Matviishin, dba Network Expert                                                   $          165,000.00       Investor‐Lender      $           50,000.00   61‐1382
  61       7237‐43 S Bennett Avenue                                 Estate Property         Wealth Builders 1, LLC                                                                    $           50,000.00       Investor‐Lender      $           50,000.00   61‐1275
  61       7237‐43 S Bennett Avenue                                 Estate Property         William Needham                                                                           $          355,428.00       Investor‐Lender      $           35,000.00   61‐80
  61       7237‐43 S Bennett Avenue                                 Estate Property         Wisemove Properties LLC, (Anthony and Linda Reid, members)                                $          668,979.00       Investor‐Lender                              61‐168
  61       7237‐43 S Bennett Avenue                                 Estate Property         Young Family Trust                                                                        $          115,000.00       Investor‐Lender      $           30,000.00   61‐1452
  61       7237‐43 S Bennett Avenue                                 Estate Property         Yvette Sahai                                                                              $           47,048.08       Investor‐Lender                              61‐2049
  61       7237‐43 S Bennett Avenue                                 Estate Property         Alton Motes and Vicki Elaine Washburn JTWROS                                              $          245,841.62       Investor‐Lender      $           35,000.00   61‐2042
  61       7237‐43 S Bennett Avenue                                 Estate Property         Degenhardt, Duane A                                                                       $          645,000.00       Investor‐Lender      $            9,139.00   61‐2015
  61       7237‐43 S Bennett Avenue                                 Estate Property         William H. Akins, Jr. (CAMA SDIRA LLC FBO Bill Akins IRA)                                 $        1,100,000.00       Investor‐Lender      $          100,000.00   61‐2003
  61       7237‐43 S Bennett Avenue                                 Estate Property         City of Chicago                                                                           $           78,479.20            Other           $            5,906.05   61‐693
  61       7237‐43 S Bennett Avenue                                 Estate Property         Paper Street Realty LLC DBA Rent Ready Apartments                                         $          234,139.18        Trade Creditor      $          162,812.50   61‐1206




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Property       Property Address                 Alternative Address            Type                                               Claimant Name                                          Claimed Amount         Claim Category as    Amount Claimed to be     Claim
Number                                                                                                                                                                              (Total Claimed Amount      Identified on Claim    Invested in Property   Number
                                                                                                                                                                                      in Claim Category as            Form
                                                                                                                                                                                       Identified on Claim
                                                                                                                                                                                              Form)
  62         7834‐44 S Ellis Avenue                                   Estate Property         REBECCA D BLUST                                                                         $            10,000.00     Equity Investor     $           10,000.00   62‐1189
  62         7834‐44 S Ellis Avenue                                   Estate Property         Aaron Beauclair                                                                         $            40,000.00    Investor‐Lender      $           10,000.00   62‐408
  62         7834‐44 S Ellis Avenue                                   Estate Property         Alan Rubin                                                                              $            50,000.00    Investor‐Lender      $           50,000.00   62‐118
  62         7834‐44 S Ellis Avenue                                   Estate Property         Asians Investing In Real Estate LLC                                                    $          1,278,402.00    Investor‐Lender      $           65,000.00   62‐503
  62         7834‐44 S Ellis Avenue                                   Estate Property         Braden Galloway                                                                        $            227,800.02    Investor‐Lender                              62‐1463
  62         7834‐44 S Ellis Avenue                                   Estate Property         Daniel Lewis & Deborah Lewis                                                            $            50,000.00    Investor‐Lender      $           50,000.00   62‐257
  62         7834‐44 S Ellis Avenue                                   Estate Property         David R. Trengove                                                                      $            705,123.88    Investor‐Lender      $          300,000.00   62‐481
  62         7834‐44 S Ellis Avenue                                   Estate Property         Dennis & Mary Ann Hennefer                                                             $            679,378.00    Investor‐Lender      $           55,098.00   62‐355
  62         7834‐44 S Ellis Avenue                                   Estate Property         Emile P. Dufrene, III                                                                   $            50,422.00    Investor‐Lender      $           50,000.00   62‐1248
  62         7834‐44 S Ellis Avenue                                   Estate Property         Fredric R. Gottlieb                                                                    $            391,776.10    Investor‐Lender      $           58,617.00   62‐1212
  62         7834‐44 S Ellis Avenue                                   Estate Property         Gregory C. Snyder                                                                       $            50,000.00    Investor‐Lender      $           50,000.00   62‐998
  62         7834‐44 S Ellis Avenue                                   Estate Property         HARENDRA PAL                                                                           $            125,000.00    Investor‐Lender      $          100,000.00   62‐1126
  62         7834‐44 S Ellis Avenue                                   Estate Property         Hutchings, Matt                                                                        $            362,766.68    Investor‐Lender      $          150,000.00   62‐2030
  62         7834‐44 S Ellis Avenue                                   Estate Property         iPlanGroup Agent for Custodian FBO Charles Powell IRA                                  $            260,000.00    Investor‐Lender                              62‐413
  62         7834‐44 S Ellis Avenue                                   Estate Property         Jason Park                                                                              $            38,000.00    Investor‐Lender      $           25,000.00   62‐814
  62         7834‐44 S Ellis Avenue                                   Estate Property         Jerome B. Shaffer                                                                      $            250,000.00    Investor‐Lender      $           14,736.00   62‐992
  62         7834‐44 S Ellis Avenue                                   Estate Property         Joel Feingold JFKN Investment Trust                                                     $            95,000.00    Investor‐Lender      $           30,000.00   62‐527
  62         7834‐44 S Ellis Avenue                                   Estate Property         John Bloxham                                                                            $            51,762.92    Investor‐Lender      $           50,396.00   62‐1016
  62         7834‐44 S Ellis Avenue                                   Estate Property         Joseph P. McCarthy                                                                     $            277,847.33    Investor‐Lender      $           27,884.00   62‐1367
  62         7834‐44 S Ellis Avenue                                   Estate Property         Kelly E Welton, and Mary M Andrews, deceased                                            $            83,813.00    Investor‐Lender      $            7,000.00   62‐310
  62         7834‐44 S Ellis Avenue                                   Estate Property         Kenneth (Ken) and Maria (Tina) Jorgensen                                               $            453,233.25    Investor‐Lender      $            4,246.00   62‐194
  62         7834‐44 S Ellis Avenue                                   Estate Property         Kevin Bybee, iPlanGroup Agent for Custodian FBO Kevin Bybee IRA                        $            102,367.34    Investor‐Lender      $           48,000.00   62‐497
  62         7834‐44 S Ellis Avenue                                   Estate Property         Kevin Chang                                                                             $            65,000.00    Investor‐Lender      $           65,000.00   62‐305
  62         7834‐44 S Ellis Avenue                                   Estate Property         Laura J. Sohm IRA                                                                      $            104,593.29    Investor‐Lender      $           15,000.00   62‐970
  62         7834‐44 S Ellis Avenue                                   Estate Property         Leonard Grosso                                                                         $            177,499.95    Investor‐Lender      $           50,000.00   62‐2024
  62         7834‐44 S Ellis Avenue                                   Estate Property         Madison Trust Company Custodian FBO Brent Jacobs                                        $            12,119.00    Investor‐Lender      $           12,119.00   62‐431
                                                                                              M1609105
  62         7834‐44 S Ellis Avenue                                   Estate Property         Michael F Grant & L. Gretchen Grant (Michael F. Grant & L. Gretchen Grant Revocable    $          695,000.00      Investor‐Lender      $           50,000.00   62‐393
                                                                                              Trust dated March 16th 2012)
  62         7834‐44 S Ellis Avenue                                   Estate Property         Optima Property Solutions, LLC                                                         $          487,209.71      Investor‐Lender      $          250,000.00   62‐1023
  62         7834‐44 S Ellis Avenue                                   Estate Property         Pat DeSantis                                                                           $        2,684,539.00      Investor‐Lender      $          250,000.00   62‐397
  62         7834‐44 S Ellis Avenue                                   Estate Property         Patricia J Theil and Samuel D Theil                                                    $           26,429.55      Investor‐Lender      $           25,211.00   62‐1045
  62         7834‐44 S Ellis Avenue                                   Estate Property         Patricia J Theil C/F Jacqueline M Theil                                                $           62,062.58      Investor‐Lender      $           49,165.00   62‐923
  62         7834‐44 S Ellis Avenue                                   Estate Property         Paul Franklin                                                                          $           25,000.00      Investor‐Lender      $           24,420.00   62‐1231
  62         7834‐44 S Ellis Avenue                                   Estate Property         PNW Investments, LLC                                                                   $          350,000.00      Investor‐Lender      $          125,000.00   62‐332
  62         7834‐44 S Ellis Avenue                                   Estate Property         Quantum Growth Holdings LLC                                                                                       Investor‐Lender      $            6,056.44   62‐354
  62         7834‐44 S Ellis Avenue                                   Estate Property         Richard L. Braddock                                                                    $          104,161.08      Investor‐Lender      $           50,000.00   62‐509
  62         7834‐44 S Ellis Avenue                                   Estate Property         SAMUEL HOME SOLUTIONS LLC, GEORGE SAMUEL,                                              $          235,519.28      Investor‐Lender      $           50,000.00   62‐347
  62         7834‐44 S Ellis Avenue                                   Estate Property         Steven R. Bald                                                                         $          586,378.00      Investor‐Lender      $          181,378.00   62‐399
  62         7834‐44 S Ellis Avenue                                   Estate Property         Thaddeus Gala (Grand Mountain)                                                         $          100,000.00      Investor‐Lender                              62‐2070
  62         7834‐44 S Ellis Avenue                                   Estate Property         Vladimir Matviishin                                                                    $          199,075.00      Investor‐Lender      $           50,000.00   62‐233
  62         7834‐44 S Ellis Avenue                                   Estate Property         Vladimir Matviishin, dba Network Expert                                                $          165,000.00      Investor‐Lender      $           50,000.00   62‐1382
  62         7834‐44 S Ellis Avenue                                   Estate Property         William Needham                                                                        $          355,428.00      Investor‐Lender      $          200,000.00   62‐80
  62         7834‐44 S Ellis Avenue                                   Estate Property         Zahra (Nina) Mofrad                                                                    $           75,000.00      Investor‐Lender      $           75,000.00   62‐1024
  63       4520‐26 S Drexel Boulevard                                 Estate Property         Adir Hazan                                                                             $          151,333.00       Equity Investor     $          100,000.00   63‐143
  63       4520‐26 S Drexel Boulevard                                 Estate Property         Asbury R. Lockett                                                                      $          100,000.00       Equity Investor     $          100,000.00   63‐210
  63       4520‐26 S Drexel Boulevard                                 Estate Property         Asians Investing In Real Estate LLC                                                    $          415,000.00       Equity Investor     $          160,000.00   63‐503
  63       4520‐26 S Drexel Boulevard                                 Estate Property         Frank and Laura Sohm                                                                   $          167,893.65       Equity Investor     $           65,000.00   63‐906
  63       4520‐26 S Drexel Boulevard                                 Estate Property         Greg S. Wirth                                                                          $            7,300.00       Equity Investor     $            7,300.00   63‐593
  63       4520‐26 S Drexel Boulevard                                 Estate Property         Greg S. Wirth                                                                          $           12,600.00       Equity Investor     $           12,600.00   63‐563
  63       4520‐26 S Drexel Boulevard                                 Estate Property         Henry S. Scheuller                                                                     $           85,400.00       Equity Investor     $           85,000.00   63‐357
  63       4520‐26 S Drexel Boulevard                                 Estate Property         James Anthony Ande                                                                     $           75,000.00       Equity Investor     $           75,000.00   63‐591
  63       4520‐26 S Drexel Boulevard                                 Estate Property         James Tutsock                                                                          $          169,483.00       Equity Investor     $          319,483.00   63‐2057
  63       4520‐26 S Drexel Boulevard                                 Estate Property         Jeffrey Lee Blankenship                                                                $          103,698.00       Equity Investor                             63‐1241
  63       4520‐26 S Drexel Boulevard                                 Estate Property         Joshua Lapin                                                                           $           25,000.00       Equity Investor     $           25,000.00   63‐1243
  63       4520‐26 S Drexel Boulevard                                 Estate Property         KAMEDA INVESTMENTS, LLC (Sole Owner/Manager ‐ Arnold Kunio Kameda)                     $          185,000.00       Equity Investor     $          125,000.00   63‐121
  63       4520‐26 S Drexel Boulevard                                 Estate Property         Keith Randall                                                                          $          370,000.00       Equity Investor     $          100,000.00   63‐1086
  63       4520‐26 S Drexel Boulevard                                 Estate Property         Mark P. Mouty                                                                          $          130,703.00       Equity Investor     $           10,000.00   63‐165




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Property       Property Address                 Alternative Address            Type                                               Claimant Name                                               Claimed Amount         Claim Category as     Amount Claimed to be     Claim
Number                                                                                                                                                                                   (Total Claimed Amount      Identified on Claim     Invested in Property   Number
                                                                                                                                                                                           in Claim Category as            Form
                                                                                                                                                                                            Identified on Claim
                                                                                                                                                                                                   Form)
  63       4520‐26 S Drexel Boulevard                                 Estate Property         Natalie T. Scheuller                                                                         $            85,400.00     Equity Investor      $           85,000.00   63‐358
  63       4520‐26 S Drexel Boulevard                                 Estate Property         Sunwest Trust‐FBO Mark P. Mouty                                                             $            100,000.00     Equity Investor      $          100,000.00   63‐334
  63       4520‐26 S Drexel Boulevard                                 Estate Property         Walter T Akita and Margaret M Akita                                                          $            50,000.00     Equity Investor      $           50,000.00   63‐950
  63        4520‐26 Drexel Boulevard                                  Estate Property         White Tiger Revocable Trust, Ira Lovitch, Zinaida Lovitch (aka Zina Goltsev/Goltseva),       $            64,634.86     Equity Investor      $           50,000.00   63‐537
                                                                                              Trustees
  63       4520‐26 S Drexel Boulevard                                 Estate Property         U.S. Bank National Association, as Trustee for the Registered Holders of J.P. Morgan Chase $         4,830,977.15     Institutional Lender                           63‐1448
                                                                                              Commercial Mortgage Securities Corp., Multifamily Mortgage Pass‐Through Certificates,
                                                                                              Series 2017‐SB41
  63       4520‐26 S Drexel Boulevard                                 Estate Property         Cindy L. Chambers                                                                          $            33,337.00       Investor‐Lender      $           33,337.00   63‐85
  63       4520‐26 S Drexel Boulevard                                 Estate Property         Grathia Corp                                                                               $         1,184,081.00       Investor‐Lender      $          100,000.00   63‐1445
  63       4520‐26 S Drexel Boulevard                                 Estate Property         Joseph P. McCarthy                                                                         $           277,847.33       Investor‐Lender      $           45,000.00   63‐1367
  63       4520‐26 S Drexel Boulevard                                 Estate Property         The Entrust Group FBO Dee Ann Nason 7230011277                                             $           150,000.00       Investor‐Lender      $           50,000.00   63‐790
  64       4611‐17 S Drexel Boulevard                                 Estate Property         Bancroft, Ed                                                                               $           258,060.00     Investor‐Lender and                            64‐2008
                                                                                                                                                                                                                       Equity Investor
  64       4611‐17 S Drexel Boulevard                                 Estate Property         Bernadette Chen (Eleven St Felix St. Realty)                                                $        1,000,000.00        Equity Investor     $           50,000.00   64‐2012
  64       4611‐17 S Drexel Boulevard                                 Estate Property         Jeffrey Lee Blankenship                                                                     $          103,698.00        Equity Investor                             64‐1241
  64       4611‐17 S Drexel Boulevard                                 Estate Property         Vartan Tarakchyan                                                                           $          415,000.00        Equity Investor     $          50,000.00    64‐1118
  64       4611‐17 S Drexel Boulevard                                 Estate Property         Citibank, N.A., as Trustee for the registered Holders of Wells Fargo Commercial Mortgage    $        3,697,340.98     Institutional Lender                           64‐1325
                                                                                              Securities, Inc., Multifamily Mortgage Pass‐Through Certificates, Series 2018‐SB48

  64       4611‐17 S Drexel Boulevard                                 Estate Property         Annie Chang                                                                                 $          246,935.34      Investor‐Lender       $           35,459.00   64‐475
  64       4611‐17 S Drexel Boulevard                                 Estate Property         Bluebridge Partners Limited                                                                 $          791,620.17      Investor‐Lender       $          150,000.00   64‐727
  64       4611‐17 S Drexel Boulevard                                 Estate Property         Braden Galloway                                                                             $          227,800.02      Investor‐Lender                               64‐1463
  64       4611‐17 S Drexel Boulevard                                 Estate Property         Clarice Recamara                                                                            $           20,000.00      Investor‐Lender       $           20,000.00   64‐643
  64       4611‐17 S Drexel Boulevard                                 Estate Property         David Ashley Lawrence Johnson investing under Endurance Capital Management LLC              $          172,583.29      Investor‐Lender       $           50,000.00   64‐170
  64       4611‐17 S Drexel Boulevard                                 Estate Property         David M Harris                                                                              $          831,700.00      Investor‐Lender       $          100,000.00   64‐267
  64       4611‐17 S Drexel Boulevard                                 Estate Property         David R. Trengove                                                                           $          705,123.88      Investor‐Lender       $          150,000.00   64‐481
  64       4611‐17 S Drexel Boulevard                                 Estate Property         Dee Ann Nason                                                                               $          303,965.00      Investor‐Lender       $            3,965.00   64‐453
  64       4611‐17 S Drexel Boulevard                                 Estate Property         Eco2 Capital Inc. 401k                                                                      $           43,933.81      Investor‐Lender       $           50,000.00   64‐1048
  64       4611‐17 S Drexel Boulevard                                 Estate Property         Genevieve Giuliana Heger                                                                    $           20,058.00      Investor‐Lender       $           10,000.00   64‐1403
  64       4611‐17 S Drexel Boulevard                                 Estate Property         Grathia Corp                                                                                $        1,184,081.00      Investor‐Lender       $          150,000.00   64‐1445
  64       4611‐17 S Drexel Boulevard                                 Estate Property         Greg S. Wirth                                                                               $            7,300.00      Investor‐Lender       $            7,300.00   64‐593
  64       4611‐17 S Drexel Boulevard                                 Estate Property         Greg S. Wirth                                                                               $           12,600.00      Investor‐Lender       $           12,600.00   64‐563
  64       4611‐17 S Drexel Boulevard                                 Estate Property         iPlan Group Agent for Custodian FBO Jyotsna Sharma                                          $           50,000.00      Investor‐Lender       $           25,000.00   63‐341
  64       4611‐17 S Drexel Boulevard                                 Estate Property         James Anthony Ande                                                                          $           75,000.00      Investor‐Lender       $           50,000.00   64‐591
  64       4611‐17 S Drexel Boulevard                                 Estate Property         James Walsh                                                                                 $          200,000.00      Investor‐Lender       $           50,000.00   64‐2058
  64       4611‐17 S Drexel Boulevard                                 Estate Property         John Bloxham                                                                                $           51,762.92      Investor‐Lender       $           50,000.00   64‐1016
  64       4611‐17 S Drexel Boulevard                                 Estate Property         John Witzigreuter                                                                           $          200,000.00      Investor‐Lender       $           50,000.00   64‐729
  64       4611‐17 S Drexel Boulevard                                 Estate Property         Karl R. DeKlotz                                                                             $        1,586,165.90      Investor‐Lender       $          300,000.00   64‐1179
  64       4611‐17 S Drexel Boulevard                                 Estate Property         Kenneth (Ken) and Maria (Tina) Jorgensen                                                    $          453,233.25      Investor‐Lender       $          150,000.00   64‐194
  64       4611‐17 S Drexel Boulevard                                 Estate Property         Kirk Road Investments, LLC                                                                  $          434,195.69      Investor‐Lender       $          121,855.00   64‐755
  64       4611‐17 S Drexel Boulevard                                 Estate Property         Law Office of V.L. Heger, A Professional Corporation                                        $           50,369.00      Investor‐Lender       $           50,000.00   64‐1409
  64       4611‐17 S Drexel Boulevard                                 Estate Property         Lorenzo Jaquias                                                                             $           71,635.00      Investor‐Lender       $           21,635.00   64‐184
  64       4611‐17 S Drexel Boulevard                                 Estate Property         Lori Moreland                                                                               $           21,574.00      Investor‐Lender       $           10,000.00   64‐805
  64       4611‐17 S Drexel Boulevard                                 Estate Property         Lori Moreland                                                                               $           52,233.00      Investor‐Lender       $           47,000.00   64‐822
  64       4611‐17 S Drexel Boulevard                                 Estate Property         Lori Moreland                                                                               $           52,233.00      Investor‐Lender       $           45,000.00   64‐823
  64       4611‐17 S Drexel Boulevard                                 Estate Property         MADISON TRUST COMPANY CUSTODIAN FBO JANET EILEEN TAYLOR M1608009                            $          107,946.27      Investor‐Lender       $           30,225.00   64‐2056
  64       4611‐17 S Drexel Boulevard                                 Estate Property         Michael Arthur Goldman (also know as Mike Goldman, Michael A. Goldman, Michael              $           80,377.98      Investor‐Lender       $            7,728.00   64‐775
                                                                                              Goldman)
  64       4611‐17 S Drexel Boulevard                                 Estate Property         Michael Kessock                                                                             $            3,333.33      Investor‐Lender       $          100,000.00   64‐977
  64       4611‐17 S Drexel Boulevard                                 Estate Property         Optima Property Solutions, LLC                                                              $          487,209.71      Investor‐Lender       $          105,831.00   64‐1023
  64       4611‐17 S Drexel Boulevard                                 Estate Property         Pat DeSantis                                                                                $        2,684,539.00      Investor‐Lender       $          250,000.00   64‐397
  64       4611‐17 S Drexel Boulevard                                 Estate Property         Patrick Connely                                                                             $           30,000.00      Investor‐Lender       $           30,000.00   64‐577
  64       4611‐17 S Drexel Boulevard                                 Estate Property         Paul N. Wilmesmeier                                                                         $          790,185.00      Investor‐Lender       $           25,000.00   64‐300
  64       4611‐17 S Drexel Boulevard                                 Estate Property         Paula Tucker                                                                                $           40,000.00      Investor‐Lender       $           40,000.00   64‐1427
  64       4611‐17 S Drexel Boulevard                                 Estate Property         Provident Trust Group, LLC FBO Stephan Tang IRA                                             $           71,815.00      Investor‐Lender       $           71,815.00   64‐172
  64       4611‐17 S Drexel Boulevard                                 Estate Property         Quest IRA Inc. FBO Rebeca E. Savory‐Romero IRA Account #15528‐11 and #15528‐21              $          184,785.31      Investor‐Lender       $           50,000.00   64‐804
  64       4611‐17 S Drexel Boulevard                                 Estate Property         Rene Hribal                                                                                 $        1,525,473.04      Investor‐Lender       $          300,000.00   64‐768
  64       4611‐17 S Drexel Boulevard                                 Estate Property         Steven R. Bald                                                                              $          586,378.00      Investor‐Lender       $          180,000.00   64‐399




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Property        Property Address                  Alternative Address               Type                                                Claimant Name                                              Claimed Amount         Claim Category as      Amount Claimed to be     Claim
Number                                                                                                                                                                                        (Total Claimed Amount      Identified on Claim      Invested in Property   Number
                                                                                                                                                                                                in Claim Category as            Form
                                                                                                                                                                                                 Identified on Claim
                                                                                                                                                                                                        Form)
  64       4611‐17 S Drexel Boulevard                                      Estate Property         Teresita M. Shelton                                                                         $            426,513.00     Investor‐Lender                               64‐330
  64       4611‐17 S Drexel Boulevard                                      Estate Property         Terry M McDonald ‐ Horizon Trust Custodian FBO Terry M McDonald IRA                         $            137,333.33     Investor‐Lender       $           50,000.00   64‐571
  64       4611‐17 S Drexel Boulevard                                      Estate Property         Timothy S Sharp                                                                             $            650,000.00     Investor‐Lender       $           50,000.00   64‐76
  64       4611‐17 S Drexel Boulevard                   SSDF1              Estate Property         Vladimir Matviishin                                                                         $            290,200.00     Investor‐Lender       $            8,000.00   64‐1294
  64       4611‐17 S Drexel Boulevard                                      Estate Property         Vladimir Matviishin, dba Network Expert                                                     $            165,000.00     Investor‐Lender       $           50,000.00   64‐1382
  64       4611‐17 S Drexel Boulevard                                      Estate Property         Wisemove Properties LLC, (Anthony and Linda Reid, members)                                  $            668,979.00     Investor‐Lender                               64‐168
  64       4611‐17 S Drexel Boulevard                                      Estate Property         Alton Motes (Alton P. Motes Revocable Trust Agreement dated 12‐15‐11)                       $            245,841.62     Investor‐Lender       $           15,417.00   64‐2042
  64       4611‐17 S Drexel Boulevard                                      Estate Property         Minchow, Donald                                                                             $            225,000.00     Investor‐Lender       $           40,000.00   64‐2041
  65        6751‐59 S Merrill Avenue            2136‐40 East 68th Street   Estate Property         U.S. Bank National Association, as Trustee for the Registered Holders of J.P. Morgan Chase $           1,604,962.42   Institutional Lender                            65‐1328
                                                                                                   Commercial Mortgage Securities Corp., Multifamily Mortgage Pass‐Through Certificates,
                                                                                                   Series 2018‐SB50*
  66          7110 S Cornell Avenue                                        Estate Property         U.S. Bank National Association, as Trustee for the Registered Holders of J.P. Morgan Chase $           1,400,491.73   Institutional Lender                            66‐1327
                                                                                                   Commercial Mortgage Securities Corp., Multifamily Mortgage Pass‐Through Certificates,
                                                                                                   Series 2018‐SB50*
  67          1131‐41 E 79th Place                                         Estate Property         Christopher Pong                                                                             $            17,287.05     Equity Investor       $           17,251.00   67‐760
  67          1131‐41 E 79th Place                                         Estate Property         Danyel Tiefenbacher and Jamie Lai                                                           $            103,875.01     Equity Investor       $           50,000.00   67‐646
  67          1131‐41 E 79th Place                                         Estate Property         Elizabeth Zeng                                                                               $             8,914.75     Equity Investor       $            8,450.00   67‐872
  67          1131‐41 E 79th Place                                         Estate Property         John Love                                                                                   $            207,500.00     Equity Investor       $          200,000.00   67‐698
  67          1131‐41 E 79th Place                                         Estate Property         John McDevitt                                                                               $            220,000.00     Equity Investor       $           50,000.00   67‐2090
  67          1131‐41 E 79th Place                                         Estate Property         Julia Pong                                                                                   $            18,418.05     Equity Investor       $           18,382.00   67‐1022
  67          1131‐41 E 79th Place                                         Estate Property         MADISON TRUST COMPANY CUSTODIAN FBO JAMES R ROBINSON SELF‐DIRECTED ROTH                      $            21,833.00     Equity Investor       $           21,092.00   67‐1417
                                                                                                   IRA 1704092
  67          1131‐41 E 79th Place                                         Estate Property         Patricia M. McCorry, Manager McCorry Real Estate LLC                                         $            51,250.00       Equity Investor     $           50,000.00   67‐997
  67          1131‐41 E 79th Place                                         Estate Property         Priscilla Wallace                                                                            $            25,000.00       Equity Investor     $           25,000.00   67‐1036
  67          1131‐41 E 79th Place                                         Estate Property         Thomas A Connely and Laurie A Connely                                                        $            55,000.00       Equity Investor     $           55,000.00   67‐899
  67          1131‐41 E 79th Place                                         Estate Property         Michael C. Jacobs                                                                           $            178,833.00       Equity Investor     $           70,000.00   67‐2031
  67          1131‐41 E 79th Place                                         Estate Property         Federal National Mortgage Association                                                       $          1,319,255.08    Institutional Lender                           67‐1333
  67          1131‐41 E 79th Place                                         Estate Property         Alan & Sheree Gravely                                                                       $            175,000.00      Investor‐Lender      $           75,000.00   67‐298
  67          1131‐41 E 79th Place                                         Estate Property         Donald Freers aka Meadows Advisors LLC                                                      $            198,000.00      Investor‐Lender      $           48,000.00   67‐72
  67          1131‐41 E 79th Place                                         Estate Property         Douglas Nebel and Narine Nebel                                                              $            155,752.25      Investor‐Lender      $           50,000.00   67‐1080
  67          1131‐41 E 79th Place                                         Estate Property         Ganpat and FEREEDA Seunath                                                                  $            216,194.22      Investor‐Lender      $           19,714.00   67‐77
  67          1131‐41 E 79th Place                                         Estate Property         James M McKnight and Silma L McKnight                                                       $            140,325.13      Investor‐Lender      $           11,000.00   67‐582
  67          1131‐41 E 79th Place                                         Estate Property         Justin Tubbs                                                                                 $            15,000.00      Investor‐Lender      $           15,000.00   67‐242
  67          1131‐41 E 79th Place                                         Estate Property         Kevin & Laura Allred                                                                         $            61,000.00      Investor‐Lender      $           11,000.00   67‐452
  67          1131‐41 E 79th Place                                         Estate Property         Lewis Thomas                                                                                 $            25,000.00      Investor‐Lender      $           25,000.00   67‐321
  67          1131‐41 E 79th Place                                         Estate Property         Madison Trust Company FBO Rick Newton SEP IRA                                                $            50,000.00      Investor‐Lender      $           50,000.00   67‐532
  67          1131‐41 E 79th Place                                         Estate Property         Nancy Fillmore                                                                               $            90,974.27      Investor‐Lender                              67‐2022
  67          1131‐41 E 79th Place                                         Estate Property         Narine Nebel                                                                                 $            62,256.25      Investor‐Lender      $           50,000.00   67‐351
  67          1131‐41 E 79th Place                                         Estate Property         Rachael B Curcio                                                                            $            121,092.00      Investor‐Lender      $           71,092.00   67‐292
  67          1131‐41 E 79th Place                                         Estate Property         S and P Investment Properties EPSP401k, Pat Thomasson, Trustee                               $            22,705.83      Investor‐Lender      $           22,000.00   67‐293
  67          1131‐41 E 79th Place                                         Estate Property         SeaDog Properties LLC / Darrell Odum                                                        $            134,000.00      Investor‐Lender      $           50,000.00   67‐381
  67          1131‐41 E 79th Place                                         Estate Property         Sri Navalpakkam (AniPri Enterprises LLC)                                                    $            259,775.00      Investor‐Lender      $          159,775.00   67‐484
  67          1131‐41 E 79th Place                                         Estate Property         Stilwell, Heidi                                                                             $            125,000.00      Investor‐Lender      $           25,000.00   67‐2055
  67          1131‐41 E 79th Place                                         Estate Property         Stuart Edelman                                                                              $            167,250.00      Investor‐Lender      $           90,000.00   67‐1201
  67          1131‐41 E 79th Place                                         Estate Property         Ying Xu (Brainwave Investments)                                                             $            126,625.00      Investor‐Lender                              67‐134
  67          1131‐41 E 79th Place                                         Estate Property         May M. Akamine for Aurora Investments, LLC (assets formerly under MayREI, LLC)              $            631,739.82   Investor‐Lender and     $           50,000.00   67‐1412
                                                                                                                                                                                                                             Equity Investor
  67          1131‐41 E 79th Place                                         Estate Property         Michael Grow                                                                                $          223,996.00     Investor‐Lender and                             67‐375
                                                                                                                                                                                                                             Equity Investor
  68       6217‐27 S Dorchester Avenue                                     Estate Property         Bancroft, Ed                                                                                $          258,060.00      Investor‐Lender and                            68‐2008
                                                                                                                                                                                                                             Equity Investor
  68       6217‐27 S Dorchester Avenue                                     Estate Property         Steven Lipschultz                                                                           $           71,126.00         Equity Investor     $           22,000.00   68‐1391
  68       6217‐27 S Dorchester Avenue                                     Estate Property         Steven Lipschultz                                                                           $           85,000.00         Equity Investor     $           85,000.00   68‐1399
  68       6217‐27 S Dorchester Avenue                                     Estate Property         Strata Trust Company FBO Gary Wayne Williams                                                $           50,000.00         Equity Investor     $           50,000.00   68‐193
  68       6217‐27 S Dorchester Avenue                                     Estate Property         Citibank, N.A., as Trustee for the registered Holders of Wells Fargo Commercial Mortgage    $        1,954,113.57      Institutional Lender                           68‐1278
                                                                                                   Securities, Inc., Multifamily Mortgage Pass‐Through Certificates, Series 2018‐SB48

  68       6217‐27 S Dorchester Avenue                                     Estate Property         Annmarie Shuster                                                                            $           47,000.00       Investor‐Lender       $           47,000.00   68‐387
  68       6217‐27 S Dorchester Avenue                                     Estate Property         Arman Kale Heaton, Natoshia Lamborn Heaton                                                  $           52,416.68       Investor‐Lender       $           50,000.00   68‐1171
  68       6217‐27 S Dorchester Avenue                                     Estate Property         BLUE MOUNTAIN VENTURES PSP 401K, GEORGE SAMUEL                                              $          463,999.95       Investor‐Lender       $           84,255.00   68‐491




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Property        Property Address                 Alternative Address             Type                                               Claimant Name                                             Claimed Amount         Claim Category as     Amount Claimed to be     Claim
Number                                                                                                                                                                                   (Total Claimed Amount      Identified on Claim     Invested in Property   Number
                                                                                                                                                                                           in Claim Category as            Form
                                                                                                                                                                                            Identified on Claim
                                                                                                                                                                                                   Form)
  68       6217‐27 S Dorchester Avenue                                  Estate Property         Charles P McEvoy                                                                          $            438,733.33     Investor‐Lender      $          150,000.00   68‐232
  68       6217‐27 S Dorchester Avenue                                  Estate Property         Conor Benson King                                                                          $            15,000.00     Investor‐Lender      $           15,000.00   68‐1392
  68       6217‐27 S Dorchester Avenue                                  Estate Property         David M Harris                                                                            $            831,700.00     Investor‐Lender      $           48,145.00   68‐267
  68       6217‐27 S Dorchester Avenue                                  Estate Property         Duke E. Heger and Viviana Heger                                                           $            117,000.00     Investor‐Lender      $           50,000.00   68‐1408
  68       6217‐27 S Dorchester Avenue                                  Estate Property         Elizabeth Zeng                                                                            $            148,422.77     Investor‐Lender      $           94,000.00   68‐872
  68       6217‐27 S Dorchester Avenue                                  Estate Property         Erwin J Page Trust, Jeffrey Steybe, Trustee                                                $            52,666.68     Investor‐Lender      $           50,000.00   68‐1162
  68       6217‐27 S Dorchester Avenue                                  Estate Property         Fredric R. Gottlieb                                                                       $            391,776.10     Investor‐Lender      $           15,740.00   68‐1212
  68       6217‐27 S Dorchester Avenue                                  Estate Property         Girl Cat Capital West LLC, Valentina Salge, President                                     $            212,145.00     Investor‐Lender      $           12,145.00   68‐350
  68       6217‐27 S Dorchester Avenue                                  Estate Property         Hillside Fund, LLC ‐ Janet F. Turco, Owner/ Managing Member                               $            505,000.00     Investor‐Lender      $           65,000.00   68‐101
  68       6217‐27 S Dorchester Avenue                                  Estate Property         Hutchings, Matt                                                                           $            362,766.68     Investor‐Lender      $           50,000.00   68‐2030
  68       6217‐27 S Dorchester Avenue                                  Estate Property         iPlanGroup Agent for Custodian FBO Laura Dirnberger Roth IRA                               $            71,321.00     Investor‐Lender      $            7,800.00   68‐448
  68       6217‐27 S Dorchester Avenue                                  Estate Property         iPlanGroup Agent for Custodian FBO Lyle J Swiney IRA                                      $            100,000.00     Investor‐Lender      $          100,000.00   68‐366
  68       6217‐27 S Dorchester Avenue                                  Estate Property         iPlanGroup Agent for Custodian FBO Michael Dirnberger ROTH IRA                             $            44,433.00     Investor‐Lender      $            7,200.00   68‐445
  68       6217‐27 S Dorchester Avenue                                  Estate Property         iPlanGroup Agent for Custodian FBO Michelle Grimes IRA #3301097                            $            56,636.17     Investor‐Lender      $           50,000.00   68‐884
  68       6217‐27 S Dorchester Avenue                                  Estate Property         Jeffrey Lee Blankenship                                                                    $            89,822.12     Investor‐Lender      $           75,855.00   68‐1241
  68       6217‐27 S Dorchester Avenue                                  Estate Property         Jerome B. Shaffer, Trustee                                                                $            100,000.00     Investor‐Lender      $          100,000.00   68‐538
  68       6217‐27 S Dorchester Avenue                                  Estate Property         JN Investment Trust, Trustee Janice Nelson                                                $            160,000.00     Investor‐Lender      $           50,000.00   68‐556
  68       6217‐27 S Dorchester Avenue                                  Estate Property         Joe F Siracusa                                                                             $            60,000.00     Investor‐Lender      $           60,000.00   68‐177
  68       6217‐27 S Dorchester Avenue                                  Estate Property         John Taxeras                                                                              $            105,686.72     Investor‐Lender      $            1,830.00   68‐994
  68       6217‐27 S Dorchester Avenue                                  Estate Property         Karl R. DeKlotz                                                                           $          1,586,165.90     Investor‐Lender      $          150,000.00   68‐1179
  68       6217‐27 S Dorchester Avenue                                  Estate Property         Kevin Randall                                                                             $            200,000.00     Investor‐Lender      $           70,000.00   68‐811
  68       6217‐27 S Dorchester Avenue                                  Estate Property         KKW Investments, LLC                                                                      $            100,033.40     Investor‐Lender      $            2,627.40   68‐336
  68       6217‐27 S Dorchester Avenue                                  Estate Property         Kuldeep Jain                                                                              $            156,000.00     Investor‐Lender      $          100,000.00   68‐652
  68       6217‐27 S Dorchester Avenue                                  Estate Property         Linda Lipschultz                                                                           $            53,405.00     Investor‐Lender      $           18,500.00   68‐1374
  68       6217‐27 S Dorchester Avenue                                  Estate Property         Moran Blueshtein and Upender Subramanian                                                  $            146,857.18     Investor‐Lender      $           30,188.00   68‐95
  68       6217‐27 S Dorchester Avenue                                  Estate Property         Nancy Cree (Cree Capital Ventures)                                                        $            725,000.00     Investor‐Lender      $          225,000.00   68‐2014
  68       6217‐27 S Dorchester Avenue                                  Estate Property         Nathan and Brandi Hennefer                                                                 $            25,000.00     Investor‐Lender      $           25,000.00   68‐742
  68       6217‐27 S Dorchester Avenue                                  Estate Property         Next Generation Trust Company FBO Irene B. Kapsky FFBO Mark S Kapsky IRA 3207              $            23,000.00     Investor‐Lender      $           10,000.00   68‐1166
  68       6217‐27 S Dorchester Avenue                                  Estate Property         Next Generation Trust Company FBO Mark Kapsky IRA 2396                                     $            42,000.00     Investor‐Lender                              68‐1157
  68       6217‐27 S Dorchester Avenue                                  Estate Property         Optima Property Solutions, LLC                                                            $            487,209.71     Investor‐Lender      $           20,000.00   68‐1023
  68       6217‐27 S Dorchester Avenue                                  Estate Property         Pacific Ocean Services Inc                                                                $            175,000.00     Investor‐Lender      $          150,000.00   68‐1256
  68       6217‐27 S Dorchester Avenue                                  Estate Property         Pat DeSantis                                                                              $          2,684,539.00     Investor‐Lender      $          250,000.00   68‐397
  68       6217‐27 S Dorchester Avenue                                  Estate Property         Paul N. Wilmesmeier                                                                       $            790,185.00     Investor‐Lender      $           50,000.00   68‐300
  68       6217‐27 S Dorchester Avenue                                  Estate Property         Peter Jordan                                                                              $            153,456.56     Investor‐Lender      $           76,728.28   68‐282
  68       6217‐27 S Dorchester Avenue                                  Estate Property         Petra Zoeller                                                                             $            546,619.00     Investor‐Lender      $          100,000.00   68‐594
  68       6217‐27 S Dorchester Avenue                                  Estate Property         PNW Investments, LLC                                                                      $            350,000.00     Investor‐Lender      $           50,000.00   68‐332
  68       6217‐27 S Dorchester Avenue                                  Estate Property         Quest IRA Inc. FBO Rebeca E. Savory‐Romero IRA Account #15528‐11 and #15528‐21            $            184,785.31     Investor‐Lender      $           19,500.00   68‐804
  68       6217‐27 S Dorchester Avenue                                  Estate Property         R.D.Meredith General Contractors LLC 401K                                                 $            373,617.16     Investor‐Lender      $          150,750.00   68‐528
  68       6217‐27 S Dorchester Avenue                                  Estate Property         R2V2 Investments LLC                                                                       $            88,590.47     Investor‐Lender      $           30,188.00   68‐842
  68       6217‐27 S Dorchester Avenue                                  Estate Property         Reymone Randall                                                                            $            64,076.00     Investor‐Lender      $           50,500.00   68‐1258
  68       6217‐27 S Dorchester Avenue                                  Estate Property         Russell Waite                                                                             $            155,176.75     Investor‐Lender      $           85,425.00   68‐1120
  68       6217‐27 S Dorchester Avenue                                  Estate Property         Scott Eaton                                                                               $            549,101.33     Investor‐Lender      $           25,000.00   68‐1470
  68       6217‐27 S Dorchester Avenue                                  Estate Property         SHANKAR THIRUPPATHI                                                                       $            100,000.00     Investor‐Lender      $           84,190.00   68‐718
  68       6217‐27 S Dorchester Avenue                                  Estate Property         Shengjie Li and Yuye Xu                                                                   $            165,441.12     Investor‐Lender      $           35,000.00   68‐1340
  68       6217‐27 S Dorchester Avenue                                  Estate Property         Steven Roche                                                                              $            127,821.13     Investor‐Lender      $           10,000.00   68‐329
  68       6217‐27 S Dorchester Avenue                                  Estate Property         TFG Retirement Trust                                                                      $            340,886.77     Investor‐Lender      $           50,000.00   68‐665
  68       6217‐27 S Dorchester Avenue                                  Estate Property         Timothy S Sharp                                                                           $            650,000.00     Investor‐Lender      $          100,000.00   68‐76
  68       6217‐27 S Dorchester Avenue                                  Estate Property         Top Mark Home Solutions                                                                    $            30,800.00     Investor‐Lender      $           30,000.00   68‐1416
  68       6217‐27 S Dorchester Avenue                                  Estate Property         Wisemove Properties LLC, (Anthony and Linda Reid, members)                                $            668,979.00     Investor‐Lender                              68‐168
  68       6217‐27 S Dorchester Avenue                                  Estate Property         Xiaoqing Chen                                                                              $            11,408.33     Investor‐Lender      $           10,000.00   68‐1238
  68       6217‐27 S Dorchester Avenue                                  Estate Property         Young Family Trust                                                                        $            115,000.00     Investor‐Lender      $           40,000.00   68‐1452
  68       6217‐27 S Dorchester Avenue                                  Estate Property         Degenhardt, Duane A                                                                       $            645,000.00     Investor‐Lender      $           20,792.29   68‐2015
  68       6217‐27 S Dorchester Avenue                                  Estate Property         Marcus, Ernest                                                                             $            50,000.00     Investor‐Lender      $           50,000.00   68‐2037
  69          6250 S Mozart Avenue              2832‐36 W 63rd Street   Estate Property         Bernadette Chen (Eleven St Felix St. Realty)                                              $          1,000,000.00      Equity Investor     $           50,000.00   69‐2012
  69          6250 S Mozart Avenue              2832‐36 W 63rd Street   Estate Property         Kevin Lyons                                                                                $            98,899.84      Equity Investor     $           25,000.00   69‐610
  69          6250 S Mozart Avenue              2832‐36 W 63rd Street   Estate Property         Citibank, N.A., as Trustee for the registered Holders of Wells Fargo Commercial Mortgage $           1,461,176.83   Institutional Lender                           69‐1324
                                                                                                Securities, Inc., Multifamily Mortgage Pass‐Through Certificates, Series 2018‐SB48*




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                                                                                                    Master Claims List
                                                                                    SEC v. EquityBuild, Inc., et al., Case No. 18-cv-5587
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Property     Property Address              Alternative Address             Type                                                Claimant Name                                           Claimed Amount         Claim Category as     Amount Claimed to be     Claim
Number                                                                                                                                                                            (Total Claimed Amount      Identified on Claim     Invested in Property   Number
                                                                                                                                                                                    in Claim Category as            Form
                                                                                                                                                                                     Identified on Claim
                                                                                                                                                                                            Form)
  69       6250 S Mozart Avenue           2832‐36 W 63rd Street   Estate Property         Amit Hammer                                                                              $            295,980.00    Investor‐Lender       $           10,000.00   69‐225
  69       6250 S Mozart Avenue           2832‐36 W 63rd Street   Estate Property         Annie Chang                                                                              $            246,935.34    Investor‐Lender       $           50,000.00   69‐475
  69       6250 S Mozart Avenue           2832‐36 W 63rd Street   Estate Property         Asians Investing In Real Estate LLC                                                      $          1,278,402.00    Investor‐Lender       $           50,000.00   69‐503
  69       6250 S Mozart Avenue           2832‐36 W 63rd Street   Estate Property         Baron Real Estate Holdings, LLC., Ihab Shahawi and Vivian ELShahawi, members             $            406,000.00    Investor‐Lender       $          106,000.00   69‐1347
  69       6250 S Mozart Avenue           2832‐36 W 63rd Street   Estate Property         DK Phenix Investments LLC                                                                $            575,750.00    Investor‐Lender       $          100,000.00   69‐584
  69       6250 S Mozart Avenue           2832‐36 W 63rd Street   Estate Property         Edward J. Netzel                                                                          $            20,000.00    Investor‐Lender       $           20,000.00   69‐1059
  69       6250 S Mozart Avenue           2832‐36 W 63rd Street   Estate Property         Eric Schwartz                                                                            $            144,153.72    Investor‐Lender       $           60,082.00   69‐157
  69       6250 S Mozart Avenue           2832‐36 W 63rd Street   Estate Property         Evelyn Stratton (iPlanGroup Agent for Custodial FBO Evelyn Stratton IRA)                 $            100,000.00    Investor‐Lender       $          100,000.00   69‐1028
  69       6250 S Mozart Avenue           2832‐36 W 63rd Street   Estate Property         IPlanGroup Agent for Custodian FBO Mark Young                                            $            380,000.00    Investor‐Lender       $           55,000.00   69‐1446
  69       6250 S Mozart Avenue           2832‐36 W 63rd Street   Estate Property         Jason Park                                                                                $            38,000.00    Investor‐Lender       $           10,000.00   69‐814
  69       6250 S Mozart Avenue           2832‐36 W 63rd Street   Estate Property         John Bloxham                                                                             $            110,000.00    Investor‐Lender       $            7,009.00   69‐1196
  69       6250 S Mozart Avenue           2832‐36 W 63rd Street   Estate Property         John Braden and Cynthia Braden                                                            $             6,716.67    Investor‐Lender       $           10,000.00   69‐1050
  69       6250 S Mozart Avenue           2832‐36 W 63rd Street   Estate Property         KKW Investments, LLC                                                                     $            100,033.40    Investor‐Lender       $            3,500.00   69‐336
  69       6250 S Mozart Avenue           2832‐36 W 63rd Street   Estate Property         Kuldeep Jain                                                                             $            156,000.00    Investor‐Lender       $           50,000.00   69‐652
  69       6250 S Mozart Avenue           2832‐36 W 63rd Street   Estate Property         Laura J. Sohm IRA                                                                        $            104,593.29    Investor‐Lender       $           63,315.00   69‐970
  69       6250 S Mozart Avenue           2832‐36 W 63rd Street   Estate Property         Madison Trust Company Custodian FBO Robert W. Jennings Account# M1605053                 $            309,318.75    Investor‐Lender       $          225,461.00   69‐241
  69       6250 S Mozart Avenue           2832‐36 W 63rd Street   Estate Property         Mahesh Koli                                                                               $            25,125.00    Investor‐Lender       $           25,125.00   69‐68
  69       6250 S Mozart Avenue           2832‐36 W 63rd Street   Estate Property         Manuel Camacho                                                                           $            104,434.59    Investor‐Lender       $           33,250.00   69‐748
  69       6250 S Mozart Avenue           2832‐36 W 63rd Street   Estate Property         Michael James Guilford and Nancy Richard‐Guilford, Jointly with Right of Survivorship    $            310,000.00    Investor‐Lender       $           50,000.00   69‐516

  69       6250 S Mozart Avenue           2832‐36 W 63rd Street   Estate Property         Pat DeSantis                                                                             $        2,684,539.00      Investor‐Lender       $          110,000.00   69‐397
  69       6250 S Mozart Avenue           2832‐36 W 63rd Street   Estate Property         Robert Mennella (Madison Trust Company Custodian FBO Robert Mennella Roth IRA            $           18,150.00      Investor‐Lender       $           18,150.00   69‐1302
                                                                                          M1604064)
  69       6250 S Mozart Avenue           2832‐36 W 63rd Street   Estate Property         Samir Totah                                                                              $          178,437.50      Investor‐Lender       $          150,000.00   69‐862
  69       6250 S Mozart Avenue           2832‐36 W 63rd Street   Estate Property         SHANKAR THIRUPPATHI                                                                      $          100,000.00      Investor‐Lender       $           16,310.00   69‐718
  69       6250 S Mozart Avenue           2832‐36 W 63rd Street   Estate Property         Sheryl F. Mennella (Madison Trust Company Custodian FBO Sheryl F. Mennella Roth IRA      $           18,150.00      Investor‐Lender       $           18,150.00   69‐731
                                                                                          M1604088)
  69       6250 S Mozart Avenue           2832‐36 W 63rd Street   Estate Property         Steven R. Bald                                                                           $          586,378.00       Investor‐Lender      $           40,000.00   69‐399
  69       6250 S Mozart Avenue           2832‐36 W 63rd Street   Estate Property         The Mennco Properties, LLC. Solo 401k Plan (Robert Mennella Managing Partner)            $           14,200.00       Investor‐Lender      $           14,200.00   69‐905
  69       6250 S Mozart Avenue           2832‐36 W 63rd Street   Estate Property         Vladimir Matviishin                                                                      $          290,200.00       Investor‐Lender      $          150,000.00   69‐1294
  69       6250 S Mozart Avenue           2832‐36 W 63rd Street   Estate Property         Phyllis Harte                                                                            $           36,069.53       Investor‐Lender      $            7,330.00   69‐2028
  70       638‐40 N Avers Avenue                                  Estate Property         Bernadette Chen (Eleven St Felix St. Realty)                                             $        1,000,000.00        Equity Investor     $          100,000.00   70‐2012
  70       638‐40 N Avers Avenue                                  Estate Property         Federal Home Loan Mortgage Corporation [Freddie Mac]                                     $        1,273,346.96     Institutional Lender                           70‐2084
  70       638‐40 N Avers Avenue                                  Estate Property         CAMA SDIRA LLC FBO Robert Guiney IRA                                                     $          104,314.46       Investor‐Lender      $           40,579.00   70‐1116
  70       638‐40 N Avers Avenue                                  Estate Property         David R. Trengove                                                                        $          705,123.88       Investor‐Lender      $          103,098.00   70‐481
  70       638‐40 N Avers Avenue                                  Estate Property         Dean & Mare Atanasoski                                                                   $          100,000.00       Investor‐Lender      $          100,000.00   70‐394
  70       638‐40 N Avers Avenue                                  Estate Property         John Bloxham                                                                             $           63,999.92       Investor‐Lender      $           50,000.00   70‐1017
  70       638‐40 N Avers Avenue                                  Estate Property         Kenneth (Ken) and Maria (Tina) Jorgensen                                                 $          453,233.25       Investor‐Lender      $          146,902.00   70‐194
  70       638‐40 N Avers Avenue                                  Estate Property         MADISON TRUST COMPANY CUSTODIAN FBO JANET EILEEN TAYLOR M1608009                         $          107,946.27       Investor‐Lender      $           30,775.00   70‐2056
  70       638‐40 N Avers Avenue                                  Estate Property         Mark P. Mouty                                                                            $          180,702.77       Investor‐Lender      $           25,000.00   70‐165
  70       638‐40 N Avers Avenue                                  Estate Property         New Direction IRA, Inc. FBO Joel Beyer, Roth IRA                                         $          103,990.94       Investor‐Lender      $           85,000.00   70‐969
  70       638‐40 N Avers Avenue                                  Estate Property         Nicolas and Joyce Jenks                                                                  $          155,249.47       Investor‐Lender      $           50,000.00   70‐2032
  70       638‐40 N Avers Avenue                                  Estate Property         Optima Property Solutions, LLC                                                           $          487,209.71       Investor‐Lender      $          250,000.00   70‐1023
  70       638‐40 N Avers Avenue                                  Estate Property         Pat DeSantis                                                                             $        2,684,539.00       Investor‐Lender      $          250,000.00   70‐397
  70       638‐40 N Avers Avenue                                  Estate Property         Paul N. Wilmesmeier                                                                      $          790,185.00       Investor‐Lender      $           50,000.00   70‐300
  70       638‐40 N Avers Avenue                                  Estate Property         Paul Scribner                                                                            $          200,000.00       Investor‐Lender      $           16,826.00   70‐1135
  70       638‐40 N Avers Avenue                                  Estate Property         Phillip G. Vander Kraats                                                                 $           80,186.82       Investor‐Lender      $            2,000.00   70‐628
  70       638‐40 N Avers Avenue                                  Estate Property         Randall Sotka                                                                            $          255,000.00       Investor‐Lender      $           11,949.00   70‐1207
  70       638‐40 N Avers Avenue                                  Estate Property         Richard L. Braddock                                                                      $          104,161.08       Investor‐Lender      $           50,000.00   70‐509
  70       638‐40 N Avers Avenue                                  Estate Property         Teresita M. Shelton                                                                      $          426,513.00       Investor‐Lender      $            2,000.00   70‐330
  70       638‐40 N Avers Avenue                                  Estate Property         Thomas Walsh                                                                             $           51,749.99       Investor‐Lender      $           50,000.00   70‐738
  70       638‐40 N Avers Avenue                                  Estate Property         TMAKINDE, LLC                                                                            $          247,000.00       Investor‐Lender      $          114,000.00   70‐372
  70       638‐40 N Avers Avenue                                  Estate Property         Tolu Makinde                                                                             $           90,000.00       Investor‐Lender      $           15,000.00   70‐370
  70       638‐40 N Avers Avenue                                  Estate Property         Minchow, Rochelle                                                                        $          190,000.00       Investor‐Lender      $           30,000.00   70‐2061
  71        701‐13 S 5th Avenue                414 Walnut         Estate Property         Bancroft, Ed (iPlanGroup Agent for Custodian FBO Ed Bancroft Roth)                       $          258,060.00     Investor‐Lender and                            71‐2008
                                                                                                                                                                                                                Equity Investor
  71        701‐13 S 5th Avenue                414 Walnut         Estate Property         Deborah Buffamanti                                                                       $           34,723.00        Equity Investor                             71‐1349
  71        701‐13 S 5th Avenue                414 Walnut         Estate Property         GIRISH JUNEJA SELF DIRECTED ROTH IRA, CUSTODIAN: KINGDOM TRUST ACCOUNT#                  $           57,800.00        Equity Investor     $           50,000.00   71‐1341
                                                                                          3567954194




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Property      Property Address               Alternative Address            Type                                               Claimant Name                                          Claimed Amount         Claim Category as     Amount Claimed to be     Claim
Number                                                                                                                                                                           (Total Claimed Amount      Identified on Claim     Invested in Property   Number
                                                                                                                                                                                   in Claim Category as            Form
                                                                                                                                                                                    Identified on Claim
                                                                                                                                                                                           Form)
  71         701‐13 S 5th Avenue                 414 Walnut        Estate Property         Rashmi Juneja Self Directed Roth IRA, Custodian: Kingdom Trust, account # 907667763     $            57,800.00     Equity Investor      $           50,000.00   71‐1342

  71         701‐13 S 5th Avenue                 414 Walnut        Estate Property         Alex Breslav                                                                           $          247,000.00      Investor‐Lender       $           40,000.00   71‐262
  71         701‐13 S 5th Avenue                 414 Walnut        Estate Property         Aluvelu Homes LLC                                                                      $          169,271.00      Investor‐Lender       $           20,000.00   71‐879
  71         701‐13 S 5th Avenue                 414 Walnut        Estate Property         Andrew Matviishin                                                                      $           64,600.00      Investor‐Lender       $           55,000.00   71‐1261
  71         701‐13 S 5th Avenue                 414 Walnut        Estate Property         Annie Chang                                                                            $          246,935.34      Investor‐Lender       $           50,000.00   71‐475
  71         701‐13 S 5th Avenue                 414 Walnut        Estate Property         Bluebridge Partners Limited                                                            $          791,620.17      Investor‐Lender       $           77,177.00   71‐727
  71         701‐13 S 5th Avenue                 414 Walnut        Estate Property         Charles P McEvoy                                                                       $          438,733.33      Investor‐Lender       $           20,000.00   71‐232
  71         701‐13 S 5th Avenue                 414 Walnut        Estate Property         Charlotte A Hofer                                                                      $          370,000.00      Investor‐Lender       $          110,000.00   71‐603
  71         701‐13 S 5th Avenue                 414 Walnut        Estate Property         CLOVE, LLC                                                                             $           21,750.74      Investor‐Lender       $           15,900.00   71‐723
  71         701‐13 S 5th Avenue                 414 Walnut        Estate Property         Frank Sohm IRA                                                                         $          148,604.93      Investor‐Lender       $           40,000.00   71‐558
  71         701‐13 S 5th Avenue                 414 Walnut        Estate Property         James Patrick Sullivan                                                                 $           80,750.00      Investor‐Lender       $           50,000.00   71‐125
  71         701‐13 S 5th Avenue                 414 Walnut        Estate Property         Jeffrey Lee Blankenship                                                                $           89,822.12      Investor‐Lender       $           93,698.00   71‐1241
  71         701‐13 S 5th Avenue                 414 Walnut        Estate Property         Jerome B. Shaffer                                                                      $          250,000.00      Investor‐Lender       $           85,264.00   71‐992
  71         701‐13 S 5th Avenue                 414 Walnut        Estate Property         JLO Enterprises LLC                                                                    $           54,714.37      Investor‐Lender       $           15,750.00   71‐726
  71         701‐13 S 5th Avenue                 414 Walnut        Estate Property         John Love                                                                              $           31,275.00      Investor‐Lender       $           30,000.00   71‐719
  71         701‐13 S 5th Avenue                 414 Walnut        Estate Property         Karl R. DeKlotz                                                                        $        1,586,165.90      Investor‐Lender       $          300,000.00   71‐1179
  71         701‐13 S 5th Avenue                 414 Walnut        Estate Property         Kester Brothers Farm, LLC, C/O James R. Kester                                         $          152,911.82      Investor‐Lender       $           68,000.00   71‐944
  71         701‐13 S 5th Avenue                 414 Walnut        Estate Property         LEVENT KESEN                                                                           $          150,000.00      Investor‐Lender       $           50,000.00   71‐1078
  71         701‐13 S 5th Avenue                 414 Walnut        Estate Property         Madison Trust Company Custodian FBO Brian Shaffer IRA Account# M1608073 and            $          155,625.00      Investor‐Lender                               71‐411
                                                                                           M1703059
  71         701‐13 S 5th Avenue                 414 Walnut        Estate Property         Madison Trust Company Custodian FBO Kathy B. Talman IRA                                $           75,000.00       Investor‐Lender      $           50,000.00   71‐1109
  71         701‐13 S 5th Avenue                 414 Walnut        Estate Property         Mary Alexander‐Brum                                                                    $           52,124.99       Investor‐Lender      $           50,000.00   71‐227
  71         701‐13 S 5th Avenue                 414 Walnut        Estate Property         Naveen Kwatra                                                                          $           75,000.00       Investor‐Lender      $           50,000.00   71‐356
  71         701‐13 S 5th Avenue                 414 Walnut        Estate Property         Nehasri Ltd ( investment under Nehasri Ltd by Manoj Donthineni)                        $          252,907.00       Investor‐Lender      $           50,000.00   71‐1365
  71         701‐13 S 5th Avenue                 414 Walnut        Estate Property         PNW Investments, LLC                                                                   $          350,000.00       Investor‐Lender      $           75,000.00   71‐332
  71         701‐13 S 5th Avenue                 414 Walnut        Estate Property         Ramsey Stephan                                                                         $           50,000.00       Investor‐Lender      $           20,519.00   71‐162
  71         701‐13 S 5th Avenue                 414 Walnut        Estate Property         Robert A Demick DDS PA 401K                                                            $          177,678.65       Investor‐Lender      $           50,000.00   71‐680
  71         701‐13 S 5th Avenue                 414 Walnut        Estate Property         SAMUEL HOME SOLUTIONS LLC, GEORGE SAMUEL,                                              $          235,519.28       Investor‐Lender      $          107,869.00   71‐347
  71         701‐13 S 5th Avenue                 414 Walnut        Estate Property         Teresita M. Shelton                                                                    $          426,513.00       Investor‐Lender      $           50,000.00   71‐330
  71         701‐13 S 5th Avenue                 414 Walnut        Estate Property         Teton Equity Group LLC                                                                 $          208,439.99       Investor‐Lender      $          100,000.00   71‐1205
  71         701‐13 S 5th Avenue                 414 Walnut        Estate Property         The Entrust Group FBO Dee Ann Nason 7230011277                                         $          150,000.00       Investor‐Lender      $           50,000.00   71‐790
  71         701‐13 S 5th Avenue                 414 Walnut        Estate Property         The Jacqueline C Rowe Living Trust                                                     $          372,417.74       Investor‐Lender                              71‐139
  71         701‐13 S 5th Avenue                 414 Walnut        Estate Property         The Peter Paul Nuspl Living Trust                                                      $        1,123,278.00       Investor‐Lender      $          100,000.00   71‐2044
  71         701‐13 S 5th Avenue                 414 Walnut        Estate Property         Toramba Trust (ROTH) Matthew Boyd, Trustee                                             $          158,000.00       Investor‐Lender      $           58,000.00   71‐2062
  71         701‐13 S 5th Avenue                 414 Walnut        Estate Property         TruStar Real Estate Solutions, LLC                                                     $          385,000.00       Investor‐Lender      $           75,000.00   71‐337
  71         701‐13 S 5th Avenue                 414 Walnut        Estate Property         Vladimir Matviishin                                                                    $          199,075.00       Investor‐Lender      $           55,000.00   71‐233
  71         701‐13 S 5th Avenue                 414 Walnut        Estate Property         William Needham                                                                        $          355,428.00       Investor‐Lender      $           50,000.00   71‐80
  71         701‐13 S 5th Avenue                 414 Walnut        Estate Property         XUWEN LIN                                                                              $           58,700.00       Investor‐Lender      $           16,521.00   71‐648
  72       7024‐32 S Paxton Avenue                                 Estate Property         Juliette Farr‐Barksdale & Thomas Farr                                                  $          323,900.00        Equity Investor     $           23,900.00   72‐2074
  72       7024‐32 S Paxton Avenue                                 Estate Property         Federal Home Loan Mortgage Corporation [Freddie Mac]                                   $        1,825,895.85     Institutional Lender                           72‐2085
  72       7024‐32 S Paxton Avenue                                 Estate Property         Aaron Beauclair                                                                        $           40,000.00       Investor‐Lender      $           10,000.00   72‐408
  72       7024‐32 S Paxton Avenue                                 Estate Property         Bright Venture, LLC                                                                    $           41,928.77       Investor‐Lender      $           25,000.00   72‐84
  72       7024‐32 S Paxton Avenue                                 Estate Property         David M Harris                                                                         $          831,700.00       Investor‐Lender      $          100,000.00   72‐267
  72       7024‐32 S Paxton Avenue                                 Estate Property         Dennis & Mary Ann Hennefer                                                             $          679,378.00       Investor‐Lender      $          350,000.00   72‐355
  72       7024‐32 S Paxton Avenue                                 Estate Property         Emile P. Dufrene, III                                                                  $           50,422.00       Investor‐Lender      $           50,000.00   72‐1248
  72       7024‐32 S Paxton Avenue                                 Estate Property         Gary R. Burnham Jr. Solo 401K Trust                                                    $          205,608.00       Investor‐Lender      $          106,000.00   72‐1174
  72       7024‐32 S Paxton Avenue                                 Estate Property         Girl Cat Capital West LLC, Valentina Salge, President                                  $          212,145.00       Investor‐Lender      $           50,000.00   72‐350
  72       7024‐32 S Paxton Avenue                                 Estate Property         Karl R. DeKlotz                                                                        $        1,586,165.90       Investor‐Lender      $          150,000.00   72‐1179
  72       7024‐32 S Paxton Avenue                                 Estate Property         KKW Investments, LLC                                                                   $          100,033.40       Investor‐Lender      $            3,900.00   72‐336
  72       7024‐32 S Paxton Avenue                                 Estate Property         Maricris M. Lee                                                                        $            8,426.68       Investor‐Lender                              72‐320
  72       7024‐32 S Paxton Avenue                                 Estate Property         Michael F Grant & L. Gretchen Grant (Michael F. Grant & L. Gretchen Grant Revocable    $          695,000.00       Investor‐Lender      $           40,000.00   72‐393
                                                                                           Trust dated March 16th 2012)
  72       7024‐32 S Paxton Avenue                                 Estate Property         Pat DeSantis                                                                           $        2,684,539.00      Investor‐Lender       $          250,000.00   72‐397
  72       7024‐32 S Paxton Avenue                                 Estate Property         Phillip G. Vander Kraats                                                               $           80,186.82      Investor‐Lender       $           50,000.00   72‐628
  72       7024‐32 S Paxton Avenue                                 Estate Property         Randall Sotka                                                                          $          255,000.00      Investor‐Lender       $           55,000.00   72‐1207
  72       7024‐32 S Paxton Avenue                                 Estate Property         Robert A Demick DDS PA 401K                                                            $          177,678.65      Investor‐Lender       $           50,000.00   72‐680
  72       7024‐32 S Paxton Avenue                                 Estate Property         Steven Roche                                                                           $          127,821.13      Investor‐Lender       $            9,500.00   72‐329




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Property      Property Address               Alternative Address             Type                                                 Claimant Name                                             Claimed Amount         Claim Category as      Amount Claimed to be     Claim
Number                                                                                                                                                                                 (Total Claimed Amount      Identified on Claim      Invested in Property   Number
                                                                                                                                                                                         in Claim Category as            Form
                                                                                                                                                                                          Identified on Claim
                                                                                                                                                                                                 Form)
  72       7024‐32 S Paxton Avenue                                  Estate Property         US Freedom Investments, LLC                                                                 $            175,500.00     Investor‐Lender       $           50,000.00   72‐1234
  72       7024‐32 S Paxton Avenue                                  Estate Property         White Tiger Revocable Trust, Ira Lovitch, Zinaida Lovitch (aka Zina Goltsev/Goltseva),      $            127,152.37     Investor‐Lender       $           83,000.00   72‐537
                                                                                            Trustees
  72       7024‐32 S Paxton Avenue                                  Estate Property         iPlan Group FBO Randall Pong IRA                                                            $           60,568.03     Investor‐Lender and                             72‐728
                                                                                                                                                                                                                     Equity Investor
  73       7255‐57 S Euclid Avenue                                  Estate Property         Katie Whitlock                                                                              $           61,651.00        Equity Investor                              73‐942
  73       7255‐57 S Euclid Avenue          1940‐44 E 73rd Street   Estate Property         Rita Deierlein                                                                              $           32,000.00        Equity Investor      $           32,000.00   73‐260
  73       7255‐57 S Euclid Avenue          1940‐44 E 73rd Street   Estate Property         Michael C. Jacobs                                                                           $          178,833.00        Equity Investor      $           25,000.00   73‐2031
  73       7255‐57 S Euclid Avenue          1940‐44 E 73rd Street   Estate Property         Citibank, N.A., as Trustee for the registered Holders of Wells Fargo Commercial Mortgage    $        1,151,462.06      Institutional Lender                           73‐1326
                                                                                            Securities, Inc., Multifamily Mortgage Pass‐Through Certificates, Series 2018‐SB48*

  73       7255‐57 S Euclid Avenue          1940‐44 E 73rd Street   Estate Property         Asians Investing In Real Estate LLC                                                         $        1,278,402.00       Investor‐Lender       $           60,000.00   73‐503
  73       7255‐57 S Euclid Avenue          1940‐44 E 73rd Street   Estate Property         Bolanle Addo (Madison Trust Company Custodian FBO Bolanle Addo)                             $           50,000.00       Investor‐Lender       $           50,000.00   73‐181
  73       7255‐57 S Euclid Avenue          1940‐44 E 73rd Street   Estate Property         Conrad Hanns                                                                                $           50,000.00       Investor‐Lender       $           50,000.00   73‐504
  73       7255‐57 S Euclid Avenue          1940‐44 E 73rd Street   Estate Property         Eco2 Capital Inc.                                                                           $           36,308.25       Investor‐Lender       $           50,000.00   73‐1332
  73       7255‐57 S Euclid Avenue          1940‐44 E 73rd Street   Estate Property         Frances D Cook Sunwest Trust Custodian FBO Frances D Cook IRA #1713343                      $            6,000.00       Investor‐Lender       $            6,000.00   73‐539
  73       7255‐57 S Euclid Avenue          1940‐44 E 73rd Street   Estate Property         Frank and Laura Sohm                                                                        $          167,893.65       Investor‐Lender       $           35,300.00   73‐906
  73       7255‐57 S Euclid Avenue          1940‐44 E 73rd Street   Estate Property         Fredric R. Gottlieb                                                                         $          391,776.10       Investor‐Lender       $           60,000.00   73‐1212
  73       7255‐57 S Euclid Avenue          1940‐44 E 73rd Street   Estate Property         John Witzigreuter                                                                           $          200,000.00       Investor‐Lender       $           50,000.00   73‐729
  73       7255‐57 S Euclid Avenue          1940‐44 E 73rd Street   Estate Property         Johnny Colson                                                                               $           35,952.85       Investor‐Lender       $           50,000.00   73‐108
  73       7255‐57 S Euclid Avenue          1940‐44 E 73rd Street   Estate Property         Joseph P. McCarthy                                                                          $          277,847.33       Investor‐Lender       $           40,000.00   73‐1367
  73       7255‐57 S Euclid Avenue          1940‐44 E 73rd Street   Estate Property         Kelly E Welton (Equity Trust Company for Custodian FBO Kelly Welton, IRA)                   $           83,813.00       Investor‐Lender       $            8,400.00   73‐310
  73       7255‐57 S Euclid Avenue          1940‐44 E 73rd Street   Estate Property         Kenneth (Ken) and Maria (Tina) Jorgensen                                                    $          453,233.25       Investor‐Lender       $           51,544.00   73‐194
  73       7255‐57 S Euclid Avenue          1940‐44 E 73rd Street   Estate Property         Madison Trust Company Custodian FBO James R Robinson Traditional IRA Acct# 1705044          $           88,099.00       Investor‐Lender       $           60,000.00   73‐1406

  73       7255‐57 S Euclid Avenue          1940‐44 E 73rd Street   Estate Property         Mark Young                                                                                  $          366,131.08       Investor‐Lender       $           40,000.00   73‐1154
  73       7255‐57 S Euclid Avenue          1940‐44 E 73rd Street   Estate Property         Michael Borgia IRA                                                                          $          975,416.00       Investor‐Lender       $          125,000.00   73‐705
  73       7255‐57 S Euclid Avenue          1940‐44 E 73rd Street   Estate Property         Paul N. Wilmesmeier                                                                         $          790,185.00       Investor‐Lender       $           25,000.00   73‐300
  73       7255‐57 S Euclid Avenue          1940‐44 E 73rd Street   Estate Property         Robert Houston                                                                              $           51,749.99       Investor‐Lender       $           50,000.00   73‐213
  73       7255‐57 S Euclid Avenue          1940‐44 E 73rd Street   Estate Property         Robert R. Cook      Principle Assets LLC                                                    $            9,000.00       Investor‐Lender       $            9,000.00   73‐659
  73       7255‐57 S Euclid Avenue          1940‐44 E 73rd Street   Estate Property         Sidney Glenn Willeford II                                                                   $           75,000.00       Investor‐Lender       $           75,000.00   73‐1083
  73       7255‐57 S Euclid Avenue          1940‐44 E 73rd Street   Estate Property         Sounjay K. Gairola Revocable Trust (Sounjay K. Gairola Trustee)                             $          148,278.93       Investor‐Lender       $           60,000.00   73‐1439
  73       7255‐57 S Euclid Avenue          1940‐44 E 73rd Street   Estate Property         Teresita M. Shelton                                                                         $          426,513.00       Investor‐Lender                               73‐330
  73       7255‐57 S Euclid Avenue          1940‐44 E 73rd Street   Estate Property         Terry M McDonald and Rhonda R McDonald                                                      $           50,000.00       Investor‐Lender       $           50,000.00   73‐124
  73       7255‐57 S Euclid Avenue          1940‐44 E 73rd Street   Estate Property         Tolu Makinde                                                                                $           90,000.00       Investor‐Lender       $           25,000.00   73‐370
  73       7255‐57 S Euclid Avenue          1940‐44 E 73rd Street   Estate Property         US Freedom Investments, LLC                                                                 $          175,500.00       Investor‐Lender       $           25,000.00   73‐1234
  73       7255‐57 S Euclid Avenue          1940‐44 E 73rd Street   Estate Property         Vladimir Matviishin                                                                         $          199,075.00       Investor‐Lender       $           50,000.00   73‐233
  73       7255‐57 S Euclid Avenue          1940‐44 E 73rd Street   Estate Property         Vladimir Matviishin, dba Network Expert                                                     $          138,075.00       Investor‐Lender       $           50,000.00   73‐1387
  73       7255‐57 S Euclid Avenue          1940‐44 E 73rd Street   Estate Property         Wesley Pittman (Pittman Gold LLC)                                                           $          180,048.45       Investor‐Lender                               73‐469
  73       7255‐57 S Euclid Avenue          1940‐44 E 73rd Street   Estate Property         Alton Motes and Vicki Elaine Washburn JTWROS                                                $          245,841.62       Investor‐Lender       $           60,000.00   73‐2042
  73       7255‐57 S Euclid Avenue          1940‐44 E 73rd Street   Estate Property         William H. Akins, Jr.                                                                       $        1,100,000.00       Investor‐Lender       $           50,000.00   73‐2003
  73       7255‐57 S Euclid Avenue          1940‐44 E 73rd Street   Estate Property         City of Chicago                                                                             $           78,479.20            Other            $            1,647.65   73‐693
  74       3074 Cheltenham Place             7836 S Shore Drive     Estate Property         BTRUE LLC Barry J. Oates                                                                    $           93,600.00        Equity Investor      $           38,400.00   74‐669
  74       3074 Cheltenham Place             7836 S Shore Drive     Estate Property         Madison Trust Company Agent for Custodian FBO The Jacqueline C Rowe Living Trust IRA        $          623,489.57        Equity Investor                              74‐163

  74       3074 Cheltenham Place             7836 S Shore Drive     Estate Property         BC57, LLC                                                                                   $        6,439,502.67     Institutional Lender                            74‐557
  74       3074 Cheltenham Place             7836 S Shore Drive     Estate Property         1839 Fund I LLC                                                                             $           90,075.00       Investor‐Lender       $           50,000.00   74‐367
  74       3074 Cheltenham Place             7836 S Shore Drive     Estate Property         Adir Hazan                                                                                  $          150,000.00       Investor‐Lender       $           50,000.00   74‐143
  74       3074 Cheltenham Place             7836 S Shore Drive     Estate Property         Christopher Pong                                                                            $           30,140.90       Investor‐Lender       $           29,280.00   74‐760
  74       3074 Cheltenham Place             7836 S Shore Drive     Estate Property         Daniel Matthews, Leah Matthews                                                              $          185,922.54       Investor‐Lender       $           20,000.00   74‐117
  74       3074 Cheltenham Place             7836 S Shore Drive     Estate Property         Danyel Tiefenbacher and Jamie Lai                                                           $           51,750.99       Investor‐Lender       $           50,000.00   74‐510
  74       3074 Cheltenham Place             7836 S Shore Drive     Estate Property         Erika Dietz                                                                                 $           20,000.00       Investor‐Lender       $           50,000.00   74‐1283
  74       3074 Cheltenham Place             7836 S Shore Drive     Estate Property         G&M You‐Nique Properties, LLC                                                               $           62,325.00       Investor‐Lender       $           60,000.00   74‐722
  74       3074 Cheltenham Place             7836 S Shore Drive     Estate Property         Grathia Corp                                                                                $        1,184,081.00       Investor‐Lender       $          100,000.00   74‐1445
  74       3074 Cheltenham Place             7836 S Shore Drive     Estate Property         iPlan Group Agent for Custodian FBO Jyotsna Sharma IRA                                      $           50,000.00       Investor‐Lender       $           25,000.00   74‐341
  74       3074 Cheltenham Place             7836 S Shore Drive     Estate Property         IPlanGroup Agent for Custodian FBO Mark Young                                               $          380,000.00       Investor‐Lender       $          100,000.00   74‐1446
  74       3074 Cheltenham Place             7836 S Shore Drive     Estate Property         James Hoven                                                                                 $           50,000.00       Investor‐Lender       $           50,000.00   74‐2029
  74       3074 Cheltenham Place             7836 S Shore Drive     Estate Property         Jill Meekcoms (Halverson)                                                                   $          113,999.92       Investor‐Lender       $           50,000.00   74‐548
  74       3074 Cheltenham Place             7836 S Shore Drive     Estate Property         John Taxeras                                                                                $          105,686.72       Investor‐Lender       $           18,552.85   74‐994




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Property       Property Address                Alternative Address            Type                                                Claimant Name                                           Claimed Amount         Claim Category as     Amount Claimed to be     Claim
Number                                                                                                                                                                               (Total Claimed Amount      Identified on Claim     Invested in Property   Number
                                                                                                                                                                                       in Claim Category as            Form
                                                                                                                                                                                        Identified on Claim
                                                                                                                                                                                               Form)
  74        3074 Cheltenham Place              7836 S Shore Drive    Estate Property         Joshua Morrow                                                                             $            51,749.99     Investor‐Lender      $           50,000.00   74‐734
  74        3074 Cheltenham Place              7836 S Shore Drive    Estate Property         Julia Pong                                                                                $            34,947.00     Investor‐Lender      $           34,572.00   74‐1022
  74        3074 Cheltenham Place              7836 S Shore Drive    Estate Property         Kenneth (Ken) and Maria (Tina) Jorgensen                                                 $            453,233.25     Investor‐Lender      $           42,000.00   74‐194
  74        3074 Cheltenham Place              7836 S Shore Drive    Estate Property         Kester Brothers Farm, LLC, C/O James R. Kester                                           $            152,911.82     Investor‐Lender      $           50,000.00   74‐944
  74        3074 Cheltenham Place              7836 S Shore Drive    Estate Property         Kevin Randall                                                                            $            200,000.00     Investor‐Lender      $           50,000.00   74‐811
  74        3074 Cheltenham Place              7836 S Shore Drive    Estate Property         KKW Investments, LLC                                                                     $            100,033.40     Investor‐Lender      $            1,600.00   74‐336
  74        3074 Cheltenham Place              7836 S Shore Drive    Estate Property         Madison Trust Company Custodian FBO Robert W. Jennings Account# M1605053                 $            309,318.75     Investor‐Lender      $           74,539.00   74‐241
  74        3074 Cheltenham Place              7836 S Shore Drive    Estate Property         May M. Akamine for Aurora Investments, LLC (assets formerly under MayREI, LLC)           $            631,739.82     Investor‐Lender      $           86,515.00   74‐1412
  74        3074 Cheltenham Place              7836 S Shore Drive    Estate Property         Michael F Grant & L. Gretchen Grant (Michael F. Grant & L. Gretchen Grant Revocable      $            695,000.00     Investor‐Lender      $           50,000.00   74‐393
                                                                                             Trust dated March 16th 2012)
  74        3074 Cheltenham Place              7836 S Shore Drive    Estate Property         New Move Ventures Inc. (Steven Fecko)                                                    $          120,000.00       Investor‐Lender      $           50,000.00   74‐115
  74        3074 Cheltenham Place              7836 S Shore Drive    Estate Property         Optima Property Solutions, LLC                                                           $          487,209.71       Investor‐Lender      $           60,000.00   74‐1023
  74        3074 Cheltenham Place              7836 S Shore Drive    Estate Property         Pat DeSantis                                                                             $        2,684,539.00       Investor‐Lender      $          110,000.00   74‐397
  74        3074 Cheltenham Place              7836 S Shore Drive    Estate Property         Paul N. Wilmesmeier                                                                      $          790,185.00       Investor‐Lender      $           25,000.00   74‐300
  74        3074 Cheltenham Place              7836 S Shore Drive    Estate Property         PNW Investments, LLC                                                                     $          350,000.00       Investor‐Lender      $           10,000.00   74‐332
  74        3074 Cheltenham Place              7836 S Shore Drive    Estate Property         QUEST IRA Inc. FBO Francisco A. Romero Sr. Acct# 25282‐11 and Acct# 25282‐21             $           89,482.53       Investor‐Lender      $           56,000.00   74‐1352
  74        3074 Cheltenham Place              7836 S Shore Drive    Estate Property         QuestIRAFBOFrancisDWebb1437711                                                           $          185,819.00       Investor‐Lender      $           22,035.00   74‐218
  74        3074 Cheltenham Place              7836 S Shore Drive    Estate Property         Sam Gerber, CEO, Gerber and Associates, REI, LLC                                         $          139,985.85       Investor‐Lender      $           80,000.00   74‐562
  74        3074 Cheltenham Place              7836 S Shore Drive    Estate Property         SAMUEL HOME SOLUTIONS LLC, GEORGE SAMUEL,                                                $          235,519.28       Investor‐Lender      $           41,131.00   74‐347
  74        3074 Cheltenham Place              7836 S Shore Drive    Estate Property         Scott E Pammer                                                                           $          243,954.00       Investor‐Lender      $           70,000.00   74‐827
  74        3074 Cheltenham Place              7836 S Shore Drive    Estate Property         Sidney Haggins                                                                           $           85,000.00       Investor‐Lender      $           30,000.00   74‐1434
  74        3074 Cheltenham Place              7836 S Shore Drive    Estate Property         Susan Kalisiak‐Tingle                                                                    $          469,921.00       Investor‐Lender      $           50,000.00   74‐1438
  74        3074 Cheltenham Place              7836 S Shore Drive    Estate Property         Terry L. Merrill, Sheryl R. Merrill                                                      $          299,500.00       Investor‐Lender      $           50,000.00   74‐602
  74        3074 Cheltenham Place              7836 S Shore Drive    Estate Property         TruStar Real Estate Solutions, LLC                                                       $          385,000.00       Investor‐Lender      $           75,000.00   74‐337
  74        3074 Cheltenham Place              7836 S Shore Drive    Estate Property         Vladimir Matviishin                                                                      $          199,075.00       Investor‐Lender      $           28,075.00   74‐233
  74        3074 Cheltenham Place              7836 S Shore Drive    Estate Property         Vladimir Matviishin, dba Network Expert                                                  $          138,075.00       Investor‐Lender      $           28,075.00   74‐1387
  74        3074 Cheltenham Place              7836 S Shore Drive    Estate Property         Walter T Akita and Margaret M Akita                                                      $          100,000.00       Investor‐Lender      $           50,000.00   74‐950
  74        3074 Cheltenham Place              7836 S Shore Drive    Estate Property         Young Family Trust                                                                       $          115,000.00       Investor‐Lender      $           45,000.00   74‐1452
  74        3074 Cheltenham Place              7836 S Shore Drive    Estate Property         Yvette Nazaire Camacho (iPlanGroup Agent for Custodian FBO Yvette Nazaire Camacho        $           30,000.00       Investor‐Lender      $           30,000.00   74‐487
                                                                                             IRA)
  74        3074 Cheltenham Place              7836 S Shore Drive    Estate Property         Alton Motes and Vicki Elaine Washburn JTWROS                                             $          245,841.62       Investor‐Lender      $           80,000.00   74‐2042
  74        3074 Cheltenham Place              7836 S Shore Drive    Estate Property         Degenhardt, Duane A                                                                      $          645,000.00       Investor‐Lender      $           66,684.00   74‐2015
  74        3074 Cheltenham Place              7836 S Shore Drive    Estate Property         Ira J. Fields Living Trust, Glynis Sheppard, Trustee                                     $           65,750.00     Investor‐Lender and    $           50,000.00   74‐1240
                                                                                                                                                                                                                   Equity Investor
  74        3074 Cheltenham Place              7836 S Shore Drive    Estate Property         City of Chicago                                                                          $           78,479.20            Other           $           10,812.42   74‐693
  75       7625‐33 S East End Avenue                                 Estate Property         Madison Trust Company Agent for Custodian FBO The Jacqueline C Rowe Living Trust IRA     $          623,489.57        Equity Investor                             75‐163

  75       7625‐33 S East End Avenue                                 Estate Property         BC57, LLC                                                                                $        6,439,502.67     Institutional Lender                           75‐557
  75       7625‐33 S East End Avenue                                 Estate Property         Alcalli Sabat                                                                            $          109,396.68       Investor‐Lender      $           22,993.00   75‐786
  75       7625‐33 S East End Avenue                                 Estate Property         Asians Investing In Real Estate LLC                                                      $        1,278,402.00       Investor‐Lender      $           50,000.00   75‐503
  75       7625‐33 S East End Avenue                                 Estate Property         Brad and Linda Lutz                                                                      $          813,582.00       Investor‐Lender      $          325,962.00   75‐962
  75       7625‐33 S East End Avenue                                 Estate Property         Capital Investors, LLC                                                                   $          930,376.31       Investor‐Lender      $           36,207.00   75‐1490
  75       7625‐33 S East End Avenue                                 Estate Property         Edge Investments, LLC, Janet F. Turco, Owner/Member IRA                                  $        1,031,324.00       Investor‐Lender      $          176,226.00   75‐180
  75       7625‐33 S East End Avenue                                 Estate Property         Geronimo Usuga Carmona                                                                   $            8,937.50       Investor‐Lender      $           35,667.00   75‐543
  75       7625‐33 S East End Avenue                                 Estate Property         KKW Investments, LLC                                                                     $          100,033.40       Investor‐Lender      $           75,000.00   75‐336
  75       7625‐33 S East End Avenue                                 Estate Property         Lorenzo Jaquias                                                                          $           71,635.00       Investor‐Lender      $           50,000.00   75‐184
  75       7625‐33 S East End Avenue                                 Estate Property         Michael James Guilford and Nancy Richard‐Guilford, Jointly with Right of Survivorship    $          310,000.00       Investor‐Lender      $           92,561.00   75‐516

  75       7625‐33 S East End Avenue                                 Estate Property         Randall Sotka                                                                            $          255,000.00       Investor‐Lender      $           38,826.00   75‐1207
  75       7625‐33 S East End Avenue                                 Estate Property         Robert Potter                                                                            $          282,999.00       Investor‐Lender      $              786.00   75‐1389
  75       7625‐33 S East End Avenue                                 Estate Property         Stephan Tang                                                                             $          123,256.97       Investor‐Lender      $           25,185.00   75‐1111
  75       7625‐33 S East End Avenue                                 Estate Property         Steven R. Bald                                                                           $          586,378.00       Investor‐Lender                              75‐399
  75       7625‐33 S East End Avenue                                 Estate Property         Strata Trust Company FBO David J Geldart                                                 $          230,621.00       Investor‐Lender                              75‐1010
  75       7625‐33 S East End Avenue                                 Estate Property         The Peter Paul Nuspl Living Trust                                                        $        1,123,278.00       Investor‐Lender      $          167,100.00   75‐2044
  75       7625‐33 S East End Avenue                                 Estate Property         United Capital Properties, LLC                                                           $          144,999.00       Investor‐Lender      $            2,303.00   75‐1480
  75       7625‐33 S East End Avenue                                 Estate Property         Wesley Pittman (Pittman Gold LLC)                                                        $          180,048.45       Investor‐Lender      $          150,000.00   75‐469
  75       7625‐33 S East End Avenue                                 Estate Property         Knickerbocker LLC                                                                        $          102,505.16       Investor‐Lender      $           39,664.00   75‐2035
  75       7625‐33 S East End Avenue                                 Estate Property         City of Chicago                                                                          $           78,479.20            Other           $            1,895.90   75‐693
  76       7635‐43 S East End Avenue                                 Estate Property         Carolyn B Ucker                                                                          $           50,000.00        Equity Investor     $           25,000.00   76‐1099




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Property        Property Address                Alternative Address             Type                                                Claimant Name                                           Claimed Amount           Claim Category as     Amount Claimed to be     Claim
Number                                                                                                                                                                                 (Total Claimed Amount        Identified on Claim     Invested in Property   Number
                                                                                                                                                                                         in Claim Category as              Form
                                                                                                                                                                                          Identified on Claim
                                                                                                                                                                                                 Form)
  76       7635‐43 S East End Avenue                                   Estate Property         Penny W Goree                                                                             $            36,000.00        Equity Investor     $           50,000.00   76‐236
  76       7635‐43 S East End Avenue                                   Estate Property         BC57, LLC                                                                                $          6,439,502.67     Institutional Lender                           76‐557
  76       7635‐43 S East End Avenue                                   Estate Property         Arthur and Dinah Bertrand                                                                $          1,000,000.00       Investor‐Lender      $          217,448.00   76‐890
  76       7635‐43 S East End Avenue                                   Estate Property         Arthur Bertrand                                                                           $            78,079.82       Investor‐Lender      $            2,875.00   76‐892
  76       7635‐43 S East End Avenue                                   Estate Property         Cecilia Wolff                                                                             $            73,887.50       Investor‐Lender      $           25,000.00   76‐1204
  76       7635‐43 S East End Avenue                                   Estate Property         Daniel Matthews, Leah Matthews                                                           $            185,922.54       Investor‐Lender      $           72,029.00   76‐117
  76       7635‐43 S East End Avenue                                   Estate Property         Dennis & Mary Ann Hennefer                                                               $            679,378.00       Investor‐Lender      $           25,000.00   76‐355
  76       7635‐43 S East End Avenue                                   Estate Property         Equity Trust Custodian FBO Dorothy Marie Baker IRA                                        $            15,000.00       Investor‐Lender      $           10,000.00   76‐2007
  76       7635‐43 S East End Avenue                                   Estate Property         Frank Starosciak                                                                          $            47,407.14       Investor‐Lender      $           17,125.00   76‐1239
  76       7635‐43 S East End Avenue                                   Estate Property         Gary R Burnham Jr Solo401K Trust                                                          $            42,029.00       Investor‐Lender      $           42,029.00   76‐1067
  76       7635‐43 S East End Avenue                                   Estate Property         iPlanGroup Agent for Custodian FBO Laura Dirnberger Roth IRA                              $            71,321.00       Investor‐Lender      $           10,000.00   76‐448
  76       7635‐43 S East End Avenue                                   Estate Property         James Clements                                                                           $            185,910.00       Investor‐Lender      $           20,000.00   76‐1402
  76       7635‐43 S East End Avenue                                   Estate Property         Jeffry M. Edwards                                                                         $            50,000.00       Investor‐Lender      $           50,000.00   76‐666
  76       7635‐43 S East End Avenue                                   Estate Property         John Bloxham                                                                              $            51,500.00       Investor‐Lender      $           50,000.00   76‐1012
  76       7635‐43 S East End Avenue                                   Estate Property         Lorenzo Jaquias                                                                           $            71,635.00       Investor‐Lender      $           50,000.00   76‐184
  76       7635‐43 S East End Avenue                                   Estate Property         Manoj Donthineni                                                                          $            71,544.30       Investor‐Lender      $           41,007.00   76‐1357
  76       7635‐43 S East End Avenue                                   Estate Property         Michael James Guilford and Nancy Richard‐Guilford, Jointly with Right of Survivorship    $            310,000.00       Investor‐Lender      $           57,439.00   76‐516

  76        7635‐43 S East End Avenue                                  Estate Property         Paul N. Wilmesmeier                                                                      $          790,185.00          Investor‐Lender     $           50,000.00   76‐300
  76        7635‐43 S East End Avenue                                  Estate Property         QCH Investment Trust                                                                     $           50,000.00          Investor‐Lender     $           50,000.00   76‐1436
  76        7635‐43 S East End Avenue                                  Estate Property         Robert Guiney                                                                            $          112,260.00          Investor‐Lender     $           18,250.00   76‐798
  76        7635‐43 S East End Avenue                                  Estate Property         Steven R. Bald                                                                           $          586,378.00          Investor‐Lender                             76‐399
  76        7635‐43 S East End Avenue                                  Estate Property         THE INCOME FUND, LLC Thomas Garlock, Managing Member                                     $          771,830.76          Investor‐Lender     $           80,000.00   76‐1421
  76        7635‐43 S East End Avenue                                  Estate Property         The Peter Paul Nuspl Living Trust                                                        $        1,123,278.00          Investor‐Lender     $           50,000.00   76‐2044
  76        7635‐43 S East End Avenue                                  Estate Property         Tiger Chang Investments LLC                                                              $           49,000.00          Investor‐Lender     $           25,000.00   76‐164
  76        7635‐43 S East End Avenue                                  Estate Property         Total Return Income Fund, LLC Thomas Garlock, Managing Member                            $        1,571,886.00          Investor‐Lender     $          520,000.00   76‐1366
  76        7635‐43 S East End Avenue                                  Estate Property         Trey Hopkins                                                                             $          100,000.00          Investor‐Lender     $          100,000.00   76‐714
  76        7635‐43 S East End Avenue                                  Estate Property         Umbrella Investment Partners                                                             $           72,894.00          Investor‐Lender     $           12,833.00   76‐1167
  76        7635‐43 S East End Avenue                                  Estate Property         Winnie Quick Blackwell (née Winnie Jannett Quick)                                        $           11,000.00          Investor‐Lender     $           11,000.00   76‐102
  76        7635‐43 S East End Avenue                                  Estate Property         City of Chicago                                                                          $           78,479.20               Other          $              610.08   76‐693
  76        7635‐43 S East End Avenue                                  Estate Property         JK Electron, Inc., Jan Kobylarczyk                                                       $           13,250.00           Trade Creditor     $           13,250.00   76‐1297
  77       7750‐58 S Muskegon Avenue           2818‐36 E 78th Street   Estate Property         Bancroft, Ed (iPlanGroup Agent for Custodian FBO Ed Bancroft Roth)                       $          258,060.00        Investor‐Lender and                           77‐2008
                                                                                                                                                                                                                        Equity Investor
  77       7750‐58 S Muskegon Avenue           2818‐36 E 78th Street   Estate Property         Jason Ragan ‐ TSA                                                                        $          327,324.29           Equity Investor    $            2,022.00   77‐797
  77       7750‐58 S Muskegon Avenue           2818‐36 E 78th Street   Estate Property         John E. Wysocki                                                                          $          117,000.00           Equity Investor                            77‐740
  77       7750‐58 S Muskegon Avenue           2818‐36 E 78th Street   Estate Property         John Taxeras                                                                             $          105,686.72           Equity Investor    $           21,400.00   77‐994
  77       7750‐58 S Muskegon Avenue           2818‐36 E 78th Street   Estate Property         Thomas F. Gordon                                                                         $          200,000.00           Equity Investor    $          100,000.00   77‐2023
  77       7750‐58 S Muskegon Avenue           2818‐36 E 78th Street   Estate Property         CLD Construction, Inc. (Doru Unchias)                                                    $          434,935.00     Independent Contractor   $           49,000.00   77‐1454

  77       7750‐58 S Muskegon Avenue           2818‐36 E 78th Street   Estate Property         BC57, LLC                                                                                $        6,439,502.67       Institutional Lender                           77‐557
  77       7750‐58 S Muskegon Avenue           2818‐36 E 78th Street   Estate Property         Arthur and Dinah Bertrand                                                                $        1,000,000.00         Investor‐Lender      $          100,000.00   77‐890
  77       7750‐58 S Muskegon Avenue           2818‐36 E 78th Street   Estate Property         Celia Tong Revocable Living Trust Dated December 22, 2011                                                              Investor‐Lender      $           25,000.00   77‐287
  77       7750‐58 S Muskegon Avenue           2818‐36 E 78th Street   Estate Property         Christopher Wilson and Brittny Wilson (Niosi)                                            $           52,000.00         Investor‐Lender      $           50,000.00   77‐807
  77       7750‐58 S Muskegon Avenue           2818‐36 E 78th Street   Estate Property         DANIEL J MARTINEAU                                                                       $          321,016.60         Investor‐Lender      $          100,000.00   77‐1299
  77       7750‐58 S Muskegon Avenue           2818‐36 E 78th Street   Estate Property         Danielle DeVarne                                                                         $          150,000.00         Investor‐Lender      $           50,000.00   77‐679
  77       7750‐58 S Muskegon Avenue           2818‐36 E 78th Street   Estate Property         Derrick, Horace                                                                          $          100,000.00         Investor‐Lender      $          100,000.00   77‐2016
  77       7750‐58 S Muskegon Avenue           2818‐36 E 78th Street   Estate Property         Fraser Realty Investments, LLC                                                           $          120,000.00         Investor‐Lender      $          100,000.00   77‐1079
  77       7750‐58 S Muskegon Avenue           2818‐36 E 78th Street   Estate Property         Girl Cat Capital West LLC, Valentina Salge, President                                    $          212,145.00         Investor‐Lender      $           25,000.00   77‐350
  77       7750‐58 S Muskegon Avenue           2818‐36 E 78th Street   Estate Property         Henry D. Gallucci                                                                        $           77,000.00         Investor‐Lender      $           60,000.00   77‐2059
  77       7750‐58 S Muskegon Avenue           2818‐36 E 78th Street   Estate Property         Hillside Fund, LLC ‐ Janet F. Turco, Owner/ Managing Member                              $          505,000.00         Investor‐Lender      $          125,000.00   77‐101
  77       7750‐58 S Muskegon Avenue           2818‐36 E 78th Street   Estate Property         iPlanGroup Agent for Custodian FBO Charles Michael Anglin                                $          238,889.23         Investor‐Lender      $           10,633.00   77‐331
  77       7750‐58 S Muskegon Avenue           2818‐36 E 78th Street   Estate Property         Kingdom Trust Company, Custodian, FBO Louis Duane Velez SEP IRA acct # 7422686172        $          100,000.00         Investor‐Lender      $          100,000.00   77‐1475

  77       7750‐58 S Muskegon Avenue           2818‐36 E 78th Street   Estate Property         Maher, Avery (Christopher Maher CESA)                                                    $           11,000.00        Investor‐Lender       $           11,000.00   77‐2080
  77       7750‐58 S Muskegon Avenue           2818‐36 E 78th Street   Estate Property         Maher, Christopher                                                                       $           30,500.00        Investor‐Lender       $           14,000.00   77‐2036
  77       7750‐58 S Muskegon Avenue           2818‐36 E 78th Street   Estate Property         Maher, Gavin (Christopher Maher, CESA)                                                   $           15,000.00        Investor‐Lender       $           15,000.00   77‐2081
  77       7750‐58 S Muskegon Avenue           2818‐36 E 78th Street   Estate Property         Maher, Travis (Christopher Maher, CESA)                                                  $           10,000.00        Investor‐Lender       $           10,000.00   77‐2082
  77       7750‐58 S Muskegon Avenue           2818‐36 E 78th Street   Estate Property         Mark P. Mouty                                                                            $          180,702.77        Investor‐Lender       $           50,000.00   77‐165
  77       7750‐58 S Muskegon Avenue           2818‐36 E 78th Street   Estate Property         Mark Young                                                                               $          366,131.08        Investor‐Lender       $          100,000.00   77‐1154




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Property            Property Address                      Alternative Address             Type                                               Claimant Name                                       Claimed Amount           Claim Category as     Amount Claimed to be     Claim
Number                                                                                                                                                                                      (Total Claimed Amount        Identified on Claim     Invested in Property   Number
                                                                                                                                                                                              in Claim Category as              Form
                                                                                                                                                                                               Identified on Claim
                                                                                                                                                                                                      Form)
  77           7750‐58 S Muskegon Avenue                 2818‐36 E 78th Street   Estate Property         Matthew Boyd                                                                        $            405,000.00        Investor‐Lender     $           50,000.00   77‐2060
  77           7750‐58 S Muskegon Avenue                 2818‐36 E 78th Street   Estate Property         May M. Akamine for Aurora Investments, LLC (assets formerly under MayREI, LLC)      $            631,739.82        Investor‐Lender     $           25,000.00   77‐1412
  77           7750‐58 S Muskegon Avenue                 2818‐36 E 78th Street   Estate Property         May M. Akamine for Aurora Investments, LLC (assets formerly under MayREI, LLC)      $            631,739.82        Investor‐Lender     $            2,005.00   77‐1412
  77           7750‐58 S Muskegon Avenue                 2818‐36 E 78th Street   Estate Property         Paul N. Wilmesmeier                                                                 $            790,185.00        Investor‐Lender     $           50,000.00   77‐300
  77           7750‐58 S Muskegon Avenue                 2818‐36 E 78th Street   Estate Property         Paul Scribner                                                                       $            200,000.00        Investor‐Lender     $            6,708.00   77‐1135
  77           7750‐58 S Muskegon Avenue                 2818‐36 E 78th Street   Estate Property         QuestIRAFBOFrancisDWebb1437711                                                      $            185,819.00        Investor‐Lender     $           50,000.00   77‐218
  77           7750‐58 S Muskegon Avenue                 2818‐36 E 78th Street   Estate Property         Scott E Pammer                                                                      $            243,954.00        Investor‐Lender     $           70,000.00   77‐827
  77           7750‐58 S Muskegon Avenue                 2818‐36 E 78th Street   Estate Property         Self Directed IRA Services, Inc., Custodian FBO Ping Liu IRA                         $            57,290.32        Investor‐Lender     $           50,000.00   77‐544
  77           7750‐58 S Muskegon Avenue                 2818‐36 E 78th Street   Estate Property         Spectra Investments LLC/ Deborah L. Mullica                                         $            579,288.00        Investor‐Lender     $           82,255.00   77‐1220
  77           7750‐58 S Muskegon Avenue                 2818‐36 E 78th Street   Estate Property         Steven and Linda Lipschultz                                                         $            350,360.00        Investor‐Lender     $          100,000.00   77‐1442
  77           7750‐58 S Muskegon Avenue                 2818‐36 E 78th Street   Estate Property         Terry L. Merrill, Sheryl R. Merrill                                                 $            299,500.00        Investor‐Lender     $           49,500.00   77‐602
  77           7750‐58 S Muskegon Avenue                 2818‐36 E 78th Street   Estate Property         The Anchor Group LLC ‐ Ronald J. Hansen, Managing Partner (c/o Viola Hansen)         $            25,000.00        Investor‐Lender     $           25,000.00   77‐949
  77           7750‐58 S Muskegon Avenue                 2818‐36 E 78th Street   Estate Property         The Edward Falkowitz Living Trust                                                   $            305,584.73        Investor‐Lender                             77‐575
  77           7750‐58 S Muskegon Avenue                 2818‐36 E 78th Street   Estate Property         THE INCOME FUND, LLC Thomas Garlock, Managing Member                                $            771,830.76        Investor‐Lender     $          150,000.00   77‐1421
  77           7750‐58 S Muskegon Avenue                 2818‐36 E 78th Street   Estate Property         The Mennco Properties, LLC. Solo 401K Plan (by Robert Mennella Managing Partner)     $            50,000.00        Investor‐Lender     $           50,000.00   77‐1032
  77           7750‐58 S Muskegon Avenue                 2818‐36 E 78th Street   Estate Property         Walter Akita                                                                         $            50,000.00        Investor‐Lender     $           50,000.00   77‐1361
  77           7750‐58 S Muskegon Avenue                 2818‐36 E 78th Street   Estate Property         Alton Motes (Alton P. Motes Trust UTA 12‐15‐11)                                     $            245,841.62        Investor‐Lender     $           43,000.00   77‐2042
  77           7750‐58 S Muskegon Avenue                 2818‐36 E 78th Street   Estate Property         iPlan Group FBO Randall Pong IRA                                                     $            60,568.03     Investor‐Lender and                            77‐728
                                                                                                                                                                                                                             Equity Investor
  78            7201 S Constance Avenue                  1825‐31 E 72nd Street   Estate Property         Bancroft, Ed (iPlanGroup Agent for Custodian FBO Ed Bancroft Roth)                  $          258,060.00        Investor‐Lender and                           78‐2008
                                                                                                                                                                                                                             Equity Investor
  78            7201 S Constance Avenue                  1825‐31 E 72nd Street   Estate Property         Jason Ragan ‐ TSA                                                                   $          327,324.29           Equity Investor    $            4,747.00   78‐797
  78            7201 S Constance Avenue                  1825‐31 E 72nd Street   Estate Property         Michael C. Jacobs                                                                   $          178,833.00           Equity Investor    $           25,000.00   78‐2031
  78            7201 S Constance Avenue                  1825‐31 E 72nd Street   Estate Property         CLD Construction, Inc. (Doru Unchias)                                               $          434,935.00     Independent Contractor   $          131,000.00   78‐1454

  78            7201 S Constance Avenue                  1825‐31 E 72nd Street   Estate Property         BC57, LLC                                                                           $        6,439,502.67       Institutional Lender                           78‐557
  78            7201 S Constance Avenue                  1825‐31 E 72nd Street   Estate Property         Aaron Beauclair                                                                     $           40,000.00         Investor‐Lender      $           10,000.00   78‐408
  78            7201 S Constance Avenue                  1825‐31 E 72nd Street   Estate Property         Arthur and Dinah Bertrand                                                           $        1,000,000.00         Investor‐Lender      $          100,000.00   78‐890
  78            7201 S Constance Avenue                  1825‐31 E 72nd Street   Estate Property         Cecilia Wolff (iPlan Group Agent for Custodian FBO Cecilia Wolff)                   $           73,887.50         Investor‐Lender                              78‐1204
  78            7201 S Constance Avenue                  1825‐31 E 72nd Street   Estate Property         Edge Investments, LLC, Janet F. Turco, Owner/Member IRA                             $        1,031,324.00         Investor‐Lender      $           17,374.00   78‐180
  78            7201 S Constance Avenue                  1825‐31 E 72nd Street   Estate Property         Girl Cat Capital West LLC, Valentina Salge, President                               $          212,145.00         Investor‐Lender      $           16,574.00   78‐350
  78            7201 S Constance Avenue                  1825‐31 E 72nd Street   Estate Property         Initium LLC/Harry Saint‐Preux                                                       $          150,000.00         Investor‐Lender      $           50,000.00   78‐968
  78            7201 S Constance Avenue                  1825‐31 E 72nd Street   Estate Property         James Tutsock                                                                       $          900,000.00         Investor‐Lender                              78‐2057
  78            7201 S Constance Avenue                  1825‐31 E 72nd Street   Estate Property         John P. Sullivan                                                                    $          107,000.00         Investor‐Lender      $           50,000.00   78‐660
  78            7201 S Constance Avenue                  1825‐31 E 72nd Street   Estate Property         Kelly E Welton (iPlanGroup Agent for Custodian FBO Kelly Welton, IRA)               $           83,813.00         Investor‐Lender      $           31,233.00   78‐310
  78            7201 S Constance Avenue                  1825‐31 E 72nd Street   Estate Property         Kirk Road Investments, LLC                                                          $          434,195.69         Investor‐Lender      $           63,000.00   78‐755
  78            7201 S Constance Avenue                  1825‐31 E 72nd Street   Estate Property         Lori Moreland                                                                       $           21,574.00         Investor‐Lender      $           10,074.00   78‐805
  78            7201 S Constance Avenue                  1825‐31 E 72nd Street   Estate Property         Lori Moreland                                                                       $           52,233.00         Investor‐Lender      $           48,087.00   78‐823
  78            7201 S Constance Avenue                  1825‐31 E 72nd Street   Estate Property         Lori Moreland                                                                       $          102,348.00         Investor‐Lender      $           52,348.00   78‐822
  78            7201 S Constance Avenue                  1825‐31 E 72nd Street   Estate Property         Michael Borgia                                                                      $        1,253,784.00         Investor‐Lender      $          669,327.00   78‐231
  78            7201 S Constance Avenue                  1825‐31 E 72nd Street   Estate Property         Pat DeSantis                                                                        $        2,684,539.00         Investor‐Lender      $          171,439.00   78‐397
  78            7201 S Constance Avenue                  1825‐31 E 72nd Street   Estate Property         PNW Investments, LLC                                                                $          350,000.00         Investor‐Lender      $           50,000.00   78‐332
  78            7201 S Constance Avenue                  1825‐31 E 72nd Street   Estate Property         Property Solutions LLC, Kevin Bybee (managing member)                               $           60,000.00         Investor‐Lender      $           60,000.00   78‐268
  78            7201 S Constance Avenue                  1825‐31 E 72nd Street   Estate Property         Provident Trust Group, LLC FBO Stephan Tang IRA                                     $           71,815.00         Investor‐Lender      $           35,345.00   78‐172
  78            7201 S Constance Avenue                  1825‐31 E 72nd Street   Estate Property         Rene Hribal                                                                         $        1,525,473.04         Investor‐Lender      $          439,517.00   78‐768
  78            7201 S Constance Avenue                  1825‐31 E 72nd Street   Estate Property         Reynald Lalonde & Chantal Lemaire                                                   $           51,000.00         Investor‐Lender      $           50,000.00   78‐327
  78            7201 S Constance Avenue                  1825‐31 E 72nd Street   Estate Property         Robert Potter                                                                       $          282,999.00         Investor‐Lender      $            2,796.00   78‐1389
  78            7201 S Constance Avenue                  1825‐31 E 72nd Street   Estate Property         Sidney Haggins                                                                      $           70,000.00         Investor‐Lender      $           50,000.00   78‐1431
  78            7201 S Constance Avenue                  1825‐31 E 72nd Street   Estate Property         Steven J. Talyai                                                                    $          175,000.00         Investor‐Lender                              78‐131
  78            7201 S Constance Avenue                  1825‐31 E 72nd Street   Estate Property         Steven K. Chennappan IRA # 17293‐31                                                 $          128,000.00         Investor‐Lender      $           10,000.00   78‐206
  78            7201 S Constance Avenue                  1825‐31 E 72nd Street   Estate Property         Towpath Investments LLC ‐ Robert Kessing (manager)                                  $          135,000.00         Investor‐Lender      $           50,000.00   78‐338
  78            7201 S Constance Avenue                  1825‐31 E 72nd Street   Estate Property         US Freedom Investments, LLC                                                         $          175,500.00         Investor‐Lender      $           25,000.00   78‐1234
  78            7201 S Constance Avenue                  1825‐31 E 72nd Street   Estate Property         Victor Shaw                                                                         $          296,025.03         Investor‐Lender      $           55,000.00   78‐1040
  78            7201 S Constance Avenue                  1825‐31 E 72nd Street   Estate Property         City of Chicago                                                                     $           78,479.20               Other          $            8,124.80   78‐693
  79       6160‐6212 S Martin Luther King Drive                                  Estate Property         Bernadette Chen (Eleven St Felix St. Realty)                                        $        1,000,000.00          Equity Investor     $          100,000.00   79‐2012
  79       6160‐6212 S Martin Luther King Drive                                  Estate Property         Jason Ragan ‐ TSA                                                                   $          327,324.29          Equity Investor     $          110,000.00   79‐797
  79       6160‐6212 S Martin Luther King Drive                                  Estate Property         Louis Barrows                                                                       $           25,000.00          Equity Investor     $           25,000.00   79‐494
  79       6160‐6212 S Martin Luther King Drive                                  Estate Property         Michael Warner, Trustee of Warner Chiropractic Care Center, PC PSP                  $          203,254.00          Equity Investor     $           90,000.00   79‐78




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Property            Property Address                      Alternative Address            Type                                               Claimant Name                                            Claimed Amount         Claim Category as     Amount Claimed to be     Claim
Number                                                                                                                                                                                          (Total Claimed Amount      Identified on Claim     Invested in Property   Number
                                                                                                                                                                                                  in Claim Category as            Form
                                                                                                                                                                                                   Identified on Claim
                                                                                                                                                                                                          Form)
  79       6160‐6212 S Martin Luther King Drive                                 Estate Property         Direct Lending Partner LLC (successor to Arena DLP Lender LLC and DLP Lending Fund LLC) $           3,118,675.50   Institutional Lender                           79‐129

  79       6160‐6212 S Martin Luther King Drive                                 Estate Property         Alcalli Sabat                                                                            $           109,396.68     Investor‐Lender                               79‐786
  79       6160‐6212 S Martin Luther King Drive                                 Estate Property         Amit Hammer                                                                              $           295,980.00     Investor‐Lender       $           50,000.00   79‐225
  79       6160‐6212 S Martin Luther King Drive                                 Estate Property         Arvind Kinjarapu                                                                         $           145,500.00     Investor‐Lender       $           35,000.00   79‐1161
  79       6160‐6212 S Martin Luther King Drive                                 Estate Property         Asians Investing In Real Estate LLC                                                      $         1,278,402.00     Investor‐Lender       $           25,000.00   79‐503
  79       6160‐6212 S Martin Luther King Drive                                 Estate Property         Brett Burnham (Burnham 401k Trust)                                                       $           215,335.54     Investor‐Lender       $            8,000.00   79‐314
  79       6160‐6212 S Martin Luther King Drive                                 Estate Property         Charles Smith                                                                            $           350,000.00     Investor‐Lender       $          350,000.00   79‐1186
  79       6160‐6212 S Martin Luther King Drive                                 Estate Property         Daniel Matthews, Leah Matthews                                                           $           185,922.54     Investor‐Lender       $           40,000.00   79‐117
  79       6160‐6212 S Martin Luther King Drive                                 Estate Property         David M Harris                                                                           $           831,700.00     Investor‐Lender       $           96,000.00   79‐267
  79       6160‐6212 S Martin Luther King Drive                                 Estate Property         David R. Trengove                                                                        $           705,123.88     Investor‐Lender       $          150,000.00   79‐481
  79       6160‐6212 S Martin Luther King Drive                                 Estate Property         Dennis & Mary Ann Hennefer                                                               $           679,378.00     Investor‐Lender       $           23,768.00   79‐355
  79       6160‐6212 S Martin Luther King Drive                                 Estate Property         Distributive Marketing Inc.                                                              $           100,000.00     Investor‐Lender       $           50,000.00   79‐806
  79       6160‐6212 S Martin Luther King Drive                                 Estate Property         EastWest Funding Trust                                                                   $            52,000.00     Investor‐Lender       $           50,000.00   79‐258
  79       6160‐6212 S Martin Luther King Drive                                 Estate Property         Elaine Sison Ernst                                                                       $            95,000.00     Investor‐Lender       $           50,000.00   79‐1029
  79       6160‐6212 S Martin Luther King Drive                                 Estate Property         Francisco Fernandez                                                                      $           584,237.50     Investor‐Lender       $           65,000.00   79‐1450
  79       6160‐6212 S Martin Luther King Drive                                 Estate Property         Gary R. Burnham Jr. Solo 401K Trust                                                      $           205,608.00     Investor‐Lender       $           10,000.00   79‐1174
  79       6160‐6212 S Martin Luther King Drive                                 Estate Property         Gowrisankar Challagundla                                                                 $            59,750.00     Investor‐Lender       $           50,000.00   79‐815
  79       6160‐6212 S Martin Luther King Drive                                 Estate Property         Grathia Corp                                                                             $         1,184,081.00     Investor‐Lender       $           50,000.00   79‐1445
  79       6160‐6212 S Martin Luther King Drive                                 Estate Property         Green Light Investments, LLC                                                             $            90,000.00     Investor‐Lender       $           50,000.00   79‐1440
  79       6160‐6212 S Martin Luther King Drive                                 Estate Property         Guenter Scheel and Karen Scheel                                                          $            25,000.00     Investor‐Lender       $           25,000.00   79‐2072
  79       6160‐6212 S Martin Luther King Drive                                 Estate Property         Ingrid Beyer and Joel Beyer                                                              $            10,346.02     Investor‐Lender       $           10,000.00   79‐985
  79       6160‐6212 S Martin Luther King Drive                                 Estate Property         iPlanGroup Agent for Custodian FBO Andrew Brooks IRA Account 3301018                     $            46,000.00     Investor‐Lender       $           20,000.00   79‐203
  79       6160‐6212 S Martin Luther King Drive                                 Estate Property         iPlanGroup Agent for Custodian FBO Charles Powell IRA                                    $           260,000.00     Investor‐Lender                               79‐413
  79       6160‐6212 S Martin Luther King Drive                                 Estate Property         Irene Gacad                                                                              $            26,103.82     Investor‐Lender       $           25,000.00   79‐647
  79       6160‐6212 S Martin Luther King Drive                                 Estate Property         James Walsh                                                                              $           200,000.00     Investor‐Lender       $           50,000.00   79‐2058
  79       6160‐6212 S Martin Luther King Drive                                 Estate Property         Jeffery B McMeans                                                                        $            53,333.35     Investor‐Lender       $           50,000.00   79‐279
  79       6160‐6212 S Martin Luther King Drive                                 Estate Property         John A Martino & Carole J Wysocki                                                        $            12,171.78     Investor‐Lender       $           50,000.00   79‐1493
  79       6160‐6212 S Martin Luther King Drive                                 Estate Property         John E Mize                                                                              $            50,000.00     Investor‐Lender       $           50,000.00   79‐649
  79       6160‐6212 S Martin Luther King Drive                                 Estate Property         Karl R. DeKlotz                                                                          $         1,586,165.90     Investor‐Lender       $          100,000.00   79‐1179
  79       6160‐6212 S Martin Luther King Drive                                 Estate Property         Kyle Jacobs                                                                              $            95,000.00     Investor‐Lender       $           30,000.00   79‐1345
  79       6160‐6212 S Martin Luther King Drive                                 Estate Property         Larry White                                                                              $            53,900.00     Investor‐Lender       $           52,500.00   79‐794
  79       6160‐6212 S Martin Luther King Drive                                 Estate Property         Laura J. Sohm IRA                                                                        $           104,593.29     Investor‐Lender       $           63,000.00   79‐970
  79       6160‐6212 S Martin Luther King Drive                                 Estate Property         LEVENT KESEN                                                                             $           150,000.00     Investor‐Lender       $           50,000.00   79‐1078
  79       6160‐6212 S Martin Luther King Drive                                 Estate Property         Madison Trust Company Custodian FBO Kathy B. Talman IRA                                  $            75,000.00     Investor‐Lender       $           25,000.00   19‐1109
  79       6160‐6212 S Martin Luther King Drive                                 Estate Property         Madison Trust Custodian FBO Brent Jacobs                                                 $            37,881.00     Investor‐Lender       $           37,881.00   79‐854
  79       6160‐6212 S Martin Luther King Drive                                 Estate Property         Maricris M. Lee                                                                          $             8,426.68     Investor‐Lender                               79‐320
  79       6160‐6212 S Martin Luther King Drive                                 Estate Property         May M. Akamine for Aurora Investments, LLC (assets formerly under MayREI, LLC)           $           631,739.82     Investor‐Lender       $           60,000.00   79‐1412
  79       6160‐6212 S Martin Luther King Drive                                 Estate Property         Meadows Enterprises Inc, Kenyon Meadows, president                                       $            75,000.00     Investor‐Lender       $           25,000.00   79‐429
  79       6160‐6212 S Martin Luther King Drive                                 Estate Property         Michael Arthur Goldman (also know as Mike Goldman, Michael A. Goldman, Michael           $            80,377.98     Investor‐Lender       $           61,860.75   79‐775
                                                                                                        Goldman)
  79       6160‐6212 S Martin Luther King Drive                                 Estate Property         Moran Blueshtein and Upender Subramanian                                                 $           146,857.18     Investor‐Lender       $           46,000.00   79‐95
  79       6160‐6212 S Martin Luther King Drive                                 Estate Property         Mountain West LLC IRA FBO Rachael B. Curcio Acct# 50679‐01                               $           159,000.00     Investor‐Lender       $            7,000.00   79‐315
  79       6160‐6212 S Martin Luther King Drive                                 Estate Property         Nandini S Chennappan                                                                     $            10,000.00     Investor‐Lender       $           10,000.00   79‐1270
  79       6160‐6212 S Martin Luther King Drive                                 Estate Property         Nehasri Ltd ( investment under Nehasri Ltd by Manoj Donthineni)                          $           252,907.00     Investor‐Lender       $           50,000.00   79‐1365
  79       6160‐6212 S Martin Luther King Drive                                 Estate Property         New Direction IRA, Inc. FBO Ingrid Beyer, Roth IRA                                       $            25,865.84     Investor‐Lender       $           25,000.00   79‐437
  79       6160‐6212 S Martin Luther King Drive                                 Estate Property         Pankaj Patel BDA EZ NJ VENTURES, LLC.                                                    $           223,000.00     Investor‐Lender       $           50,000.00   79‐920
  79       6160‐6212 S Martin Luther King Drive                                 Estate Property         Pat DeSantis                                                                             $         2,684,539.00     Investor‐Lender       $          250,000.00   79‐397
  79       6160‐6212 S Martin Luther King Drive                                 Estate Property         Patricia J Theil C/F Jacqueline M Theil                                                  $            62,062.58     Investor‐Lender       $           11,257.00   79‐923
  79       6160‐6212 S Martin Luther King Drive                                 Estate Property         Paul N. Wilmesmeier                                                                      $           790,185.00     Investor‐Lender       $           25,000.00   79‐300
  79       6160‐6212 S Martin Luther King Drive                                 Estate Property         Philip J Lombardo and Dianne E Lombardo                                                  $            54,666.63     Investor‐Lender       $           50,000.00   79‐561
  79       6160‐6212 S Martin Luther King Drive                                 Estate Property         PROFESSIONAL RENTAL LP, GEORGE SAMUEL                                                    $            58,000.04     Investor‐Lender       $           50,000.00   79‐482
  79       6160‐6212 S Martin Luther King Drive                                 Estate Property         Provident Trust Group, LLC FBO Stephan Tang IRA                                          $            71,815.00     Investor‐Lender       $           36,470.00   79‐172
  79       6160‐6212 S Martin Luther King Drive                                 Estate Property         Real Envisions LLC                                                                       $            53,000.00     Investor‐Lender       $           50,000.00   79‐1021
  79       6160‐6212 S Martin Luther King Drive                                 Estate Property         Receivables to Cash, LLC d/b/a Berenger Capital (c/o Kyle Davison)                       $           150,000.00     Investor‐Lender       $           50,000.00   79‐302
  79       6160‐6212 S Martin Luther King Drive                                 Estate Property         Rene Hribal                                                                              $         1,525,473.04     Investor‐Lender       $          100,000.00   79‐768
  79       6160‐6212 S Martin Luther King Drive                                 Estate Property         Robert Potter                                                                            $           282,999.00     Investor‐Lender       $           23,000.00   79‐1389
  79       6160‐6212 S Martin Luther King Drive                                 Estate Property         Sarah Geldart                                                                            $            57,200.00     Investor‐Lender       $           20,000.00   79‐1285




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Property            Property Address                      Alternative Address            Type                                              Claimant Name                                             Claimed Amount         Claim Category as      Amount Claimed to be     Claim
Number                                                                                                                                                                                          (Total Claimed Amount      Identified on Claim      Invested in Property   Number
                                                                                                                                                                                                  in Claim Category as            Form
                                                                                                                                                                                                   Identified on Claim
                                                                                                                                                                                                          Form)
  79       6160‐6212 S Martin Luther King Drive                                 Estate Property         Steven R. Bald                                                                           $            586,378.00      Investor‐Lender      $           30,000.00   79‐399
  79       6160‐6212 S Martin Luther King Drive                                 Estate Property         Steven Roche                                                                             $            127,821.13      Investor‐Lender      $           50,000.00   79‐329
  79       6160‐6212 S Martin Luther King Drive                                 Estate Property         Terri S. Tracy                                                                           $            265,000.00      Investor‐Lender      $           25,000.00   79‐272
  79       6160‐6212 S Martin Luther King Drive                                 Estate Property         Terry L. Merrill, Sheryl R. Merrill                                                      $            299,500.00      Investor‐Lender      $           50,000.00   79‐602
  79       6160‐6212 S Martin Luther King Drive                                 Estate Property         The Entrust Group FBO Dee Ann Nason 7230011277                                           $            150,000.00      Investor‐Lender      $           50,000.00   79‐790
  79       6160‐6212 S Martin Luther King Drive                                 Estate Property         Todd Colucy                                                                               $            54,000.02      Investor‐Lender      $           50,000.00   79‐70
  79       6160‐6212 S Martin Luther King Drive                                 Estate Property         United Capital Properties, LLC                                                           $            144,999.00      Investor‐Lender      $           30,000.00   79‐1480
  79       6160‐6212 S Martin Luther King Drive                                 Estate Property         US Freedom Investments, LLC                                                              $            175,500.00      Investor‐Lender      $           25,000.00   79‐1234
  79       6160‐6212 S Martin Luther King Drive                                 Estate Property         Valery Lipenko                                                                            $            50,000.00      Investor‐Lender      $           50,000.00   79‐517
  79       6160‐6212 S Martin Luther King Drive                                 Estate Property         Victor Shaw                                                                              $            296,025.03      Investor‐Lender      $           50,000.00   79‐1040
  79       6160‐6212 S Martin Luther King Drive                                 Estate Property         Vistex Properties LLC                                                                    $            107,000.02      Investor‐Lender      $          100,000.00   79‐1318
  79       6160‐6212 S Martin Luther King Drive                                 Estate Property         William (Will) J Cook III                                                                $            100,000.00      Investor‐Lender                              79‐700
  79       6160‐6212 S Martin Luther King Drive                                 Estate Property         William B. Dreischmeir                                                                                                Investor‐Lender      $           60,000.00   79‐2017
  79       6160‐6212 S Martin Luther King Drive                                 Estate Property         William Needham                                                                          $          355,428.00        Investor‐Lender      $           25,000.00   79‐80
  79       6160‐6212 S Martin Luther King Drive                                 Estate Property         Wisemove Properties LLC, (Anthony and Linda Reid, members)                               $          668,979.00        Investor‐Lender                              79‐168
  79       6160‐6212 S Martin Luther King Drive                                 Estate Property         Yin Liu, Ping Xu                                                                         $          300,000.00        Investor‐Lender      $          100,000.00   79‐1368
  79       6160‐6212 S Martin Luther King Drive                                 Estate Property         Armoogam, Clifton                                                                        $           29,940.00        Investor‐Lender      $           21,500.00   79‐2006
  79       6160‐6212 S Martin Luther King Drive                                 Estate Property         Knickerbocker LLC                                                                        $          102,505.16        Investor‐Lender      $           50,000.00   79‐2035
  79       6160‐6212 S Martin Luther King Drive                                 Estate Property         TSC Trust (Patricia Scully, Trustee)                                                     $           50,000.00        Investor‐Lender      $           50,000.00   79‐2063
  79       6160‐6212 S Martin Luther King Drive                                 Estate Property         William H. Akins, Jr. (CAMA SDIRA LLC FBO Bill Akins IRA)                                $        1,100,000.00        Investor‐Lender      $           35,000.00   79‐2003
  79       6160‐6212 S Martin Luther King Drive                                 Estate Property         John B. Allred & Glenda K. Allred                                                        $        1,421,646.52     Investor‐Lender and                             79‐2004
                                                                                                                                                                                                                               Equity Investor
  79       6160‐6212 S Martin Luther King Drive                                 Estate Property         Bauer Latoza Studio, Ltd.                                                                $           30,525.00         Trade Creditor      $          274,500.00   79‐885
  80             2736‐44 W 64th Street                                          Estate Property         Liberty EBCP, LLC                                                                        $       10,638,796.40      Institutional Lender                           80‐898
  80             2736‐44 W 64th Street                                          Estate Property         1839 Fund I LLC                                                                          $           29,514.00        Investor‐Lender      $           24,500.00   80‐367
  80             2736‐44 W 64th Street                                          Estate Property         ARBOR VENTURES OVERSEAS LIMITED, LLC                                                     $          176,122.67        Investor‐Lender      $           10,000.00   80‐446
  80             2736‐44 W 64th Street                                          Estate Property         Arthur and Dinah Bertrand                                                                $        1,000,000.00        Investor‐Lender      $          100,000.00   80‐890
  80             2736‐44 W 64th Street                                          Estate Property         DANIEL J MARTINEAU                                                                       $          321,016.60        Investor‐Lender      $           50,000.00   80‐1299
  80             2736‐44 W 64th Street                                          Estate Property         Debbie Lasley                                                                            $          104,550.09        Investor‐Lender      $           50,000.00   80‐456
  80             2736‐44 W 64th Street                                          Estate Property         Edge Investments, LLC, Janet F. Turco, Owner/Member IRA                                  $        1,031,324.00        Investor‐Lender      $           30,000.00   80‐180
  80             2736‐44 W 64th Street                                          Estate Property         EQUITY TRUST COMPANY CUSTODIAN FBO ALBERT RUFFIN IRA                                     $           50,000.00        Investor‐Lender      $           50,000.00   80‐592
  80             2736‐44 W 64th Street                                          Estate Property         Hongjun Li and Sheyu Zhou                                                                $           95,370.00        Investor‐Lender      $           93,000.00   80‐432
  80             2736‐44 W 64th Street                                          Estate Property         iPlanGroup Agent for Custodian Leah Kalish IRA                                           $          119,000.00        Investor‐Lender      $           70,000.00   80‐265
  80             2736‐44 W 64th Street                                          Estate Property         John P. Sullivan                                                                         $          107,000.00        Investor‐Lender      $           57,000.00   80‐660
  80             2736‐44 W 64th Street                                          Estate Property         Mark Young                                                                               $          366,131.08        Investor‐Lender      $           50,000.00   80‐1154
  80             2736‐44 W 64th Street                                          Estate Property         Paul S. Applefield, Trustee, Paul S. Applefield, DDS, 401k Plan                          $          106,000.00        Investor‐Lender      $           30,000.00   80‐2087
  80             2736‐44 W 64th Street                                          Estate Property         Robert Guiney                                                                            $          112,260.00        Investor‐Lender      $           50,000.00   80‐798
  80             2736‐44 W 64th Street                                          Estate Property         Sunshine Bliss LLC                                                                       $           32,800.00        Investor‐Lender      $           32,800.00   80‐1437
  80             2736‐44 W 64th Street                                          Estate Property         The Anchor Group LLC ‐ Ronald J. Hansen, Managing Partner (c/o Viola Hansen)             $           25,000.00        Investor‐Lender      $           30,000.00   80‐949
  80             2736‐44 W 64th Street                                          Estate Property         Applefield Family Trust, Paul and Robin Applefield, Trustees                             $          155,000.00        Investor‐Lender      $           20,000.00   80‐2005
  81           4317‐19 S Michigan Avenue                                        Estate Property         Deborah Buffamanti                                                                       $           34,723.00         Equity Investor     $           50,000.00   81‐1351
  81           4317‐19 S Michigan Avenue                                        Estate Property         Verdell Michaux                                                                          $           34,000.00         Equity Investor     $            4,000.00   81‐2039
  81           4317‐19 S Michigan Avenue                                        Estate Property         Liberty EBCP, LLC                                                                        $       10,638,796.40      Institutional Lender                           81‐898
  81           4317‐19 S Michigan Avenue                                        Estate Property         Austin Capital Trust Company on behalf of Summit Trust Company, custodian FBO David R    $           77,520.06        Investor‐Lender      $           19,000.00   81‐1178
                                                                                                        Theil MD
  81           4317‐19 S Michigan Avenue                                        Estate Property         Capital Investors, LLC                                                                   $          930,376.31       Investor‐Lender       $          113,793.00   81‐1490
  81           4317‐19 S Michigan Avenue                                        Estate Property         Gerry / Clarice Recamara                                                                 $            2,227.80       Investor‐Lender                               81‐618
  81           4317‐19 S Michigan Avenue                                        Estate Property         Hang Zhou and Lu Dong                                                                    $          157,821.57       Investor‐Lender       $           50,000.00   81‐1335
  81           4317‐19 S Michigan Avenue                                        Estate Property         Harvey Singer                                                                            $          854,387.63       Investor‐Lender       $          210,000.00   81‐2054
  81           4317‐19 S Michigan Avenue                                        Estate Property         Hillside Fund, LLC ‐ Janet F. Turco, Owner/ Managing Member                              $          505,000.00       Investor‐Lender       $           75,000.00   81‐101
  81           4317‐19 S Michigan Avenue                                        Estate Property         Marjorie Jean Sexton                                                                     $          200,000.00       Investor‐Lender       $            9,436.00   81‐2065
  81           4317‐19 S Michigan Avenue                                        Estate Property         Michael F Grant & L. Gretchen Grant (Michael F. Grant & L. Gretchen Grant Revocable      $          695,000.00       Investor‐Lender       $           50,000.00   81‐393
                                                                                                        Trust dated March 16th 2012)
  81           4317‐19 S Michigan Avenue                                        Estate Property         Paul N. Wilmesmeier                                                                      $          790,185.00       Investor‐Lender       $           25,000.00   81‐300
  81           4317‐19 S Michigan Avenue                                        Estate Property         PINELLAS FLORIDA FREEDOM REALTY, LLC (GARRETT MILLER)                                    $           10,000.00       Investor‐Lender       $           10,000.00   81‐1308
  81           4317‐19 S Michigan Avenue                                        Estate Property         Ramsey Stephan                                                                           $           50,000.00       Investor‐Lender       $           20,000.00   81‐162
  81           4317‐19 S Michigan Avenue                                        Estate Property         Ronald Mark Beal                                                                         $           90,000.00       Investor‐Lender       $           90,000.00   81‐187
  81           4317‐19 S Michigan Avenue                                        Estate Property         Sohm Strategic Investments, LLC                                                          $           77,250.00       Investor‐Lender       $           25,000.00   81‐865




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Property       Property Address                Alternative Address             Type                                             Claimant Name                                       Claimed Amount         Claim Category as     Amount Claimed to be     Claim
Number                                                                                                                                                                         (Total Claimed Amount      Identified on Claim     Invested in Property   Number
                                                                                                                                                                                 in Claim Category as            Form
                                                                                                                                                                                  Identified on Claim
                                                                                                                                                                                         Form)
  81       4317‐19 S Michigan Avenue                                  Estate Property         SUSAN MARTINEZ                                                                     $            51,000.00     Investor‐Lender      $           50,000.00   81‐701
  81       4317‐19 S Michigan Avenue                                  Estate Property         Thaddeus Gala                                                                     $            100,000.00     Investor‐Lender                              81‐2070
  81       4317‐19 S Michigan Avenue                                  Estate Property         Paul Harrison                                                                     $            420,331.59     Investor‐Lender      $          152,771.00   81‐2026
  82        6355‐59 S Talman Avenue           2616‐22 W 64th Street   Estate Property         Liberty EBCP, LLC                                                                  $        10,638,796.40   Institutional Lender                           82‐898
  82        6355‐59 S Talman Avenue           2616‐22 W 64th Street   Estate Property         Adir Hazan                                                                        $            150,000.00     Investor‐Lender      $           50,000.00   82‐143
  82        6355‐59 S Talman Avenue           2616‐22 W 64th Street   Estate Property         ALICE HAN                                                                          $            51,498.62     Investor‐Lender      $           50,000.00   82‐1353
  82        6355‐59 S Talman Avenue           2616‐22 W 64th Street   Estate Property         Annie Chang                                                                       $            246,935.34     Investor‐Lender      $           16,882.00   82‐475
  82        6355‐59 S Talman Avenue           2616‐22 W 64th Street   Estate Property         Brett Burnham (iPlanGroup Agent for Custodian FBO Brett Burnham)                  $            215,335.54     Investor‐Lender      $           25,000.00   82‐314
  82        6355‐59 S Talman Avenue           2616‐22 W 64th Street   Estate Property         Charles P McEvoy                                                                  $            438,733.33     Investor‐Lender      $           30,000.00   82‐232
  82        6355‐59 S Talman Avenue           2616‐22 W 64th Street   Estate Property         DANIEL J MARTINEAU                                                                $            321,016.60     Investor‐Lender      $           25,250.00   82‐1299
  82        6355‐59 S Talman Avenue           2616‐22 W 64th Street   Estate Property         H&W Management Company, Inc.                                                      $            200,000.00     Investor‐Lender      $          200,000.00   82‐946
  82        6355‐59 S Talman Avenue           2616‐22 W 64th Street   Estate Property         Hopson & Associates LLC                                                            $            75,000.00     Investor‐Lender      $           75,000.00   82‐204
  82        6355‐59 S Talman Avenue           2616‐22 W 64th Street   Estate Property         Huiyi Yang                                                                         $            37,000.00     Investor‐Lender      $           37,000.00   82‐253
  82        6355‐59 S Talman Avenue           2616‐22 W 64th Street   Estate Property         Jane Shafrin                                                                      $            110,000.00     Investor‐Lender      $           50,000.00   82‐188
  82        6355‐59 S Talman Avenue           2616‐22 W 64th Street   Estate Property         Jay Sutherland                                                                     $            51,749.99     Investor‐Lender      $           50,000.00   82‐619
  82        6355‐59 S Talman Avenue           2616‐22 W 64th Street   Estate Property         John Braden and Cynthia Braden                                                     $            37,691.67     Investor‐Lender      $           50,000.00   82‐1049
  82        6355‐59 S Talman Avenue           2616‐22 W 64th Street   Estate Property         Kelly E Welton (Equity Trust Company for Custodian FBO Kelly Welton, IRA)          $            83,813.00     Investor‐Lender      $            3,000.00   82‐310
  82        6355‐59 S Talman Avenue           2616‐22 W 64th Street   Estate Property         Kester Brothers Farm, LLC, C/O James R. Kester                                    $            152,911.82     Investor‐Lender      $           30,000.00   82‐944
  82        6355‐59 S Talman Avenue           2616‐22 W 64th Street   Estate Property         Mountain West LLC IRA FBO Rachael B. Curcio Acct# 50679‐01                        $            159,000.00     Investor‐Lender      $           50,000.00   82‐315
  82        6355‐59 S Talman Avenue           2616‐22 W 64th Street   Estate Property         Pat DeSantis                                                                      $          2,684,539.00     Investor‐Lender      $          110,000.00   82‐397
  82        6355‐59 S Talman Avenue           2616‐22 W 64th Street   Estate Property         Quest IRA Inc. FBO Rebeca E. Savory‐Romero IRA Account #15528‐11 and #15528‐21    $            184,785.31     Investor‐Lender      $           45,000.00   82‐804
  82        6355‐59 S Talman Avenue           2616‐22 W 64th Street   Estate Property         Robert Potter                                                                     $            282,999.00     Investor‐Lender      $            4,858.00   82‐1389
  82        6355‐59 S Talman Avenue           2616‐22 W 64th Street   Estate Property         Sidney Cohn                                                                        $            87,049.30     Investor‐Lender      $           60,000.00   82‐720
  82        6355‐59 S Talman Avenue           2616‐22 W 64th Street   Estate Property         Steven Roche                                                                      $            127,821.13     Investor‐Lender      $           10,000.00   82‐329
  82        6355‐59 S Talman Avenue           2616‐22 W 64th Street   Estate Property         Terri S. Tracy                                                                    $            265,000.00     Investor‐Lender      $           70,000.00   82‐272
  82        6355‐59 S Talman Avenue           2616‐22 W 64th Street   Estate Property         The Jacqueline C Rowe Living Trust                                                $            372,417.74     Investor‐Lender                              82‐139
  82        6355‐59 S Talman Avenue           2616‐22 W 64th Street   Estate Property         The Moore/Ferrer Family 2004 Trust                                                $            208,341.66     Investor‐Lender      $           50,000.00   82‐107
  83        6356 S California Avenue           2804 W 64th Street     Estate Property         Bancroft, Ed (iPlanGroup Agent for Custodian FBO Ed Bancroft Roth)                $            258,060.00   Investor‐Lender and                            83‐2008
                                                                                                                                                                                                             Equity Investor
  83        6356 S California Avenue           2804 W 64th Street     Estate Property         John E. Wysocki                                                                   $          117,000.00        Equity Investor                             83‐740
  83        6356 S California Avenue           2804 W 64th Street     Estate Property         Kathleen Martin                                                                   $          304,605.24        Equity Investor     $           50,095.00   83‐246
  83        6356 S California Avenue           2804 W 64th Street     Estate Property         Liberty EBCP, LLC                                                                 $       10,638,796.40     Institutional Lender                           83‐898
  83        6356 S California Avenue           2804 W 64th Street     Estate Property         Capital Investors, LLC                                                            $          930,376.31       Investor‐Lender      $          250,021.00   83‐1490
  83        6356 S California Avenue           2804 W 64th Street     Estate Property         Cross 5774 Holdings LLC ‐ Cross Global Funding Group                              $           75,000.00       Investor‐Lender      $           25,000.00   83‐860
  83        6356 S California Avenue           2804 W 64th Street     Estate Property         Francisco Fernandez                                                               $          584,237.50       Investor‐Lender      $           41,604.00   83‐1450
  83        6356 S California Avenue           2804 W 64th Street     Estate Property         Gallowglass LLC c/o Patrick Bournes                                               $          100,000.00       Investor‐Lender                              83‐316
  83        6356 S California Avenue           2804 W 64th Street     Estate Property         iPlanGroup Agent for Custodian FBO Laura Dirnberger Roth IRA                      $           71,321.00       Investor‐Lender      $            9,321.00   83‐448
  83        6356 S California Avenue           2804 W 64th Street     Estate Property         iPlanGroup Agent for Custodian FBO Michael Dirnberger ROTH IRA                    $           44,433.00       Investor‐Lender      $            7,152.00   83‐445
  83        6356 S California Avenue           2804 W 64th Street     Estate Property         Nicolas and Joyce Jenks                                                           $          155,249.47       Investor‐Lender      $           25,000.00   83‐2032
  83        6356 S California Avenue           2804 W 64th Street     Estate Property         OAK BARREL ONE, LLC (TED GUILLEN)                                                 $           20,038.00       Investor‐Lender      $           20,038.00   83‐488
  83        6356 S California Avenue           2804 W 64th Street     Estate Property         Paul Scribner                                                                     $          200,000.00       Investor‐Lender      $            7,910.00   83‐1135
  83        6356 S California Avenue           2804 W 64th Street     Estate Property         Scott E Pammer                                                                    $          243,954.00       Investor‐Lender      $           50,000.00   83‐827
  83        6356 S California Avenue           2804 W 64th Street     Estate Property         Strata Trust Company FBO Vincent Michael Spreuwenberg IRA 201207909               $           39,976.38       Investor‐Lender      $           35,067.00   83‐1160
  83        6356 S California Avenue           2804 W 64th Street     Estate Property         The Peter Paul Nuspl Living Trust                                                 $        1,123,278.00       Investor‐Lender      $          149,212.00   83‐2044
  83        6356 S California Avenue           2804 W 64th Street     Estate Property         Virginia Lieblein                                                                 $           19,551.16       Investor‐Lender      $           16,698.33   83‐110
  83        6356 S California Avenue           2804 W 64th Street     Estate Property         Rochelle Minchow                                                                  $          190,000.00       Investor‐Lender      $          110,000.00   83‐2061
  84         7051 S Bennett Avenue                                    Estate Property         Liberty EBCP, LLC                                                                 $       10,638,796.40     Institutional Lender                           84‐898
  84         7051 S Bennett Avenue                                    Estate Property         1839 Fund I LLC                                                                   $           87,717.00       Investor‐Lender      $           70,470.00   84‐367
  84         7051 S Bennett Avenue                                    Estate Property         Annie Chang                                                                       $          246,935.34       Investor‐Lender      $            2,618.00   84‐475
  84         7051 S Bennett Avenue                                    Estate Property         Barbara Burton                                                                    $           99,000.00       Investor‐Lender      $           99,000.00   84‐2069
  84         7051 S Bennett Avenue                                    Estate Property         Best Capital Funding Inc                                                          $           28,000.00       Investor‐Lender      $           25,000.00   84‐1257
  84         7051 S Bennett Avenue                                    Estate Property         Donald Freers aka Meadows Advisors LLC                                            $          198,000.00       Investor‐Lender      $            5,000.00   84‐72
  84         7051 S Bennett Avenue                                    Estate Property         Jerry Adamsky                                                                     $           84,000.00       Investor‐Lender      $           50,000.00   84‐888
  84         7051 S Bennett Avenue                                    Estate Property         Julie Patel                                                                       $           97,038.00       Investor‐Lender      $            1,409.00   84‐409
  84         7051 S Bennett Avenue                                    Estate Property         Kimberly W Robinson                                                               $           98,000.00       Investor‐Lender      $           50,000.00   84‐1245
  84         7051 S Bennett Avenue                                    Estate Property         Melanie T. or Gary M. Gonzales                                                    $          525,525.01       Investor‐Lender      $          155,000.00   84‐207
  84         7051 S Bennett Avenue                                    Estate Property         Paul Scribner                                                                     $          200,000.00       Investor‐Lender      $           50,000.00   84‐1135
  84         7051 S Bennett Avenue                                    Estate Property         Steve Weera Tonasut and Esther Kon Tonasut                                        $           50,000.00       Investor‐Lender      $           50,000.00   84‐312




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Property        Property Address                 Alternative Address            Type                                               Claimant Name                                            Claimed Amount         Claim Category as      Amount Claimed to be     Claim
Number                                                                                                                                                                                 (Total Claimed Amount      Identified on Claim      Invested in Property   Number
                                                                                                                                                                                         in Claim Category as            Form
                                                                                                                                                                                          Identified on Claim
                                                                                                                                                                                                 Form)
  84          7051 S Bennett Avenue                                    Estate Property         The Jacqueline C Rowe Living Trust                                                       $            372,417.74     Investor‐Lender       $           75,000.00   84‐139
  84          7051 S Bennett Avenue                                    Estate Property         The Peter Paul Nuspl Living Trust                                                        $          1,123,278.00     Investor‐Lender       $          175,530.00   84‐2044
  84          7051 S Bennett Avenue                                    Estate Property         United Capital Properties, LLC                                                           $            144,999.00     Investor‐Lender       $           36,730.00   84‐1480
  84          7051 S Bennett Avenue                                    Estate Property         Wisemove Properties LLC, (Anthony and Linda Reid, members)                               $            668,979.00     Investor‐Lender                               84‐168
  84          7051 S Bennett Avenue                                    Estate Property         XUWEN LIN                                                                                 $            58,700.00     Investor‐Lender       $            8,523.00   84‐648
  84          7051 S Bennett Avenue                                    Estate Property         ZIN INVESTMENTS LLC ‐ c/o WILLIAM J. IANNAZZI                                            $            402,500.00     Investor‐Lender       $          350,000.00   84‐234
  84          7051 S Bennett Avenue                                    Estate Property         Green Light Investments, LLC                                                              $            90,000.00                           $           40,000.00   84‐1440
  85       7201‐07 S Dorchester Avenue           1401 E 72nd Street    Estate Property         William H. Akins, Jr.                                                                    $          1,100,000.00      Equity Investor      $           50,000.00   85‐2003
  85       7201‐07 S Dorchester Avenue           1401 E 72nd Street    Estate Property         Vartan Tarakchyan                                                                        $            415,000.00      Equity Investor      $          65,000.00    85‐1118
  85       7201‐07 S Dorchester Avenue           1401 E 72nd Street    Estate Property         Liberty EBCP, LLC                                                                         $        10,638,796.40   Institutional Lender                            85‐898
  85       7201‐07 S Dorchester Avenue           1401 E 72nd Street    Estate Property         Aluvelu Homes LLC                                                                        $            169,271.00     Investor‐Lender       $            5,000.00   85‐879
  85       7201‐07 S Dorchester Avenue           1401 E 72nd Street    Estate Property         Asians Investing In Real Estate LLC                                                      $          1,278,402.00     Investor‐Lender       $           60,000.00   85‐503
  85       7201‐07 S Dorchester Avenue           1401 E 72nd Street    Estate Property         Clearwood Funding, LLC                                                                   $            150,000.00     Investor‐Lender       $           50,000.00   85‐1276
  85       7201‐07 S Dorchester Avenue           1401 E 72nd Street    Estate Property         Francisco Fernandez                                                                      $            584,237.50     Investor‐Lender       $           23,396.00   85‐1450
  85       7201‐07 S Dorchester Avenue           1401 E 72nd Street    Estate Property         Frank and Laura Sohm                                                                     $            167,893.65     Investor‐Lender       $           14,700.00   85‐906
  85       7201‐07 S Dorchester Avenue           1401 E 72nd Street    Estate Property         Freda R. Smith (QUEST IRA Inc. FBO Freda R. Smith IRA Account # 16816‐11 (Traditional     $            25,141.58     Investor‐Lender       $           20,000.00   85‐1356
                                                                                               IRA))
  85       7201‐07 S Dorchester Avenue           1401 E 72nd Street    Estate Property         Gallowglass LLC c/o Patrick Bournes                                                      $          100,000.00       Investor‐Lender                               85‐316
  85       7201‐07 S Dorchester Avenue           1401 E 72nd Street    Estate Property         George S Black                                                                           $           95,000.00       Investor‐Lender       $           27,000.00   85‐572
  85       7201‐07 S Dorchester Avenue           1401 E 72nd Street    Estate Property         Hillside Fund, LLC ‐ Janet F. Turco, Owner/ Managing Member                              $          505,000.00       Investor‐Lender       $           50,000.00   85‐101
  85       7201‐07 S Dorchester Avenue           1401 E 72nd Street    Estate Property         iPlanGroup Agent for Custodian FBO Laura Dirnberger Roth IRA                             $           71,321.00       Investor‐Lender       $            7,800.00   85‐448
  85       7201‐07 S Dorchester Avenue           1401 E 72nd Street    Estate Property         IPlanGroup Agent for Custodian FBO Mark Young                                            $          380,000.00       Investor‐Lender       $           20,000.00   85‐1446
  85       7201‐07 S Dorchester Avenue           1401 E 72nd Street    Estate Property         iPlanGroup Agent for Custodian FBO Rajanikanth Tanikella IRA                             $          110,000.00       Investor‐Lender       $           50,000.00   85‐829
  85       7201‐07 S Dorchester Avenue           1401 E 72nd Street    Estate Property         JN Investment Trust, Trustee Janice Nelson                                               $          160,000.00       Investor‐Lender       $           60,000.00   85‐556
  85       7201‐07 S Dorchester Avenue           1401 E 72nd Street    Estate Property         Lori Waring                                                                              $           65,063.99       Investor‐Lender       $           50,000.00   85‐675
  85       7201‐07 S Dorchester Avenue           1401 E 72nd Street    Estate Property         MADISON TRUST COMPANY CUSTODIAN FBO JAMES R ROBINSON SELF‐DIRECTED ROTH                  $           51,749.00       Investor‐Lender       $           50,000.00   85‐1417
                                                                                               IRA 1704092
  85       7201‐07 S Dorchester Avenue           1401 E 72nd Street    Estate Property         Michael Hill (Remoni Global Holdings LLC)                                                $           85,000.00        Investor‐Lender      $           35,000.00   85‐179
  85       7201‐07 S Dorchester Avenue           1401 E 72nd Street    Estate Property         Nicolas and Joyce Jenks                                                                  $          155,249.47        Investor‐Lender      $           50,000.00   85‐2032
  85       7201‐07 S Dorchester Avenue           1401 E 72nd Street    Estate Property         Optima Property Solutions, LLC                                                           $          487,209.71        Investor‐Lender      $           77,500.00   85‐1023
  85       7201‐07 S Dorchester Avenue           1401 E 72nd Street    Estate Property         Pat DeSantis                                                                             $        2,684,539.00        Investor‐Lender      $          110,000.00   85‐397
  85       7201‐07 S Dorchester Avenue           1401 E 72nd Street    Estate Property         Paul N. Wilmesmeier                                                                      $          790,185.00        Investor‐Lender      $           25,000.00   85‐300
  85       7201‐07 S Dorchester Avenue           1401 E 72nd Street    Estate Property         Ping Liu                                                                                 $           58,505.33        Investor‐Lender      $           50,000.00   85‐349
  85       7201‐07 S Dorchester Avenue           1401 E 72nd Street    Estate Property         Rachel Beck                                                                              $           64,480.66        Investor‐Lender      $           50,000.00   85‐813
  85       7201‐07 S Dorchester Avenue           1401 E 72nd Street    Estate Property         Robert Potter                                                                            $          282,999.00        Investor‐Lender      $           11,868.00   85‐1389
  85       7201‐07 S Dorchester Avenue           1401 E 72nd Street    Estate Property         Steven Roche                                                                             $          127,821.13        Investor‐Lender      $           20,000.00   85‐329
  85       7201‐07 S Dorchester Avenue           1401 E 72nd Street    Estate Property         Teresita M. Shelton                                                                      $          426,513.00        Investor‐Lender      $           50,000.00   85‐330
  85       7201‐07 S Dorchester Avenue           1401 E 72nd Street    Estate Property         Timothy S Sharp                                                                          $          650,000.00        Investor‐Lender      $           50,000.00   85‐76
  85       7201‐07 S Dorchester Avenue           1401 E 72nd Street    Estate Property         Towpath Investments LLC ‐ Robert Kessing (manager)                                       $          135,000.00        Investor‐Lender      $           30,000.00   85‐338
  85       7201‐07 S Dorchester Avenue           1401 E 72nd Street    Estate Property         iPlan Group FBO Randall Pong IRA                                                         $           60,568.03     Investor‐Lender and                             85‐728
                                                                                                                                                                                                                      Equity Investor
  86        7442‐48 S Calumet Avenue                                   Estate Property         Bancroft, Ed (iPlanGroup Agent for Custodian FBO Ed Bancroft Roth)                       $          258,060.00      Investor‐Lender and                            86‐2008
                                                                                                                                                                                                                      Equity Investor
  86        7442‐48 S Calumet Avenue                                   Estate Property         Liberty EBCP, LLC                                                                        $       10,638,796.40      Institutional Lender                           86‐898
  86        7442‐48 S Calumet Avenue                                   Estate Property         Alex Breslav                                                                             $          247,000.00        Investor‐Lender      $           50,000.00   86‐262
  86        7442‐48 S Calumet Avenue                                   Estate Property         Arthur Bertrand                                                                          $           78,079.82        Investor‐Lender      $           50,000.00   86‐892
  86        7442‐48 S Calumet Avenue                                   Estate Property         Bluebridge Partners Limited                                                              $          791,620.17        Investor‐Lender      $          290,000.00   86‐727
  86        7442‐48 S Calumet Avenue                                   Estate Property         Bonaparte Properties LLC                                                                 $           25,000.00        Investor‐Lender      $           25,000.00   86‐1148
  86        7442‐48 S Calumet Avenue                                   Estate Property         David Marcus                                                                             $        1,370,484.00        Investor‐Lender      $          105,000.00   86‐801
  86        7442‐48 S Calumet Avenue                                   Estate Property         Demetres Velendzas                                                                       $           51,500.00        Investor‐Lender      $           50,000.00   86‐776
  86        7442‐48 S Calumet Avenue                                   Estate Property         Harvey Singer                                                                            $          854,387.63        Investor‐Lender      $           37,500.00   86‐2054
  86        7442‐48 S Calumet Avenue                                   Estate Property         iPlanGroup Agent for Custodian FBO Mary Lohrman IRA                                      $           51,783.33        Investor‐Lender      $           50,000.00   86‐935
  86        7442‐48 S Calumet Avenue                                   Estate Property         Iplangroup agent for custodian FBO Richard Lohrman IRA                                   $          129,701.60        Investor‐Lender      $           35,000.00   86‐1363
  86        7442‐48 S Calumet Avenue                                   Estate Property         Jerome B. Shaffer                                                                        $          250,000.00        Investor‐Lender      $          150,000.00   86‐992
  86        7442‐48 S Calumet Avenue                                   Estate Property         Robert Guiney                                                                            $          112,260.00        Investor‐Lender      $           25,000.00   86‐798
  86        7442‐48 S Calumet Avenue                                   Estate Property         Teresita M. Shelton                                                                      $          426,513.00        Investor‐Lender      $           30,000.00   86‐330
  86        7442‐48 S Calumet Avenue                                   Estate Property         The Peter Paul Nuspl Living Trust                                                        $        1,123,278.00        Investor‐Lender      $           11,121.00   86‐2044
  86        7442‐48 S Calumet Avenue                                   Estate Property         Timothy S Sharp                                                                          $          650,000.00        Investor‐Lender      $           50,000.00   86‐76
  86        7442‐48 S Calumet Avenue                                   Estate Property         Paul Harrison                                                                            $          420,331.59        Investor‐Lender      $          124,329.00   86‐2026




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Property       Property Address               Alternative Address             Type                                                Claimant Name                                          Claimed Amount         Claim Category as      Amount Claimed to be     Claim
Number                                                                                                                                                                              (Total Claimed Amount      Identified on Claim      Invested in Property   Number
                                                                                                                                                                                      in Claim Category as            Form
                                                                                                                                                                                       Identified on Claim
                                                                                                                                                                                              Form)
  87         7508 S Essex Avenue             2453‐59 E 75th Street   Estate Property         Bernadette Chen (Eleven St Felix St. Realty)                                            $          1,000,000.00       Equity Investor     $           50,000.00   87‐2012
  87         7508 S Essex Avenue             2453‐59 E 75th Street   Estate Property         Jason Ragan ‐ TSA                                                                       $            473,079.71       Equity Investor     $           16,100.00   87‐796
  87         7508 S Essex Avenue             2453‐59 E 75th Street   Estate Property         William H. Akins, Jr.                                                                   $          1,100,000.00       Equity Investor     $          110,000.00   87‐2003
  87         7508 S Essex Avenue             2453‐59 E 75th Street   Estate Property         Anjie Comer                                                                              $            25,000.00       Equity Investor                             87‐612
  87         7508 S Essex Avenue             2453‐59 E 75th Street   Estate Property         Jason Ragan ‐ TSA                                                                       $            128,050.00       Equity Investor     $           20,600.00   87‐1133
  87         7508 S Essex Avenue             2453‐59 E 75th Street   Estate Property         Liberty EBCP, LLC                                                                        $        10,638,796.40    Institutional Lender                           87‐898
  87         7508 S Essex Avenue             2453‐59 E 75th Street   Estate Property         Alex Breslav                                                                            $            247,000.00      Investor‐Lender      $           57,000.00   87‐262
  87         7508 S Essex Avenue             2453‐59 E 75th Street   Estate Property         Asians Investing In Real Estate LLC                                                     $          1,278,402.00      Investor‐Lender      $           55,000.00   87‐503
  87         7508 S Essex Avenue             2453‐59 E 75th Street   Estate Property         BETH DENTON (Elisabeth Denton)                                                           $            51,751.49      Investor‐Lender      $           50,000.00   87‐614
  87         7508 S Essex Avenue             2453‐59 E 75th Street   Estate Property         BETH DENTON (IRA Services Trust Company CFBO Beth Denton)                                $            20,699.99      Investor‐Lender      $           20,000.00   87‐650
  87         7508 S Essex Avenue             2453‐59 E 75th Street   Estate Property         Capital Liability Investments, LLC                                                       $            55,025.00      Investor‐Lender      $           55,000.00   87‐186
  87         7508 S Essex Avenue             2453‐59 E 75th Street   Estate Property         Charlotte A Hofer                                                                       $            370,000.00      Investor‐Lender      $           50,000.00   87‐603
  87         7508 S Essex Avenue             2453‐59 E 75th Street   Estate Property         Cosmos Building Maintenance Solo 401K Trust Rolando Lopez                                $            50,000.00      Investor‐Lender      $           50,000.00   87‐185
  87         7508 S Essex Avenue             2453‐59 E 75th Street   Estate Property         DANIEL J MARTINEAU                                                                      $            321,016.60      Investor‐Lender      $          110,000.00   87‐1299
  87         7508 S Essex Avenue             2453‐59 E 75th Street   Estate Property         David M Harris                                                                          $            831,700.00      Investor‐Lender      $           53,000.00   87‐267
  87         7508 S Essex Avenue             2453‐59 E 75th Street   Estate Property         Eric Schwartz                                                                           $            144,153.72      Investor‐Lender      $            7,213.00   87‐157
  87         7508 S Essex Avenue             2453‐59 E 75th Street   Estate Property         Henry C. Scheuller                                                                      $            246,440.00      Investor‐Lender                              87‐868
  87         7508 S Essex Avenue             2453‐59 E 75th Street   Estate Property         Huiyi Yang                                                                               $            21,935.00      Investor‐Lender      $           21,935.00   87‐255
  87         7508 S Essex Avenue             2453‐59 E 75th Street   Estate Property         James M McKnight and Silma L McKnight                                                   $            140,325.13      Investor‐Lender      $           11,000.00   87‐582
  87         7508 S Essex Avenue             2453‐59 E 75th Street   Estate Property         James Taber                                                                             $            125,000.00      Investor‐Lender      $           50,000.00   87‐780
  87         7508 S Essex Avenue             2453‐59 E 75th Street   Estate Property         Joel Feingold JFKN Investment Trust                                                      $            95,000.00      Investor‐Lender      $           40,000.00   87‐527
  87         7508 S Essex Avenue             2453‐59 E 75th Street   Estate Property         LA DONNA WRIGHT ACKLEN                                                                  $            268,666.74      Investor‐Lender      $           50,000.00   87‐244
  87         7508 S Essex Avenue             2453‐59 E 75th Street   Estate Property         Lori Moreland                                                                           $            102,348.00      Investor‐Lender      $           50,000.00   87‐822
  87         7508 S Essex Avenue             2453‐59 E 75th Street   Estate Property         Madison Trust Company Custodian FBO David Harris                                         $            53,487.09      Investor‐Lender      $           53,000.00   87‐160
  87         7508 S Essex Avenue             2453‐59 E 75th Street   Estate Property         Madison Trust Company Custodian FBO Stuart Edelman                                      $            255,332.70      Investor‐Lender      $           50,000.00   87‐103
  87         7508 S Essex Avenue             2453‐59 E 75th Street   Estate Property         Receivables to Cash, LLC d/b/a Berenger Capital (c/o Kyle Davison)                      $            150,000.00      Investor‐Lender      $           50,000.00   87‐302
  87         7508 S Essex Avenue             2453‐59 E 75th Street   Estate Property         Robert R. Cook       Principle Assets LLC                                                $             9,000.00      Investor‐Lender                              87‐659
  87         7508 S Essex Avenue             2453‐59 E 75th Street   Estate Property         Russ Moreland                                                                            $             3,000.00      Investor‐Lender      $           50,000.00   87‐286
  87         7508 S Essex Avenue             2453‐59 E 75th Street   Estate Property         Terri S. Tracy                                                                          $            265,000.00      Investor‐Lender      $          120,000.00   87‐272
  87         7508 S Essex Avenue             2453‐59 E 75th Street   Estate Property         Umbrella Investment Partners                                                             $            72,894.00      Investor‐Lender      $           40,000.00   87‐1167
  87         7508 S Essex Avenue             2453‐59 E 75th Street   Estate Property         Wesley Pittman (Pittman Gold LLC)                                                       $            180,048.45      Investor‐Lender                              87‐469
  87         7508 S Essex Avenue             2453‐59 E 75th Street   Estate Property         Phyllis Harte                                                                            $            36,069.53      Investor‐Lender      $            9,270.00   87‐2028
  87         7508 S Essex Avenue             2453‐59 E 75th Street   Estate Property         Rochelle Minchow                                                                        $            190,000.00      Investor‐Lender      $           50,000.00   87‐2061
  87         7508 S Essex Avenue             2453‐59 E 75th Street   Estate Property         William H. Akins, Jr. (CAMA SDIRA LLC FBO Bill Akins IRA)                               $          1,100,000.00      Investor‐Lender      $           10,000.00   87‐2003
  87         7508 S Essex Avenue             2453‐59 E 75th Street   Estate Property         iPlan Group FBO Randall Pong IRA                                                         $            60,568.03   Investor‐Lender and                             87‐728
                                                                                                                                                                                                                   Equity Investor
  88       7546‐48 S Saginaw Avenue                                  Estate Property         Bernadette Chen (Eleven St Felix St. Realty)                                            $        1,000,000.00         Equity Investor     $           50,000.00   88‐2012
  88       7546‐48 S Saginaw Avenue                                  Estate Property         John E. Wysocki                                                                         $          117,000.00         Equity Investor                             88‐740
  88       7546‐48 S Saginaw Avenue                                  Estate Property         Katie Whitlock                                                                          $           61,651.00         Equity Investor                             88‐942
  88       7546‐48 S Saginaw Avenue                                  Estate Property         Stephan Tang                                                                            $           50,000.00         Equity Investor     $           50,000.00   88‐1111
  88       7546‐48 S Saginaw Avenue                                  Estate Property         Madison Trust Company Agent for Custodian FBO The Jacqueline C Rowe Living Trust IRA    $          623,489.57         Equity Investor                             88‐163

  88       7546‐48 S Saginaw Avenue                                  Estate Property         Liberty EBCP, LLC                                                                       $       10,638,796.40     Institutional Lender                            88‐898
  88       7546‐48 S Saginaw Avenue                                  Estate Property         Annie Chang                                                                             $          246,935.34       Investor‐Lender       $           63,000.00   88‐475
  88       7546‐48 S Saginaw Avenue                                  Estate Property         Asians Investing In Real Estate LLC                                                     $        1,278,402.00       Investor‐Lender       $          115,000.00   88‐503
  88       7546‐48 S Saginaw Avenue                                  Estate Property         Cecilia Wolff                                                                           $           73,887.50       Investor‐Lender                               88‐1204
  88       7546‐48 S Saginaw Avenue                                  Estate Property         Daniel Matthews, Leah Matthews                                                          $          185,922.54       Investor‐Lender       $           29,000.00   88‐117
  88       7546‐48 S Saginaw Avenue                                  Estate Property         Elizabeth Zeng                                                                          $          148,422.77       Investor‐Lender       $           12,000.00   88‐872
  88       7546‐48 S Saginaw Avenue                                  Estate Property         Equity Trust Company Custodian FBO Marvette Cofield Roth IRA; Equity Trust Company      $           25,000.00       Investor‐Lender       $           25,000.00   88‐1091
                                                                                             Custodian FBO Marvette Cofield SEP IRA
  88       7546‐48 S Saginaw Avenue                                  Estate Property         Gary R. Burnham Jr. Solo 401K Trust                                                     $          205,608.00       Investor‐Lender       $           10,000.00   88‐1174
  88       7546‐48 S Saginaw Avenue                                  Estate Property         Gregory M. Wetz                                                                         $           50,000.00       Investor‐Lender       $           50,000.00   88‐818
  88       7546‐48 S Saginaw Avenue                                  Estate Property         HIROYUKI ROY CHIN & LILLIAN S CHIN JTWROS                                               $           26,260.28       Investor‐Lender       $           50,000.00   88‐1274
  88       7546‐48 S Saginaw Avenue                                  Estate Property         Huiyi Yang and Hui Wang                                                                 $           43,150.22       Investor‐Lender       $           16,374.00   88‐122
  88       7546‐48 S Saginaw Avenue                                  Estate Property         iPlanGroup Agent for Custodian FBO Charles Powell IRA                                   $          260,000.00       Investor‐Lender                               88‐413
  88       7546‐48 S Saginaw Avenue                                  Estate Property         Iplangroup agent for custodian FBO Richard Lohrman IRA                                  $          129,701.60       Investor‐Lender       $          185,000.00   88‐1363
  88       7546‐48 S Saginaw Avenue                                  Estate Property         Ivan A. Campbell                                                                        $           52,000.00       Investor‐Lender                               88‐466
  88       7546‐48 S Saginaw Avenue                                  Estate Property         John Bloxham                                                                            $           25,123.83       Investor‐Lender       $           24,333.00   88‐1019




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Property       Property Address                Alternative Address             Type                                                Claimant Name                                            Claimed Amount         Claim Category as     Amount Claimed to be     Claim
Number                                                                                                                                                                                 (Total Claimed Amount      Identified on Claim     Invested in Property   Number
                                                                                                                                                                                         in Claim Category as            Form
                                                                                                                                                                                          Identified on Claim
                                                                                                                                                                                                 Form)
  88       7546‐48 S Saginaw Avenue                                   Estate Property         John Bloxham                                                                              $            110,000.00    Investor‐Lender       $           52,991.00   88‐1196
  88       7546‐48 S Saginaw Avenue                                   Estate Property         Krushna Dundigalla                                                                         $            60,000.00    Investor‐Lender       $           60,000.00   88‐656
  88       7546‐48 S Saginaw Avenue                                   Estate Property         Louis Duane Velez, LLC (Louis Duane Velez as manager)                                      $            50,000.00    Investor‐Lender       $           50,000.00   88‐901
  88       7546‐48 S Saginaw Avenue                                   Estate Property         MaryAnn Zimmerman                                                                          $            50,000.00    Investor‐Lender       $           31,716.00   88‐937
  88       7546‐48 S Saginaw Avenue                                   Estate Property         Michael F Grant & L. Gretchen Grant (Michael F. Grant & L. Gretchen Grant Revocable       $            695,000.00    Investor‐Lender       $          110,000.00   88‐393
                                                                                              Trust dated March 16th 2012)
  88       7546‐48 S Saginaw Avenue                                   Estate Property         Mike Dirnberger                                                                           $           15,000.00      Investor‐Lender                               88‐443
  88       7546‐48 S Saginaw Avenue                                   Estate Property         Paul N. Wilmesmeier                                                                       $          790,185.00      Investor‐Lender       $           75,000.00   88‐300
  88       7546‐48 S Saginaw Avenue                                   Estate Property         Petra Zoeller                                                                             $          546,619.00      Investor‐Lender       $           50,000.00   88‐594
  88       7546‐48 S Saginaw Avenue                                   Estate Property         Phillip G. Vander Kraats                                                                  $           80,186.82      Investor‐Lender       $           28,314.00   88‐628
  88       7546‐48 S Saginaw Avenue                                   Estate Property         QUEST IRA Inc. FBO Francisco A. Romero Sr. Acct# 25282‐11 and Acct# 25282‐21              $           89,482.53      Investor‐Lender       $            5,000.00   88‐1352
  88       7546‐48 S Saginaw Avenue                                   Estate Property         Quest IRA Inc. FBO Rebeca E. Savory‐Romero IRA Account #15528‐11 and #15528‐21            $          184,785.31      Investor‐Lender       $            9,000.00   88‐804
  88       7546‐48 S Saginaw Avenue                                   Estate Property         Robert Potter                                                                             $          282,999.00      Investor‐Lender       $           15,500.00   88‐1389
  88       7546‐48 S Saginaw Avenue                                   Estate Property         Samir S. Totah and Norma S. Totah, Trustees of the Samir S. Totah and Norma S. Totah      $           24,500.00      Investor‐Lender       $           50,000.00   88‐915
                                                                                              Declaration Trust 03/08/200
  88       7546‐48 S Saginaw Avenue                                   Estate Property         Sidney Haggins                                                                            $           70,000.00      Investor‐Lender       $           20,000.00   88‐1431
  88       7546‐48 S Saginaw Avenue                                   Estate Property         Sohm Strategic Investments, LLC                                                           $           77,250.00      Investor‐Lender       $           50,000.00   88‐865
  88       7546‐48 S Saginaw Avenue                                   Estate Property         Terry M McDonald ‐ Horizon Trust Custodian FBO Terry M McDonald IRA                       $          137,333.33      Investor‐Lender       $           87,333.33   88‐571
  88       7546‐48 S Saginaw Avenue                                   Estate Property         The Peter Paul Nuspl Living Trust                                                         $        1,123,278.00      Investor‐Lender       $           85,500.00   88‐2044
  88       7546‐48 S Saginaw Avenue                                   Estate Property         US Freedom Investments, LLC                                                               $          175,500.00      Investor‐Lender       $            7,500.00   88‐1234
  88       7546‐48 S Saginaw Avenue                                   Estate Property         Walter T Akita and Margaret M Akita                                                       $          100,000.00      Investor‐Lender       $           50,000.00   88‐950
  88       7546‐48 S Saginaw Avenue                                   Estate Property         White Tiger Revocable Trust, Ira Lovitch, Zinaida Lovitch (aka Zina Goltsev/Goltseva),    $          127,152.37      Investor‐Lender       $           17,000.00   88‐537
                                                                                              Trustees
  88       7546‐48 S Saginaw Avenue                                   Estate Property         Wisemove Properties LLC, (Anthony and Linda Reid, members)                                $          668,979.00       Investor‐Lender                              88‐168
  89       7600‐10 S Kingston Avenue          2527‐29 E 76th Street   Estate Property         Bernadette Chen (Eleven St Felix St. Realty)                                              $        1,000,000.00        Equity Investor     $           68,381.00   89‐2012
  89       7600‐10 S Kingston Avenue          2527‐29 E 76th Street   Estate Property         Jason Ragan ‐ TSA                                                                         $          473,079.71        Equity Investor     $           29,562.00   89‐796
  89       7600‐10 S Kingston Avenue          2527‐29 E 76th Street   Estate Property         Liberty EBCP, LLC                                                                         $       10,638,796.40     Institutional Lender                           89‐898
  89       7600‐10 S Kingston Avenue          2527‐29 E 76th Street   Estate Property         Annie Chang                                                                               $          246,935.34       Investor‐Lender      $            5,000.00   89‐475
  89       7600‐10 S Kingston Avenue          2527‐29 E 76th Street   Estate Property         Arthur Bertrand                                                                           $           78,079.82       Investor‐Lender      $           17,300.00   89‐892
  89       7600‐10 S Kingston Avenue          2527‐29 E 76th Street   Estate Property         Aryeh (Judah) Smith                                                                       $           50,000.00       Investor‐Lender      $           50,000.00   89‐430
  89       7600‐10 S Kingston Avenue          2527‐29 E 76th Street   Estate Property         Asians Investing In Real Estate LLC                                                       $        1,278,402.00       Investor‐Lender      $           50,000.00   89‐503
  89       7600‐10 S Kingston Avenue          2527‐29 E 76th Street   Estate Property         David Marcus                                                                              $        1,370,484.00       Investor‐Lender      $          895,484.00   89‐801
  89       7600‐10 S Kingston Avenue          2527‐29 E 76th Street   Estate Property         Dennis & Mary Ann Hennefer                                                                $          679,378.00       Investor‐Lender      $           47,044.00   89‐355
  89       7600‐10 S Kingston Avenue          2527‐29 E 76th Street   Estate Property         Duke E. Heger and Viviana Heger                                                           $          117,000.00       Investor‐Lender      $           20,000.00   89‐1408
  89       7600‐10 S Kingston Avenue          2527‐29 E 76th Street   Estate Property         Frank Sohm IRA                                                                            $          148,604.93       Investor‐Lender      $           15,796.00   89‐558
  89       7600‐10 S Kingston Avenue          2527‐29 E 76th Street   Estate Property         Frank Starosciak                                                                          $           47,407.14       Investor‐Lender      $           20,000.00   89‐1239
  89       7600‐10 S Kingston Avenue          2527‐29 E 76th Street   Estate Property         Fraser Realty Capital, LLC                                                                $           20,038.00       Investor‐Lender      $           20,038.00   89‐1313
  89       7600‐10 S Kingston Avenue          2527‐29 E 76th Street   Estate Property         Genevieve Giuliana Heger                                                                  $           20,058.00       Investor‐Lender      $           10,000.00   89‐1403
  89       7600‐10 S Kingston Avenue          2527‐29 E 76th Street   Estate Property         Geronimo Usuga Carmona                                                                    $            8,937.50       Investor‐Lender      $           39,333.00   89‐543
  89       7600‐10 S Kingston Avenue          2527‐29 E 76th Street   Estate Property         iPlan Group Agent for Custodian FBO Paula Levand Roth                                     $           34,819.65       Investor‐Lender      $           18,497.00   89‐1334
  89       7600‐10 S Kingston Avenue          2527‐29 E 76th Street   Estate Property         iPlan Group Agent for Custodian FBO Stephen B Apple ROTH IRA                              $           43,705.00       Investor‐Lender      $           43,705.00   89‐559
  89       7600‐10 S Kingston Avenue          2527‐29 E 76th Street   Estate Property         iPlanGroup Agent for Custodian FBO Laura Dirnberger Roth IRA                              $           71,321.00       Investor‐Lender      $            3,715.00   89‐448
  89       7600‐10 S Kingston Avenue          2527‐29 E 76th Street   Estate Property         iPlanGroup Agent for Custodian FBO Michael Dirnberger ROTH IRA                            $           44,433.00       Investor‐Lender      $           14,264.00   89‐445
  89       7600‐10 S Kingston Avenue          2527‐29 E 76th Street   Estate Property         John Bloxham                                                                              $           36,826.17       Investor‐Lender      $           35,667.00   89‐1211
  89       7600‐10 S Kingston Avenue          2527‐29 E 76th Street   Estate Property         Julie Patel                                                                               $           97,038.00       Investor‐Lender      $           10,338.00   89‐409
  89       7600‐10 S Kingston Avenue          2527‐29 E 76th Street   Estate Property         KAMEDA INVESTMENTS, LLC (Sole Owner/Manager ‐ Arnold Kunio Kameda)                        $          220,000.00       Investor‐Lender      $           80,000.00   89‐121
  89       7600‐10 S Kingston Avenue          2527‐29 E 76th Street   Estate Property         Karen Droste                                                                              $           74,000.00       Investor‐Lender      $           74,000.00   89‐605
  89       7600‐10 S Kingston Avenue          2527‐29 E 76th Street   Estate Property         Kelly E Welton (iPlanGroup Agent for Custodian FBO Kelly Welton, IRA)                     $           83,813.00       Investor‐Lender      $            8,000.00   89‐310
  89       7600‐10 S Kingston Avenue          2527‐29 E 76th Street   Estate Property         Law Office of V.L. Heger, A Professional Corporation                                      $           50,369.00       Investor‐Lender      $           50,000.00   89‐1409
  89       7600‐10 S Kingston Avenue          2527‐29 E 76th Street   Estate Property         Madison Trust Company Custodian FBO James R. Talman IRA                                   $           20,000.00       Investor‐Lender      $           20,000.00   89‐702
  89       7600‐10 S Kingston Avenue          2527‐29 E 76th Street   Estate Property         Michael F Grant & L. Gretchen Grant (Michael F. Grant & L. Gretchen Grant Revocable       $          695,000.00       Investor‐Lender      $           50,000.00   89‐393
                                                                                              Trust dated March 16th 2012)
  89       7600‐10 S Kingston Avenue          2527‐29 E 76th Street   Estate Property         Midland IRA, Inc. LLC Custodian FBO, Terry L Merrill, IRA Account # 6820601               $           60,000.00      Investor‐Lender       $           60,000.00   89‐1134
  89       7600‐10 S Kingston Avenue          2527‐29 E 76th Street   Estate Property         Nehasri Ltd ( investment under Nehasri Ltd by Manoj Donthineni)                           $          252,907.00      Investor‐Lender       $           52,907.00   89‐1365
  89       7600‐10 S Kingston Avenue          2527‐29 E 76th Street   Estate Property         Paul N. Wilmesmeier                                                                       $          790,185.00      Investor‐Lender       $           25,000.00   89‐300
  89       7600‐10 S Kingston Avenue          2527‐29 E 76th Street   Estate Property         Private Finance Solutions, LLC                                                            $          128,406.34      Investor‐Lender       $           23,328.00   89‐1478
  89       7600‐10 S Kingston Avenue          2527‐29 E 76th Street   Estate Property         Quest IRA Inc. FBO Rebeca E. Savory‐Romero IRA Account #15528‐11 and #15528‐21            $          184,785.31      Investor‐Lender       $           39,953.00   89‐804
  89       7600‐10 S Kingston Avenue          2527‐29 E 76th Street   Estate Property         Rita Aken                                                                                 $           75,000.00      Investor‐Lender                               89‐770
  89       7600‐10 S Kingston Avenue          2527‐29 E 76th Street   Estate Property         Robert Maione                                                                             $          110,000.00      Investor‐Lender       $          110,000.00   89‐254




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Property       Property Address                 Alternative Address                Type                                              Claimant Name                                             Claimed Amount         Claim Category as      Amount Claimed to be     Claim
Number                                                                                                                                                                                    (Total Claimed Amount      Identified on Claim      Invested in Property   Number
                                                                                                                                                                                            in Claim Category as            Form
                                                                                                                                                                                             Identified on Claim
                                                                                                                                                                                                    Form)
  89       7600‐10 S Kingston Avenue           2527‐29 E 76th Street      Estate Property         Timothy S Sharp                                                                          $            650,000.00      Investor‐Lender      $           50,000.00   89‐76
  89       7600‐10 S Kingston Avenue           2527‐29 E 76th Street      Estate Property         Towpath Investments LLC ‐ Robert Kessing (manager)                                       $            135,000.00      Investor‐Lender      $           25,000.00   89‐338
  89       7600‐10 S Kingston Avenue           2527‐29 E 76th Street      Estate Property         TruStar Real Estate Solutions, LLC                                                       $            385,000.00      Investor‐Lender      $          210,000.00   89‐337
  89       7600‐10 S Kingston Avenue           2527‐29 E 76th Street      Estate Property         United Capital Properties, LLC                                                           $            144,999.00      Investor‐Lender      $           11,257.00   89‐1480
  89       7600‐10 S Kingston Avenue           2527‐29 E 76th Street      Estate Property         Uyen Dinh                                                                                 $            15,793.28      Investor‐Lender      $            7,192.81   89‐2075
  89       7600‐10 S Kingston Avenue           2527‐29 E 76th Street      Estate Property         William and Janice Halbur                                                                 $            20,000.00      Investor‐Lender                              89‐2025
  89       7600‐10 S Kingston Avenue           2527‐29 E 76th Street      Estate Property         XUWEN LIN                                                                                 $            58,700.00      Investor‐Lender      $           24,956.00   89‐648
  89       7600‐10 S Kingston Avenue           2527‐29 E 76th Street      Estate Property         Donald Minchow                                                                           $            225,000.00      Investor‐Lender      $          110,000.00   89‐2041
  89       7600‐10 S Kingston Avenue           2527‐29 E 76th Street      Estate Property         John B. Allred & Glenda K. Allred                                                        $          1,421,646.52   Investor‐Lender and                             89‐2004
                                                                                                                                                                                                                         Equity Investor
  89       7600‐10 S Kingston Avenue           2527‐29 E 76th Street      Estate Property         Spectra Investments LLC/ Deborah L. Mullica                                              $          579,288.00     Investor‐Lender and     $          126,126.00   89‐1220
                                                                                                                                                                                                                         Equity Investor
  89       7600‐10 S Kingston Avenue           2527‐29 E 76th Street      Estate Property         City of Chicago                                                                          $           78,479.20              Other          $            1,542.97   89‐693
  90       7656‐58 S Kingston Avenue         2514‐2520 East 77th Street   Estate Property         John E. Wysocki                                                                          $          117,000.00         Equity Investor                             90‐740
  90       7656‐58 S Kingston Avenue         2514‐2520 East 77th Street   Estate Property         Liberty EBCP, LLC                                                                        $       10,638,796.40      Institutional Lender                           90‐898
  90       7656‐58 S Kingston Avenue         2514‐2520 East 77th Street   Estate Property         Alcalli Sabat                                                                            $          109,396.68        Investor‐Lender                              90‐786
  90       7656‐58 S Kingston Avenue         2514‐2520 East 77th Street   Estate Property         Edge Investments, LLC, Janet F. Turco, Owner/Member IRA                                  $        1,031,324.00        Investor‐Lender      $          102,149.00   90‐180
  90       7656‐58 S Kingston Avenue         2514‐2520 East 77th Street   Estate Property         Harvey Singer                                                                            $          854,387.63        Investor‐Lender      $          100,000.00   90‐2054
  90       7656‐58 S Kingston Avenue         2514‐2520 East 77th Street   Estate Property         iPlanGroup Agent for Custodian Leah Kalish IRA                                           $          119,000.00        Investor‐Lender      $           49,000.00   90‐265
  90       7656‐58 S Kingston Avenue         2514‐2520 East 77th Street   Estate Property         Jose Galarza                                                                             $           20,107.00        Investor‐Lender      $           35,107.00   90‐1405
  90       7656‐58 S Kingston Avenue         2514‐2520 East 77th Street   Estate Property         Kingdom Trust Company, Custodian, FBO Louis Duane Velez SEP IRA Acc. #7422686172         $          100,000.00        Investor‐Lender      $          100,000.00   90‐1476

  90       7656‐58 S Kingston Avenue         2514‐2520 East 77th Street   Estate Property         Legacy Trading LLC                                                                       $          257,000.00        Investor‐Lender      $           20,000.00   90‐508
  90       7656‐58 S Kingston Avenue         2514‐2520 East 77th Street   Estate Property         Mark Young                                                                               $          366,131.08        Investor‐Lender      $           50,000.00   90‐1154
  90       7656‐58 S Kingston Avenue         2514‐2520 East 77th Street   Estate Property         Michael D More                                                                           $          100,000.00        Investor‐Lender      $          100,000.00   90‐682
  90       7656‐58 S Kingston Avenue         2514‐2520 East 77th Street   Estate Property         The Edward Falkowitz Living Trust                                                        $          305,584.73        Investor‐Lender                              90‐575
  90       7656‐58 S Kingston Avenue         2514‐2520 East 77th Street   Estate Property         The Peter Paul Nuspl Living Trust                                                        $        1,123,278.00        Investor‐Lender      $           27,165.00   90‐2044
  90       7656‐58 S Kingston Avenue         2514‐2520 East 77th Street   Estate Property         iPlanGroup Agent for Custodian FBO Charles Michael Anglin                                $          238,889.23     Investor‐Lender and     $           50,000.00   90‐331
                                                                                                                                                                                                                         Equity Investor
  90       7656‐58 S Kingston Avenue         2514‐2520 East 77th Street   Estate Property         City of Chicago                                                                          $           78,479.20              Other          $            2,000.32   90‐693
  91        7701‐03 S Essex Avenue                                        Estate Property         Domenic Simone                                                                           $          153,246.58         Equity Investor     $          100,000.00   91‐883
  91        7701‐03 S Essex Avenue                                        Estate Property         Shane E Veltri                                                                           $          465,000.00         Equity Investor     $          465,000.00   91‐733
  91        7701‐03 S Essex Avenue                                        Estate Property         Liberty EBCP, LLC                                                                        $       10,638,796.40      Institutional Lender                           91‐898
  91        7701‐03 S Essex Avenue                                        Estate Property         1839 Fund I LLC                                                                          $          105,200.00        Investor‐Lender      $           95,000.00   91‐367
  91        7701‐03 S Essex Avenue                                        Estate Property         Covenant Funding LLC                                                                     $          386,250.00        Investor‐Lender      $          300,000.00   91‐364
  91        7701‐03 S Essex Avenue                                        Estate Property         Dennis & Mary Ann Hennefer                                                               $          679,378.00        Investor‐Lender      $           36,134.00   91‐355
  91        7701‐03 S Essex Avenue                                        Estate Property         Dennis K McCoy                                                                           $          312,238.67        Investor‐Lender      $          100,000.00   91‐569
  91        7701‐03 S Essex Avenue                                        Estate Property         Louis Duane Velez, LLC (Louis Duane Velez as the manager)                                $          150,000.00        Investor‐Lender      $          150,000.00   91‐1228
  91        7701‐03 S Essex Avenue                                        Estate Property         Quest IRA, Inc. FBO Nandini S. Chennappan IRA # 1847611                                  $           55,500.00        Investor‐Lender      $           50,000.00   91‐1269
  91        7701‐03 S Essex Avenue                                        Estate Property         Terry L. Merrill, Sheryl R. Merrill                                                      $          299,500.00        Investor‐Lender      $           50,000.00   91‐602
  92        7748‐52 S Essex Avenue             2450‐52 E 78th Street      Estate Property         Heidi H. Liu                                                                             $           76,079.07         Equity Investor     $           50,000.00   92‐930
  92        7748‐52 S Essex Avenue             2450‐52 E 78th Street      Estate Property         Liberty EBCP, LLC                                                                        $       10,638,796.40      Institutional Lender                           92‐898
  92        7748‐52 S Essex Avenue             2450‐52 E 78th Street      Estate Property         Annie Chang                                                                              $          246,935.34        Investor‐Lender      $           28,000.00   92‐475
  92        7748‐52 S Essex Avenue             2450‐52 E 78th Street      Estate Property         Asians Investing In Real Estate LLC                                                      $        1,278,402.00        Investor‐Lender      $          130,000.00   92‐503
  92        7748‐52 S Essex Avenue             2450‐52 E 78th Street      Estate Property         Austin Capital Trust Company on behalf of Summit Trust Company, custodian FBO David R    $           77,520.06        Investor‐Lender      $           31,000.00   92‐1178
                                                                                                  Theil MD
  92        7748‐52 S Essex Avenue             2450‐52 E 78th Street      Estate Property         Blessing Strategies, LLC                                                                 $           29,784.00       Investor‐Lender       $            7,000.00   92‐353
  92        7748‐52 S Essex Avenue             2450‐52 E 78th Street      Estate Property         Cecilia Wolff                                                                            $           73,887.50       Investor‐Lender                               92‐1204
  92        7748‐52 S Essex Avenue             2450‐52 E 78th Street      Estate Property         Daniel Matthews, Leah Matthews                                                           $          185,922.54       Investor‐Lender       $           20,000.00   92‐117
  92        7748‐52 S Essex Avenue             2450‐52 E 78th Street      Estate Property         Ferrara, Judith (CAMAPlan f.b.o Judith D. Ferrara, Roth IRA)                             $          300,000.00       Investor‐Lender       $          250,000.00   92‐2021
  92        7748‐52 S Essex Avenue             2450‐52 E 78th Street      Estate Property         Francisco Fernandez                                                                      $          584,237.50       Investor‐Lender       $           50,000.00   92‐1450
  92        7748‐52 S Essex Avenue             2450‐52 E 78th Street      Estate Property         Gerry Recamara                                                                           $           55,000.00       Investor‐Lender       $           55,000.00   92‐624
  92        7748‐52 S Essex Avenue             2450‐52 E 78th Street      Estate Property         James Clements                                                                           $          185,910.00       Investor‐Lender       $           50,000.00   92‐1402
  92        7748‐52 S Essex Avenue             2450‐52 E 78th Street      Estate Property         James Walsh                                                                              $          200,000.00       Investor‐Lender       $          100,000.00   92‐2058
  92        7748‐52 S Essex Avenue             2450‐52 E 78th Street      Estate Property         JBMacy Solo 401K Trust                                                                   $           61,950.00       Investor‐Lender       $           60,000.00   92‐1193
  92        7748‐52 S Essex Avenue             2450‐52 E 78th Street      Estate Property         John Bloxham for JBMacy Solo 401K Trust                                                  $           61,950.00       Investor‐Lender       $           60,000.00   92‐1011
  92        7748‐52 S Essex Avenue             2450‐52 E 78th Street      Estate Property         John Witzigreuter                                                                        $          200,000.00       Investor‐Lender       $           50,000.00   92‐729
  92        7748‐52 S Essex Avenue             2450‐52 E 78th Street      Estate Property         Julie Elaine Fogle                                                                       $           50,000.00       Investor‐Lender       $           50,000.00   92‐235
  92        7748‐52 S Essex Avenue             2450‐52 E 78th Street      Estate Property         Kenneth (Ken) and Maria (Tina) Jorgensen                                                 $          453,233.25       Investor‐Lender       $          121,506.00   92‐194




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Property       Property Address               Alternative Address             Type                                               Claimant Name                                          Claimed Amount         Claim Category as     Amount Claimed to be     Claim
Number                                                                                                                                                                             (Total Claimed Amount      Identified on Claim     Invested in Property   Number
                                                                                                                                                                                     in Claim Category as            Form
                                                                                                                                                                                      Identified on Claim
                                                                                                                                                                                             Form)
  92        7748‐52 S Essex Avenue           2450‐52 E 78th Street   Estate Property         Kyle Jacobs                                                                             $            95,000.00    Investor‐Lender       $           95,000.00   92‐1345
  92        7748‐52 S Essex Avenue           2450‐52 E 78th Street   Estate Property         Larry White                                                                             $            50,800.00    Investor‐Lender       $           50,000.00   92‐983
  92        7748‐52 S Essex Avenue           2450‐52 E 78th Street   Estate Property         Liwen Zhao                                                                              $            98,000.00    Investor‐Lender       $          156,000.00   92‐426
  92        7748‐52 S Essex Avenue           2450‐52 E 78th Street   Estate Property         LMJ Sales, Inc.                                                                        $            559,807.34    Investor‐Lender       $           45,000.00   92‐1346
  92        7748‐52 S Essex Avenue           2450‐52 E 78th Street   Estate Property         Marjorie Jean Sexton                                                                   $            200,000.00    Investor‐Lender       $            3,000.00   92‐2065
  92        7748‐52 S Essex Avenue           2450‐52 E 78th Street   Estate Property         Mark Young                                                                             $            366,131.08    Investor‐Lender       $           30,000.00   92‐1154
  92        7748‐52 S Essex Avenue           2450‐52 E 78th Street   Estate Property         Michael F Grant & L. Gretchen Grant (Michael F. Grant & L. Gretchen Grant Revocable    $            695,000.00    Investor‐Lender       $          270,000.00   92‐393
                                                                                             Trust dated March 16th 2012)
  92        7748‐52 S Essex Avenue           2450‐52 E 78th Street   Estate Property         Nehasri Ltd ( investment under Nehasri Ltd by Manoj Donthineni)                        $          252,907.00     Investor‐Lender        $           25,000.00   92‐1365
  92        7748‐52 S Essex Avenue           2450‐52 E 78th Street   Estate Property         Paul N. Wilmesmeier                                                                    $          790,185.00     Investor‐Lender        $           75,000.00   92‐300
  92        7748‐52 S Essex Avenue           2450‐52 E 78th Street   Estate Property         Paul S. Applefield, Trustee, Paul S. Applefield, DDS, 401k Plan                        $          106,000.00     Investor‐Lender        $           20,000.00   92‐2087
  92        7748‐52 S Essex Avenue           2450‐52 E 78th Street   Estate Property         Paul Scribner                                                                          $          200,000.00     Investor‐Lender        $            7,000.00   92‐1135
  92        7748‐52 S Essex Avenue           2450‐52 E 78th Street   Estate Property         Petra Zoeller                                                                          $          546,619.00     Investor‐Lender        $           70,000.00   92‐594
  92        7748‐52 S Essex Avenue           2450‐52 E 78th Street   Estate Property         QUEST IRA Inc. FBO Francisco A. Romero Sr. Acct# 25282‐11 and Acct# 25282‐21           $           89,482.53     Investor‐Lender        $           10,000.00   92‐1352
  92        7748‐52 S Essex Avenue           2450‐52 E 78th Street   Estate Property         Quest IRA, Inc. FBO Nandini S. Chennappan IRA # 1847611                                $           55,500.00     Investor‐Lender        $            5,500.00   92‐1269
  92        7748‐52 S Essex Avenue           2450‐52 E 78th Street   Estate Property         Ranell Durgan                                                                          $           50,000.00     Investor‐Lender        $           50,000.00   92‐454
  92        7748‐52 S Essex Avenue           2450‐52 E 78th Street   Estate Property         Ranell Durgan                                                                          $           50,000.00     Investor‐Lender        $           50,000.00   92‐514
  92        7748‐52 S Essex Avenue           2450‐52 E 78th Street   Estate Property         Rene Hribal                                                                            $        1,525,473.04     Investor‐Lender        $          180,000.00   92‐768
  92        7748‐52 S Essex Avenue           2450‐52 E 78th Street   Estate Property         Richard L. Braddock                                                                    $           92,375.45     Investor‐Lender        $           50,000.00   92‐396
  92        7748‐52 S Essex Avenue           2450‐52 E 78th Street   Estate Property         Steven K. Chennappan IRA # 17293‐31                                                    $          128,000.00     Investor‐Lender        $           18,000.00   92‐206
  92        7748‐52 S Essex Avenue           2450‐52 E 78th Street   Estate Property         Teresita M. Shelton                                                                    $          426,513.00     Investor‐Lender        $           30,000.00   92‐330
  92        7748‐52 S Essex Avenue           2450‐52 E 78th Street   Estate Property         Timothy S Sharp                                                                        $          650,000.00     Investor‐Lender        $          100,000.00   92‐76
  92        7748‐52 S Essex Avenue           2450‐52 E 78th Street   Estate Property         United Capital Properties, LLC                                                         $          144,999.00     Investor‐Lender        $            8,730.00   92‐1480
  92        7748‐52 S Essex Avenue           2450‐52 E 78th Street   Estate Property         Wesley Pittman (Pittman Gold LLC)                                                      $          180,048.45     Investor‐Lender                                92‐469
  92        7748‐52 S Essex Avenue           2450‐52 E 78th Street   Estate Property         Wisemove Properties LLC, (Anthony and Linda Reid, members)                             $          668,979.00     Investor‐Lender                                92‐168
  92        7748‐52 S Essex Avenue           2450‐52 E 78th Street   Estate Property         Applefield Family Trust, Paul and Robin Applefield, Trustees                           $          155,000.00     Investor‐Lender        $           30,000.00   92‐2005
  92        7748‐52 S Essex Avenue           2450‐52 E 78th Street   Estate Property         Phyllis Harte                                                                          $           36,069.53     Investor‐Lender        $           20,000.00   92‐2028
  92        7748‐52 S Essex Avenue           2450‐52 E 78th Street   Estate Property         City of Chicago                                                                        $           78,479.20          Other             $            2,097.70   92‐693
  93       7953‐59 S Marquette Road                                  Estate Property         CLD Construction, Inc. (Doru Unchias)                                                  $          434,935.00 Independent Contractor     $            2,800.00   93‐1454

  93       7953‐59 S Marquette Road          2708‐10 E 80th Street   Estate Property         Liberty EBCP, LLC                                                                      $       10,638,796.40     Institutional Lender                           93‐898
  93       7953‐59 S Marquette Road          2708‐10 E 80th Street   Estate Property         1839 Fund I LLC                                                                        $           47,562.00       Investor‐Lender      $           39,483.00   93‐367
  93       7953‐59 S Marquette Road          2708‐10 E 80th Street   Estate Property         Brett Burnham (iPlanGroup Agent for Custodian FBO Brett Burnham)                       $          215,335.54       Investor‐Lender      $           25,000.00   93‐314
  93       7953‐59 S Marquette Road          2708‐10 E 80th Street   Estate Property         Capital Investors, LLC                                                                 $          930,376.31       Investor‐Lender      $           50,000.00   93‐1490
  93       7953‐59 S Marquette Road          2708‐10 E 80th Street   Estate Property         Christopher Maher Beneficiary IRA                                                      $           16,500.00       Investor‐Lender      $           16,500.00   93‐2079
  93       7953‐59 S Marquette Road          2708‐10 E 80th Street   Estate Property         Daniel Matthews, Leah Matthews                                                         $          185,922.54       Investor‐Lender      $           32,322.32   93‐117
  93       7953‐59 S Marquette Road          2708‐10 E 80th Street   Estate Property         Edge Investments, LLC, Janet F. Turco, Owner/Member IRA                                $        1,031,324.00       Investor‐Lender      $           58,000.00   93‐180
  93       7953‐59 S Marquette Road          2708‐10 E 80th Street   Estate Property         Gallucci, Henry                                                                        $           77,000.00       Investor‐Lender      $           17,000.00   93‐2059
  93       7953‐59 S Marquette Road          2708‐10 E 80th Street   Estate Property         Halbur, William and Janice                                                             $           20,000.00       Investor‐Lender      $            8,763.00   93‐2025
  93       7953‐59 S Marquette Road          2708‐10 E 80th Street   Estate Property         Hoang Small Trust c/o Dalano Hoang                                                     $          300,000.00       Investor‐Lender      $           50,000.00   93‐161
  93       7953‐59 S Marquette Road          2708‐10 E 80th Street   Estate Property         Howard and Doris Bybee                                                                 $           65,000.00       Investor‐Lender      $           50,000.00   93‐1039
  93       7953‐59 S Marquette Road          2708‐10 E 80th Street   Estate Property         iPlan Group Agent for Custodian FBO Daniel O'Hare IRA                                  $           50,000.00       Investor‐Lender      $           50,000.00   93‐838
  93       7953‐59 S Marquette Road          2708‐10 E 80th Street   Estate Property         John Bloxham                                                                           $          110,000.00       Investor‐Lender      $          110,000.00   93‐1196
  93       7953‐59 S Marquette Road          2708‐10 E 80th Street   Estate Property         Maher, Christopher                                                                     $           30,500.00       Investor‐Lender      $           16,500.00   93‐2036
  93       7953‐59 S Marquette Road          2708‐10 E 80th Street   Estate Property         Robert Potter                                                                          $          282,999.00       Investor‐Lender      $           34,716.00   93‐1389
  93       7953‐59 S Marquette Road          2708‐10 E 80th Street   Estate Property         Steven and Linda Lipschultz                                                            $          350,360.00       Investor‐Lender      $          177,000.00   93‐1442
  93       7953‐59 S Marquette Road          2708‐10 E 80th Street   Estate Property         Steven K. Chennappan IRA # 17293‐31                                                    $          128,000.00       Investor‐Lender      $           50,000.00   93‐206
  93       7953‐59 S Marquette Road          2708‐10 E 80th Street   Estate Property         The Bonita R. Skurski & Steven E Skurski Trust                                         $           98,452.43       Investor‐Lender      $           80,000.00   93‐2093
  93       7953‐59 S Marquette Road          2708‐10 E 80th Street   Estate Property         The Jacqueline C Rowe Living Trust                                                     $          372,417.74       Investor‐Lender                              93‐139
  94       816‐20 E Marquette Road                                   Estate Property         Bancroft, Ed                                                                           $          258,060.00     Investor‐Lender and                            94‐2008
                                                                                                                                                                                                                 Equity Investor
  94       816‐20 E Marquette Road                                   Estate Property         Liberty EBCP, LLC                                                                      $       10,638,796.40     Institutional Lender                           94‐898
  94       816‐20 E Marquette Road                                   Estate Property         Betty Mize (iPlanGroup Agent for Custodian FBO Betty Beal Mize IRA                     $           38,000.00       Investor‐Lender      $           38,000.00   94‐615
  94       816‐20 E Marquette Road                                   Estate Property         Frank and Laura Sohm                                                                   $          167,893.65       Investor‐Lender      $           50,000.00   94‐906
  94       816‐20 E Marquette Road                                   Estate Property         Grathia Corp                                                                           $        1,184,081.00       Investor‐Lender      $           35,000.00   94‐1445
  94       816‐20 E Marquette Road                                   Estate Property         Harendra Pal                                                                           $          105,400.00       Investor‐Lender      $          100,000.00   94‐1123
  94       816‐20 E Marquette Road                                   Estate Property         Hillside Fund, LLC ‐ Janet F. Turco, Owner/ Managing Member                            $          505,000.00       Investor‐Lender      $           65,000.00   94‐101
  94       816‐20 E Marquette Road                                   Estate Property         Huiyi Yang and Hui Wang                                                                $           43,150.22       Investor‐Lender      $           13,847.00   94‐122




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Property      Property Address                Alternative Address            Type                                              Claimant Name                                            Claimed Amount         Claim Category as     Amount Claimed to be     Claim
Number                                                                                                                                                                             (Total Claimed Amount      Identified on Claim     Invested in Property   Number
                                                                                                                                                                                     in Claim Category as            Form
                                                                                                                                                                                      Identified on Claim
                                                                                                                                                                                             Form)
   94      816‐20 E Marquette Road                                  Estate Property         IPlanGroup Agent for Custodian FBO Mark Young                                           $            380,000.00     Investor‐Lender      $           50,000.00   94‐1446
   94      816‐20 E Marquette Road                                  Estate Property         John R Taxeras                                                                          $            105,686.72     Investor‐Lender      $           50,000.00   94‐994
   94      816‐20 E Marquette Road                                  Estate Property         LA DONNA WRIGHT ACKLEN                                                                  $            268,666.74     Investor‐Lender      $           40,000.00   94‐244
   94      816‐20 E Marquette Road                                  Estate Property         Pat DeSantis                                                                            $          2,684,539.00     Investor‐Lender      $          100,000.00   94‐397
   94      816‐20 E Marquette Road                                  Estate Property         Paul N. Wilmesmeier                                                                     $            790,185.00     Investor‐Lender      $           25,185.00   94‐300
   94      816‐20 E Marquette Road                                  Estate Property         Petra Zoeller                                                                           $            546,619.00     Investor‐Lender      $           30,000.00   94‐594
   94      816‐20 E Marquette Road                                  Estate Property         Ricardo Acevedo Lopez                                                                    $            35,000.00     Investor‐Lender      $           35,000.00   94‐1267
   94      816‐20 E Marquette Road                                  Estate Property         Shengjie Li and Yuye Xu                                                                 $            165,441.12     Investor‐Lender      $           25,000.00   94‐1340
   94      816‐20 E Marquette Road                                  Estate Property         Terri S. Tracy                                                                          $            265,000.00     Investor‐Lender      $           50,000.00   94‐272
   94      816‐20 E Marquette Road                                  Estate Property         William Needham                                                                         $            355,428.00     Investor‐Lender      $            6,000.00   94‐80
   94      816‐20 E Marquette Road                                  Estate Property         Wisemove Properties LLC, (Anthony and Linda Reid, members)                              $            668,979.00     Investor‐Lender                              94‐168
   94      816‐20 E Marquette Road                                  Estate Property         William H. Akins, Jr. (CAMA SDIRA LLC FBO Bill Akins IRA)                               $          1,100,000.00     Investor‐Lender      $          250,000.00   94‐2003
   95       8201 S Kingston Avenue                                  Estate Property         Shelton Gandy                                                                            $            82,360.00      Equity Investor     $           50,000.00   95‐630
   95       8201 S Kingston Avenue                                  Estate Property         Liberty EBCP, LLC                                                                        $        10,638,796.40   Institutional Lender                           95‐898
   95       8201 S Kingston Avenue                                  Estate Property         Amit Hammer                                                                             $            295,980.00     Investor‐Lender      $           50,000.00   95‐225
   95       8201 S Kingston Avenue                                  Estate Property         Arvind Kinjarapu                                                                        $            145,500.00     Investor‐Lender      $          100,000.00   95‐1161
   95       8201 S Kingston Avenue                                  Estate Property         Fraser Realty Investments, LLC                                                          $            120,000.00     Investor‐Lender      $           20,000.00   95‐1079
   95       8201 S Kingston Avenue                                  Estate Property         Harendra Pal                                                                            $            125,000.00     Investor‐Lender      $          100,000.00   95‐1127
   95       8201 S Kingston Avenue                                  Estate Property         Hutchings, Matt                                                                         $            362,766.68     Investor‐Lender      $          150,000.00   95‐2030
   95       8201 S Kingston Avenue                                  Estate Property         IPlanGroup Agent for Custodian FBO Mark Young                                           $            380,000.00     Investor‐Lender      $           60,000.00   95‐1446
   95       8201 S Kingston Avenue                                  Estate Property         Madison Trust Company Custodian FBO Stuart Edelman                                      $            255,332.70     Investor‐Lender      $           50,000.00   95‐103
   95       8201 S Kingston Avenue                                  Estate Property         Mark Young                                                                              $            366,131.08     Investor‐Lender      $           50,000.00   95‐1154
   95       8201 S Kingston Avenue                                  Estate Property         May M. Akamine for Aurora Investments, LLC (assets formerly under MayREI, LLC)          $            631,739.82     Investor‐Lender      $           25,000.00   95‐1412
   95       8201 S Kingston Avenue                                  Estate Property         SeaDog Properties LLC / Darrell Odum                                                    $            134,000.00     Investor‐Lender      $           60,000.00   95‐381
   95       8201 S Kingston Avenue                                  Estate Property         Stuart Edelman                                                                          $            167,250.00     Investor‐Lender      $           75,000.00   95‐1201
   95       8201 S Kingston Avenue                                  Estate Property         Umbrella Investment Partners                                                             $            72,894.00     Investor‐Lender      $            5,000.00   95‐1167
   95       8201 S Kingston Avenue                                  Estate Property         Vladimir Matviishin                                                                     $            290,200.00     Investor‐Lender      $           20,000.00   95‐1294
96 to 99     8326‐58 S Ellis Avenue                                 Estate Property         Bernadette Chen (Eleven St Felix St. Realty)                                            $          1,000,000.00      Equity Investor     $           50,000.00   96‐2012
96 to 99     8326‐58 S Ellis Avenue                                 Estate Property         John E. Wysocki                                                                         $            117,000.00      Equity Investor                             96‐740
96 to 99     8326‐58 S Ellis Avenue                                 Estate Property         Michael Prokop                                                                          $                197.01      Equity Investor     $           50,000.00   96‐787
96 to 99     8326‐50 S Ellis Avenue                                 Estate Property         Jason Ragan ‐ TSA                                                                       $            473,079.71      Equity Investor     $          276,489.58   96‐796
96 to 99     8326‐58 S Ellis Avenue                                 Estate Property         Liberty EBCP, LLC                                                                        $        10,638,796.40   Institutional Lender                           96‐898
96 to 99     8326‐58 S Ellis Avenue                                 Estate Property         Agee Family Trust c/o Scott R. Agee                                                     $            130,000.00     Investor‐Lender      $           50,000.00   96‐2001
96 to 99     8326‐58 S Ellis Avenue                                 Estate Property         Annie Chang                                                                             $            246,935.34     Investor‐Lender      $            6,620.00   96‐475
96 to 99     8326‐58 S Ellis Avenue                                 Estate Property         Arvind Kinjarapu                                                                        $            145,500.00     Investor‐Lender      $           10,500.00   96‐1161
96 to 99     8326‐58 S Ellis Avenue                                 Estate Property         Asbury R. Lockett                                                                                                   Investor‐Lender      $          100,000.00   96‐210
96 to 99     8326‐58 S Ellis Avenue                                 Estate Property         BLUE MOUNTAIN VENTURES PSP 401K, GEORGE SAMUEL                                          $          463,999.95       Investor‐Lender      $           65,745.00   96‐491
96 to 99     8326‐50 S Ellis Avenue                                 Estate Property         Bluebridge Partners Limited                                                             $          791,620.17       Investor‐Lender      $           73,971.00   96‐727
96 to 99     8326‐58 S Ellis Avenue                                 Estate Property         Brad and Linda Lutz                                                                     $          813,582.00       Investor‐Lender      $            5,000.00   96‐962
96 to 99     8326‐58 S Ellis Avenue                                 Estate Property         Charles Michael Edward Fowler (iPlanGroup Agent for Custodian FBO C Michael E Fowler    $           63,007.00       Investor‐Lender      $           63,007.00   96‐69
                                                                                            IRA)
96 to 99    8326‐58 S Ellis Avenue                                  Estate Property         Danielle DeVarne                                                                        $          150,000.00      Investor‐Lender       $           50,000.00   96‐679
96 to 99    8326‐58 S Ellis Avenue                                  Estate Property         DAVID G & LEANNE D RUESCH                                                               $           52,666.68      Investor‐Lender       $           50,000.00   96‐384
96 to 99    8326‐58 S Ellis Avenue                                  Estate Property         David Marcus                                                                            $        1,370,484.00      Investor‐Lender       $          120,000.00   96‐801
96 to 99    8326‐58 S Ellis Avenue                                  Estate Property         Dee Ann Nason                                                                           $          303,965.00      Investor‐Lender       $           50,000.00   96‐453
96 to 99    8326‐58 S Ellis Avenue                                  Estate Property         Denny Kon                                                                               $           52,000.01      Investor‐Lender       $           50,000.00   96‐112
96 to 99    8326‐58 S Ellis Avenue                                  Estate Property         Ferrara, Judith (CAMAPlan f.b.o Judith D. Ferrara, Roth IRA)                            $          300,000.00      Investor‐Lender       $           25,000.00   96‐2021
96 to 99    8326‐58 S Ellis Avenue                                  Estate Property         Francisco Fernandez                                                                     $          584,237.50      Investor‐Lender       $           45,000.00   96‐1450
96 to 99    8326‐58 S Ellis Avenue                                  Estate Property         Frank Starosciak                                                                        $           47,407.14      Investor‐Lender       $            5,000.00   96‐1239
96 to 99    8326‐58 S Ellis Avenue                                  Estate Property         Fredric R. Gottlieb                                                                     $          212,481.00      Investor‐Lender       $           75,000.00   96‐1177
96 to 99    8326‐58 S Ellis Avenue                                  Estate Property         Fredric R. Gottlieb                                                                     $          391,776.10      Investor‐Lender       $          184,259.00   96‐1212
96 to 99    8326‐58 S Ellis Avenue                                  Estate Property         Freyja Partners, a California Limited Partnership                                       $          179,625.00      Investor‐Lender       $           50,000.00   96‐1141
96 to 99    8326‐58 S Ellis Avenue                                  Estate Property         Ganpat and FEREEDA Seunath                                                              $          216,194.22      Investor‐Lender       $           51,585.00   96‐77
96 to 99    8326‐58 S Ellis Avenue                                  Estate Property         George S Black                                                                          $           95,000.00      Investor‐Lender       $           68,000.00   96‐572
96 to 99    8326‐58 S Ellis Avenue                                  Estate Property         Girl Cat Capital West LLC, Valentina Salge, President                                   $          212,145.00      Investor‐Lender       $          100,000.00   96‐350
96 to 99    8326‐58 S Ellis Avenue                                  Estate Property         Halbur, William and Janice                                                              $           20,000.00      Investor‐Lender       $           20,000.00   96‐2025
96 to 99    8326‐58 S Ellis Avenue                                  Estate Property         Harendra Pal                                                                            $           51,335.00      Investor‐Lender       $           41,068.00   96‐1124
96 to 99    8326‐58 S Ellis Avenue                                  Estate Property         Harvey Singer                                                                           $          854,387.63      Investor‐Lender       $           65,000.00   96‐2054




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Property         Property Address                 Alternative Address            Type                                               Claimant Name                                          Claimed Amount         Claim Category as    Amount Claimed to be     Claim
Number                                                                                                                                                                                (Total Claimed Amount      Identified on Claim    Invested in Property   Number
                                                                                                                                                                                        in Claim Category as            Form
                                                                                                                                                                                         Identified on Claim
                                                                                                                                                                                                Form)
96 to 99       8326‐58 S Ellis Avenue                                   Estate Property         Henry C. Scheuller                                                                     $            246,440.00    Investor‐Lender                              96‐868
96 to 99       8326‐58 S Ellis Avenue                                   Estate Property         Hoang Small Trust c/o Dalano Hoang                                                     $            300,000.00    Investor‐Lender                              96‐161
96 to 99       8326‐58 S Ellis Avenue                                   Estate Property         iPlan Group Agent for Custodian FBO James B Ploeger IRA                                 $            72,000.00    Investor‐Lender      $           17,000.00   96‐520
96 to 99       8326‐58 S Ellis Avenue                                   Estate Property         iPlan Group Agent for Custodian FBO Marvette Cofield IRA 3321057                        $            10,000.00    Investor‐Lender      $           10,000.00   96‐1441
96 to 99       8326‐58 S Ellis Avenue                                   Estate Property         iPlanGroup Agent for Custodian FBO Charles Powell IRA                                  $            260,000.00    Investor‐Lender                              96‐413
96 to 99       8326‐58 S Ellis Avenue                                   Estate Property         IPlanGroup Agent for Custodian FBO Mark Young                                          $            380,000.00    Investor‐Lender      $           45,000.00   96‐1446
96 to 99       8326‐58 S Ellis Avenue                                   Estate Property         iPlanGroup Agent for Custodian FBO Michael Dirnberger ROTH IRA                          $            44,433.00    Investor‐Lender      $            5,000.00   96‐445
96 to 99       8326‐58 S Ellis Avenue                                   Estate Property         iPlanGroup Agent for Custodian FBO Swetha Voddi IRA                                     $            14,000.00    Investor‐Lender      $           14,000.00   96‐1013
96 to 99       8326‐58 S Ellis Avenue                                   Estate Property         IRA Services Trust Custodian FBO Ronald Stephen Klein                                  $            114,666.74    Investor‐Lender      $           50,000.00   96‐301
96 to 99       8326‐58 S Ellis Avenue                                   Estate Property         Joseph P. McCarthy                                                                     $            277,847.33    Investor‐Lender      $           15,000.00   96‐1367
96 to 99       8326‐58 S Ellis Avenue                                   Estate Property         Keith Randall                                                                          $            250,000.00    Investor‐Lender      $          100,000.00   96‐1086
96 to 99       8326‐58 S Ellis Avenue                                   Estate Property         Kevin Randall                                                                          $            200,000.00    Investor‐Lender      $           70,000.00   96‐811
96 to 99       8326‐58 S Ellis Avenue                                   Estate Property         KKW Investments, LLC                                                                   $            100,033.40    Investor‐Lender      $            7,306.00   96‐336
96 to 99       8326‐58 S Ellis Avenue                                   Estate Property         Leonard Grosso                                                                         $            177,499.95    Investor‐Lender      $           50,000.00   96‐2024
96 to 99       8326‐58 S Ellis Avenue                                   Estate Property         LISA MARIE KENNEDY / BRANDELLA CONSULTING, LLC.                                         $            50,000.00    Investor‐Lender      $           50,000.00   96‐586
96 to 99       8326‐58 S Ellis Avenue                                   Estate Property         Madison Trust Co, Custodian FBO Sonia Silver IRA #M1612049                              $            50,000.00    Investor‐Lender      $           50,000.00   96‐963
96 to 99       8326‐58 S Ellis Avenue                                   Estate Property         Madison Trust Company FBO Judy Newton IRA                                              $            102,235.61    Investor‐Lender      $           50,000.00   96‐533
96 to 99       8326‐58 S Ellis Avenue                                   Estate Property         May M. Akamine for Aurora Investments, LLC (assets formerly under MayREI, LLC)         $            631,739.82    Investor‐Lender      $           50,000.00   96‐1412
96 to 99       8326‐58 S Ellis Avenue                                   Estate Property         Melanie T. or Gary M. Gonzales                                                         $            525,525.01    Investor‐Lender      $          100,000.00   96‐207
96 to 99       8326‐58 S Ellis Avenue                                   Estate Property         Michael Burns                                                                           $            50,000.00    Investor‐Lender      $           50,000.00   96‐1219
96 to 99       8326‐58 S Ellis Avenue                                   Estate Property         Michael F Grant & L. Gretchen Grant (Michael F. Grant & L. Gretchen Grant Revocable    $            695,000.00    Investor‐Lender      $           35,000.00   96‐393
                                                                                                Trust dated March 16th 2012)
96 to 99       8326‐58 S Ellis Avenue                                   Estate Property         Nathan Hennefer                                                                        $           44,000.00      Investor‐Lender      $           44,000.00   96‐754
96 to 99       8326‐58 S Ellis Avenue                                   Estate Property         Nicolas and Joyce Jenks                                                                $          155,249.47      Investor‐Lender      $           25,000.00   96‐2032
96 to 99       8326‐58 S Ellis Avenue                                   Estate Property         Pat DeSantis                                                                           $        2,684,539.00      Investor‐Lender      $          250,000.00   96‐397
96 to 99       8326‐58 S Ellis Avenue                                   Estate Property         Paul N. Wilmesmeier                                                                    $          790,185.00      Investor‐Lender      $           50,000.00   96‐300
96 to 99       8326‐58 S Ellis Avenue                                   Estate Property         Pensco Trust Company Custodian FBO Kathleen A Robinson                                 $           15,405.00      Investor‐Lender      $           12,500.00   96‐1435
96 to 99       8326‐58 S Ellis Avenue                                   Estate Property         Peter (Pierre) Henri Gelinas                                                           $           26,499.94      Investor‐Lender      $           12,847.46   96‐1385
96 to 99       8326‐58 S Ellis Avenue                                   Estate Property         Raymond Thompson Investment Trust LLC                                                  $           80,000.00      Investor‐Lender      $           50,000.00   96‐251
96 to 99       8326‐58 S Ellis Avenue                                   Estate Property         Scott Eaton                                                                            $          549,101.33      Investor‐Lender      $           60,000.00   96‐1470
96 to 99       8326‐58 S Ellis Avenue                                   Estate Property         Sidney Haggins                                                                         $           85,000.00      Investor‐Lender      $           20,000.00   96‐1434
96 to 99       8326‐58 S Ellis Avenue                                   Estate Property         Simon Usuga                                                                            $           95,000.00      Investor‐Lender      $           50,000.00   96‐681
96 to 99       8326‐58 S Ellis Avenue                                   Estate Property         Strategic Wealth Ventures, LLC, Brian Kothman Member                                   $           70,866.00      Investor‐Lender      $           11,585.00   96‐595
96 to 99       8326‐58 S Ellis Avenue                                   Estate Property         Susan Kalisiak‐Tingle                                                                  $          469,921.00      Investor‐Lender      $           40,000.00   96‐1438
96 to 99       8326‐58 S Ellis Avenue                                   Estate Property         The Moore/Ferrer Family 2004 Trust                                                     $          208,341.66      Investor‐Lender      $          100,000.00   96‐107
96 to 99       8326‐58 S Ellis Avenue                                   Estate Property         TruStar Real Estate Solutions, LLC                                                     $          385,000.00      Investor‐Lender      $           25,000.00   96‐337
96 to 99       8326‐58 S Ellis Avenue                                   Estate Property         Umbrella Investment Partners                                                           $           72,894.00      Investor‐Lender      $           12,500.00   96‐1167
96 to 99       8326‐58 S Ellis Avenue                                   Estate Property         Victor Shaw                                                                            $          296,025.03      Investor‐Lender      $           50,000.00   96‐1040
96 to 99       8326‐58 S Ellis Avenue                                   Estate Property         Viren R Patel                                                                          $           50,000.00      Investor‐Lender      $           50,000.00   96‐507
96 to 99       8326‐58 S Ellis Avenue                                   Estate Property         Virginia S Oton                                                                        $            9,710.00      Investor‐Lender      $            9,710.00   96‐105
96 to 99       8326‐58 S Ellis Avenue                                   Estate Property         Vladimir Matviishin, dba Network Expert                                                $          138,075.00      Investor‐Lender      $           50,000.00   96‐1387
96 to 99       8326‐58 S Ellis Avenue                                   Estate Property         Applefield Family Trust, Paul and Robin Applefield, Trustees                           $          155,000.00      Investor‐Lender      $          105,000.00   96‐2005
96 to 99       8326‐58 S Ellis Avenue                                   Estate Property         Paul Harrison                                                                          $          420,331.59      Investor‐Lender      $           25,000.00   96‐2026
96 to 99       8326‐58 S Ellis Avenue                                   Estate Property         City of Chicago                                                                        $           78,479.20           Other           $            3,063.68   96‐693
  100      11117‐11119 S Longwood Drive                                 Estate Property         Brook & Sarah Swientisky; J&S Investment, LLC                                          $          134,400.01       Equity Investor     $           50,000.00   100‐568
  100      11117‐11119 S Longwood Drive                                 Estate Property         BTRUE LLC Barry J. Oates                                                               $           93,600.00       Equity Investor     $           50,000.00   100‐669
  100      11117‐11119 S Longwood Drive                                 Estate Property         Danyel Tiefenbacher and Jamie Lai                                                      $          103,875.01       Equity Investor     $           50,000.00   100‐646
  100      11117‐11119 S Longwood Drive                                 Estate Property         David M Harris                                                                         $          534,555.00       Equity Investor     $           32,700.00   100‐267
  100      11117‐11119 S Longwood Drive                                 Estate Property         Distributive Marketing Inc.                                                            $          155,000.00       Equity Investor     $           55,000.00   100‐806
  100      11117‐11119 S Longwood Drive                                 Estate Property         Ellen Liu                                                                              $          400,000.00       Equity Investor     $          150,000.00   100‐1354
  100      11117‐11119 S Longwood Drive                                 Estate Property         IRA Services Trust Company CFBO Melbourne Kimsey II                                    $          150,000.00       Equity Investor     $           50,000.00   100‐661
  100      11117‐11119 S Longwood Drive                                 Estate Property         James Tutsock                                                                          $          169,483.00       Equity Investor     $          250,000.00   100‐2057
  100      11117‐11119 S Longwood Drive                                 Estate Property         John McDevitt                                                                          $          220,000.00       Equity Investor     $          100,000.00   100‐2090
  100      11117‐11119 S Longwood Drive                                 Estate Property         Koates LLC                                                                             $           85,000.00       Equity Investor     $           50,000.00   100‐228
  100      11117‐11119 S Longwood Drive                                 Estate Property         Mike M. Cocos                                                                          $          150,000.00       Equity Investor     $           50,000.00   100‐82
  100      11117‐11119 S Longwood Drive                                 Estate Property         Stephan Tang                                                                           $           50,000.00       Equity Investor     $           50,000.00   100‐1111
  100      11117‐11119 S Longwood Drive                                 Estate Property         Steven G. Mouty                                                                        $          465,000.00       Equity Investor     $          150,000.00   100‐821
  100      11117‐11119 S Longwood Drive                                 Estate Property         Steven R. Bald                                                                         $           45,000.00       Equity Investor     $           45,000.00   100‐399




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                                                                                                            Master Claims List
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Property           Property Address                 Alternative Address            Type                                                  Claimant Name                                          Claimed Amount         Claim Category as     Amount Claimed to be     Claim
Number                                                                                                                                                                                     (Total Claimed Amount      Identified on Claim     Invested in Property   Number
                                                                                                                                                                                             in Claim Category as            Form
                                                                                                                                                                                              Identified on Claim
                                                                                                                                                                                                     Form)
   100       11117‐11119 S Longwood Drive                                 Estate Property         Yin Liu, Ping Xu                                                                          $            150,000.00     Equity Investor      $          100,000.00   100‐1368
   100       11117‐11119 S Longwood Drive                                 Estate Property         88 Legacy LLC                                                                              $            56,000.03    Investor‐Lender       $           50,000.00   100‐126
   100       11117‐11119 S Longwood Drive                                 Estate Property         Agee Family Trust c/o Scott R. Agee                                                       $            130,000.00    Investor‐Lender       $           25,000.00   100‐2001
   100       11117‐11119 S Longwood Drive                                 Estate Property         Asians Investing In Real Estate LLC                                                       $          1,278,402.00    Investor‐Lender       $          150,000.00   100‐503
   100       11117‐11119 S Longwood Drive                                 Estate Property         BLUE MOUNTAIN VENTURES PSP 401K, GEORGE SAMUEL                                            $            463,999.95    Investor‐Lender       $          100,000.00   100‐491
   100       11117‐11119 S Longwood Drive                                 Estate Property         Braden Galloway                                                                           $            227,800.02    Investor‐Lender                               100‐1463
   100       11117‐11119 S Longwood Drive                                 Estate Property         Bruce A Walter (Equity Trust Corp FBO Bruce Walter IRA)                                   $            115,000.00    Investor‐Lender       $           50,000.00   100‐137
   100       11117‐11119 S Longwood Drive                                 Estate Property         Chestnut Capital LLC                                                                      $            138,047.00    Investor‐Lender       $           50,000.00   100‐1460
   100       11117‐11119 S Longwood Drive                                 Estate Property         David R. Trengove                                                                         $            705,123.88    Investor‐Lender       $           46,000.00   100‐481
   100       11117‐11119 S Longwood Drive                                 Estate Property         Dee Ann Nason                                                                             $            303,965.00    Investor‐Lender       $           50,000.00   100‐453
   100       11117‐11119 S Longwood Drive                                 Estate Property         DK Phenix Investments LLC                                                                 $            575,750.00    Investor‐Lender       $           75,000.00   100‐584
   100       11117‐11119 S Longwood Drive                                 Estate Property         Edge Investments, LLC, Janet F. Turco, Owner/Member IRA                                   $          1,031,324.00    Investor‐Lender       $          100,000.00   100‐180
   100       11117‐11119 S Longwood Drive                                 Estate Property         Gallowglass LLC c/o Patrick Bournes                                                       $            100,000.00    Investor‐Lender                               100‐316
   100       11117‐11119 S Longwood Drive                                 Estate Property         Grathia Corp                                                                              $          1,184,081.00    Investor‐Lender       $           53,000.00   100‐1445
   100       11117‐11119 S Longwood Drive                                 Estate Property         Hillside Fund, LLC ‐ Janet F. Turco, Owner/ Managing Member                               $            505,000.00    Investor‐Lender       $           75,000.00   100‐101
   100       11117‐11119 S Longwood Drive                                 Estate Property         Joel Feingold JFKN Investment Trust                                                        $            95,000.00    Investor‐Lender       $           25,000.00   100‐527
   100       11117‐11119 S Longwood Drive                                 Estate Property         John and Cynthia Braden                                                                    $            43,888.41    Investor‐Lender       $           50,000.00   100‐1047
   100       11117‐11119 S Longwood Drive                                 Estate Property         Joseph E. Kennedy                                                                         $            298,138.29    Investor‐Lender       $           50,000.00   100‐106
   100       11117‐11119 S Longwood Drive                                 Estate Property         Kristien Van Hecke as trustee of DK Phenix Investments LLC 401(k) FBO Kristien Van Hecke $              22,434.28    Investor‐Lender       $           25,000.00   100‐840

   100       11117‐11119 S Longwood Drive                                 Estate Property         Madison Trust Acc Nr M1707067 fbo Harry L Shaffer                                         $          200,000.00      Investor‐Lender       $          100,000.00   100‐2053
   100       11117‐11119 S Longwood Drive                                 Estate Property         Madison Trust Company Custodian FBO Patrick Coppinger M1708149, Patrick Coppinger         $           60,000.00      Investor‐Lender       $           60,000.00   100‐1430

   100       11117‐11119 S Longwood Drive                                 Estate Property         Mountain West LLC IRA FBO Rachael B. Curcio Acct# 50679‐01                                $           159,000.00     Investor‐Lender       $           92,000.00   100‐315
   100       11117‐11119 S Longwood Drive                                 Estate Property         Nancy Cree (Cree Capital Ventures)                                                        $           725,000.00     Investor‐Lender       $          250,000.00   100‐2014
   100       11117‐11119 S Longwood Drive                                 Estate Property         Nancy Fillmore                                                                            $            90,974.27     Investor‐Lender                               100‐2022
   100       11117‐11119 S Longwood Drive                                 Estate Property         Patricia E Gomes (Ravin3 LLC / Longwood11117, LLC)                                        $           405,333.28     Investor‐Lender       $          400,000.00   100‐1400
   100       11117‐11119 S Longwood Drive                                 Estate Property         Paul N. Wilmesmeier                                                                       $           790,185.00     Investor‐Lender       $           15,000.00   100‐300
   100       11117‐11119 S Longwood Drive                                 Estate Property         Paul S. Applefield, Trustee, Paul S. Applefield, DDS, 401k Plan                           $           106,000.00     Investor‐Lender       $           11,000.00   100‐2087
   100       11117‐11119 S Longwood Drive                                 Estate Property         Petra Zoeller                                                                             $           546,619.00     Investor‐Lender       $          199,000.00   100‐594
   100       11117‐11119 S Longwood Drive                                 Estate Property         PNW Investments, LLC                                                                      $           350,000.00     Investor‐Lender       $           18,000.00   100‐332
   100       11117‐11119 S Longwood Drive                                 Estate Property         Rajesh Gupta Roth IRA                                                                     $           318,674.45     Investor‐Lender       $          265,562.00   100‐1280
   100       11117‐11119 S Longwood Drive                                 Estate Property         Rajitha Dundigalla                                                                        $            50,000.00     Investor‐Lender       $           50,000.00   100‐655
   100       11117‐11119 S Longwood Drive                                 Estate Property         Rinku Uberoi                                                                              $           250,000.00     Investor‐Lender       $          250,000.00   100‐1373
   100       11117‐11119 S Longwood Drive                                 Estate Property         Rise Up Real Estate Group, LLC                                                            $           352,258.39     Investor‐Lender       $          125,000.00   100‐1484
   100       11117‐11119 S Longwood Drive                                 Estate Property         Robert W. Jennings                                                                        $           308,632.47     Investor‐Lender       $          150,000.00   100‐447
   100       11117‐11119 S Longwood Drive                                 Estate Property         Roswitha M. and John S. Ennema                                                            $            58,179.21     Investor‐Lender       $            5,000.00   100‐564
   100       11117‐11119 S Longwood Drive                                 Estate Property         Scott Eaton                                                                               $           549,101.33     Investor‐Lender       $           50,000.00   100‐1470
   100       11117‐11119 S Longwood Drive                                 Estate Property         Serva Fidem, LLC                                                                          $            78,510.69     Investor‐Lender       $           25,000.00   100‐1425
   100       11117‐11119 S Longwood Drive                                 Estate Property         Steven Trzaska                                                                            $           167,000.00     Investor‐Lender       $          100,000.00   100‐141
   100       11117‐11119 S Longwood Drive                                 Estate Property         Timothy S Sharp                                                                           $           650,000.00     Investor‐Lender       $           50,000.00   100‐76
   100       11117‐11119 S Longwood Drive                                 Estate Property         Victor Shaw                                                                               $           296,025.03     Investor‐Lender       $           50,000.00   100‐1040
   100       11117‐11119 S Longwood Drive                                 Estate Property         William H. Akins, Jr.                                                                     $         1,100,000.00     Investor‐Lender       $          250,000.00   100‐2003
   100       11117‐11119 S Longwood Drive                                 Estate Property         Wisemove Properties LLC, (Anthony and Linda Reid, members)                                $           668,979.00     Investor‐Lender       $           50,000.00   100‐168
   100       11117‐11119 S Longwood Drive                                 Estate Property         WT Investment Trust (Wiegert Tierie)                                                      $            18,043.99     Investor‐Lender       $           17,350.00   100‐1310
   100       11117‐11119 S Longwood Drive                                 Estate Property         Zouhair and Nada Stephan                                                                  $           300,000.00     Investor‐Lender       $          150,000.00   100‐283
   100       11117‐11119 S Longwood Drive                                 Estate Property         Quest Trust Company FBO Paul Applefield Roth IRA#16413‐21                                 $            13,500.00     Investor‐Lender       $            7,000.00   100‐2088
   100       11117‐11119 S Longwood Drive                                 Estate Property         Quest Trust Company FBO Robin Applefield Roth IRA#25164‐21                                $            13,500.00     Investor‐Lender       $            7,000.00   100‐2089
   100       11117‐11119 S Longwood Drive                                 Estate Property         John B. Allred & Glenda K. Allred                                                         $         1,421,646.52   Investor‐Lender and                             100‐2004
                                                                                                                                                                                                                        Equity Investor
   101         6949‐59 S Merrill Avenue                                   Estate Property         Capital Investors, LLC (6951 S. Merrill Fund I LLC)                                       $         1,856,942.46      Equity Investor      $        1,550,000.00   101‐1490
   101         6949‐59 S Merrill Avenue                                   Estate Property         CLC Electric, Inc. (Costel Dumitrescu)                                                    $           108,000.00 Independent Contractor    $           57,000.00   101‐1477

   101         6949‐59 S Merrill Avenue                                   Estate Property         CLD Construction, Inc. (Doru Unchias)                                                     $          434,935.00 Independent Contractor $               91,000.00   101‐1454

   101         6949‐59 S Merrill Avenue                                   Estate Property         Thorofare Asset Based Lending REIT Fund IV, LLC                                           $         1,915,706.50    Institutional Lender                           101‐1188
   101         6949‐59 S Merrill Avenue                                   Estate Property         Doron Reichenberg                                                                         $           179,000.00      Investor‐Lender      $           54,000.00   101‐708
102 to 106      7927‐49 S Essex Avenue                                    Estate Property         Bernadette Chen (Eleven St Felix St. Realty)                                              $         1,000,000.00       Equity Investor     $           50,000.00   102‐‐2012
102 to 106      7927‐49 S Essex Avenue                                    Estate Property         Bright Venture, LLC                                                                       $           231,142.74       Equity Investor     $           70,000.00   102‐84




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Property             Property Address                     Alternative Address            Type                                              Claimant Name                                      Claimed Amount         Claim Category as      Amount Claimed to be     Claim
Number                                                                                                                                                                                   (Total Claimed Amount      Identified on Claim      Invested in Property   Number
                                                                                                                                                                                           in Claim Category as            Form
                                                                                                                                                                                            Identified on Claim
                                                                                                                                                                                                   Form)
102 to 106        7927‐49 S Essex Avenue                                        Estate Property         David M Harris                                                                    $            534,555.00       Equity Investor     $          100,000.00   102‐267
102 to 106        7927‐49 S Essex Avenue                                        Estate Property         LMJ Sales, Inc.                                                                   $            270,066.18       Equity Investor     $          115,937.00   102‐1346
102 to 106        7927‐49 S Essex Avenue                                        Estate Property         Michael Prokop                                                                    $                197.01       Equity Investor     $          150,000.00   102‐787
102 to 106        7927‐49 S Essex Avenue                                        Estate Property         Peter Schonberger                                                                  $            30,000.00       Equity Investor     $           30,000.00   102‐703
102 to 106        7927‐49 S Essex Avenue                                        Estate Property         Steven G. Mouty                                                                   $            465,000.00       Equity Investor     $          100,000.00   102‐821
102 to 106        7927‐49 S Essex Avenue                                        Estate Property         Umbrella Investment Partners                                                       $            41,500.00       Equity Investor     $           40,000.00   102‐1167
102 to 106        7927‐49 S Essex Avenue                                        Estate Property         Asians Investing In Real Estate LLC                                               $          1,278,402.00      Investor‐Lender      $          119,000.00   102‐503
102 to 106        7927‐49 S Essex Avenue                                        Estate Property         David & Florybeth Stratton                                                        $            150,000.00      Investor‐Lender      $          150,000.00   102‐588
102 to 106        7927‐49 S Essex Avenue                                        Estate Property         David Ashley Lawrence Johnson investing under Endurance Capital Management LLC    $            172,583.29      Investor‐Lender      $          100,000.00   102‐170
102 to 106        7927‐49 S Essex Avenue                                        Estate Property         David M Harris                                                                    $            831,700.00      Investor‐Lender      $           51,855.00   102‐267
102 to 106        7927‐49 S Essex Avenue                                        Estate Property         Edge Investments, LLC, Janet F. Turco, Owner/Member IRA                           $          1,031,324.00      Investor‐Lender      $          100,400.00   102‐180
102 to 106        7927‐49 S Essex Avenue                                        Estate Property         Francisco Fernandez                                                               $            584,237.50      Investor‐Lender      $          165,000.00   102‐1450
102 to 106        7927‐49 S Essex Avenue                                        Estate Property         Fredric R. Gottlieb (South Florida Realty Management & Investments)               $            433,306.00      Investor‐Lender      $          100,000.00   102‐1215
102 to 106        7927‐49 S Essex Avenue                                        Estate Property         Grathia Corp                                                                      $          1,184,081.00      Investor‐Lender      $           50,000.00   102‐1445
102 to 106        7927‐49 S Essex Avenue                                        Estate Property         Helen Boyd                                                                        $            105,000.00      Investor‐Lender      $          105,000.00   102‐2010
102 to 106        7927‐49 S Essex Avenue                                        Estate Property         Madison Trust Company Custodian FBO Stuart Edelman                                $            255,332.70      Investor‐Lender      $           35,000.00   102‐103
102 to 106        7927‐49 S Essex Avenue                                        Estate Property         Matthew Boyd                                                                      $            405,000.00      Investor‐Lender      $          314,302.00   102‐2060
102 to 106        7927‐49 S Essex Avenue                                        Estate Property         OE Holdings LLC                                                                    $            30,000.00      Investor‐Lender      $           30,000.00   102‐852
102 to 106        7927‐49 S Essex Avenue                                        Estate Property         Pacific Ocean Services Inc                                                        $            175,000.00      Investor‐Lender      $          150,000.00   102‐1256
102 to 106        7927‐49 S Essex Avenue                                        Estate Property         Paul N. Wilmesmeier                                                               $            790,185.00      Investor‐Lender      $           75,000.00   102‐300
102 to 106        7927‐49 S Essex Avenue                                        Estate Property         PNW Investments, LLC                                                              $            350,000.00      Investor‐Lender      $           25,000.00   102‐332
102 to 106        7927‐49 S Essex Avenue                                        Estate Property         Ranell Durgan                                                                     $            200,000.00      Investor‐Lender      $          200,000.00   102‐515
102 to 106        7927‐49 S Essex Avenue                                        Estate Property         Ranell Durgan (Polycomp Trust Company_CFBO)                                       $            200,000.00      Investor‐Lender      $          200,000.00   102‐762
102 to 106        7927‐49 S Essex Avenue                                        Estate Property         ROBERT A LAPORTE                                                                  $            100,000.00      Investor‐Lender      $           50,000.00   102‐1038
102 to 106        7927‐49 S Essex Avenue                                        Estate Property         Roswitha M. and John S. Ennema                                                     $            58,179.21      Investor‐Lender      $           45,000.00   102‐564
102 to 106        7927‐49 S Essex Avenue                                        Estate Property         Sidney Haggins                                                                     $            85,000.00      Investor‐Lender      $           35,000.00   102‐1434
102 to 106        7927‐49 S Essex Avenue                                        Estate Property         Tiger Chang Investments LLC                                                        $            49,000.00      Investor‐Lender      $            4,000.00   102‐164
102 to 106        7927‐49 S Essex Avenue                                        Estate Property         Timothy S Sharp                                                                   $            650,000.00      Investor‐Lender      $           50,000.00   102‐76
102 to 106        7927‐49 S Essex Avenue                                        Estate Property         Victor Shaw                                                                       $            296,025.03      Investor‐Lender      $           30,000.00   102‐1040
102 to 106        7927‐49 S Essex Avenue                                        Estate Property         Zouhair and Nada Stephan                                                          $            300,000.00      Investor‐Lender      $          150,000.00   102‐283
102 to 106        7927‐49 S Essex Avenue                                        Estate Property         Degenhardt, Duane A                                                               $            645,000.00      Investor‐Lender      $          100,000.00   102‐2015
102 to 106        7927‐49 S Essex Avenue                                        Estate Property         Paul Harrison                                                                     $            420,331.59      Investor‐Lender      $           63,694.00   102‐2026
102 to 106        7927‐49 S Essex Avenue                                        Estate Property         Patricia Guillen                                                                   $            50,000.00   Investor‐Lender and     $           50,000.00   102‐463
                                                                                                                                                                                                                        Equity Investor
   107            1422‐24 East 68th Street                                      Estate Property         Domenic Simone                                                                    $          153,246.58         Equity Investor     $          165,000.00   107‐883
   107            1422‐24 East 68th Street                                      Estate Property         UBS AG                                                                            $        4,649,579.63      Institutional Lender                           107‐2086
   107            1422‐24 East 68th Street                                      Estate Property         Dan Behm                                                                          $           96,373.45        Investor‐Lender                              107‐816
   107            1422‐24 East 68th Street                                      Estate Property         Fixed Slice LLC                                                                   $           64,775.00        Investor‐Lender      $          250,642.00   107‐176
   108             2800‐06 E 81st Street                                        Estate Property         UBS AG                                                                            $        4,649,579.63      Institutional Lender                           108‐2086
   108             2800‐06 E 81st Street                                        Estate Property         Rende, Nicolas                                                                    $          830,000.00        Investor‐Lender      $          430,000.00   108‐2048
   108             2800‐06 E 81st Street                                        Estate Property         Kendall Chenier                                                                   $          667,084.15              Other                                  108‐1144
   109           4750‐52 S Indiana Avenue                                       Estate Property         Kathleen Martin                                                                   $          304,605.24         Equity Investor     $           50,000.00   109‐246

   109           4750‐52 S Indiana Avenue                                       Estate Property         Professional Real Estate Solutions, LLC / Edward J. Netzel                        $           13,204.91        Equity Investor      $           50,000.00   109‐489
   109           4750‐52 S Indiana Avenue                                       Estate Property         Sarah Qiuhong Yang                                                                $          100,000.00        Equity Investor      $          100,000.00   109‐1272
   109           4750‐52 S Indiana Avenue                                       Estate Property         Jason Ragan ‐ TSA                                                                 $          128,050.00        Equity Investor      $           80,000.00   109‐1133
   109           4750‐52 S Indiana Avenue                                       Estate Property         UBS AG                                                                            $        4,649,579.63     Institutional Lender                            109‐2086
   109           4750‐52 S Indiana Avenue                                       Estate Property         JLE Investments, LLC c/o James Eng                                                $            8,330.19       Investor‐Lender       $           13,204.91   109‐501
   109           4750‐52 S Indiana Avenue                                       Estate Property         MID LLC by Carolyn Mize                                                           $           53,061.25       Investor‐Lender       $            5,000.00   109‐524
   109           4750‐52 S Indiana Avenue                                       Estate Property         SLB Ventures, LLC                                                                 $          215,215.48       Investor‐Lender       $           80,040.00   109‐565
   109           4750‐52 S Indiana Avenue                                       Estate Property         Virginia Lieblein                                                                 $           19,551.16       Investor‐Lender       $            2,852.83   109‐110
   110       5618‐20 S Martin Luther King Drive                                 Estate Property         UBS AG                                                                            $        4,649,579.63     Institutional Lender                            110‐2086
   110       5618‐20 S Martin Luther King Drive                                 Estate Property         Arthur Bertrand                                                                   $           78,079.82       Investor‐Lender       $           50,000.00   110‐892
   110       5618‐20 S Martin Luther King Drive                                 Estate Property         Brian Shea                                                                        $          122,256.00       Investor‐Lender       $           26,500.00   110‐1264
   110       5618‐20 S Martin Luther King Drive                                 Estate Property         Kevin Bybee, iPlanGroup Agent for Custodian FBO Kevin Bybee IRA                   $          102,367.34       Investor‐Lender       $          200,000.00   110‐497
   110       5618‐20 S Martin Luther King Drive                                 Estate Property         THE INCOME FUND, LLC Thomas Garlock, Managing Member                              $          771,830.76       Investor‐Lender       $          429,650.00   110‐1421
   110       5618‐20 S Martin Luther King Drive                                 Estate Property         City of Chicago                                                                   $           78,479.20             Other           $            4,527.80   110‐693
   111            6558 S Vernon Avenue                   416‐24 E 66th Street   Estate Property         Kevin Lyons                                                                       $           98,899.84        Equity Investor      $           25,000.00   111‐610




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Property           Property Address                    Alternative Address            Type                                             Claimant Name                                      Claimed Amount         Claim Category as     Amount Claimed to be     Claim
Number                                                                                                                                                                               (Total Claimed Amount      Identified on Claim     Invested in Property   Number
                                                                                                                                                                                       in Claim Category as            Form
                                                                                                                                                                                        Identified on Claim
                                                                                                                                                                                               Form)
  111           6558 S Vernon Avenue                  416‐24 E 66th Street    Estate Property      Verdell Michaux                                                                     $            34,000.00      Equity Investor     $           25,000.00   111‐2039
  111           6558 S Vernon Avenue                  416‐24 E 66th Street    Estate Property      UBS AG                                                                             $          4,649,579.63   Institutional Lender                           111‐2086
  111           6558 S Vernon Avenue                  416‐24 E 66th Street    Estate Property      Chad R Brown                                                                        $            42,051.58     Investor‐Lender      $          170,000.00   111‐294
  111           6558 S Vernon Avenue                  416‐24 E 66th Street    Estate Property      Halbur, William and Janice                                                          $            20,000.00     Investor‐Lender      $           20,000.00   111‐2025
  111           6558 S Vernon Avenue                  416‐24 E 66th Street    Estate Property      Pankaj Patel BDA EZ NJ VENTURES, LLC.                                              $            223,000.00     Investor‐Lender      $           50,000.00   111‐920
  111           6558 S Vernon Avenue                  416‐24 E 66th Street    Estate Property      Paul N. Wilmesmeier                                                                $            790,185.00     Investor‐Lender      $           50,000.00   111‐300
  111           6558 S Vernon Avenue                  416‐24 E 66th Street    Estate Property      Robert Guiney                                                                      $            112,260.00     Investor‐Lender      $           14,058.22   111‐798
  111           6558 S Vernon Avenue                  416‐24 E 66th Street    Estate Property      Russell Waite                                                                      $            155,176.75     Investor‐Lender      $          220,119.00   111‐1120
  111           6558 S Vernon Avenue                  416‐24 E 66th Street    Estate Property      The Jacqueline C Rowe Living Trust                                                 $            372,417.74     Investor‐Lender                              111‐139
  111           6558 S Vernon Avenue                  416‐24 E 66th Street    Estate Property      The Peter Paul Nuspl Living Trust                                                  $          1,123,278.00     Investor‐Lender      $          100,000.00   111‐2044
  112             7450 S Luella Avenue                2220 East 75th Street   Estate Property      UBS AG                                                                             $          4,649,579.63   Institutional Lender                           112‐2086
  112             7450 S Luella Avenue                2220 East 75th Street   Estate Property      Brett Burnham (Burnham 401k Trust)                                                 $            215,335.54     Investor‐Lender      $            5,000.00   112‐314
  112             7450 S Luella Avenue                2220 East 75th Street   Estate Property      Gerry / Clarice Recamara                                                            $             2,227.80     Investor‐Lender                              112‐618
  112             7450 S Luella Avenue                2220 East 75th Street   Estate Property      James Tutsock                                                                      $            900,000.00     Investor‐Lender      $          180,517.00   112‐2057
  112             7450 S Luella Avenue                2220 East 75th Street   Estate Property      Kevin Bybee, iPlanGroup Agent for Custodian FBO Kevin Bybee IRA                    $            102,367.34     Investor‐Lender      $           50,000.00   112‐497
  113           7840‐42 S Yates Avenue                                        Estate Property      UBS AG                                                                             $          4,649,579.63   Institutional Lender                           113‐2086
  113           7840‐42 S Yates Avenue                                        Estate Property      Rende, Nicolas                                                                     $            830,000.00     Investor‐Lender      $          400,000.00   113‐2048
  113           7840‐42 S Yates Avenue                                        Estate Property      Kendall Chenier                                                                    $            667,084.15           Other                                  113‐1144
  115            109 N Laramie Avenue                                         Former Property      FDD Properties LLC                                                                 $            225,000.00      Equity Investor     $           50,000.00   115‐611
  115            109 N Laramie Avenue                                         Former Property      Alison Schankman                                                                    $            99,365.61     Investor‐Lender                              115‐2051
  115            109 N Laramie Avenue                                         Former Property      Arthur and Dinah Bertrand                                                          $          1,000,000.00     Investor‐Lender      $           50,000.00   115‐890
  115            109 N Laramie Avenue                                         Former Property      Brad and Linda Lutz                                                                $            813,582.00     Investor‐Lender      $           39,663.00   115‐962
  115            109 N Laramie Avenue                                         Former Property      Brett Burnham (iPlanGroup Agent for Custodian FBO Brett Burnham)                   $            215,335.54     Investor‐Lender                              115‐314
  115            109 N Laramie Avenue                                         Former Property      Celia Tong Revocable Living Trust Dated December 22, 2011                                                      Investor‐Lender      $            2,065.00   115‐287
  115            109 N Laramie Avenue                                         Former Property      Dennis K McCoy                                                                     $          312,238.67       Investor‐Lender      $           30,155.00   115‐569
  115            109 N Laramie Avenue                                         Former Property      James Taber                                                                        $          125,000.00       Investor‐Lender      $           50,000.00   115‐780
  115            109 N Laramie Avenue                                         Former Property      Joseph E. Kennedy                                                                  $          298,138.29       Investor‐Lender      $          181,311.00   115‐106
  115            109 N Laramie Avenue                                         Former Property      Kelly E Welton (iPlanGroup Agent for Custodian FBO Kelly Welton, IRA)              $           83,813.00       Investor‐Lender      $           31,213.00   115‐310
  115            109 N Laramie Avenue                                         Former Property      Melvin Shurtz                                                                        $                 ‐       Investor‐Lender      $           25,000.00   115‐362
  115            109 N Laramie Avenue                                         Former Property      Michael Borgia                                                                     $        1,253,784.00       Investor‐Lender      $          455,673.00   115‐231
  115            109 N Laramie Avenue                                         Former Property      Private Finance Solutions, LLC                                                     $          128,406.34       Investor‐Lender      $           88,970.00   115‐1478
  115            109 N Laramie Avenue                                         Former Property      Robert A Demick DDS PA 401K                                                        $          177,678.65       Investor‐Lender      $           30,000.00   115‐680
  115            109 N Laramie Avenue                                         Former Property      Russell Shurtz (Horizon Trust Company, Custodian FBO Russell Shurtz IRA Account      $                 ‐       Investor‐Lender      $           25,000.00   115‐924
                                                                                                   599991402)
  115            109 N Laramie Avenue                                         Former Property      Spectra Investments LLC/ Deborah L. Mullica                                        $          579,288.00       Investor‐Lender      $          105,772.00   115‐1220
  115            109 N Laramie Avenue                                         Former Property      Stephan Tang                                                                       $          123,256.97       Investor‐Lender      $           50,000.00   115‐1111
  115            109 N Laramie Avenue                                         Former Property      Strata Trust Company FBO David J Geldart                                           $          230,621.00       Investor‐Lender                              115‐1010
  115            109 N Laramie Avenue                                         Former Property      The Bonita R. Skurski & Steven E Skurski Trust                                     $           98,452.43       Investor‐Lender      $           20,000.00   115‐2093
  115            109 N Laramie Avenue                                         Former Property      John B. Allred & Glenda K. Allred                                                  $        1,421,646.52     Investor‐Lender and                            115‐2004
                                                                                                                                                                                                                   Equity Investor
  115            109 N Laramie Avenue                                         Former Property      City of Chicago                                                                    $           78,479.20            Other           $           1,715.34    115‐693
  116      1102 Bingham St, Houston TX 77007                                  Estate Property      RAMANAN RAMADOSS                                                                   $              204.96        Equity Investor     $           15,000.00   116‐71
  116      1102 Bingham St, Houston TX 77007                                  Estate Property      AMark Investment Trust                                                             $          699,490.82       Investor‐Lender      $          125,000.00   116‐710
  116      1102 Bingham St, Houston TX 77007                                  Estate Property      Anatoly B. Naritsin                                                                $           55,417.00       Investor‐Lender      $           50,000.00   116‐2077
  116      1102 Bingham St, Houston TX 77007                                  Estate Property      ARBOR VENTURES OVERSEAS LIMITED, LLC                                               $          176,122.67       Investor‐Lender      $           50,000.00   116‐446
  116      1102 Bingham St, Houston TX 77007                                  Estate Property      Debbie Lasley                                                                      $          104,550.09       Investor‐Lender      $           55,000.00   116‐456
  116      1102 Bingham St, Houston TX 77007                                  Estate Property      Dennis K McCoy                                                                     $          312,238.67       Investor‐Lender      $           50,000.00   116‐569
  116      1102 Bingham St, Houston TX 77007                                  Estate Property      Fireshark Enterprises, LLC, a Texas Series Limited Liability Company               $          279,898.28       Investor‐Lender      $          313,418.93   116‐1130
  116      1102 Bingham St, Houston TX 77007                                  Estate Property      Michael Warner, Trustee of Warner Chiropractic Care Center, PC PSP                 $          203,254.00       Investor‐Lender      $           54,254.00   116‐78
  116      1102 Bingham St, Houston TX 77007                                  Estate Property      Robert Karlsson for MiLLCreek Holdings LLC                                         $          255,035.70       Investor‐Lender      $          200,000.00   116‐166
  116      1102 Bingham St, Houston TX 77007                                  Estate Property      Russell Waite                                                                      $          155,176.75       Investor‐Lender      $           50,000.00   116‐1120
  116      1102 Bingham St, Houston TX 77007                                  Estate Property      Spectra Investments LLC/ Deborah L. Mullica                                        $          579,288.00       Investor‐Lender      $          139,971.00   116‐1220
  116      1102 Bingham St, Houston TX 77007                                  Estate Property      Alton Motes                                                                        $          245,841.62       Investor‐Lender      $           20,000.00   116‐2042
  116      1102 Bingham St, Houston TX 77007                                  Estate Property      American Estate & Trust, LC FBO Bruce Klingman's IRA                               $           72,333.33       Investor‐Lender      $           63,033.00   116‐199
  116      1102 Bingham St, Houston TX 77007                                  Estate Property      Knickerbocker LLC                                                                  $          102,505.16       Investor‐Lender      $           50,000.00   116‐2035
  116      1102 Bingham St, Houston TX 77007                                  Estate Property      iPlanGroup Agent for Custodian FBO Charles Michael Anglin                          $          238,889.23     Investor‐Lender and    $           52,474.56   116‐331
                                                                                                                                                                                                                   Equity Investor
  117            3915 N Kimball Avenue                                        Former Property      1839 Fund I LLC                                                                    $           38,081.00       Investor‐Lender      $           50,000.00   117‐367




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Property        Property Address                 Alternative Address           Type                                            Claimant Name                                           Claimed Amount           Claim Category as     Amount Claimed to be     Claim
Number                                                                                                                                                                            (Total Claimed Amount        Identified on Claim     Invested in Property   Number
                                                                                                                                                                                    in Claim Category as              Form
                                                                                                                                                                                     Identified on Claim
                                                                                                                                                                                            Form)
  117        3915 N Kimball Avenue                                     Former Property      Alison Schankman                                                                        $            99,365.61      Investor‐Lender       $           25,000.00   117‐2051
  117        3915 N Kimball Avenue                                     Former Property      Daniel Matthews, Leah Matthews                                                         $            185,922.54      Investor‐Lender       $           47,184.00   117‐117
  117        3915 N Kimball Avenue                                     Former Property      Private Finance Solutions, LLC                                                         $            128,406.34      Investor‐Lender       $           30,311.00   117‐1478
  117        3915 N Kimball Avenue                                     Former Property      Robert Guiney                                                                          $            112,260.00      Investor‐Lender       $           11,097.00   117‐798
  118        400 S Kilbourn Avenue                                     Former Property      Carolyn B Ucker                                                                         $            50,000.00       Equity Investor      $           25,000.00   118‐1099
  118        400 S Kilbourn Avenue                                     Former Property      Brian Shea                                                                             $            122,256.00      Investor‐Lender       $           63,000.00   118‐1264
  118        400 S Kilbourn Avenue                                     Former Property      Cecilia Wolff (iPlan Group Agent for Custodian FBO Cecilia Wolff)                       $            73,887.50      Investor‐Lender                               118‐1204
  118        400 S Kilbourn Avenue                                     Former Property      Chukwuemeka Ezeume                                                                     $            178,625.00      Investor‐Lender       $          150,000.00   118‐211
  118        400 S Kilbourn Avenue                                     Former Property      Equity TrustCompany Custodian FBO Karuna Voddi IRA                                      $            12,777.00      Investor‐Lender       $           12,777.00   118‐990
  118        400 S Kilbourn Avenue                                     Former Property      Gerry / Clarice Recamara                                                                $             2,227.80      Investor‐Lender                               118‐618
  118        400 S Kilbourn Avenue                                     Former Property      Hillside Fund, LLC ‐ Janet F. Turco, Owner/ Managing Member                            $            505,000.00      Investor‐Lender       $           50,000.00   118‐101
  118        400 S Kilbourn Avenue                                     Former Property      R.D.Meredith General Contractors LLC 401K                                              $            373,617.16      Investor‐Lender       $            5,875.00   118‐528
  118        400 S Kilbourn Avenue                                     Former Property      RE Solutions MD, LLC Employee Profit Sharing/401K by Mary E. Doerr, an unaccredited     $            50,000.00      Investor‐Lender       $           50,000.00   118‐245
                                                                                            investor
  118        400 S Kilbourn Avenue                                     Former Property      Teresita M. Shelton                                                                    $          426,513.00         Investor‐Lender      $           50,000.00   118‐330
  118        400 S Kilbourn Avenue                                     Former Property      The Jacqueline C Rowe Living Trust                                                     $          372,417.74         Investor‐Lender      $           80,000.00   118‐139
  118        400 S Kilbourn Avenue                                     Former Property      The Peter Paul Nuspl Living Trust                                                      $        1,123,278.00         Investor‐Lender      $           95,000.00   118‐2044
  118        400 S Kilbourn Avenue                                     Former Property      John B. Allred & Glenda K. Allred                                                      $        1,421,646.52       Investor‐Lender and                            118‐2004
                                                                                                                                                                                                                  Equity Investor
  119         4019 S Indiana Avenue                                    Former Property      Mark P. Mouty                                                                          $          130,703.00          Equity Investor     $          120,703.00   119‐165
  119         4019 S Indiana Avenue                                    Former Property      Robert Weech                                                                           $              503.31         Investor‐Lender      $            6,912.56   119‐802
  119         4019 S Indiana Avenue                                    Former Property      Sarah Qiuhong Yang                                                                     $           60,543.00         Investor‐Lender      $           53,420.00   119‐1272
  119         4019 S Indiana Avenue                                    Former Property      Schankman, Michael                                                                     $           57,402.06         Investor‐Lender      $           26,000.00   119‐2052
  120        7823‐27 S Essex Avenue                                    Former Property      Frank and Laura Sohm                                                                   $          167,893.65          Equity Investor     $           26,000.00   120‐906
  120        7823‐27 S Essex Avenue                                    Former Property      Bancroft, Ed A                                                                         $          258,060.00         Investor‐Lender      $           75,000.00   120‐2008
  120        7823‐27 S Essex Avenue                                    Former Property      Bedford, Bert and Sadie                                                                $           45,477.28         Investor‐Lender      $           46,131.00   120‐2009
  120        7823‐27 S Essex Avenue                                    Former Property      Frank Sohm IRA                                                                         $          148,604.93         Investor‐Lender      $           40,000.00   120‐558
  120        7823‐27 S Essex Avenue                                    Former Property      iPlanGroup Agent for Custodian FBO Laura Dirnberger Roth IRA                           $           71,321.00         Investor‐Lender      $           31,000.00   120‐448
  120        7823‐27 S Essex Avenue                                    Former Property      The Edward Falkowitz Living Trust                                                      $          305,584.73         Investor‐Lender                              120‐575
  122      7616‐7624 S Phillips Avenue                                 Former Property      CCF2                                                                                   $        1,000,000.00          Equity Investor     $           50,000.00   122‐2012
  122      7616‐7624 S Phillips Avenue                                 Former Property      Edge Investments, LLC, Janet F. Turco, Owner/Member IRA                                $        1,031,324.00          Equity Investor     $           27,000.00   122‐180
  122      7616‐7624 S Phillips Avenue                                 Former Property      Arthur and Dinah Bertrand                                                              $        1,000,000.00         Investor‐Lender      $          150,000.00   122‐890
  122      7616‐7624 S Phillips Avenue                                 Former Property      Asians Investing In Real Estate LLC                                                    $        1,278,402.00         Investor‐Lender      $           50,000.00   122‐503
  122      7616‐7624 S Phillips Avenue                                 Former Property      B & H Creative Investments LLC                                                         $          428,533.00         Investor‐Lender      $          100,000.00   122‐414
  122      7616‐7624 S Phillips Avenue                                 Former Property      Francisco Fernandez                                                                    $          584,237.50         Investor‐Lender      $          175,000.00   122‐1450
  122      7616‐7624 S Phillips Avenue                                 Former Property      Michael Borgia IRA                                                                     $          975,416.00         Investor‐Lender      $          325,000.00   122‐705
  122      7616‐7624 S Phillips Avenue                                 Former Property      Paule M Nagy                                                                           $           50,000.00         Investor‐Lender      $           50,000.00   122‐757
  122      7616‐7624 S Phillips Avenue                                 Former Property      Scott Naftulin dba N North End, LLC                                                    $           71,946.23         Investor‐Lender      $           50,000.00   122‐216
  122      7616‐7624 S Phillips Avenue                                 Former Property      The Jacqueline C Rowe Living Trust                                                     $          372,417.74         Investor‐Lender      $           25,000.00   122‐139
  122      7616‐7624 S Phillips Avenue                                 Former Property      The Peter Paul Nuspl Living Trust                                                      $        1,123,278.00         Investor‐Lender      $           82,650.00   122‐2044
  122      7616‐7624 S Phillips Avenue                                 Former Property      Total Return Income Fund, LLC Thomas Garlock, Managing Member                          $        1,571,886.00         Investor‐Lender      $          435,350.00   122‐1366
  122      7616‐7624 S Phillips Avenue                                 Former Property      Michigan Shore Apartments, LLC                                                         $          435,350.00              Other                                   122‐1485
  123       7107‐29 S Bennett Avenue                                   Former Property      Bernadette Chen (Eleven St Felix St. Realty                                            $        1,000,000.00          Equity Investor     $           50,000.00   123‐2012
  123       7107‐29 S Bennett Avenue                                   Former Property      Quantum Growth Holdings LLC                                                            $           15,321.00          Equity Investor     $            1,971.00   123‐354
  123       7107‐29 S Bennett Avenue                                   Former Property      CLD Construction, Inc. (Doru Unchias)                                                  $          434,935.00     Independent Contractor   $           10,000.00   123‐1454

  123      7107‐29 S Bennett Avenue                                    Former Property      Adam Epstein                                                                           $           50,000.00        Investor‐Lender       $           50,000.00   123‐64
  123      7107‐29 S Bennett Avenue                                    Former Property      Bancroft, Ed                                                                           $          258,060.00        Investor‐Lender       $           10,000.00   123‐2008
  123      7107‐29 S Bennett Avenue                                    Former Property      Blessing Strategies, LLC                                                               $           29,784.00        Investor‐Lender       $           22,282.00   123‐353
  123      7107‐29 S Bennett Avenue                                    Former Property      Brad and Linda Lutz                                                                    $          813,582.00        Investor‐Lender       $          339,414.00   123‐962
  123      7107‐29 S Bennett Avenue                                    Former Property      Brion Conklin                                                                          $           65,421.00        Investor‐Lender       $          116,531.00   123‐601
  123      7107‐29 S Bennett Avenue                                    Former Property      CAMA SDIRA LLC FBO Robert Guiney IRA                                                   $          104,314.46        Investor‐Lender       $           51,913.00   123‐1116
  123      7107‐29 S Bennett Avenue                                    Former Property      Chestnut Capital LLC                                                                   $          138,047.00        Investor‐Lender       $          219,465.00   123‐1460
  123      7107‐29 S Bennett Avenue                                    Former Property      Christine A. Styczynski                                                                $           42,033.00        Investor‐Lender       $           42,033.00   123‐373
  123      7107‐29 S Bennett Avenue                                    Former Property      Dan Behm                                                                               $           96,373.45        Investor‐Lender                               123‐816
  123      7107‐29 S Bennett Avenue                                    Former Property      Edwin BARKER                                                                           $           36,773.52        Investor‐Lender       $           50,000.00   123‐1498
  123      7107‐29 S Bennett Avenue                                    Former Property      Joral Schmalle                                                                         $        1,735,782.00        Investor‐Lender       $          630,000.00   123‐730
  123      7107‐29 S Bennett Avenue                                    Former Property      Kimberly W Robinson                                                                    $           98,000.00        Investor‐Lender       $           30,000.00   123‐1245




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Property       Property Address               Alternative Address           Type                                               Claimant Name                                    Claimed Amount          Claim Category as      Amount Claimed to be     Claim
Number                                                                                                                                                                     (Total Claimed Amount       Identified on Claim      Invested in Property   Number
                                                                                                                                                                             in Claim Category as             Form
                                                                                                                                                                              Identified on Claim
                                                                                                                                                                                     Form)
  123      7107‐29 S Bennett Avenue                                 Former Property      Kingdom Trust Company custodian, FBO Louis Duane Velez SEP IRA Acc. #7422686172     $            43,046.58      Investor‐Lender       $           50,000.00   123‐1221

  123      7107‐29 S Bennett Avenue                                 Former Property      LaDawn K. Westbrook ‐ Miss Property LLC                                            $           71,546.64        Investor‐Lender       $           50,000.00   123‐271
  123      7107‐29 S Bennett Avenue                                 Former Property      Lake Erie LLC (Douglas Lichtinger)                                                 $           21,683.17        Investor‐Lender       $           26,948.71   123‐629
  123      7107‐29 S Bennett Avenue                                 Former Property      Low Altitude, LLC                                                                  $          100,000.00        Investor‐Lender       $          100,000.00   123‐273
  123      7107‐29 S Bennett Avenue                                 Former Property      Pankaj Patel BDA EZ NJ VENTURES, LLC.                                              $          223,000.00        Investor‐Lender       $           50,000.00   123‐920
  123      7107‐29 S Bennett Avenue                                 Former Property      Patricia A Brown                                                                   $           84,631.88        Investor‐Lender       $          100,000.00   123‐1237
  123      7107‐29 S Bennett Avenue                                 Former Property      R.D.Meredith General Contractors LLC 401K                                          $          373,617.16        Investor‐Lender       $          103,000.00   123‐528
  123      7107‐29 S Bennett Avenue                                 Former Property      R2V2 Investments LLC                                                               $           88,590.47        Investor‐Lender       $           47,004.00   123‐842
  123      7107‐29 S Bennett Avenue                                 Former Property      Ronald Tucker                                                                      $           51,583.00        Investor‐Lender       $           51,583.00   123‐1398
  123      7107‐29 S Bennett Avenue                                 Former Property      Scott Naftulin dba N North End, LLC                                                $           71,946.23        Investor‐Lender       $           25,000.00   123‐216
  123      7107‐29 S Bennett Avenue                                 Former Property      Sunwest Trust Custodian FBO Jose G. Galarza IRA                                    $           44,789.00        Investor‐Lender       $           50,000.00   123‐1394
  123      7107‐29 S Bennett Avenue                                 Former Property      TIMMY RINKJ                                                                        $           78,048.23        Investor‐Lender                               123‐229
  123      7107‐29 S Bennett Avenue                                 Former Property      Total Return Income Fund, LLC Thomas Garlock, Managing Member                      $        1,571,886.00        Investor‐Lender       $          400,000.00   123‐1366
  123      7107‐29 S Bennett Avenue                                 Former Property      Wesley Pittman                                                                     $          180,048.45        Investor‐Lender                               123‐469
  123      7107‐29 S Bennett Avenue                                 Former Property      ZIN INVESTMENTS LLC ‐ c/o WILLIAM J. IANNAZZI                                      $           83,178.85        Investor‐Lender       $          108,766.67   123‐234
  123      7107‐29 S Bennett Avenue                                 Former Property      John B. Allred & Glenda K. Allred                                                  $        1,421,646.52      Investor‐Lender and                             123‐2004
                                                                                                                                                                                                          Equity Investor
  124       6801 S East End Avenue                                  Former Property      Bernadette Chen (Eleven St Felix St. Realty                                        $        1,000,000.00         Equity Investor      $           31,619.00   124‐2012
  124       6801 S East End Avenue                                  Former Property      Wayne K Larsen                                                                     $          110,000.00         Equity Investor      $          110,000.00   124‐490
  124       6801 S East End Avenue                                  Former Property      Wayne K Larsen Diane Larsen                                                        $          110,000.00         Equity Investor      $          110,000.00   124‐853
  124       6801 S East End Avenue                                  Former Property      Aaron Beauclair                                                                    $           40,000.00        Investor‐Lender       $           10,000.00   124‐408
  124       6801 S East End Avenue                                  Former Property      Anant Topiwala                                                                     $           52,517.48        Investor‐Lender       $           50,000.00   124‐1369
  124       6801 S East End Avenue                                  Former Property      Asians Investing In Real Estate LLC                                                $        1,278,402.00        Investor‐Lender       $           25,000.00   124‐503
  124       6801 S East End Avenue                                  Former Property      Bancroft, Ed (iPLanGroup Agent Ed Bancroft Roth)                                   $           66,007.00        Investor‐Lender       $           20,800.00   124‐2008
  124       6801 S East End Avenue                                  Former Property      Bluebridge Partners Limited                                                        $          791,620.17        Investor‐Lender       $          100,000.00   124‐727
  124       6801 S East End Avenue                                  Former Property      Brett Burnham (iPlanGroup Agent for Custodian FBO Brett Burnham)                   $          215,335.54        Investor‐Lender       $            5,000.00   124‐314
  124       6801 S East End Avenue                                  Former Property      Dennis Ray Hennefer                                                                $           34,840.00        Investor‐Lender       $           34,840.00   124‐1265
  124       6801 S East End Avenue                                  Former Property      EQUITY TRUST COMPANY CUSTODIAN FBO CHRISTOPHER M GUILLEN IRA                       $            2,951.00        Investor‐Lender       $            2,951.00   124‐460
  124       6801 S East End Avenue                                  Former Property      EQUITY TRUST COMPANY CUSTODIAN FBO JETT C GUILLEN CESA                             $            2,608.00        Investor‐Lender       $            2,608.00   124‐461
  124       6801 S East End Avenue                                  Former Property      EQUITY TRUST COMPANY CUSTODIAN FBO PATRICIA F GUILLEN IRA                          $           14,775.00        Investor‐Lender       $           14,775.00   124‐424
  124       6801 S East End Avenue                                  Former Property      Equity Trust Company Custodian FBO Theodore J. Guillen                             $           14,775.00        Investor‐Lender       $           14,775.00   124‐423
  124       6801 S East End Avenue                                  Former Property      EQUITY TRUST COMPANY CUSTODIAN FBO THEODORE P GUILLEN JR. IR                       $            2,391.00        Investor‐Lender       $            2,391.00   124‐457
  124       6801 S East End Avenue                                  Former Property      Focus4 Investments, LLC                                                            $          104,349.99        Investor‐Lender       $          100,000.00   124‐830
  124       6801 S East End Avenue                                  Former Property      Ganpat and FEREEDA Seunath                                                         $          216,194.22        Investor‐Lender       $           19,000.00   124‐77
  124       6801 S East End Avenue                                  Former Property      James Clements                                                                     $          185,910.00        Investor‐Lender                               124‐1402
  124       6801 S East End Avenue                                  Former Property      JN Investment Trust, Trustee Janice Nelson                                         $          160,000.00        Investor‐Lender       $           50,000.00   124‐556
  124       6801 S East End Avenue                                  Former Property      Joseph P. McCarthy                                                                 $          277,847.33        Investor‐Lender       $           25,000.00   124‐1367
  124       6801 S East End Avenue                                  Former Property      Keith Randall                                                                      $          250,000.00        Investor‐Lender       $           80,000.00   124‐1086
  124       6801 S East End Avenue                                  Former Property      Lori Moreland                                                                      $          102,348.00        Investor‐Lender       $           11,500.00   124‐805
  124       6801 S East End Avenue                                  Former Property      Lori Moreland                                                                      $          102,348.00        Investor‐Lender       $            4,246.00   124‐823
  124       6801 S East End Avenue                                  Former Property      Mary Ann Hennefer                                                                  $           15,160.00        Investor‐Lender       $           15,160.00   124‐1277
  124       6801 S East End Avenue                                  Former Property      Michael C. Jacobs                                                                  $          103,666.68        Investor‐Lender       $          100,000.00   124‐2031
  124       6801 S East End Avenue                                  Former Property      Michael Hill                                                                       $           85,000.00        Investor‐Lender       $           50,000.00   124‐179
  124       6801 S East End Avenue                                  Former Property      Pat DeSantis                                                                       $        2,684,539.00        Investor‐Lender       $          328,561.00   124‐397
  124       6801 S East End Avenue                                  Former Property      Receivables to Cash, LLC d/b/a Berenger Capital (c/o Kyle Davison)                 $          150,000.00        Investor‐Lender       $           50,000.00   124‐302
  124       6801 S East End Avenue                                  Former Property      Robert Potter                                                                      $          282,999.00        Investor‐Lender       $           13,454.00   124‐1389
  124       6801 S East End Avenue                                  Former Property      Steven C Noss                                                                      $           69,388.00        Investor‐Lender       $           17,560.00   124‐361
  124       6801 S East End Avenue                                  Former Property      Steven J. Talyai                                                                   $          175,000.00        Investor‐Lender                               124‐131
  124       6801 S East End Avenue                                  Former Property      Steven R. Bald                                                                     $          586,378.00        Investor‐Lender       $           20,000.00   124‐339
  124       6801 S East End Avenue                                  Former Property      The Peter Paul Nuspl Living Trust                                                  $        1,123,278.00        Investor‐Lender       $           30,000.00   124‐2044
  124       6801 S East End Avenue                                  Former Property      May M. Akamine for Aurora Investments, LLC (assets formerly under MayREI, LLC)     $          631,739.82              Other           $           84,500.00   124‐1412
  124       6801 S East End Avenue                                  Former Property      Paper Street Realty LLC d/b/a Rent Ready Apartments                                $          135,847.03     Other (Mechanics Lien                            124‐1206
                                                                                                                                                                                                             Claimant
  124       6801 S East End Avenue                                  Former Property      Mudlic Properties LLC                                                              $          207,194.24     Other (property owner;   $          674,377.90   124‐2076
                                                                                                                                                                                                            mortgagor)
  125      6548 N Campbell Avenue                                   Former Property      Linda Lipschultz                                                                   $           53,405.00        Investor‐Lender       $           27,000.00   125‐1374
  125      6548 N Campbell Avenue                                   Former Property      Robert Thaete                                                                      $           75,358.42        Investor‐Lender       $           74,067.00   125‐1232
  125      6548 N Campbell Avenue                                   Former Property      Scott Naftulin dba N North End, LLC                                                $           71,946.23        Investor‐Lender       $           25,000.00   125‐216




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Property        Property Address                 Alternative Address           Type                                         Claimant Name                                         Claimed Amount         Claim Category as    Amount Claimed to be     Claim
Number                                                                                                                                                                       (Total Claimed Amount      Identified on Claim    Invested in Property   Number
                                                                                                                                                                               in Claim Category as            Form
                                                                                                                                                                                Identified on Claim
                                                                                                                                                                                       Form)
  125         6548 N Campbell Avenue                                   Former Property      Steven Lipschultz                                                                  $            71,126.00    Investor‐Lender      $           38,000.00   125‐1391
  126      5201‐5207 W Washington Blvd                                 Former Property      Kevin Lyons                                                                        $            98,899.84     Equity Investor     $           50,000.00   126‐610
  126      5201‐5207 W Washington Blvd                                 Former Property      Steven Lipschultz                                                                  $            71,126.00     Equity Investor     $           50,000.00   126‐1407
  126      5201‐5207 W Washington Blvd                                 Former Property      Gary R Burnham Jr. Family HSA (custodian IPLAN Group LLC)                          $            30,718.00     Equity Investor     $           14,253.00   126‐1066
  126      5201‐5207 W Washington Blvd                                 Former Property      AMark Investment Trust                                                            $            699,490.82    Investor‐Lender      $          375,000.00   126‐710
  126      5201‐5207 W Washington Blvd                                 Former Property      Arthur and Dinah Bertrand                                                         $          1,000,000.00    Investor‐Lender      $          225,000.00   126‐890
  126      5201‐5207 W Washington Blvd                                 Former Property      Dennis K McCoy                                                                    $            312,238.67    Investor‐Lender      $           76,667.00   126‐569
  126      5201‐5207 W Washington Blvd                                 Former Property      Gary R Burnham FBO Raegan D Burnham Roth IRA (custodian IPLAN Group LLC)           $             9,523.00    Investor‐Lender      $            3,171.00   126‐1065
  126      5201‐5207 W Washington Blvd                                 Former Property      Gary R. Burnham Jr. Solo 401K Trust                                               $            205,608.00    Investor‐Lender      $           30,000.00   126‐1174
  126      5201‐5207 W Washington Blvd                                 Former Property      Hang Zhou and Lu Dong                                                             $            157,821.57    Investor‐Lender      $           50,000.00   126‐1335
  126      5201‐5207 W Washington Blvd                                 Former Property      Initium LLC/Harry Saint‐Preux                                                     $            150,000.00    Investor‐Lender      $          100,000.00   126‐968
  126      5201‐5207 W Washington Blvd                                 Former Property      Louis Duane Velez, LLV (Louis Duane Velez as manager)                              $            46,131.09    Investor‐Lender      $           50,000.00   126‐902
  126      5201‐5207 W Washington Blvd                                 Former Property      Margaret M Morgan                                                                  $            50,000.00    Investor‐Lender      $           50,000.00   126‐197
  126      5201‐5207 W Washington Blvd                                 Former Property      Mark Young                                                                        $            366,131.08    Investor‐Lender      $           50,000.00   126‐1154
  126      5201‐5207 W Washington Blvd                                 Former Property      May M. Akamine for Aurora Investments, LLC (assets formerly under MayREI, LLC)    $            631,739.82    Investor‐Lender      $           25,000.00   126‐1412
  126      5201‐5207 W Washington Blvd                                 Former Property      Michael Borgia IRA                                                                $            975,416.00    Investor‐Lender      $          400,416.00   126‐705
  126      5201‐5207 W Washington Blvd                                 Former Property      QuestIRAFBOFrancisDWebb1437711                                                    $            185,819.00    Investor‐Lender      $           50,000.00   126‐218
  126      5201‐5207 W Washington Blvd                                 Former Property      Rene Hribal                                                                       $          1,525,473.04    Investor‐Lender      $           95,000.00   126‐768
  126      5201‐5207 W Washington Blvd                                 Former Property      Robert Demick                                                                      $            46,131.88    Investor‐Lender      $           49,000.00   126‐782
  126      5201‐5207 W Washington Blvd                                 Former Property      Scott E Pammer                                                                    $            243,954.00    Investor‐Lender      $           50,000.00   126‐827
  126      5201‐5207 W Washington Blvd                                 Former Property      Soujanya Simhadri                                                                  $            25,000.00    Investor‐Lender      $           25,000.00   126‐766
  126      5201‐5207 W Washington Blvd                                 Former Property      Steven K. Chennappan IRA # 17293‐31                                               $            128,000.00    Investor‐Lender      $           50,000.00   126‐206
  126      5201‐5207 W Washington Blvd                                 Former Property      Vivek Pingili                                                                     $            150,213.00    Investor‐Lender      $          130,213.00   126‐522
  126      5201‐5207 W Washington Blvd                                 Former Property      William S Burk                                                                     $            46,131.08    Investor‐Lender      $           50,000.00   126‐925
  126      5201‐5207 W Washington Blvd                                 Former Property      Yvette Sahai                                                                       $            47,048.08    Investor‐Lender      $           28,780.00   126‐2049
  128          8623‐54 S Ellis Avenue                                  Former Property      Optima Property Solutions, LLC                                                    $            487,209.71    Investor‐Lender      $           50,000.00   126‐1023
  128          8623‐54 S Ellis Avenue                                  Former Property      Phillip Silver Trust dated 12/11/08                                                $            50,000.00    Investor‐Lender      $           50,000.00   128‐94
  128          8623‐54 S Ellis Avenue                                  Former Property      Steven R. Bald                                                                    $            586,378.00    Investor‐Lender      $           60,000.00   128‐339
  128          8623‐54 S Ellis Avenue                                  Former Property      Wiegert Tierie                                                                    $            104,000.00    Investor‐Lender      $           10,000.00   128‐74
  129         4494 West Roscoe Street                                  Former Property      Katie Whitlock                                                                     $            61,651.00     Equity Investor                             129‐942
  129         4494 West Roscoe Street                                  Former Property      Kathleen Martin                                                                   $            304,605.24     Equity Investor     $           35,367.00   129‐246
  129         4494 West Roscoe Street                                  Former Property      Gary R Burnham FBO Raegan D Burnham Roth IRA (custodian IPLAN Group LLC)           $             9,523.00    Investor‐Lender      $            2,362.00   129‐1065
  129         4494 West Roscoe Street                                  Former Property      Gary R. Burnham Jr. Solo 401K Trust                                               $            205,608.00    Investor‐Lender      $            5,637.00   129‐1174
  129         4494 West Roscoe Street                                  Former Property      Manoj Donthineni                                                                   $            71,544.30    Investor‐Lender      $           12,198.90   129‐1357
  130         4511 N Merimac Avenue                                    Former Property      Jason Ragan ‐ TSA                                                                 $            473,079.71     Equity Investor     $           21,522.04   130‐796
  130         4511 N Merimac Avenue                                    Former Property      Eric Schwartz                                                                     $            144,153.72    Investor‐Lender      $           44,178.86   130‐157
  130         4511 N Merimac Avenue                                    Former Property      John Taxeras                                                                      $            105,686.72    Investor‐Lender      $           25,000.00   130‐994
  130         4511 N Merimac Avenue                                    Former Property      Kenneth (Ken) and Maria (Tina) Jorgensen                                          $            453,233.25    Investor‐Lender      $           60,000.00   130‐194
  130         4511 N Merimac Avenue                                    Former Property      LA DONNA WRIGHT ACKLEN                                                            $            268,666.74    Investor‐Lender      $          120,000.00   130‐244
  130         4511 N Merimac Avenue                                    Former Property      LaDawn K. Westbrook ‐ Miss Property LLC                                            $            71,546.64    Investor‐Lender      $            6,978.00   130‐271
  130         4511 N Merimac Avenue                                    Former Property      Wisconsin Real Estate Investment Solutions LLC                                    $            101,166.49    Investor‐Lender      $           25,000.00   130‐1473
  131        4108 N Monticello Avenue                                  Former Property      Jeffrey Lee Blankenship                                                            $            89,822.12    Investor‐Lender      $           48,890.12   131‐1241
  131        4108 N Monticello Avenue                                  Former Property      Knickerbocker LLC                                                                 $            102,505.16    Investor‐Lender      $           50,000.00   131‐2035
  131        4108 N Monticello Avenue                                  Former Property      Paul Franklin                                                                      $            25,000.00    Investor‐Lender      $           25,000.00   131‐1231
  131        4108 N Monticello Avenue                                  Former Property      Quantum Growth Holdings LLC                                                                                  Investor‐Lender      $            8,434.38   131‐354
  132          9531 S Fairfield Avenue                                 Former Property      Michael Arthur Goldman (also know as Mike Goldman, Michael A. Goldman, Michael    $           80,377.98      Investor‐Lender      $            5,405.73   132‐775
                                                                                            Goldman)
  132        9531 S Fairfield Avenue                                   Former Property      Wisconsin Real Estate Investment Solutions LLC                                    $          101,166.49      Investor‐Lender      $           50,000.00   132‐1473
  133         4109 N Kimball Avenue                                    Former Property      Brett Burnham (iPlanGroup Agent for Custodian FBO Brett Burnham)                  $          215,335.54      Investor‐Lender                              133‐314
  133         4109 N Kimball Avenue                                    Former Property      Mario Flores                                                                      $           40,697.50      Investor‐Lender      $          133,456.15   133‐198
  133         4109 N Kimball Avenue                                    Former Property      Yaron Fisher                                                                      $          130,193.00      Investor‐Lender      $            5,203.00   133‐479
  135        4930 W Cornelia Avenue                                    Former Property      Frank and Laura Sohm                                                              $          167,893.65       Equity Investor                             135‐906
  135        4930 W Cornelia Avenue                                    Former Property      Jason Ragan ‐ TSA                                                                 $          473,079.71       Equity Investor     $            5,525.25   135‐796
  135        4930 W Cornelia Avenue                                    Former Property      Frank Sohm IRA                                                                    $          148,604.93      Investor‐Lender      $           25,000.00   135‐558
  135        4930 W Cornelia Avenue                                    Former Property      iPlan Group Agent for Custodian FBO Paula Levand Roth                             $           34,819.65      Investor‐Lender      $           16,322.65   135‐1334
  135        4930 W Cornelia Avenue                                    Former Property      QUEST IRA INC. FBO REBECA E. SAVORY‐ROMERO IRA ACCOUNT #15528‐11 AND #15528‐      $          184,785.31      Investor‐Lender      $           35,256.92   135‐804
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Property       Property Address                Alternative Address           Type                                             Claimant Name                                        Claimed Amount         Claim Category as    Amount Claimed to be     Claim
Number                                                                                                                                                                        (Total Claimed Amount      Identified on Claim    Invested in Property   Number
                                                                                                                                                                                in Claim Category as            Form
                                                                                                                                                                                 Identified on Claim
                                                                                                                                                                                        Form)
  135       4930 W Cornelia Avenue                                   Former Property      John B. Allred & Glenda K. Allred                                                    $          1,421,646.52   Investor‐Lender and                           135‐2004
                                                                                                                                                                                                            Equity Investor
  140       5428 S Michigan Avenue                                   Former Property      Lorenzo Jaquias                                                                      $           71,635.00       Investor‐Lender     $           42,100.00   140‐184
  140       4528 S Michigan Avenue                                   Former Property      Peter (Pierre) Henri Gelinas                                                         $           26,499.94       Investor‐Lender     $           25,000.00   140‐1385
  140           4528 S Michigan                                      Former Property      Alton Motes                                                                          $          245,841.62       Investor‐Lender     $           14,583.00   140‐2042
  141           431 E 42nd Place                                     Estate Property      iPlanGroup Agent for Custodian FBO Michael Dirnberger ROTH IRA                       $           44,433.00       Investor‐Lender     $           22,944.44   141‐445
  142       5209 W Warwick Avenue                                    Former Property      Alison Schankman                                                                     $           99,365.61       Investor‐Lender     $           74,000.00   142‐2051
  142       5209 W Warwick Avenue                                    Former Property      Private Finance Solutions, LLC                                                       $          128,406.34       Investor‐Lender     $           88,970.00   142‐1478
  143         5434 S Wood Street                                     Former Property      Ryan Lam                                                                             $          150,000.00       Investor‐Lender     $           67,325.82   143‐832
  144         6525 S Evans Avenue                                    Former Property      Ryan Lam                                                                             $          150,000.00       Investor‐Lender     $          106,000.00   144‐832
  145      4755 S St Lawrence Avenue                                 Former Property      Jannapureddy Brothers                                                                $           19,251.27        Equity Investor    $          140,000.00   145‐1491
  145      4755 S St Lawrence Avenue                                 Former Property      Edge Investments, LLC, Janet F. Turco, Owner/Member IRA                              $        1,031,324.00        Equity Investor    $           50,000.00   145‐180
  145      4755 S St Lawrence Avenue                                 Former Property      Kendall Chenier                                                                      $            9,858.12       Investor‐Lender     $            9,858.12   145‐1144
  145      4755 S St Lawrence Avenue                                 Former Property      TFG Retirement Trust                                                                 $          340,886.77       Investor‐Lender     $          261,376.12   145‐665
  145      4755 S St Lawrence Avenue                                 Former Property      May M. Akamine for Aurora Investments, LLC (assets formerly under MayREI, LLC)       $           88,868.41            Other          $           68,360.31   145‐1412
  150          526 W 78th Street                                     Former Property      The Peter Paul Nuspl Living Trust                                                    $        1,123,278.00       Investor‐Lender     $           50,000.00   125‐2044
  151         8107 S Coles Avenue                                    Former Property      Kirk Road Investments, LLC                                                           $          434,195.69       Investor‐Lender     $           87,500.00   151‐755
  152         7635 S Coles Avenue                                    Former Property      THE INCOME FUND, LLC Thomas Garlock, Managing Member                                 $          771,830.76       Investor‐Lender     $          105,000.00   152‐1421
  152         7635 S Coles Avenue                                    Former Property      Total Return Income Fund, LLC Thomas Garlock, Managing Member                        $        1,571,886.00       Investor‐Lender     $          105,000.00   152‐1366
  155       Campo‐Mar, Puerto Rico                                   Former Property      Domenic Simone                                                                       $          153,246.58        Equity Investor    $          100,000.00   155‐883
  155       Campo‐Mar, Puerto Rico                                   Former Property      Pankaj Patel BDA EZ NJ VENTURES, LLC.                                                $          223,000.00       Investor‐Lender     $           50,000.00   155‐920
  155       Campo‐Mar, Puerto Rico                                   Former Property      Robert Thaete                                                                        $           75,358.42       Investor‐Lender     $           26,000.00   155‐1232
  156        4351 S Calumet Avenue                                   Former Property      Michael Arthur Goldman (also know as Mike Goldman, Michael A. Goldman, Michael       $           80,377.98       Investor‐Lender     $           20,239.25   156‐775
                                                                                          Goldman)
  157        1655 N Humboldt Blvd                                    Former Property      Raghu Pulluru, FBO 1634276 Midland IRA                                               $          246,000.00       Investor‐Lender     $          153,000.00   157‐1214
  158         5104 W Dakin Street                                    Former Property      Daniel Matthews, Leah Matthews                                                       $          185,922.54       Investor‐Lender     $            7,635.77   158‐117
  159          7420 S Colfax Ave                                     Former Property      LMJ Sales, Inc.                                                                      $          559,807.34       Investor‐Lender     $          123,100.00   159‐1346
  901               SSDF1                                            Fund                 Cadaval Investment Trust FBO Dana Cadaval Solo 401k                                  $           50,000.00        Equity Investor    $           50,000.00   901‐1242
  901               SSDF1                                            Fund                 Cadaval Investment Trust FBO Manuel Cadaval Solo 401k                                $          100,000.00        Equity Investor    $          100,000.00   901‐1236
  901               SSDF1                                            Fund                 DVH Investment Trust                                                                 $          315,000.00        Equity Investor    $          315,000.00   901‐1410
  901               SSDF1                                            Fund                 Jeremy Hemphill                                                                      $           54,000.00        Equity Investor    $           50,000.00   901‐290
  901               SSDF1                                            Fund                 Jeremy Hemphill for REAP, LLC                                                        $          108,000.00        Equity Investor    $          100,000.00   63‐1371
  901               SSDF1                                            Fund                 Manuel Cadaval                                                                       $           25,000.00        Equity Investor    $           25,000.00   901‐1084
  901               SSDF1                                            Fund                 Manuel Cadaval custodian for Jacob Cadaval                                           $           25,000.00        Equity Investor    $           25,000.00   901‐1244
  901               SSDF1                                            Fund                 Michael D More                                                                       $          100,000.00        Equity Investor    $          100,000.00   901‐682
  901               SSDF 1                                           Fund                 Adir Hazan                                                                           $          151,333.00        Equity Investor    $           10,000.00   901‐143
  901               SSDF1                                            Fund                 Capital Liability Investments, LLC                                                   $           55,025.00        Equity Investor    $           55,000.00   901‐186
  901               SSDF1                                            Fund                 Florybeth & David Stratton                                                           $          200,000.00        Equity Investor    $          200,000.00   901‐604
  901               SSDF1                                            Fund                 Gary R Burnham FBO Raegan D Burnham Roth IRA (custodian IPLAN Group LLC)             $            9,523.00        Equity Investor    $            7,161.00   901‐1065
  901               SSDF1                                            Fund                 Gary R Burnham Jr. Family HSA (custodian IPLAN Group LLC)                            $           30,718.00        Equity Investor    $           30,718.00   901‐1066
  901               SSDF1                                            Fund                 Gary R. Burnham Jr. Solo 401K Trust                                                  $          204,026.00        Equity Investor    $          204,026.00   901‐1174
  901               SSDF1                                            Fund                 IRA Services Trust Company CFBO Melbourne Kimsey II                                  $          150,000.00        Equity Investor    $           50,000.00   901‐661
  901               SSDF1                                            Fund                 IRA Services Trust Company IRA220656 for Jean‐Marc Cabrol                            $          381,650.00        Equity Investor    $          381,650.00   901‐120
  901               SSDF1                                            Fund                 John Witzigreuter                                                                    $          250,000.00        Equity Investor    $          200,000.00   901‐729
  901               SSDF1                                            Fund                 Keith Randall                                                                        $          370,000.00        Equity Investor    $          170,000.00   901‐1086
  901               SSDF1                                            Fund                 Madison Trust Company FBO Laurie Connely, IRA (Madison Trust Company Cust. Laurie    $          140,592.00        Equity Investor    $           20,000.00   901‐900
                                                                                          Connely M1711182)
  901                SSDF1                                           Fund                 NEXT GENERATION TS FBO ELAINE SISON ERNST IRA 2410                                   $          335,000.00        Equity Investor    $          100,000.00   901‐1030
  901                SSDF1                                           Fund                 Optima Property Solutions, LLC                                                       $          856,284.00        Equity Investor    $          856,284.00   901‐1023
  901                SSDF1                                           Fund                 Patrick Connely                                                                      $           50,000.00        Equity Investor    $           50,000.00   901‐939
  901                SSDF1                                           Fund                 Terry M McDonald ‐ Horizon Trust Custodian FBO Terry M McDonald IRA                  $          137,333.33        Equity Investor    $          137,333.33   901‐571
  901                SSDF1                                           Fund                 Todd Colucy                                                                          $           50,000.00        Equity Investor    $           50,000.00   901‐322
  901                SSDF1                                           Fund                 US Freedom Investments, LLC                                                          $          175,500.00        Equity Investor    $          100,000.00   901‐1234
  901                SSDF1                                           Fund                 Joseph P. McCarthy                                                                   $          277,847.33       Investor‐Lender     $           45,000.00   901‐1367
  901                SSDF1                                           Fund                 Peters, David (The Dominquez‐Peters Living Turst)                                    $           50,000.00       Investor‐Lender     $           50,000.00   901‐2045
  902         SSDF 2 Holdco 3, LLC                                   Fund                 Alan & Sheree Gravely                                                                $           75,000.00        Equity Investor    $           75,000.00   902‐298
  902                SSDF2                                           Fund                 IPlan Group Agent for Custodian FBO David Stratton IRA                               $           55,700.00        Equity Investor    $           44,000.00   902‐607
  902                SSDF2                                           Fund                 Victor Esposito T/A 2E‐LLC I am the manager member and the sole member of 2E‐LLC     $           50,000.00        Equity Investor    $           50,000.00   902‐308




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Property       Property Address                Alternative Address          Type                                            Claimant Name                                            Claimed Amount         Claim Category as    Amount Claimed to be     Claim
Number                                                                                                                                                                          (Total Claimed Amount      Identified on Claim    Invested in Property   Number
                                                                                                                                                                                  in Claim Category as            Form
                                                                                                                                                                                   Identified on Claim
                                                                                                                                                                                          Form)
  902         SSDF2 Holdco 3 LLC                                     Fund                David E. Chambers                                                                        $            30,000.00     Investor‐Lender     $           30,000.00   902‐555
  902         SSDF2 Holdco 3 LLC                                     Fund                Duty, Darrell and Frances                                                                                           Investor‐Lender                             902‐2018
  902               SSDF2                                            Fund                John Braden and Cynthia Braden                                                          $           50,000.00       Investor‐Lender     $           50,000.00   902‐1054
  903               SSDF3                                            Fund                Johnstun, Chad                                                                          $          190,729.17        Equity Investor    $          190,729.17   903‐2071
  904        LEGACY FUND SSDF 4                                      Fund                Bancroft, Ed                                                                            $          258,060.00     Investor‐Lender and                           904‐2008
                                                                                                                                                                                                              Equity Investor
  904                SSDF4                                           Fund                Bernadette Chen (Eleven St Felix St. Realty)                                            $        1,000,000.00        Equity Investor    $           50,000.00   904‐2012
  904                SSDF4                                           Fund                Blessing Strategies, LLC                                                                $           29,784.00        Equity Investor    $            7,000.00   904‐353
  904                SSDF4                                           Fund                Celia Tong Revocable Living Trust Dated December 22, 2011                               $           27,565.00        Equity Investor    $           27,565.00   904‐287
  904                SSDF4                                           Fund                IRA Resources, Inc., FBO Edward Joseph Day, Account # 35‐36374                          $           55,555.73        Equity Investor    $           48,553.00   904‐1486
  904         Legacy Fund SSDF 4                                     Fund                John McDevitt                                                                           $          220,000.00        Equity Investor    $           50,000.00   904‐2090
  904                SSDF4                                           Fund                Madison Trust Company custodian FBO Guenter Scheel IRA M1702087                         $           25,000.00        Equity Investor    $           25,000.00   904‐2073
  904                SSDF4                                           Fund                Michael Schankman                                                                       $          112,557.00        Equity Investor    $           50,000.00   904‐2052
  904                SSDF4                                           Fund                Nancy A Markwalter                                                                      $           25,000.00        Equity Investor    $           25,000.00   904‐1143
  904         SSDF4 Legacy Fund                                      Fund                Nerses Abramyan                                                                         $           25,000.00        Equity Investor    $           25,000.00   904‐114
  904                SSDF4                                           Fund                Quantum Growth Holdings LLC                                                             $           15,321.00        Equity Investor    $           15,321.00   904‐354
  904                SSDF4                                           Fund                The Peter Paul Nuspl Living Trust                                                       $           91,237.31        Equity Investor    $        1,123,278.00   904‐2044
  904        LEGACY FUND SSDF 4                                      Fund                Adir Hazan                                                                              $          151,333.00        Equity Investor    $           51,333.00   904‐143
  904                SSDF4                                           Fund                Arnold Kunio Kameda (Roth IRA via iPlan Group)                                          $           50,000.00        Equity Investor    $           50,000.00   904‐793
  904                SSDF4                                           Fund                B & H Creative Investments LLC                                                          $          428,533.00        Equity Investor                            904‐414
  904                SSDF4                                           Fund                Brian and Kim Mouty                                                                     $           50,000.00        Equity Investor    $           50,000.00   904‐299
  904                SSDF4                                           Fund                Brook & Sarah Swientisky; J&S Investment, LLC                                           $          134,400.01        Equity Investor    $           80,000.00   904‐568
  904      SSDF4 (Legacy Fund SSDF4)                                 Fund                Charlotte A Hofer                                                                       $          370,000.00        Equity Investor                            904‐603
  904      SSDF4 (Legacy Fund SSDF4)                                 Fund                Claude M West , Linda S Gray, Desert Storm Properties Group, LLC                        $          100,000.00        Equity Investor    $          100,000.00   904‐1281
  904                SSDF4                                           Fund                FDD Properties LLC                                                                      $          225,000.00        Equity Investor    $          225,000.00   904‐608
  904                SSDF4                                           Fund                Gary R Burnham Jr Solo401K Trust                                                        $           60,000.00        Equity Investor    $           60,000.00   904‐1067
  904                SSDF4                                           Fund                Greg Oja                                                                                $           15,000.00        Equity Investor    $           15,000.00   904‐518
  904                SSDF4                                           Fund                Indranie Jodha/Chetram Jodha                                                            $           32,000.00        Equity Investor    $           32,000.00   904‐116
  904                SSDF4                                           Fund                IPlan Group Agent for Custodian FBO David Stratton IRA                                  $           55,700.00        Equity Investor    $           11,700.00   904‐607
  904                SSDF4                                           Fund                James M McKnight and Silma L McKnight                                                   $            5,546.87        Equity Investor    $            6,000.00   904‐779
  904                SSDF4                                           Fund                Jason Ragan ‐ TSA                                                                       $          327,324.29        Equity Investor    $           50,000.00   904‐797
  904                SSDF4                                           Fund                JLO Enterprises LLC                                                                     $          315,002.49        Equity Investor    $           20,000.00   904‐726
  904                SSDF4                                           Fund                John Bloxham                                                                            $           51,500.00        Equity Investor    $           50,000.00   904‐1012
  904                SSDF4                                           Fund                John Love                                                                               $           46,350.00        Equity Investor    $           45,000.00   904‐719
  904                SSDF4                                           Fund                KAMEDA INVESTMENTS, LLC (Sole Owner/Manager ‐ Arnold Kunio Kameda)                      $          185,000.00        Equity Investor    $           60,000.00   904‐121
  904                SSDF4                                           Fund                Keith Randall                                                                           $          370,000.00        Equity Investor    $          200,700.00   904‐1086
  904                SSDF4                                           Fund                Kevin Randall                                                                           $          200,000.00        Equity Investor    $          200,000.00   904‐811
  904                SSDF4                                           Fund                Linda Lipschultz                                                                        $           53,405.00        Equity Investor    $           53,405.00   904‐1374
  904                SSDF4                                           Fund                Madison Trust Company Agent for Custodian FBO The Jacqueline C Rowe Living Trust IRA    $          623,489.57        Equity Investor    $          610,998.00   904‐163

  904               SSDF4                                            Fund                Madison Trust Company FBO Laurie Connely, IRA (Madison Trust Company Cust. Laurie       $          140,592.00       Equity Investor     $          100,592.00   904‐900
                                                                                         Connely M1711182)
  904         SSDF4 Legacy Fund                                      Fund                Melvin Shurtz                                                                           $           25,000.00       Equity Investor     $           25,000.00   904‐362
  904              SSDF4                                             Fund                Michael Kessock                                                                         $          103,000.00       Equity Investor     $          100,000.00   904‐977
  904         SSDF4 Legacy Fund                                      Fund                Michael Warner, Trustee of Warner Chiropractic Care Center, PC PSP                      $          203,254.00       Equity Investor     $           54,524.00   904‐78

  904              SSDF4                                             Fund                Moran Blueshtein and Upender Subramanian                                                $          100,000.00       Equity Investor     $          100,000.00   904‐95
  904              SSDF4                                             Fund                MTASS Realty LLC                                                                        $          349,521.00       Equity Investor     $          349,521.00   904‐363
  904         SSDF4 Legacy Fund                                      Fund                NEXT GENERATION TS FBO ELAINE SISON ERNST IRA 2410                                      $          335,000.00       Equity Investor     $          235,000.00   904‐1030

  904              SSDF4                                             Fund                Patrick Connely                                                                         $           20,000.00       Equity Investor     $           20,000.00   904‐964
  904              SSDF4                                             Fund                PATRICK SHEEHAN                                                                         $           90,125.00       Equity Investor     $           50,000.00   904‐783
  904              SSDF4                                             Fund                Race Mouty                                                                              $           20,000.00       Equity Investor     $           20,000.00   904‐326
  904         SSDF4 Legacy Fund                                      Fund                Randeep S Kapoor                                                                        $           50,000.00       Equity Investor     $           50,000.00   904‐597

  904               SSDF4                                            Fund                RLD Denouement Holding Company, LLC                                                     $          150,000.00       Equity Investor     $           50,000.00   904‐483

  904               SSDF4                                            Fund                Robert A Demick DDS PA 401K                                                             $           50,422.00       Equity Investor     $           50,422.00   904‐680
  904               SSDF4                                            Fund                Robert Conley III                                                                       $            9,750.00       Equity Investor     $          325,000.00   904‐277




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Property         Property Address                   Alternative Address          Type                                             Claimant Name                                      Claimed Amount         Claim Category as    Amount Claimed to be     Claim
Number                                                                                                                                                                          (Total Claimed Amount      Identified on Claim    Invested in Property   Number
                                                                                                                                                                                  in Claim Category as            Form
                                                                                                                                                                                   Identified on Claim
                                                                                                                                                                                          Form)
  904           SSDF4 Legacy Fund                                         Fund                Robert Potter                                                                       $            15,000.00     Equity Investor     $           15,000.00   904‐1389

  904                 SSDF4                                               Fund                Russell Shurtz (Horizon Trust Company, Custodian FBO Russell Shurtz IRA Account    $           25,000.00       Equity Investor     $           25,000.00   904‐924
                                                                                              599991402)
  904                 SSDF4                                               Fund                Scott Eaton                                                                        $           49,200.00       Equity Investor     $           50,000.00   904‐1470
  904                 SSDF4                                               Fund                Spectra Investments LLC/ Deborah L. Mullica                                        $          579,288.00       Equity Investor     $          260,907.00   904‐1200
  904                 SSDF4                                               Fund                Steven G. Mouty                                                                    $          465,000.00       Equity Investor     $          100,000.00   904‐821
           (EB South Chicago 1, 2, 3, &4)
  904                 SSDF4                                               Fund                Steven K. Chennappan IRA # 17293‐31                                                $          100,000.00       Equity Investor     $          100,000.00   904‐206
  904                 SSDF4                                               Fund                Steven Lipschultz                                                                  $           71,126.00       Equity Investor     $           71,126.00   904‐1391
  904           SSDF4 Legacy Fund                                         Fund                Susan Kalisiak‐Tingle                                                              $          106,000.00       Equity Investor     $           50,000.00   904‐1438

  904                 SSDF4                                               Fund                The Jacqueline C Rowe Living Trust                                                 $          372,417.74        Equity Investor                            904‐139
  904                 SSDF4                                               Fund                US Freedom Investments, LLC                                                        $          175,500.00        Equity Investor    $           32,500.00   904‐1234
  904                 SSDF4                                               Fund                Vartan Tarakchyan                                                                  $          415,000.00        Equity Investor    $          130,000.00   904‐1118
  904                 SSDF4                                               Fund                Vladimir Matviishin                                                                $           50,000.00        Equity Investor    $           50,000.00   904‐1395
  904                 SSDF4                                               Fund                William Hooper                                                                     $           93,000.00        Equity Investor    $           93,000.00   904‐278
  904                 SSDF4                                               Fund                Yanicque Michaux                                                                   $           20,000.00        Equity Investor    $           20,000.00   904‐1052
  904                 SSDF4                                               Fund                Brett Burnham (iPlanGroup Agent for Custodian FBO Brett Burnham)                   $          215,334.00       Investor‐Lender                             904‐314
  904       SSDF4 (Legacy Fund SSDF4)                                     Fund                CM Group, LLC Keith Cooper                                                         $           75,000.00       Investor‐Lender     $           75,000.00   904‐1184
  904                 SSDF4                                               Fund                CZE Holdings LLC (Carl Johnson IRA)                                                $          299,700.00       Investor‐Lender     $          194,700.00   904‐1117
  904                 SSDF4                                               Fund                Douglas Nebel and Narine Nebel                                                     $          115,000.00       Investor‐Lender     $          115,000.00   904‐1080
  904                 SSDF4                                               Fund                Grathia Corp                                                                       $        1,184,081.00       Investor‐Lender     $           50,000.00   904‐1445
  904                 SSDF4                                               Fund                James M McKnight and Silma L McKnight                                              $          140,325.13       Investor‐Lender     $           48,000.00   904‐582
  904                 SSDF4                                               Fund                John Braden and Cynthia Braden                                                     $           46,508.23       Investor‐Lender     $           50,000.00   904‐1055
  904                 SSDF4                                               Fund                Joseph P. McCarthy                                                                 $          277,847.33       Investor‐Lender     $           90,000.00   904‐1367
  904          SSDF4 Legacy Fund                                          Fund                Keith Cooper ‐ Concorde Management, LLC                                            $          335,000.00       Investor‐Lender     $          335,000.00   904‐1183
  904          SSDF4 Legacy Fund                                          Fund                Lola S. Cooper                                                                     $          210,000.00       Investor‐Lender     $          210,000.00   904‐1185
  904          SSDF4 Legacy Fund                                          Fund                MADISON TRUST COMPANY CUSTODIAN FBO JANET EILEEN TAYLOR M1608009                   $          107,946.27       Investor‐Lender     $          130,000.00   904‐2056

  904           SSDF4 Legacy Fund                                         Fund                United Capital Properties, LLC                                                     $          144,999.00       Investor‐Lender     $           55,000.00   904‐1480

  904          SSDF4 Legacy Fund                                          Fund                Wisemove Properties LLC, (Anthony and Linda Reid, members)                         $          668,979.00       Investor‐Lender                             904‐168
  904       SSDF4 (Legacy Fund SSDF4)                                     Fund                Annie Chang                                                                        $          246,935.34     Investor‐Lender and   $           50,000.00   904‐475
                                                                                                                                                                                                              Equity Investor
  904                 SSDF4                                               Fund                James Henderson                                                                    $           49,200.00     Investor‐Lender and   $           49,200.00   904‐931
                                                                                                                                                                                                              Equity Investor
  904                 SSDF4                                               Fund                John and Cynthia Love                                                              $           84,506.24     Investor‐Lender and   $           75,000.00   904‐699
                                                                                                                                                                                                              Equity Investor
  904                 SSDF4                                               Fund                John B. Allred & Glenda K. Allred                                                  $        1,421,646.52     Investor‐Lender and   $          443,010.24   904‐2004
                                                                                                                                                                                                              Equity Investor
  904                 SSDF4                                               Fund                Sohm Strategic Investments, LLC                                                    $           77,250.00     Investor‐Lender and   $           75,000.00   904‐865
                                                                                                                                                                                                              Equity Investor
  904                 SSDF4                                               Fund                Stanley J Kessock (Madison Trust Company FBO Stanley J. Kessock)                   $           82,400.00     Investor‐Lender and   $           80,000.00   904‐866
                                                                                                                                                                                                              Equity Investor
  906               SSDF6, LLC                                            Fund                Peter Flanagan (IRA Services Trust Co. CFBO: Peter Flanagan IRA176308)             $           50,000.00        Equity Investor    $           50,000.00   906‐1020
  906                 SSDF6                                               Fund                Dana Speed                                                                         $          240,000.00        Equity Investor    $          240,000.00   906‐684
  906                 SSDF6                                               Fund                Hang Zhou and Lu Dong                                                                                           Equity Investor                            906‐1335
  906                 SSDF6                                               Fund                Jason Ragan ‐ TSA                                                                  $          327,324.29        Equity Investor    $           60,000.00   906‐797
  906                 SSDF6                                               Fund                Mark P. Mouty                                                                      $          130,703.00        Equity Investor    $          120,703.00   906‐165
  906                 SSDF6                                               Fund                Provident Trust Group, LLC FBO Stephan Tang IRA                                    $           71,815.00        Equity Investor    $           71,815.00   906‐172
  906                 SSDF6                                               Fund                Wanda M. Behling                                                                   $           43,719.00        Equity Investor    $           11,219.00   906‐1025
  906                 SSDF6                                               Fund                1839 Fund I LLC                                                                    $           92,879.00       Investor‐Lender     $           92,879.00   906‐367
  906                 SSDF6                                               Fund                iPlan Group Agent for Custodian FBO James B Ploeger IRA                            $           72,000.00       Investor‐Lender     $           55,000.00   906‐520
  906                 SSDF6                                               Fund                iPlanGroup Agent for Custodian FBO Charles Michael Anglin                          $          238,889.23       Investor‐Lender     $           52,474.56   906‐331
  907                 SSDF7                                               Fund                John Gorske                                                                        $           53,087.30        Equity Investor    $           53,087.00   907‐1208
  907                 SSDF7                                               Fund                Property Solutions LLC, Kevin Bybee (managing member)                              $          144,161.89        Equity Investor    $          144,161.89   907‐268
  908                 SSDF8                                               Fund                Genevieve Heger and Duke Heger, JTWROS                                             $           10,000.00        Equity Investor    $           10,000.00   908‐1414
  908                 SSDF8                                               Fund                Knickerbocker LLC                                                                  $          105,387.00        Equity Investor    $           50,000.00   908‐2035
  908                 SSDF8                                               Fund                Eric Schwartz                                                                      $            2,787.00        Equity Investor    $            2,787.00   908‐157




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Property         Property Address                  Alternative Address           Type                                             Claimant Name                            Claimed Amount         Claim Category as    Amount Claimed to be     Claim
Number                                                                                                                                                                (Total Claimed Amount      Identified on Claim    Invested in Property   Number
                                                                                                                                                                        in Claim Category as            Form
                                                                                                                                                                         Identified on Claim
                                                                                                                                                                                Form)
  908                 SSDF8                                              Fund                 Jason Ragan ‐ TSA                                                        $            128,050.00     Equity Investor     $           17,450.00   908‐1133
  908                 SSDF8                                              Fund                 Jason Ragan ‐ TSA                                                        $            327,324.29     Equity Investor     $           54,289.29   908‐797
  908                 SSDF8                                              Fund                 John Bloxham                                                              $            25,123.83     Equity Investor     $           24,333.00   908‐1019
                  Mezzazine Fund
  908                 SSDF8                                              Fund                 John Bloxham                                                             $           35,667.00       Equity Investor     $           35,667.00   908‐1211
                  Mezzazine Fund
  908                 SSDF8                                              Fund                 John Bloxham                                                             $          102,991.00       Equity Investor     $          162,991.00   908‐1196
                  Mezzazine Fund
  908                 SSDF8                                              Fund                 Steve Weera Tonasut and Esther Kon Tonasut                               $           16,033.00      Equity Investor      $           16,033.00   908‐975
  908                 SSDF8                                              Fund                 Grathia Corp                                                             $        1,184,081.00     Investor‐Lender       $           50,000.00   908‐1445
  908                 SSDF 8                                             Fund                 Sam Harrison                                                             $           50,000.00     Investor‐Lender       $           25,000.00   908‐2027
  908                 SSDF8                                              Fund                 Tolu Makinde                                                             $           90,000.00     Investor‐Lender       $           20,000.00   908‐370
  911         Hybrid Capital Fund, LLC                                   Fund                 Advanta IRA Services FBO Krushna Dundigalla Acct#8004195                 $          100,000.00      Equity Investor      $          100,000.00   911‐658
  911           Hybrid Capital Fund                                      Fund                 Jason Ragan ‐ TSA                                                        $          473,079.71      Equity Investor      $           24,300.00   911‐796
  911           Hybrid Capital Fund                                      Fund                 Mike M. Cocos                                                            $          150,000.00      Equity Investor      $           50,000.00   911‐82
  911           Hybrid Capital Fund                                      Fund                 PATRICK SHEEHAN                                                          $           90,125.00      Equity Investor      $           40,125.00   911‐783
  912             SSPH Portfolio 1                                       Fund                 Ran Barth                                                                $          326,358.35      Equity Investor      $          331,000.00   912‐65
  912      South Shore Property Holdings                                 Fund                 Spectra Investments LLC/ Deborah L. Mullica                              $          579,288.00      Equity Investor      $          110,000.00   912‐1220
  937             Mezzazine Fund                                         Fund                 Steve Weera Tonasut and Esther Kon Tonasut                               $           33,967.00      Equity Investor      $           33,967.00   937‐390
  937             Mezzazine Fund                                         Fund                 Hopson & Associates LLC                                                  $           75,000.00     Investor‐Lender                               937‐204
  937             Mezzazine Fund                                         Fund                 Wisemove Properties LLC, (Anthony and Linda Reid, members)               $          668,979.00     Investor‐Lender                               937‐168
  940          Colony 4 Investment                                       Fund                 Michael and Lyanne Terada                                                $           66,815.34      Equity Investor      $           60,194.00   54‐551
  N/A       Roth IRA and Traditional IRA                                 Fund                 Ganpat and FEREEDA Seunath                                               $          202,515.02      Equity Investor      $          202,515.02   77
  N/A                  SSDF                                              Fund                 Kelly E Welton (iPlanGroup Agent for Custodian FBO Kelly Welton, IRA)    $           83,813.00      Equity Investor                              310
  N/A                  N/A                                               Other                Buildout Inc.                                                            $            1,200.00 Independent Contractor                            240

  N/A                  N/A                                               Other                Chicago Real Estate Resources                                            $             5,950.00 Independent Contractor                           1449

  N/A                  N/A                                               Other                First Western Properties                                                 $           21,756.00 Independent Contractor                            891

  N/A                  N/A                                               Other                Gomberg Sharfman, PC                                                     $               748.00 Independent Contractor                           2083

  N/A                  N/A                                               Other                Jessica Baier                                                            $             1,982.05 Independent Contractor                           933

  N/A                  N/A                                               Other                The Law Office of Richard K. Hellerman, PC                               $           10,032.67 Independent Contractor                            142

  N/A                  N/A                                               UPN                  Frank Sohm IRA                                                           $          148,604.93      Investor‐Lender      $           10,992.19   558
  N/A                  N/A                                               UPN                  Kenneth (Ken) and Maria (Tina) Jorgensen                                 $          453,233.25      Investor‐Lender      $           37,956.48   194
  N/A                  N/A                                               Other                American Express                                                         $           54,472.25           Other                                   440
  N/A                  N/A                                               Other                Cagan Management Group, Inc.                                             $        1,000,000.00           Other                                   856
  N/A                  N/A                                               Other                Consilio, LLC                                                            $           65,929.74           Other                                   841
  N/A                  N/A                                               Other                Corporate Creations International, Inc.                                  $           13,018.40           Other                                   886
  N/A                  N/A                                               Other                Texas Comptroller of Public Accounts                                     $           42,261.72           Other                                   613
  N/A                  N/A                                               Other                Return Path                                                              $           22,750.00       Trade Creditor                              1471
  N/A                  N/A                                               Other                The Kraus Law Firm                                                       $           12,010.00       Trade Creditor                              425
  N/A                  N/A                                               Other                Whitley Penn LLP                                                         $          161,406.22       Trade Creditor                              536




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